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08:03:09   1                  IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF DELAWARE
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           3
               UNITED STATES OF AMERICA,        )
           4                                    ) VOLUME 1
                            Plaintiff,          )
           5                                    ) C.A. No. 21-1644(MN)
               v.                               )
           6                                    )
               UNITED STATES SUGAR              )
           7   CORPORATION, et al.,             )
                                                )
           8                  Defendants.       )

           9

       10                      Monday, April 18, 2022
                               8:30 a.m.
       11                      Bench Trial

       12                      844 King Street
                               Wilmington, Delaware
       13

       14
               BEFORE:   THE HONORABLE MARYELLEN NOREIKA
       15                United States District Court Judge

       16
               APPEARANCES:
       17

       18                   UNITED STATES ATTORNEY'S OFFICE
                            BY: SHAMOOR ANIS, ESQ.
       19
                            -and-
       20
                            U.S.   DEPARTMENT OF JUSTICE
       21                   BY:    BRIAN E. HANNA, ESQ.
                            BY:    CHINITA M. SINKLER, ESQ.
       22                   BY:    ROBERT LEPORE, ESQ.
                            BY:    CURTIS STRONG, ESQ.
       23                   BY:    RYAN SANDROCK, ESQ.
                            BY:    JENIGH GARRETT, ESQ.
       24                   BY:    JOHN THORNBURGH, ESQ.

       25
                                       Counsel for the Plaintiff
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          APPEARANCES CONTINUED:
    2
                        MORRIS NICHOLS ARSHT & TUNNELL LLP
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                        BY: BRIAN P. EGAN, ESQ.
    4
                        -and-
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                        LATHAM & WATKINS LLP
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                        RICHARDS LAYTON & FINGER
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  13                    -and-

  14                    CRAVATH SWAINE & MOORE LLP
                        BY: TIMOTHY G. CAMERON, ESQ.
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  25                               United Sugars Corporation
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08:38:09   2                THE COURT:     Good morning.   Goodness.    This is --

08:38:14   3   you can be seated.     Is this all the people -- are you with

08:38:18   4   the parties?

08:38:20   5                  MR. SNOW:    No, ma'am.

08:38:21   6                  THE COURT:   I don't want up that close to our

08:38:24   7   people so I need you to back up.

08:38:27   8                  Okay.   Let start with some introductions.

08:38:29   9                  MR. ANIS:    Good morning, Your Honor.    Shamoor

08:38:3510     Anis here from the United States Attorneys Office for the

08:38:3811     District of Delaware on behalf of the United States.          I'm

08:38:4012     joined at counsel table by Brian Hanna, Michael Wolin,

08:38:4513     Chinita Sinkler and Bobby Lepore.

08:38:4614                    THE COURT:   Good morning.

08:38:4915                    MR. ANIS:    Assisting with the technology will

08:38:5116     also be William Snow.

08:38:5217                    THE COURT:   Good morning.   I have a limit of

08:38:5418     like nine people in here.      Are we under these limits?      It

08:38:5719     looks ridiculous, especially since we have COVID issues.

08:39:0220                    MR. BLUMENFELD:   Your Honor, for US Sugars, we

08:39:0421     have seven people here.      I believe there are third-party

08:39:0722     lawyers here this morning also because of the

08:39:1123     confidentiality issues.

08:39:1224                    THE COURT:   All right.

08:39:1325                    MR. BLUMENFELD:   And we will as the trial goes
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08:39:17   1   on, we'll have people coming and going.

08:39:20   2                 THE COURT:    I don't want this many people in the

08:39:21   3   courtroom.   If I'm allowing -- I think I have allowed you

08:39:26   4   guys to broadcast it, then I don't want this many people in

08:39:30   5   the courtroom when I'm getting e-mails about people having

08:39:35   6   COVID.

08:39:35   7                 MR. BLUMENFELD:    Your Honor, we will reduce the

08:39:37   8   number of people to the minimum.

08:39:39   9                 Jack Blumenfeld for US Sugars.

08:39:4110                   THE COURT:    You're used to my moods,

08:39:4411     Mr. Blumenfeld.

08:39:4512                   MR. BLUMENFELD:    Excuse me?

08:39:4613                   THE COURT:    You're used to my moods so you can

08:39:4814     deal with it on a Monday morning.

08:39:5015                   MR. BLUMENFELD:    I'm here with Lawrence Buterman

08:39:5216     for Latham who is going to do the opening, Chris Brown from

08:39:5717     Latham, Elyse Greenwald from Latham, Chris Yates from Latham

08:40:0218     and in the first row we have Luke Kurts, who is the general

08:40:0619     counsel at US Sugars and Bob Buker who is the president of

08:40:1020     US Sugars.

08:40:1121                   THE COURT:    All right.   Good morning.

08:40:1322                   MS. FARNAN:   Good morning, Your Honor, Kelly

08:40:1723     Farnan from Richards, Layton & Finger on behalf of LDC and

08:40:2124     Imperial.    I'm joined at counsel table by Tim Cameron, we

08:40:2925     have Daniel Zach and Hannah Dwyer.       And then we also have
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08:40:33   1   two client representatives, one from Imperial, the president

08:40:37   2   and CEO, Mike Gorrell.     And from LDC, we have Neil Grealy

08:40:42   3   who is the chief legal officer of LDC North America.

08:40:45   4                THE COURT:    Good morning to all of you as well.

08:40:47   5   We have some third parties.

08:40:53   6                MR. KERRICK:    Good morning, Your Honor.       Daniel

08:40:54   7   Kerrick on behalf of Hogan McDaniel.       I'm joined by my

08:40:57   8   co-counsel Peter Schwingler.      Also I'm joined by the CEO

08:41:00   9   Matthew Wineinger.

08:41:0310                  THE COURT:    Good morning.    And we have some

08:41:0411     third parties here.    I guess we'll deal with those as we go

08:41:0812     through these things.     What I am planning to do is take this

08:41:1113     out of the trial time of the party who wants to introduce

08:41:1514     the evidence.   If I find out that there is a reason why

08:41:1915     that's not fair, I will go back and retroactively

08:41:2316     redistribute the time, but for now, I guess we need to deal

08:41:2717     with plaintiff's letter or e-mail from this morning.

08:41:3018                  So plaintiff's intention to request the Court to

08:41:3419     close the courtroom for a portion of the live testimony of

08:41:3620     plaintiff Aaron Riippa to protect the confidentiality of

08:41:3921     General Mills' competitively sensitive information, and for

08:41:4522     that one, is the government planning to simply -- how much

08:41:5023     time are we doing?    Are you going to put it all together?

08:41:5424     What is the plan?

08:41:5525                  MR. WOLIN:    Yes, Your Honor, we're planning a
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08:41:58   1   total of forty-five-minute examination of Mr. Riippa, the

08:42:01   2   last ten minutes of that examination we will seek to seal

08:42:04   3   the courtroom to protect General Mills' sensitive and

08:42:08   4   confidentiality information.

08:42:09   5                 THE COURT:   How sensitive is it?      Why do we need

08:42:12   6   -- can I see the documents?      What is it that you're going to

08:42:15   7   be doing that you can't do by just pointing me to things in

08:42:19   8   a document, like what is it that you have to say or show on

08:42:23   9   the record?

08:42:2410                   MR. WOLIN:   Your Honor, it includes information

08:42:2611     about General Mills, possibilities for suppliers, which if

08:42:3212     the buyers knew which suppliers General Mills was able to

08:42:3613     use, they could use it to General Mills' detriment.          It

08:42:4014     would be both documents and testimony on that topic, also

08:42:4315     specific bid prices, specific confidential data and terms of

08:42:4816     contract awards that General Mills has given out.

08:42:5117     Spreadsheets that detail confidential information and terms

08:42:5418     of bid offers from various suppliers.

08:42:5619                   THE COURT:   But I'm asking, is that stuff you

08:42:5820     need to say on the record and show in the courtroom?          That's

08:43:0221     my question, because we talked about this at the pretrial

08:43:0522     conference where one of you said we didn't have to ask

08:43:1023     questions.    I understand this is confidential and if you

08:43:1224     need to show it, I have to consider this request to close

08:43:1525     the courtroom.   I'm trying to explore whether I have to do
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08:43:18   1   that.

08:43:19   2                MR. WOLIN:    Yes, Your Honor, there is testimony

08:43:20   3   that we seek to offer from Mr. Riippa that could not be

08:43:24   4   shown in the documents, only that would need to be elicited

08:43:27   5   on the record.

08:43:28   6                THE COURT:    All right.    And you're representing

08:43:30   7   it's about ten minutes?

08:43:32   8                MR. WOLIN:    Yes, Your Honor.

08:43:33   9                THE COURT:    And you're going to do it together

08:43:3510     at the end of the direct?

08:43:3611                  MR. WOLIN:    Yes, Your Honor.

08:43:3712                  THE COURT:    And any cross that's going to be

08:43:3913     done on that, you're going to do at the beginning?

08:43:4314                  MS. GREENWALD:    Good morning, Your Honor.       Elyse

08:43:4515     Greenwald from US Sugar.

08:43:4616                  Yes, we don't believe we need to seal the

08:43:4917     courtroom, but if there is an extended seal, we can do that

08:43:5218     portion right after the direct.

08:43:5419                  THE COURT:    And you're going to have to get up

08:43:5620     and be quick about it so we can open the courtroom, but I

08:44:0021     will allow you to seal that particular stuff.

08:44:0222                  What's next.

08:44:0323                  MR. WOLIN:    Thank you, Your Honor.

08:44:0524                  The second issue involved deposition testimony

08:44:0725     from certain third-party witnesses that the government seeks
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08:44:10   1   to offer either later this afternoon or first thing

08:44:14   2   tomorrow, depending on how quickly things go.         It's

08:44:17   3   testimony from sugar purchasers, sugar distributors and

08:44:22   4   other sugar refiners.     Of those six witnesses that we intend

08:44:26   5   to call, three of them will also be called by the defendant

08:44:32   6   at that time, we'll have all the designations from both

08:44:35   7   sides together.

08:44:36   8                THE COURT:    Is the defendant asking to seal the

08:44:37   9   courtroom?

08:44:3810                  MS. GREENWALD:    We have no objection to sealing

08:44:4111     the courtroom.

08:44:4112                  THE COURT:    Yeah, but are you asking?

08:44:4413                  MS. GREENWALD:    The third parties have made that

08:44:4714     request.

08:44:4915                  THE COURT:    So you don't want it sealed, because

08:44:5116     you got the information from the third parties you're making

08:44:5417     that request?

08:44:5518                  MS. GREENWALD:    That's right.

08:44:5619                  THE COURT:    Is that right?

08:44:5720                  MS. GREENWALD:    Yes, Your Honor.

08:44:5921                  THE COURT:    All right.    How much of this -- I

08:45:0222     guess with the deposition it's hard to -- how much is really

08:45:0523     sensitive?   I have these depositions.      A lot of this looks

08:45:0924     like it's not terribly sensitive at all.

08:45:1525                  MR. WOLIN:    Your Honor, it's just a portion of
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08:45:17   1   the deposition but it starts with the nonconfidential

08:45:21   2   testimony in such a way that it would be inconceivable to

08:45:24   3   splice it.

08:45:24   4                THE COURT:    We will close the courtroom for

08:45:26   5   those depositions.    By tomorrow, you must give portions of,

08:45:30   6   you know, redacted out portions from the transcript, tell

08:45:33   7   the court reporter so that we can have a sealed and unsealed

08:45:38   8   and the portions that are not sealed will be unsealed.

08:45:40   9                MR. WOLIN:    Yes, Your Honor.

08:45:4210                  THE COURT:    What's next?

08:45:4311                  MR. WOLIN:    The last issues we have teed up on

08:45:4612     our e-mail was the confidentiality of information supplied

08:45:4813     by ASR.   We have continued to work with ASR since we sent

08:45:5614     the e-mail last night.     We appreciate their efforts to

08:45:5915     resolved this issue, four of the five issues that we raised.

08:46:0116     We believe that the other one we will resolve today.          It's

08:46:0317     for a document that will come up tomorrow.

08:46:0518                  THE COURT:    So why don't we give you until

08:46:0719     tomorrow to figure that out.

08:46:1020                  MR. WOLIN:    Yes, Your Honor, that will be great.

08:46:1121                  THE COURT:    Anything else we have to do?        I'm

08:46:1422     supposed to admit someone.

08:46:1823                  MR. WOLIN:    Thank you, Your Honor.

08:46:1924                  MR. SEAMANS:    Good morning, Your Honor.       Thank

08:46:2125     you.   John Seamans from Abrams & Bayliss.       I'm here to
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08:46:25   1   respectfully move the admission of my friend and colleague,

08:46:29   2   Garrett Veres to the Bar of the United States District Court

08:46:31   3   for the District of Delaware.

08:46:33   4               THE COURT:    All right.

08:46:34   5               MR. SEAMANS:     Mr. Veres will be representing ASR

08:46:37   6   today.

08:46:37   7               THE COURT:    Mr. Veres, welcome.      The motion is

08:46:40   8   granted and welcome.    Mr. Buckson, do you want to swear him

08:46:43   9   in.

08:46:4510                 COURT DEPUTY:     Please raise your right hand.

08:46:4611                 You do solemnly swear to the best of your

08:46:4912     knowledge and ability, you will support and defend the

08:46:5213     constitution of the United States against all enemies,

08:46:5214     foreign and domestic, and that you will bear true faith and

08:46:5215     allegiance to the same; that you take this obligation freely

08:47:0016     without any mental reservation or purpose of evasion, and

08:47:0117     that you will demean yourself as an attorney, proctor, and

08:47:0518     solicitor of this Court uprightly and according to the law.

08:47:0819                 MR. VERES:    I do.

08:47:0920                 THE COURT:    Thank you.

08:47:1121                 MR. VERES:    Thank you.

08:47:1122                 THE COURT:    Does ASR, you don't have to say

08:47:1523     anything today, right, because you're still negotiating, do

08:47:1924     I have that right?

08:47:2025                 MR. VERES:    I think that's right, Your Honor.
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08:47:21   1                THE COURT:   Great.    Anything else we need to

08:47:24   2   deal with before we start?

08:47:27   3                MR. HANNA:   Yes, Your Honor.     Brian Hanna for

08:47:29   4   the United States.    Just a couple of housekeeping questions.

08:47:32   5                THE COURT:   We are still on the clock, right,

08:47:36   6   Mark?

08:47:36   7                MR. HANNA:   We do anticipate introducing or

08:47:40   8   moving to admit confidential exhibits and I wanted to ask

08:47:44   9   your preference for admission of confidential information

08:47:4710     exhibits, you would move for admission of their original PTX

08:47:5211     1 under seal, and then I wanted to ask you if your

08:47:5612     preference is for the redacted version to move that in as

08:47:5913     PTX 1R.

08:48:0314                  THE COURT:   I don't want the redacted version

08:48:0515     but if there is a reason, you can work that out with my

08:48:0816     deputy.

08:48:1217                  MR. HANNA:   Okay.    Your Honor will have a copy

08:48:1318     of that version.

08:48:1419                  The other item I wanted to ask, I mentioned that

08:48:1720     pretrial conference that the witness sequester rule would be

08:48:2221     in place.   I wanted just to get clarification that that

08:48:2622     would not apply to both sides for the experts.        We

08:48:3023     anticipate that they would need to listen to some of the

08:48:3424     testimony during trial.    I just want to clarify, with your

08:48:3925     permission, that the experts would not be subject to the
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08:48:42   1   sequester rule.

08:48:43   2               THE COURT:     They're not.

08:48:45   3               MR. HANNA:     And I wanted to just state that the

08:48:51   4   government is planning to reserve a small amount of time for

08:48:56   5   its rebuttal case.    Probably no more than an hour.       I just

08:49:02   6   wanted to let you know that the government was planning to

08:49:06   7   have a potential rebuttal case.

08:49:08   8               THE COURT:     That's fine.    You can use whatever

08:49:10   9   time you have left.    I don't keep track where you are.        If

08:49:1410     you have an hour left of rebuttal, go for it.        If you don't,

08:49:1711     I'm not going to tell you to stop when you get to an hour.

08:49:2112                 MR. HANNA:     Thank you, Your Honor.     At the

08:49:2313     pretrial conference Your Honor indicated that you were

08:49:2514     considering different options for closing and for purposes

08:49:2815     of helping us.

08:49:2916                 THE COURT:     I think I want to hear it.      Plan on

08:49:3217     me wanting me to hear closings.

08:49:3518                 MR. HANNA:     Is it going to be after this week?

08:49:3719                 THE COURT:     No, it's going to be within the time

08:49:3920     you have this week.

08:49:4021                 MR. HANNA:     Thank you, Your Honor.

08:49:4122                 I guess finally, Your Honor, we sent a letter, I

08:49:4523     think on Friday or Thursday with respect to one of United

08:49:5024     employees, Ms. Campbell.     You graciously granted that she

08:49:5725     could be here remote.    We tried to work that out and due to
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08:50:02   1   the availability and logistics of the court, the district

08:50:06   2   court where she resides, we're not able to do that.         So both

08:50:13   3   sides agreed that we could play her short video deposition.

08:50:16   4   She's more than a hundred miles away and not available.

08:50:20   5                 THE COURT:   Okay.

08:50:21   6                 MR. HANNA:   I just wanted to clarify that.

08:50:23   7                 THE COURT:   Thanks.    I appreciate that.

08:50:25   8                 MR. HANNA:   Nothing further, Your Honor.

08:50:27   9                 THE COURT:   All right.    Anything else from the

08:50:2910     defendants?

08:50:3111                   MR. BUTERMAN:   No, Your Honor.

08:50:3212                   THE COURT:   Great.    Let's begin.

08:50:4213                   MR. HANNA:   May I proceed, Your Honor?

08:51:0514                   THE COURT:   Please.

08:51:0615                   MR. HANNA:   Brian Hanna for the United States.

08:51:0916     May it please the Court, this case --

08:51:1117                   THE COURT:   Hold on.    We got to stop that.     Do

08:51:2618     you want to try again, see if it's still doing it.

08:51:2919                   MR. HANNA:   May it please the Court.

08:51:3120                   THE COURT:   Thank you.

08:51:3221                   MR. HANNA:   May it please the Court, Your Honor,

08:51:3522     this case is straightforward.       As a result of a merger, two

08:51:4023     large sellers of sugar will become one.       The two large

08:51:4424     sellers are United and Imperial, and they compete to sell

08:51:4925     sugar to food processors, distributors and grocery stores.
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08:51:53   1                 Now there is no serious dispute over the product

08:51:57   2   at issue in this case, it's sugar.      We're all familiar with

08:52:01   3   this product.    Sugar is everywhere in our daily lives.        It's

08:52:05   4   a stable ingredient in many of the favorite foods that we

08:52:09   5   eat.    The main issue in this case, Your Honor, is where does

08:52:15   6   United and Imperial compete?     Where is that competition

08:52:19   7   important?   And the evidence will show that sugar is

08:52:23   8   expensive to ship and that is just a commercial reality of

08:52:27   9   this industry and it always has been a commercial reality of

08:52:3010     this industry.

08:52:3111                   Everyone working in the sugar industry knows

08:52:3412     this reality.    You will hear testimony from the parties,

08:52:3813     from customers, and from competitors that acknowledge this

08:52:4314     reality.   And Your Honor will hear one customer say freight

08:52:4715     is an unforgiving cost.    And the trial record will be full

08:52:5216     of evidence that competition is regional because of freight

08:52:5717     cost.

08:52:5718                   United has US Sugar's plant in Florida and

08:53:0319     Imperial has its sugar plant in Savannah, Georgia, so the

08:53:0720     evidence will show that United and Imperial are both well

08:53:1121     situated to compete for and supply customers in the

08:53:1322     southeast and through the Mid-Atlantic so that is where

08:53:1823     competition would be affected from this merger.        Competition

08:53:2224     between United and Imperial has forced them to lower prices

08:53:2625     and provide a better quality services.       That competition and
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08:53:30   1   all those benefits would be eliminated if one of United's

08:53:35   2   owners, US Sugar is allowed to acquire Imperial.         And the

08:53:40   3   evidence will show that combined, United and Imperial will

08:53:44   4   have a market share of nearly 50 percent or even higher in

08:53:48   5   the southeast and up through the Mid-Atlantic.        These market

08:53:52   6   shares reflect the choices that customers have today, and

08:53:57   7   the merger will take away a choice that the market shares

08:54:01   8   tell us has been important to customers.       And that choice is

08:54:05   9   Imperial.

08:54:0510                    The market shares statistics alone create a

08:54:0911     presumption that this merger would harm customers in

08:54:1312     violation of Section 7 of the Clayton Act.        And the proposed

08:54:1813     merger would leave customers located in the relevant markets

08:54:2114     with a dualopoly, United and Domino, they refer to as ASR

08:54:2915     sometimes, they would control over 70 percent of sales to

08:54:3316     those customers in the southeast and up to the Mid-Atlantic

08:54:3617     and the evidence will show today United and Domino, they

08:54:3918     look for ways to achieve higher prices by avoiding

08:54:4319     aggressive competition.

08:54:4420                    And one of the ways they try to achieve higher

08:54:4721     prices is by using a go between, some sort of consultant as

08:54:5222     a conduit to exchange pricing and selling capacity

08:54:5623     information.    And the evidence will show that this

08:54:5924     competitive information is sent back and forth between

08:55:0525     United and Domino.    So we can see that United and Domino
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                                                                             16


08:55:09   1   have both the means and the incentive to coordinate the

08:55:12   2   pricing actions in the market.      So we should be even more

08:55:18   3   worried about this merger.

08:55:20   4                 By eliminating Imperial, this merger would make

08:55:23   5   it easier for United and Domino to be successful at this

08:55:28   6   kind of behavior that tends to lessen competition.         This

08:55:33   7   week we will bring in customers to show how competition

08:55:36   8   between United and Imperial has been important to them.

08:55:41   9   After openings, Your Honor will hear from a very large

08:55:4410     customer, General Mills, and that evidence will show that

08:55:4711     General Mills has benefited from competition between United

08:55:5212     and Imperial.

08:55:5313                   Tomorrow Your Honor will hear from a much

08:55:5514     smaller customer, Piedmont Candy, and that evidence will

08:55:5915     also show that Piedmont has benefited from competition

08:56:0316     between United and Imperial.     And we can also look at the

08:56:0817     defendants' own documents to see how competition between

08:56:1018     United and Imperial has benefited customers and it will be

08:56:1519     clear from that evidence that United and Imperial compete

08:56:2020     and that competition has driven prices lower, so we can take

08:56:2421     a look at the evidence now, some of it.

08:56:2622                   Here on the first slide we have United trying to

08:56:3023     win business from Bud's Best Cookie.       It's a cookie company

08:56:3524     in Alabama.   We can see that United in this e-mail is

08:56:3825     matching Imperial's quote lowering price to be more
   Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 17 of 360 PageID #: 5945
                                                                             17


08:56:43   1   competitive with Imperial.     That is price competition right

08:56:47   2   here on this document.    And the merger would eliminate that

08:56:50   3   competition.    This competition matters and it deserves

08:56:56   4   protection.

08:56:57   5                  We can look at another e-mail.     This e-mail is

08:57:00   6   from Imperial's vice-president of sales.       She will testify

08:57:02   7   in this case, in this example, Imperial is competing hard

08:57:06   8   for the business of Costco in the southeast.        We can see

08:57:09   9   from Ms. Hines' e-mail that they are competing with United

08:57:1410     Cane, that's what she says.     That means United is competing

08:57:1711     with the sugar produced by US Sugar in Florida.        So Imperial

08:57:2112     is asking -- is asked by this customer if there is as we see

08:57:2413     on this slide any room to go down slightly.        So right there

08:57:2914     Imperial understands it needs to lower its price to beat out

08:57:3315     United and that evidence -- and the evidence will show that

08:57:3716     Imperial in fact lowered its price and won some of this

08:57:4117     business from Costco.    The merger would eliminate that

08:57:4418     competition.    This is competition that matters, and it

08:57:4819     deserves protection, Your Honor.

08:57:4920                    So we can see that competition between United

08:57:5321     and Imperial has benefited customers.       And looking at that

08:57:5722     evidence is important when evaluating the effects of the

08:58:0023     merger.   And we have additional tools to help us evaluate

08:58:0624     the effects of competition from the merger.        One of those

08:58:1025     tools is market definition.
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                                                                             18


08:58:12   1                Now, defining a market can seem formalistic but

08:58:16   2   there is a substantive reason to do this to evaluate

08:58:21   3   mergers.   Market definition helps identify what competition

08:58:24   4   is likely to be lost.    You know, there are two components to

08:58:29   5   market definition, a product market and a geographic market.

08:58:34   6   As I said earlier there is really no dispute that the

08:58:37   7   relevant product market in this case is refined sugar.

08:58:39   8   Refined sugar is a familiar product.       It's the sugar we all

08:58:43   9   eat.   Refined sugar can take many forms.      We have some

08:58:4710     pictures on the screen here.     Granulated sugar, it's that

08:58:5111     white crystalized sugar that is probably sitting in a jar in

08:58:5512     nearly every kitchen across America.       The output of the

08:58:5813     refining process is this granulated sugar and the granulated

08:59:0314     sugar can take many forms, powdered sugar, brown sugar, and

08:59:0715     liquid sugar.

08:59:0916                  Next, we considered geographic market and I said

08:59:1317     earlier, this is the main issue in this case.        For

08:59:1718     geographic market, as we can see from this Philadelphia

08:59:2119     National Bank Supreme Court case, for geographic market we

08:59:2520     don't focus on everywhere United and Imperial do business or

08:59:3021     even everywhere they compete.     As the Supreme Court said in

08:59:3422     Philadelphia National Bank, we focus on where the effect on

08:59:3823     competition would be direct and needed.

08:59:3924                  Where does competition really matter, Your

08:59:4225     Honor?   We can look at the documents in this case to see
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08:59:44   1   where competition between United and Imperial matters.

08:59:48   2   Let's take a look at some of the evidence.        Up here on the

08:59:51   3   slide we see a presentation prepared by the CEOs of United

08:59:57   4   owners including the CEO of US Sugar, Bob Buker.         The title

09:00:03   5   of this presentation, we can see it on the upper left-hand

09:00:06   6   side is regional market overview.      And that makes sense,

09:00:10   7   Your Honor.   United considers sugar markets to be regional.

09:00:15   8                 On the right side we see the title of this map

09:00:17   9   from United, USC definition, supplier backyards.         United is

09:00:2410     defining what it can considers to be regional markets.

09:00:2811     United defines each market here by where each sugar producer

09:00:3212     has freight cost advantages serving customers in those

09:00:3613     various regions and from this document we can see the

09:00:3914     southeast, the collection of states in red there, Your

09:00:4115     Honor, that is where United operates, US Sugar and Imperial

09:00:4516     have a freight cost advantage.      United considers the

09:00:5117     six-state region in the southeast to be their backyard.          So

09:00:5718     that's a good place to start with defining a market to

09:00:5919     evaluate this merger.

09:01:0120                   And on the slide we have put up here, Your Honor

09:01:0421     can see that's where we started.      In its complaint, the

09:01:0922     government first alleged a relevant market that spans from

09:01:1423     Georgia and its bordering states.      And on the slide here we

09:01:1824     nickname it the narrow market.      It's a collection of states

09:01:2125     in red on that supplier backyard map that we just looked at.
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09:01:25   1                 Now, we can see in the evidence and we can

09:01:27   2   observe that competition between United and Imperial matters

09:01:31   3   to customers beyond this narrow market.       So we expanded the

09:01:36   4   market out to these states and redefined a relevant market

09:01:41   5   that's slightly broader and we nicknamed it the broader

09:01:45   6   market.

09:01:46   7                 Following the case law in the Horizontal Merger

09:01:50   8   Guidelines, we defined both these markets based on where the

09:01:54   9   customers are located.     What this means, Your Honor, if a

09:01:5610     supplier has sales to customers located in one of these

09:02:0111     states, that supplier is in the market and we give that

09:02:0412     supplier market share.     It doesn't matter where the supplier

09:02:0813     is located.   That's well-accepted merger analysis.

09:02:1214                   We are focused on the competitive options

09:02:1615     available to customers.    And as the evidence will show, it

09:02:2016     turns out more distant suppliers have a much lower market

09:02:2517     share in these markets than United and Imperial or Domino.

09:02:2918     It's harder for more distant suppliers to be competitive in

09:02:3319     the relevant market because of freight costs.

09:02:3520                   THE COURT:   Where is Domino located?

09:02:3821                   MR. HANNA:   Domino, they have several, they're

09:02:4022     pretty national.   If you look in Florida, one of the

09:02:4323     triangles there is a Domino plant.      Domino also has a plant

09:02:4924     in Baltimore, Maryland, and a plant in Yonkers, New York,

09:02:5225     and they have a refinery also in Louisiana.        You can see
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09:03:00   1   Domino is right around that region where the relevant

09:03:04   2   markets are.

09:03:05   3                  It's harder for more distant buyers to be

09:03:15   4   competitive in these relevant markets because of freight

09:03:18   5   costs.   Competition tends to be regional and that's what

09:03:23   6   United was indicating in that slide we looked at earlier.

09:03:27   7   We can see this evidence of regional competition in the

09:03:30   8   market shares.    Let's take a look at some of the evidence in

09:03:33   9   this case.

09:03:3410                    This map is looking at two different supplier

09:03:3711     backyard regions in the United supplier backyard map that we

09:03:4212     just looked at.    We can see from this that United and

09:03:4513     Imperial have very high market shares in that collection of

09:03:4914     red states, the southeast, that's their backyard, so that

09:03:5315     makes sense.    On the other hand, we can see that NSM who is

09:03:5716     really big out west, forty-seven percent market share, that

09:04:0117     also makes sense.    NSM has sugar plants in Idaho and

09:04:0618     California and not surprisingly, NSM is very small in the

09:04:1019     southeast, only two percent.     And we can see from this map

09:04:1420     where competition between United and Imperial is important

09:04:1921     to customers.    It's the southeast region.

09:04:2322                    Now, Your Honor, this is not the first time a

09:04:2623     court has had to evaluate the effect of a merger involving

09:04:3024     two sugar producers.    The Second Circuit did in American

09:04:3625     Crystal v. Cuban American Sugar.      In that case there were
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09:04:40   1   two alleged geographic markets, a narrow market in three

09:04:43   2   states and a broader market spanning ten states.         And the

09:04:47   3   Second Circuit affirmed those markets noting that the

09:04:52   4   merging companies were better situated to supply customers

09:04:56   5   in those regions because it had quote a locational

09:05:01   6   advantage, a locational advantage over other refiners in

09:05:04   7   other parts of the country.     These things freight dynamics

09:05:08   8   have played in that sugar case, are alive and well in

09:05:12   9   today's sugar market.    We can look at the defendants' own

09:05:1510     documents to see that.

09:05:1611                  Here we have an e-mail from the senior

09:05:1912     vice-president of sales at Imperial, Patrick Henneberry, and

09:05:2713     Imperial is competing for a customer's business in Georgia,

09:05:2914     its own backyard.   And we can see Mr. Henneberry says

09:05:3415     Imperial has a locational advantage over the competition for

09:05:3716     this customer in Georgia.     Locational advantage, that's the

09:05:4217     exact same term that the Second Circuit used to describe the

09:05:4618     freight dynamics in that case.      And Mr. Henneberry means the

09:05:5119     same thing, Imperial's freight costs will be lower, lower

09:05:5520     than the competition for this customer.       And the evidence

09:05:5821     will show that freight dynamics informed Imperial's pricing

09:06:0322     strategy for this customer.

09:06:0523                  We can look at another document from United,

09:06:0724     this is United's director of strategic accounts, Eric

09:06:1225     Speece.   And he'll testify later in this case as well.         And
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09:06:15   1   they're competing for a customer in Jacksonville, Florida.

09:06:20   2   We can see from the highlighted text that he says United has

09:06:23   3   a significant freight disadvantage over one competitor in

09:06:27   4   Savannah, Georgia, and that's why United lowered its price.

09:06:31   5   The one competitor he's referring to is Imperial who has a

09:06:34   6   plant in Savannah, Georgia.     So United thought Imperial

09:06:39   7   would have a lower freight cost than this customer, a

09:06:43   8   freight disadvantage, so United preemptively lowered its

09:06:48   9   price out of the gate to be more competitive to Imperial.

09:06:5110     This shows how freight cost effects price United

09:06:5611     competitiveness to reach this customer.       This shows

09:06:5612     Imperial's mere presence in this market is constraining

09:06:5913     United's price.

09:07:0114                    Your Honor will also hear from customers on this

09:07:0315     topic.   They will say that transportation cost effects the

09:07:0716     options available to them at competitive prices.         So all of

09:07:1117     this ordinary course evidence will show that sugar markets

09:07:1418     are regional and that's largely due to freight costs.

09:07:1719                    So now, how does the government establish its

09:07:2120     prima facie case that there is a reasonable probability that

09:07:2421     the merger would produce anticompetitive effect in these

09:07:2822     relevant markets?    To prove its case, the government can

09:07:3523     establish a presumption that the merger is anticompetitive.

09:07:3724     And there is two ways that the government can establish this

09:07:4025     presumption.    First, market shares, market shares alone can
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09:07:44   1   establish a presumption of a post-merger market share of

09:07:49   2   thirty percent is enough to trigger this presumption, that

09:07:52   3   is what a court in this district in the Energy Solutions

09:07:55   4   case held following Supreme Court precedent.

09:07:58   5                So we can -- there is a second way to establish

09:08:02   6   a presumption and that's based on market concentration.

09:08:06   7   Courts look at market concentration using another analytical

09:08:10   8   tool used the Herfindahl-Hirschman Index or HHI.         Courts

09:08:16   9   rely on this HHI concentration routinely because it's a good

09:08:2110     indicator of the likely effect of competition on a merger.

09:08:2411     We can see that the Third Circuit in the FTC Hackensack case

09:08:2912     just affirmed this.    There is presumption of harm in merger

09:08:3413     if the post merger HHI concentration is above 2,500, and the

09:08:3814     increase in that concentration is more than 200.

09:08:4115                  The experience has shown that the more

09:08:4216     concentrated the market the less competition there is.          Less

09:08:4717     competition means higher prices and lower quality and

09:08:4918     service.   So let's take a look at the market shares in HHI

09:08:5319     and our case.    We can see here on the slide for both

09:08:5720     relevant markets we will establish the presumption.         On the

09:09:0021     left we have the market shares, and in a narrow market, the

09:09:0422     post-merger market share of United will be 54 percent.          And

09:09:0923     in the broader market, United post-merger market share will

09:09:1424     be 46 percent.   Well above the presumption.       The same with

09:09:1925     HHI as we can see in both relevant markets, well above the
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09:09:23   1   presumption.

09:09:24   2                  Now, we expect the defendant to quibble over

09:09:28   3   where we draw the boundaries of the relevant markets, but it

09:09:32   4   doesn't matter.    The evidence will show that the precise

09:09:35   5   boundaries do not change the outcome of this analysis.          We

09:09:39   6   can add states but the picture is the same.        United's market

09:09:43   7   share will be significant, more than 30 percent.         The

09:09:47   8   post-merger market will be concentrated and there will be a

09:09:51   9   dramatic increase in concentration and the market will be

09:09:5410     dominated by two equally large suppliers, United and Domino.

09:09:5911     And as I said, in the Hackensack case, the Third Circuit

09:10:0412     just reaffirmed last month that courts need no further

09:10:0713     evidence than this market share analysis, full stop, to

09:10:1114     establish the presumption.

09:10:1215                    And what this means Your Honor, once this

09:10:1616     presumption is established the burden shifts to the

09:10:1817     defendant to try to produce evidence that the market share

09:10:2218     statistics do not paint an accurate picture of the merger's

09:10:2819     probable effects on competition.      The defendants will not be

09:10:3020     able to do that.

09:10:3121                    So Your Honor, we could rest our case on

09:10:3422     establishing a presumption of harm, but we will not do that.

09:10:3823     On top of the market shares that HHI concentration analysis,

09:10:4224     we will show additional evidence that this merger would

09:10:4525     likely cause harm.    Earlier, I showed Your Honor some
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09:10:49   1   documents from the defendant illustrating current

09:10:52   2   head-to-head competition between United and Imperial and how

09:10:55   3   that has been driving prices lower.      That is direct evidence

09:11:00   4   that strengthens this presumption that the merger would be

09:11:03   5   anticompetitive.   In addition to this evidence, the evidence

09:11:07   6   will show that competition between United and Imperial is

09:11:10   7   likely to only intensify in the future, if they remain

09:11:17   8   independent competitors.     Independent of this merger, United

09:11:20   9   is looking to compete harder in the southeast and United was

09:11:2410     going to put resources into doing that.       That's what

09:11:2711     United's own documents will show.      And we have some of that

09:11:2912     evidence here on the slide that we have up on the public

09:11:3213     screen.   On the left side we have an e-mail from United's

09:11:3514     vice-president of strategy, Steve Hines.       He also will

09:11:3815     testify in this case.    And we can see United is considering

09:11:4116     ways to compete harder in the southeast, SE products, that

09:11:4617     means selling more sugar in the southeast.        And we can see

09:11:4918     that the goal is to attack the market like Chicago and that

09:11:5419     market is considered the southeast.

09:11:5920                  Chicago in that e-mail is a reference to a sale

09:12:0121     strategy that United put in place in the Chicago area to

09:12:0622     increase its profit and we can see on the documents on the

09:12:0923     right side their claim to deploy that Chicago strategy to

09:12:1524     the southeast, we can see that document, southeast strategy.

09:12:1825                  To support this strategy, United's top
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09:12:23   1   executives recommended adding equipment, equipment for

09:12:27   2   bagging at the Clewiston Refinery so it could increase its

09:12:34   3   sales to customers in the southeast and they recommended

09:12:37   4   hiring sales manager to support this expansion.        United has

09:12:40   5   not yet moved forward with this expansion and the testimony

09:12:42   6   will show that rather than doing the hard work of competing,

09:12:46   7   they're trying to acquire Imperial.      Acquisition instead of

09:12:51   8   competition.

09:12:53   9                  Now, let's talk about coordinated effects.       On

09:12:5910     top of losing the head-to-head competition between United

09:13:0311     and Imperial, we will present evidence that this merger

09:13:0612     would likely increase a risk of harmful coordinated effects.

09:13:1113     So what do we mean by coordinated effects, Your Honor?

09:13:1414     There are you different kind of coordinated conduct by

09:13:1815     competitors all of which tend to lessen competition.         We all

09:13:2216     know that it's harmful for competitors to get into smoke

09:13:2617     filled rooms and to agree to raise prices, but competitors

09:13:3018     don't need to be in a smoke filled room to achieve the same

09:13:3419     result.   One competitor can raise its price and the other

09:13:3720     competitors can see that happening in the market and they

09:13:4021     can realize that they would be better off raising their own

09:13:4322     prices instead of competing more aggressively, or

09:13:4623     competitors can take a step further and they can find ways

09:13:4924     to signal each other directly or indirectly to accommodate

09:13:5325     each other's pricing actions in the market.        When evaluating
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09:13:58   1   the effect of a merger, we worry about this kind of behavior

09:14:01   2   because the fewer competitors there are, the easier it is

09:14:05   3   for this type of behavior to be successful.

09:14:08   4                To show that the relevant markets in this case

09:14:12   5   are vulnerable to this type of conduct the evidence will

09:14:16   6   show that competitors, especially United and Domino, are

09:14:19   7   already doing this kind of coordinated conduct that tends to

09:14:24   8   lessen competition.    Let's take a look at some of the

09:14:27   9   evidence.

09:14:2710                  On the slide here, we have an e-mail from

09:14:3111     Domino's vice-president of industrial sales, Alan Henderson

09:14:3612     discussing a price quote to a customer.       The evidence will

09:14:3913     show that one of Henderson's subordinates reports that they

09:14:4414     know Domino is competing against Domino and Imperial and he

09:14:4815     asked for authority to cut prices.      But here in this e-mail

09:14:5216     we can see that Henderson refuses to cut prices as much as

09:14:5717     he would like to, and he says we would like to avoid sending

09:15:0218     out a signal to competitors that Domino is chasing business

09:15:0619     and lowering pricing.    What this means is Domino was not

09:15:0920     willing to cut its price for this customer.        We can see here

09:15:1321     in this e-mail, Domino is trying to keep prices high and

09:15:1722     he's counting on his few remaining competitors to do the

09:15:2123     same.   But the evidence will show Imperial was willing to

09:15:2424     lower its price.   We have redacted the name of this customer

09:15:2725     and you will hear from this customer later at trial and the
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09:15:30   1   evidence will show that Imperial was willing to drop its

09:15:33   2   price for this customer for this bid.       This pulling of

09:15:38   3   punches is textbook, textbook coordinated activity that

09:15:43   4   tends to lessen competition in the market.        With Imperial

09:15:46   5   out of the mix, this strategy is likely to be more

09:15:50   6   successful.   And United and Domino don't just stop at this

09:15:55   7   type of coordination, they use a go between, Richard

09:16:00   8   Wistisen, who is supposed to be some sort of consultant.

09:16:03   9   They use him as a conduit to exchange pricing and they are

09:16:0310     selling capacity information.

09:16:0711                   You will see that evidence that United and

09:16:0912     Domino, who are supposed to be competitors have be been

09:16:1213     telegraphing their pricing strategy to one another while

09:16:1614     providing competitively sensitive information to this go

09:16:1915     between, Wistisen.    Let's take a look at just one of these

09:16:2516     e-mail exchanges.    We can see this go between, Wistisen,

09:16:3017     e-mailed United and Domino less than an hour apart, he asked

09:16:3318     virtually the same question, what are you hearing on prices.

09:16:3619                   On the next slide we can look at United and

09:16:3820     Domino's responses to Wistisen.      On the left, we can see

09:16:4421     United structure response to the go between, United shares

09:16:4722     its current pricing information and goes on to share

09:16:5223     United's future pricing plan saying that United will

09:16:5524     probably go higher given our strong sold position.         Sold

09:16:5925     position means selling capacity.      How much sugar has United
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09:17:03   1   sold so how much more sugar does United have left to sell.

09:17:08   2   And the evidence will show with a strong sold position, you

09:17:11   3   feel less pressure to discount prices.       And this is really

09:17:15   4   important, if you know your competitor has a large

09:17:18   5   percentage of its available sugar, then they are less likely

09:17:22   6   to compete aggressively by discounting prices.        So you know,

09:17:27   7   you are more likely to be successful in raising your own

09:17:30   8   prices.   On the right, we see Domino's response to this go

09:17:35   9   between's question and we see Domino's share its pricing

09:17:4310     information.    Dominoes also shared paid coverage that is 85

09:17:4411     to 90 percent, that's sold position.

09:17:4712                    At this point Your Honor, the go between has

09:17:5013     received pricing information from United and from Domino.

09:17:5314     So now, what does he do with it?      We can see that on the

09:17:5515     next slide.    The next morning, Wistisen takes this Domino

09:18:0016     pricing information and selling capacity and he sends it

09:18:0317     back to United and Wistisen writes here in this e-mail, ASR

09:18:0918     is saying that prices are going up, he provides the specific

09:18:1319     numbers and their sold position.

09:18:1520                    And now we go to the next page we can see

09:18:1921     Wistisen does what he does with United information, we see

09:18:2222     here Wistisen takes the United pricing information and sends

09:18:2623     it back to Domino, he confirmed that United said that they

09:18:3024     will "probably be taking prices higher given strong sold

09:18:3525     position."    How can this kind of information exchange we see
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09:18:40   1   here lead to less competition in the market?        When you know

09:18:44   2   your competitor's prices or that your competitor is raising

09:18:48   3   prices, it's easier to avoid a price fight.

09:18:52   4                The evidence will show that Wistisen routinely

09:18:56   5   communicated with both United and Domino about their

09:18:59   6   pricing, their pricing strategies and about market sold

09:19:02   7   position.   This information, these information exchanges are

09:19:05   8   powerful evidence that the sugar market is already

09:19:08   9   vulnerable to coordinated conduct.      United and Domino have

09:19:1310     demonstrated the means and the incentives to coordinate

09:19:1711     their pricing.   That means that mergers in this industry

09:19:2012     have an especially high risk of making this kind of

09:19:2313     coordinated behavior even worse just because there is one

09:19:2714     less company involved.    This is where Judge Posner warned

09:19:3215     about in the Seventh Circuit, HCA versus FTC, why

09:19:3916     competitors routinely exchange pricing information, we are

09:19:4317     entitled to worry even more about large mergers in the

09:19:4718     industry.

09:19:4719                  Now, Your Honor, we expect defendants to try to

09:19:5020     wash their hands of this evidence by saying they're merely

09:19:5421     exchanging spot prices.    Now the antitrust laws do not have

09:19:5822     an exception for exchanging current spot pricing, and it

09:20:0223     doesn't use make it okay to use a go between like

09:20:0624     Mr. Wistisen to do this exchanging.      But in any event as we

09:20:1025     saw in these e-mail exchanges that we have on the slide, the
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09:20:13   1   evidence will show that these exchanges go well beyond

09:20:17   2   exchanging current spot pricing.      United and Domino shared

09:20:20   3   future pricing strategies and they divulge their selling

09:20:24   4   capacity information, that's coordination.

09:20:28   5                Now all of this evidence, the competitive

09:20:31   6   effects from the head-to-head competition to the loss of

09:20:34   7   expected increase in competition, to this evidence of

09:20:39   8   coordinated activity, all of that evidence is consistent

09:20:42   9   with and it bolsters the statistical evidence that this

09:20:4610     merger is presumptively unlawful.      So that evidence will

09:20:5111     establish your prima facie case and then the burden will

09:20:5512     shift to the defendants to rebut that evidence.        But none of

09:20:5813     their arguments will discredit the market shares or the

09:21:0114     concentration analysis that the government will put forth in

09:21:0515     this case.

09:21:0516                  Let me address just a few of their defenses.         We

09:21:1017     expect defendants to say we should treat distributors just

09:21:1418     like sugar producers are treated.      Distributors have to buy

09:21:2019     sugar from the sugar producers.      This argument from the

09:21:2520     defendants, distributors are dependant on sugar producers.

09:21:2921     The evidence will show the following.       To reach customers

09:21:3222     sugar first needs to be refined.      Distributors have no

09:21:3623     refining capacity, nor independent access to sugar.

09:21:4324     Distributors must first buy the sugar from producers at

09:21:4725     arm's length and the evidence will show that distributors
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09:21:50   1   have the ability to adjust their pricing to encumber the

09:21:55   2   distributor's ability to sell.

09:21:56   3                  On the screen, Your Honor, we have a document

09:21:58   4   prepared for the United board of directors and it's

09:22:01   5   regarding a strategy in Chicago.      And that strategy entailed

09:22:08   6   reducing the amount of sugar it sold to distributors in the

09:22:11   7   Chicago area.    In turn United increased the price of the

09:22:16   8   sugar it did sell to distributors in the area.        So from this

09:22:19   9   evidence, we can see that distributors are subject to the

09:22:2210     market power of producers from which they have to buy the

09:22:2311     sugar, similar to any other customer.

09:22:2712                    We also expect defendants will claim there are

09:22:3113     small efficiencies, but the Third Circuit is skeptical that

09:22:3514     such a defense exist.    And it also set a high bar to meet an

09:22:3915     efficiency defense.    And defendants will not be able to

09:22:4216     overcome that high bar.

09:22:4517                    And finally, Your Honor, let me address the

09:22:4718     notion that more government regulation, the notion that more

09:22:5319     government regulation is going to solve the problem.         This

09:22:5620     ignores the commercial reality that competition still

09:23:0021     matters in the sugar industry.      Even regulated industries

09:23:0422     need competition.    And the Supreme Court has made clear that

09:23:0923     competition still matters in regulated industries.

09:23:1224                    Now, I want to be clear, USDA regulation is a

09:23:1625     market fact.    USDA regulation puts the price first and
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09:23:23   1   foremost, but USDA's role does not displace competition.

09:23:27   2   USDA regulation is no substitute for the enforcement of

09:23:33   3   antitrust laws.   We don't rely on government to deliver the

09:23:36   4   sugar, nor set the price of sugar.

09:23:38   5               THE COURT:    But they're setting a floor, meaning

09:23:41   6   what, they can't charge less?

09:23:43   7               MR. HANNA:    They set a price floor, effectively

09:23:46   8   a price floor, the price of sugar is never going to below a

09:23:51   9   certain price.    There is no ceiling on that.      What we're

09:23:5310     worried about is higher prices.

09:23:5411                 THE COURT:    I understand, but they can't go

09:23:5612     below that price, so -- right, the government will not let

09:24:0113     them sell below that price.

09:24:0314                 MR. HANNA:    Well, effectively they won't because

09:24:0715     the producers could forfeit, think of it as loan program so

09:24:1116     effectively they could forfeit all the sugar and the

09:24:1517     government would then have to sell that sugar.        That's why

09:24:1718     effectively it's a price floor.      What we're concerned about

09:24:2119     in this merger --

09:24:2220                 THE COURT:    I know what you're concerned about.

09:24:2421     I think it is kind of funny that there is a floor meaning

09:24:2722     you can't go below something and yet you're worried about

09:24:3223     price going too high.    Right?

09:24:3324                 MR. HANNA:    Right, because the USDA regulations

09:24:3825     does not have any -- does not --
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09:24:40   1                  THE COURT:   I know it doesn't cap it, but they

09:24:44   2   couldn't give it away.      Never mind.   We'll get to it later.

09:24:47   3   Go ahead.

09:24:49   4                  MR. HANNA:   We will show evidence at this trial,

09:24:53   5   Your Honor, that suppliers and customers are negotiating

09:24:57   6   every day to determine the price of sugar.        In America we

09:25:01   7   rely on competition to set prices.        Defendants are asking us

09:25:06   8   to trust regulations, but the law tells us to trust

09:25:11   9   competition.    The very argument from the defendants will not

09:25:1610     rebut the presumption.      Competition between United and

09:25:2011     Imperial matters today and it will continue to matter in the

09:25:2312     future.   We seek to prevent the elimination of this

09:25:2713     competition.    Therefore, when the evidence is all in, we

09:25:3114     will ask Your Honor to enjoin the merger between US Sugar

09:25:3515     and Imperial.

09:25:3616                    Thank you for your time and consideration.

09:25:3717                    THE COURT:   Thank you.

09:25:4518                    MR. BUTERMAN:   Good morning, Your Honor.       Larry

09:26:1219     Buterman on behalf of US Sugar.      And I am going to be

09:26:1520     providing the main presentation for the defendants and then

09:26:1721     afterward my colleague, Mr. Tim Cameron, will follow-up with

09:26:2222     some brief words on behalf of Imperial.

09:26:2523                    Your Honor, this case is about one thing and one

09:26:2724     thing only, will US Sugar owning Imperial lead to

09:26:3025     substantially higher sugar prices?        In other words, is
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09:26:34   1   Imperial today a stand-alone entity keeping prices

09:26:38   2   significantly lower in this industry than they would be

09:26:41   3   otherwise?

09:26:42   4                Now, the government just presented a theory

09:26:45   5   based on market shares and legal presumptions.        It's a

09:26:50   6   theory that focuses on an arbitrary set of states and only

09:26:53   7   looks at certain suppliers and customers within those

09:26:56   8   states, and actively ignores everything else.

09:27:00   9                But what I am going to talk about today is not

09:27:0210     theory but rather reality, and specifically the real world

09:27:0811     facts and commercial realities of the sugar industry, and

09:27:1112     the parties to this transaction, US Sugar and Imperial.          And

09:27:1613     it's critical that we talk about facts instead of theory

09:27:1914     because at the end of the day it's the facts that explain

09:27:2215     why this transaction simply cannot lead to higher prices.

09:27:2816     We will show that the government's theory is illogical and

09:27:3217     the evidence simply does not support it.

09:27:3418                  When I say the evidence, let me be clear what

09:27:3719     I'm talking about.    Neither the documents, the witnesses,

09:27:4120     nor the industry experts back up the theory that the

09:27:4521     government is postulating.     Let me take each of those in

09:27:4922     turn.

09:27:4923                  First, there are no documents indicating that US

09:27:5324     Sugar's acquisition of Imperial is motivated by a desire to

09:27:5625     eliminate competition or to raise prices, or that US Sugar,
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09:28:01   1   its marketing cooperative United or frankly anyone else in

09:28:05   2   the industry thinks that that's going to happen and that's

09:28:09   3   important because successful government challenges typically

09:28:12   4   focus on contemporaneous evidence that the merging parties

09:28:16   5   and others believe that the transaction is going to

09:28:19   6   substantially lessen competition and lead to higher prices.

09:28:22   7                  Second, unlike the typical merger challenge,

09:28:26   8   we're not going to hear from a parade of customers

09:28:29   9   complaining about this deal or asserting that it's going to

09:28:3210     lead to higher prices.    Customers instead are going to

09:28:3511     testify that they have plenty of options when it comes to

09:28:3812     purchasing sugar.    And that this transaction simply will not

09:28:4313     change that.

09:28:4514                    And third, and perhaps most uniquely, here there

09:28:4915     are industry experts at the USDA who regulate the sugar

09:28:5416     industry and the only one that we're going to hear from is

09:28:5717     Dr. Barbara Fecso who is the Ph.D. economist who runs the

09:29:0318     country's sugar program.     And Dr. Fecso will testify that

09:29:0619     based on her twenty-five years of real world experience

09:29:0920     analyzing the industry, that she believes contrary to the

09:29:1421     government's theory that this transaction will benefit the

09:29:1722     marketplace and not lead to higher prices or other harms.

09:29:2023                    Now, at the same time, Dr. Fecso is going to

09:29:2624     testify that even if prices were to go up in the future as a

09:29:2925     result of this deal, that the government has the tools
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09:29:32   1   available to remedy that themselves.

09:29:35   2               Your Honor, if the government's theory were

09:29:40   3   straightforward and correct as they claim, they would have

09:29:42   4   support, but the lack of documents, customer testimony, and

09:29:45   5   backing from the regulatory agency that oversees the sugar

09:29:49   6   industry, those are glaring evidentiary failures.         And they

09:29:53   7   highlight that the government's case just does not comport

09:29:56   8   with industry reality.

09:29:58   9               And the reason that's critical is because in the

09:30:0110     country's most well-known merger case, Brown Shoe, the

09:30:0511     Supreme Court noted that merger analysis has to be pragmatic

09:30:1012     and factual, it has to correspond to commercial and industry

09:30:1413     realities, it has to be grounded in common sense.         And

09:30:1814     respectfully the government's case here is not.

09:30:2015                 So with that said, what I would like to do this

09:30:2416     morning is first discuss three commercial realities that

09:30:2817     help explain why the government's theory does not make sense

09:30:3118     in the real world.

09:30:3319                 Second, I am going to provide some background on

09:30:3620     why US Sugar is actually seeking to acquire Imperial.           And

09:30:4021     third, I want to discuss some of the key issues relating to

09:30:4322     the government's market definition and competitive effects

09:30:4723     analysis.

09:30:4724                 Let's begin with the commercial realities.           And

09:30:5125     the fundamental reality of the sugar industry that the
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09:30:55   1   government ignores is that sugar flows.       Ultimately, what we

09:30:59   2   will show is that the flow of sugar is critical to

09:31:02   3   understanding why the government's proposed geographic

09:31:05   4   market in this case doesn't work and is truly gerrymandered.

09:31:09   5   But for now just focus on the underlying facts.        Sugar is

09:31:13   6   made in only two parts of the country.       Sugar is produced

09:31:16   7   from beets and in cold climates up north in the area known

09:31:21   8   as the Red River Valley of Minnesota and North Dakota and

09:31:25   9   nearby states like Wyoming, Michigan and Montana; while

09:31:3010     sugar made from cane is produced down south in areas like

09:31:3411     Florida, Texas, Georgia and Louisiana.       And the resulting

09:31:3912     sugar that comes from beets and cane is chemically

09:31:4313     identical.

09:31:4314                   Now, despite the fact that sugar is only made in

09:31:4715     a limited number of states, sugar flows throughout the

09:31:5116     entire country.   Sugar from up north flows down to customers

09:31:5517     in the central states, flows over to the southeast and flows

09:31:5918     across to the northeast.     While the sugar produced down

09:32:0319     south flows up the East Coast through the southeast and also

09:32:0620     to the central states.    And at the same time sugar produced

09:32:1021     up north and south is also making its way all the way to the

09:32:1422     West Coast.

09:32:1523                   Now, sugar is flowing as companies are

09:32:1924     constantly adjusting their distribution plans in order to

09:32:2425     enure that they're delivering the products in the most
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09:32:26   1   efficient manner.    Companies are taking advantage of

09:32:30   2   inexpensive rail freight and a network of transportation to

09:32:34   3   ship sugar across the country.      What you'll see on these

09:32:37   4   slides, Your Honor, are a few ordinary course documents

09:32:41   5   where industry participants recognize the reality of sugar

09:32:45   6   flowing.   And I mention this because the government spent a

09:32:49   7   lot of time on slides that they say -- that they claim

09:32:52   8   supports one of their proposed markets.

09:32:55   9                Well, this is a slide from the same

09:32:5710     presentation, in fact the slide that comes right after the

09:32:5911     one they showed you.    And it's not the only one, Your Honor.

09:33:0612     There other slides in this presentation and others, and what

09:33:0913     they show is that industry participants look at the market

09:33:1314     in numerous different ways.     But regardless, regardless of

09:33:1715     how they look at it, what they all recognize is that sugar

09:33:2216     flows in and out of regions easily.      And it's not just that

09:33:2817     sugar is flowing within this country, sugar is also flowing

09:33:3318     into this country.    Today there are forty countries that are

09:33:3719     shipping sugar into the United States and are able to do so

09:33:4120     at competitive prices.

09:33:4221                  Now, the reason why sugar flowing is so critical

09:33:4722     is because as we heard, the government's theory hinges on

09:33:5023     the idea that after US Sugar acquires Imperial, United will

09:33:5524     be able to raise prices in the government's claimed market

09:33:5925     which incidentally is not that market, Your Honor.         And
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09:34:03   1   companies will not be able to ship sugar into the southeast

09:34:06   2   to defeat those price increases.      But the reality today is

09:34:11   3   that virtually every customer in the government's geographic

09:34:16   4   market solicits bids from sugar companies all across the

09:34:20   5   United States, both those located within the government's

09:34:22   6   relevant markets and those outside.

09:34:24   7                And as a result of that, Your Honor, as you can

09:34:27   8   see right here, under current market prices, significant

09:34:31   9   amounts of sugar are being shipped into the government's

09:34:3510     relevant markets from locations all across the country.

09:34:4111                  And if there is any doubt about this point, we

09:34:4412     can just look at the government's complaint.        And here is a

09:34:4813     chart from their complaint.     And if you look at those blue

09:34:5214     boxes, Your Honor, what they show is that United is actually

09:34:5615     shipping more sugar to customers in the government's

09:35:0016     proposed southeast market from those beet producers up north

09:35:0517     in Minnesota, Montana, North Dakota and Wyoming, they are

09:35:1118     shipping from US Sugar's facility in Clewiston, Florida

09:35:1619     which is located in the government's proposed southeast

09:35:1920     market.   This chart also shows a couple of other things,

09:35:2221     including that ASR and LSR are shipping in sugar from

09:35:2822     Louisiana and NSM is shipping in sugar from the same states

09:35:3323     up north as United.    In fact, in 2020, close to half of the

09:35:3824     sugar sold to customers in the southeast came from suppliers

09:35:4225     located outside of the government's alleged relevant market.
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09:35:47   1                Counsel in his opening said that competition is

09:35:51   2   regional, but how is the competition regional if there is as

09:35:56   3   much sugar being sold from outside the region as within, it

09:36:00   4   just doesn't make any sense.     And if that much sugar is

09:36:05   5   already pouring into the southeast, then if United were to

09:36:09   6   try to raise prices, well logically, suppliers would just

09:36:13   7   sell more sugar into the area to get the benefit of those

09:36:16   8   higher prices, and what economics and the law tell us is

09:36:20   9   that if that were to happen, well then the prices would just

09:36:2510     not go up.

09:36:2611                  By the way, Your Honor, it's not just that there

09:36:2812     is sugar pouring into the southeast, but as I mentioned

09:36:3213     earlier, there is also sugar flowing through the southeast

09:36:3614     so companies like LSR who is in Louisiana, they ship their

09:36:4115     sugar from Louisiana up to customers in the northeast in

09:36:4716     railcars that go through the government's proposed southeast

09:36:5117     market.   If prices were to go up, all they would need to do

09:36:5518     is literally stop their trains along the way and sell that

09:36:5819     sugar to customers for more money.      But for the government's

09:37:0320     case to hold up, they have to establish that that just won't

09:37:0621     happen.   That somehow the amount of sugar that's going into

09:37:0922     the southeast today, that that's a hard cap, that suppliers

09:37:1423     can't ship an ounce more sugar into that area or anyone's

09:37:2024     product out of it, even if prices were to go up

09:37:2225     significantly.   The government has no evidence and that's
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09:37:24   1   going to doom their case from the outset.

09:37:27   2               Now, the second commercial reality that explains

09:37:31   3   why the government's theory just doesn't work here is that

09:37:35   4   Imperial is not typically a competitive constraint on United

09:37:40   5   or anyone else regardless of market shares or how close it

09:37:44   6   is physically located to customers.      And the evidence will

09:37:48   7   show that Imperial's cost structure is higher than that of

09:37:52   8   its competitors.   And that is because unlike companies like

09:37:55   9   US Sugar, ASR, Domino, LSR and others, Imperial just doesn't

09:38:0410     grow sugarcane, instead Imperial purchases raw sugar

09:38:0811     primarily from foreign sources and then refines it.         To

09:38:1212     understand the magnitude of this issue, this is a chart

09:38:1413     which shows in 2021, how much more expensive it was for

09:38:2014     Imperial to get raw sugar than it was for US Sugar.         What we

09:38:2415     can see on this chart, is that for US Sugar to get to the

09:38:2816     step of having raw sugar to refine, it cost about $22 per

09:38:3217     hundred pounds.    But for Imperial, that cost in 2021 was

09:38:3618     about $29, roughly 30 percent higher.

09:38:4219                 Now, you'll hear from Mr. Gorrell, the CEO of

09:38:4620     Imperial, how the higher cost to acquire his raw sugar makes

09:38:5021     it extremely difficult for Imperial to compete on a regular

09:38:5322     basis with companies like United, Cargill, Domino, NSM and

09:38:5923     others, and indeed that's one of the reasons that Imperial's

09:39:0124     owners have decided to sell the company because a company

09:39:0425     that starts off with production costs that are
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09:39:07   1   thirty percent higher than its competitors just is not going

09:39:11   2   to be a competitive constraint in the market.

09:39:14   3                So how does this play out and affect Imperial's

09:39:19   4   business?   Let's take one example, Kraft Heinz.       Kraft Heinz

09:39:24   5   is responsible for almost all wholesale sugar purchased in

09:39:27   6   Delaware.   And as we know, Delaware is in the government's

09:39:33   7   alleged southeast relevant market.      And Kraft, they get

09:39:36   8   their sugar shipped into Delaware from companies both within

09:39:40   9   and outside of that alleged southeast.       And of the companies

09:39:4410     that supply Kraft's Delaware facility, Imperial is located

09:39:4811     one of the closest.    When you have look at the prices that

09:39:5212     Kraft is paying in 2022 for sugar delivered to its Delaware

09:39:5713     plant, what you see is the Imperial is the most expensive

09:40:0314     option and by a lot.

09:40:0415                  Your Honor, we did not put these numbers on the

09:40:0716     board but Your Honor has them in the material.

09:40:1817                  THE COURT:   Okay.

09:40:1918                  MR. BUTERMAN:    And they reflect something that

09:40:2219     we're going to see time and time again over the next several

09:40:2520     days, and that is that Imperial is just not typically a

09:40:2921     competitive constraint when it comes to sugar sales, no

09:40:3322     matter how close or how far it is from a customer.         And

09:40:3623     unless the government can establish that Imperial is

09:40:3924     operating today as a significant competitive constraint, it

09:40:4325     cannot credibly contend that Imperial's acquisition is going
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09:40:47   1   to substantially impact competition.       When we move away from

09:40:54   2   theories and market shares and legal presumptions and we

09:41:00   3   then we look at what the industry participants actually

09:41:03   4   believe and experience, What we see is the pricing reality

09:41:08   5   that's taking place with Kraft in Delaware, that's something

09:41:10   6   that almost every customer that we will hear from in this

09:41:14   7   case echoes.    Let's just look at a few.     And actually I

09:41:19   8   shouldn't say we're going to look at a few, we're going to

09:41:22   9   look at all of them, Your Honor.      These are all of the

09:41:2410     customers that will appear in this case.

09:41:2611                    This is Brill, a bakery ingredients company and

09:41:3012     we'll hear from Brill that the Imperial's prices to Brill's

09:41:3313     facility in Georgia, which is also where Imperial's facility

09:41:3814     is located, have been higher than suppliers much further

09:41:4215     away, including NSM that beet producer all the way up north.

09:41:4716     We're going to hear from Hostess that Imperial was higher

09:41:5017     priced than other suppliers, even to Hostess's Georgia's

09:41:5618     facility.   And because Imperial is so high priced, the

09:41:5919     representative couldn't even say whether he preferred to

09:42:0420     have Imperial remain independent in the market.

09:42:0621                    We'll hear from McKee who makes Little Debbie

09:42:1022     snack cakes, who will say that they haven't purchased any

09:42:1523     sugar from Imperial since at least 2016 because Imperial was

09:42:2024     not competitive on price and the prices that McKee has

09:42:2425     received since 2016 have not been influenced by Imperial.
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09:42:28   1                 I missed one.   Let's go back.     We'll hear from

09:42:30   2   Danone, the makers of Dannon Yogurt products who have a

09:42:36   3   plant in Florida and they'll testify that they haven't

09:42:39   4   bought from Imperial in four years and that Imperial doesn't

09:42:42   5   compete in their business.     We'll hear from Post that

09:42:45   6   Imperial hasn't been competitive on pricing, to the Post

09:42:50   7   North Carolina facility even though it's one of the closest

09:42:55   8   refineries.

09:42:56   9                 We're going to hear from General Mills and we

09:43:0010     have blocked out their actual testimony again because they

09:43:0211     requested it for broadcasting, and what they are going to

09:43:0312     testify is going to be that they didn't award any bulk sugar

09:43:0813     contracts this year to Imperial.      In 2021 they purchased

09:43:1214     more refined sugar from at least six companies.        We're going

09:43:1715     to hear from Kraft that of the thirty-seven plants, Imperial

09:43:2016     is only servicing that one Delaware facility and that it's

09:43:2617     by far the most expensive supplier.      That is what all the

09:43:2918     customers in this case are going to testify about what is

09:43:3219     going on in the real world, all except for one exception, a

09:43:3620     small North Carolina peppermint puff manufacturer named

09:43:4421     Piedmont, whose purchaser has testified he has made no

09:43:4822     effort to understand what his supplier options are.

09:43:5123                   Now, typically the concern in merger challenges

09:43:5424     is that a company that was keeping prices low is being

09:43:5825     removed from the market, but the government hasn't even
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09:44:03   1   attempted to claim that Imperial is keeping prices low in

09:44:07   2   the market.   As the customer observations that we just

09:44:11   3   looked at made clear, that's just not what's going on here.

09:44:14   4   But for the government's theory to work, they must establish

09:44:17   5   that by purchasing the high cost supplier in this industry,

09:44:20   6   somehow that's going to lead to higher prices.

09:44:24   7   Respectfully, that makes no sense.      As defendants' expert,

09:44:29   8   Dr. Hill, will testify, when you're charging more than

09:44:33   9   everyone else, which tends to be the case with respect to

09:44:3610     Imperial, you just aren't a competitive constraint on others

09:44:4011     prices.   And for that reason as well, this acquisition

09:44:4412     simply will not lead to higher prices.

09:44:4813                   Now, there is a third and final commercial

09:44:5214     reality that I want to talk about which explains why the

09:44:5515     government's theory here just doesn't work.        And that

09:44:5816     reality is that United, which is the entity that sells US

09:45:0317     Sugar's sugar, United is structured in such a way that it

09:45:0818     actually cannot do the very thing that the government's

09:45:1219     expert says is necessary to raise prices which is to

09:45:1520     withhold supply from the marketplace.

09:45:1721                   We will hear more about this during trial, but

09:45:2022     the key thing to understand is that United has a different

09:45:2323     structure than most businesses in the United States.          United

09:45:2724     is an agricultural cooperative, and as such it's obligated

09:45:3225     to sell all the sugar that its members produce.        Now, at the
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09:45:37   1   same time, United's members are each incentivized to produce

09:45:43   2   as much sugar as they can because they get paid for all the

09:45:46   3   sugar they produce.    So basic economics, which is confirmed

09:45:51   4   by the government's expert, it dictates to get those higher

09:45:54   5   prices what you have to do is you have to withhold supply,

09:45:58   6   you have to sell less sugar, but United simply can't do

09:46:02   7   that, it doesn't have the power to stop selling sugar.

09:46:05   8   Again, the real world facts here just don't support the

09:46:08   9   government's theory of harm.

09:46:1110                   So with that backdrop, what I would like to do

09:46:1511     now is just briefly talk about US Sugar and why US Sugar is

09:46:2012     actually doing this deal.     To begin, Your Honor, this is US

09:46:2313     Sugar.   It's a ninety-year old farming company based in

09:46:2714     Clewiston, Florida which is halfway between Fort Myers and

09:46:3115     Palm Beach.   US Sugar grows sugarcane, sweet corn, citrus

09:46:3716     and other vegetables and the company is owned primarily by

09:46:4017     its farmers and by its employees and a large charitable

09:46:4418     organization, it's run by Dr. Bob Buker, who is here and

09:46:4819     will testify in a couple of days.      As you'll hear from

09:46:5220     Mr. Buker it was his decision for US Sugar to purchase

09:46:5721     Imperial.   He will testify to the many rationales, but it

09:46:5922     all starts with one simple fact.      Today, US Sugar's farmers

09:47:0423     grow more sugarcane than they can make into refined sugar

09:47:0824     and they need additional refining capacity.

09:47:1125                   At the same time, Imperial because of its higher
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09:47:13   1   production costs and the lack of a steady supply of sugar,

09:47:17   2   of raw sugar, they just can't operate as efficiently as they

09:47:23   3   would like to.   This transaction, it solves that imbalance.

09:47:27   4   After this acquisition, US Sugar is going to modernize and

09:47:31   5   increase the efficiency of the Imperial plant and use it to

09:47:35   6   process the excess raw that it previously couldn't process.

09:47:39   7   And that's going to result in more sugar being produced in

09:47:42   8   the very geographic area that the government says it's

09:47:45   9   concerned about.   And as the government's economic expert

09:47:5110     admits, if you're going to be producing more of a product,

09:47:5411     the price of it is going to go down.       It's another reality

09:47:5912     that just shows why the government's theory doesn't work.

09:48:0313                 Now, beyond that there are a host of other

09:48:0614     reasons why US Sugar decided to acquire Imperial and why it

09:48:1015     believes this transaction will be beneficial.        And I have

09:48:1316     listed them here, and Mr. Buker is going to testify about

09:48:1617     them later this week.    And as we'll see, these

09:48:2018     justifications will benefit US Sugar, Imperial Sugar and

09:48:2419     their customers by providing them with enhanced surety of

09:48:2920     supply and other benefits that companies can't generally

09:48:3221     achieve on their own without the deal.

09:48:3522                 So with that, I now want to take my remaining

09:48:3823     time to focus our discussion on a couple of elements of

09:48:4224     Section 7 analysis, and specifically market definition and

09:48:4425     competitive effects.    And I'm going to begin with market
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09:48:48   1   definition which is intended to allow the court to determine

09:48:51   2   what product and what customers specifically may be impacted

09:48:55   3   by the transaction.

09:48:56   4               Here as we're going to see, the government's

09:48:59   5   market definition, it reflects numerous strategic choices

09:49:05   6   which limit both the suppliers and the customers in the

09:49:07   7   market and thereby inflate the parties' market shares.          But

09:49:11   8   like the rest of the government's theory, the choices made

09:49:15   9   by the government simply do not align with how the industry

09:49:1910     or its participants operate.     And that's important because

09:49:2311     the government has to establish both a relevant product

09:49:2512     market and a relevant geographic market.       And if the

09:49:2913     government's market definition fails for any reason with

09:49:3214     respect to either of those, its case is over, we're done.

09:49:3615                 So let's look at product market.        Now, normally

09:49:4216     a relevant product market contains just that, some sort of

09:49:4717     object, be it hydrogen peroxide, airline ticket software,

09:49:5218     soda or soybeans.   Counsel here in its opening said

09:49:5719     repeatedly that the product market here is not in dispute,

09:50:0120     it's refined sugar.    But that's not what they put in their

09:50:0721     complaint, Your Honor.    Here is what they said.      They

09:50:1022     defined the relevant product market as not only based on the

09:50:1523     object, namely refined sugar, but also based on who is

09:50:1924     making it and who is selling it.

09:50:2325                 Now, the experts are going to talk about this a
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09:50:26   1   lot more in detail, but what's important to understand now

09:50:29   2   is that the decision to focus on the production and sale of

09:50:32   3   refined sugar as opposed to just refined sugar or the sale

09:50:36   4   of refined sugar, well, that artificially limits the number

09:50:42   5   of suppliers in this case dramatically by excluding all

09:50:47   6   distributors and other entities that do not produce the

09:50:55   7   sugar that they sell.    In essence, by defining the market as

09:50:57   8   the production and sale of refined sugar.       It's a way for

09:51:00   9   the government to try to make it seem like there are fewer

09:51:0410     competitors than there actually are.       And frankly again it

09:51:0711     just does not make sense.     The real world evidence is that

09:51:1112     customers today regularly solicit bids both from companies

09:51:1613     that produce their sugar alongside companies that do not,

09:51:2114     and they decide between the two when they make their

09:51:2415     purchasing decision.    Even the government's witness,

09:51:2816     Piedmont, that peppermint puff company, they're going to

09:51:3217     testify that they do exactly that.      They solicit bids both

09:51:3618     from those who would be within the government's relevant

09:51:4019     market and those who would not, alongside one another.          But

09:51:4420     the government's market definition --

09:51:4621                 THE COURT:    Is the government's market

09:51:4822     definition in your view, it leaves out distributors?

09:51:5523     Anything else?

09:51:5724                 MR. BUTERMAN:     It leaves out distributors and it

09:51:5925     also creates a problem, Your Honor, in that there is a
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09:52:02   1   question as to who actually is a producer of sugar versus

09:52:09   2   who is a producer and seller.     For instance, looking at this

09:52:13   3   definition, actually neither United nor US Sugar is in the

09:52:18   4   relevant market because one is the producer of the sugar,

09:52:22   5   the other one is the seller.     And that's a reality that

09:52:24   6   happens in this industry a lot.

09:52:26   7               And part of the problem again, it goes back to

09:52:29   8   this issue of looking at how the government assumes that

09:52:35   9   price is going to be affected here.      Because United isn't

09:52:3910     producing the sugar and has no say into how much sugar is

09:52:4211     being produced by its members, it just doesn't have those

09:52:4612     tools to affect price the way that the government contends.

09:52:5213     Our expert is going to talk about this a little bit, Your

09:52:5514     Honor, but you could run through virtually all the companies

09:52:5815     in the industry and there are numerous questions as to who

09:53:0216     is in, who is out, if you use this definition.

09:53:0617                 Now, one thing I want to just point out here is

09:53:1218     that the government's market definition, it treats every

09:53:1619     single distributor sale in the alleged relevant market as if

09:53:2120     it didn't happen.   And that's regardless of price, customers

09:53:2421     or competition.   So I understand that the government's

09:53:2922     position is well, in certain instances, a distributor may

09:53:3523     not really be as competitive with someone who produces their

09:53:3924     own sugar, but that's not the defining line that they take.

09:53:4325     They say because that's a reality in certain instances, we
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09:53:46   1   have to discount every single distributor sale.        There is

09:53:50   2   not one distributor sale that they -- to a wholesale

09:53:55   3   customer in the relevant markets that they count.         And as

09:53:59   4   that's a radical position that finds no support in the real

09:54:04   5   world and it dooms the government's product market.

09:54:07   6                There is another problem with the government's

09:54:10   7   product market and that's why while it artificially limits

09:54:14   8   the number of suppliers, it also increases without any basis

09:54:17   9   the number of customers who the government claims are going

09:54:2010     to be harmed.

09:54:2111                  So the government claims that the relevant

09:54:2612     product market here includes sugar sold to all wholesale

09:54:3113     customers.   And wholesale customers are not just the

09:54:3614     industrial customers like Hostess or Danone that purchase

09:54:3915     sugar to make their products, it's also retail customers

09:54:4216     like Wal-Mart and Dollar General who purchase sugar in

09:54:4517     smaller packaging to resell them in their stores.         And

09:54:4918     retail customers, they make up a significant portion of the

09:54:5319     customers in the government's claimed market.

09:54:5620                  As we will hear over the course of the next few

09:55:0021     days, in the real world, retail customers are viewed very

09:55:0522     differently from industrial customers.       Companies have

09:55:0823     different sales personnel and sale strategy for retail

09:55:1024     customers as opposed to industrial customers and retail

09:55:1325     customers experience very different competitive options when
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09:55:16   1   buying refined sugar.    But there will be no evidence

09:55:24   2   presented in this case from any retail customers.         The

09:55:29   3   government did not subpoena a single retail customer for

09:55:33   4   documents or testimony, none will appear here.        And so for a

09:55:39   5   significant portion of the customers in the government's

09:55:42   6   alleged relevant markets, the government simply has no basis

09:55:47   7   for even claiming that they will be harmed by this

09:55:50   8   transaction.    This is another reason why the government's

09:55:52   9   case fails.

09:55:5310                    So now I would like to turn to geographic market

09:56:0211     which is a topic that we are going to talk a lot about in

09:56:0512     this case.    And I'm not going to focus today on a

09:56:0913     sixty-five-year old case from another jurisdiction that

09:56:1314     analyzed different markets, I'll save that for closing.          But

09:56:1615     when we do talk about geographic markets, geographic markets

09:56:2216     are the areas where consumers can practically turn to their

09:56:2517     alternative sources of the product.      And as we note here,

09:56:2918     the government has proposed two limited geographic markets,

09:56:3319     Georgia plus its surrounding states market and the states

09:56:3720     which the government refers to as the Southeast.         Normally

09:56:4021     when the government proposes a market that has geographic

09:56:4522     boundaries, there is a logical reason why they do so.           The

09:56:4823     product in question may be fragile, it may be hazardous, it

09:56:5224     may need to be refrigerated or it's difficult to package or

09:56:5625     difficult to transport long distances.       But when it comes to
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09:56:59   1   sugar, none of that is the case.      Sugar is literally poured

09:57:03   2   into railcars or trucks for transportation and it flows all

09:57:10   3   across the country.    And again, it also comes into this

09:57:14   4   country from all across the world.      In fact, the evidence

09:57:18   5   will show that when it comes to transporting goods, there

09:57:21   6   are few products that are as easy and cheap to transport in

09:57:25   7   this country as sugar.    The reality that sugar is so easy to

09:57:30   8   transport, well, it's one of the reasons why almost half the

09:57:34   9   sugar in the government's claimed geographic markets is able

09:57:3710     to come from outside those areas.      That wouldn't be possible

09:57:4211     if what the government said about the cost and how difficult

09:57:4612     it is to transport sugar were true.

09:57:4813                  So that's why the theory makes no sense to begin

09:57:5414     with.   So there really is no reason why the geographic

09:57:5815     markets here should be limited.      But the government

09:58:0116     nonetheless claims that they are, and in doing so what we

09:58:0517     will see is they rely almost exclusively on their expert,

09:58:0818     Dr. Rothman, to support their theory.       And as the evidence

09:58:1319     will show, this is a big problem for the government because

09:58:1720     Dr. Rothman did not conduct any analysis to determine if the

09:58:2221     alleged relevant markets were the right markets.         Instead,

09:58:2622     as we can see on this chart, he merely took the markets that

09:58:3223     the government pled in its complaint and decided that they

09:58:3724     could, could constitute relevant markets under a test used

09:58:4125     in market definition called a Hypothetical Monopolist Test.
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09:58:47   1   This matters because Dr. Rothman actually admits and he

09:58:50   2   admitted during his deposition that his Hypothetical

09:58:57   3   Monopolist Test it would confirm that any geographic market

09:58:59   4   where Imperial and United both sell constitutes a relevant

09:59:03   5   market from a single facility to a combination of states to

09:59:07   6   the entire nation.    With respect to Dr. Rothman, a test that

09:59:16   7   includes everything and excludes nothing is not much of a

09:59:19   8   test.

09:59:21   9                Now, Your Honor, we'll hear from Dr. Hill, the

09:59:2610     defendants' expert, that there are a number of choices in

09:59:2911     terms of which states the government included and which they

09:59:3212     excluded from a geographic market that simply do not make

09:59:3613     sense.   States where Imperial sells significant amounts of

09:59:4014     sugar were left out of the proposed relevant markets while

09:59:4415     states where Imperial sells comparably less sugar were

09:59:4816     included.   The government even excluded the state of

09:59:5217     Louisiana that has two refineries closer to about half the

09:59:5618     customers in the government's relevant markets than US Sugar

10:00:0019     and ASR's Florida refineries which that are within the

10:00:0420     proposed market.   And they did that even though as they said

10:00:0721     in their opening, the proximity of suppliers to customers is

10:00:1122     a critical factor for their geographic market.

10:00:1423                  So as you can see here on this chart, for all

10:00:1824     the customers in the green area, and I just want to be clear

10:00:2225     that that entire colored area, that's the government's
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10:00:25   1   relevant, proposed relevant southeast market, but for all

10:00:30   2   the customers in the green, including those in Atlanta,

10:00:34   3   Georgia, that LSR facility is closer to them than US Sugar's

10:00:42   4   Louisiana and LSR are left out of the market.

10:00:46   5                Now, the government in its pretrial brief they

10:00:50   6   tried to dismiss these choices by arguing that they reflect

10:00:55   7   fuzziness around the borders which they say is permissible

10:00:59   8   under the law, that's the word they use on the first page of

10:01:02   9   their brief to describe their own geographic markets here.

10:01:0610     But respectfully, this is something very different than a

10:01:1211     debate about whether a particular state on the margin should

10:01:1512     or should not be included in a proposed market.        Rather as

10:01:1813     you'll see this is an exercise that involved choosing and

10:01:2214     excluding states specifically for the purpose of being able

10:01:2515     to claim market shares high enough to give the government a

10:01:2816     legal presumption.    There is nothing fuzzy about this.

10:01:3217     We'll hear from Dr. Hill that this is just not the way

10:01:3618     geographic market definition is done.       By selecting the

10:01:3819     geographic market not based on industry recognition, but

10:01:4220     instead based on market shares, what the government did was

10:01:4421     render the test meaningless.     Dr. Rothman was not

10:01:4822     determining what the relevant market was, but rather only

10:01:5123     whether the market that had been strategically chosen for

10:01:5624     him could be a relevant market using a test that could not

10:01:5925     be failed.   Indeed Dr. Rothman, he can't even state which of
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10:02:04   1   the two alleged relevant markets is more appropriate, even

10:02:09   2   though one is completely contained within the other.

10:02:13   3                Now, these are by far not the only problems with

10:02:16   4   Dr. Rothman's analysis as we'll discuss in a second, but

10:02:20   5   they do highlight why the government's geographic markets

10:02:25   6   fail.

10:02:25   7                This brings me, Your Honor, to competitive

10:02:27   8   effects.   And the Supreme Court said a long time ago in the

10:02:32   9   case of International Shoe, that if you're trying to decide

10:02:3610     whether one company purchasing another is going to

10:02:3911     substantially lessen competition, one of the first things

10:02:4212     you need to do is determine how substantial they're

10:02:4613     competing today.   And the government actually doesn't even

10:02:4814     dispute that this is the relevant question.        They said so in

10:02:5315     their pretrial brief.    Is the competition today between

10:02:5716     Imperial and United important?      Their question.    But as

10:03:0017     we'll see, all the government and its experts point to are

10:03:0518     some anecdotes about head-to-head competition between

10:03:0919     Imperial and United.    In the opening, I counted four.       So we

10:03:1420     went ahead and we asked the government's expert how often do

10:03:1921     Imperial and United actually compete head to head with one

10:03:2422     another, and remarkably he said he hadn't done the analysis.

10:03:2823     He didn't do the work.

10:03:3124                  Your Honor, this is another failure of proof,

10:03:3525     and it's a major one.    The government is asking this Court
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10:03:39   1   to block this transaction because it will supposedly

10:03:43   2   substantially lessen competition, but the evidence will show

10:03:47   3   that the government has no idea how substantial that

10:03:52   4   competition between Imperial is to begin with.        And this is

10:03:56   5   despite the fact that the government has at least four

10:03:59   6   years' worth of data from the merging parties and they spoke

10:04:05   7   to 100 customers during their pre-lawsuit investigation and

10:04:09   8   they took almost thirty-five depositions in this case.          But

10:04:12   9   neither the government nor its experts have any idea how

10:04:1610     often US Sugar and Imperial are competing with one another

10:04:2011     for any customer's business.     And just to put it in

10:04:2312     perspective, there are 428 customers that we've been able to

10:04:3013     identify extremely conservatively in the government's

10:04:3414     Georgia plus market, and there are 543 customers that we

10:04:4015     have been able to identify conservatively in the

10:04:4416     government's southeast market.      And they had four years of

10:04:4717     data.   And we heard a total of four instances of competition

10:04:5518     during their opening.

10:04:5719                  Now, as we've seen, the industry realities, they

10:05:0120     support this idea that United and Imperial just aren't

10:05:0521     particularly close competitors.      And that's a fact that even

10:05:0822     the government's economics back up.      What we'll see is that

10:05:1223     the government's expert, Dr. Rothman, he did a test to model

10:05:1724     what was the extent or what's the extent of the price

10:05:2025     increase that he would think would result from this
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10:05:22   1   transaction.    And while Dr. Rothman was certainly attempting

10:05:26   2   to show that this transaction would lead to a lot of harm,

10:05:30   3   when he did his model all he came up with was that prices

10:05:35   4   might go up three percent.     Actually, Dr. Rothman's initial

10:05:38   5   model it predicted much higher pricing increases, over

10:05:44   6   fifty percent higher than what they ultimately arrived at.

10:05:47   7   But what happened is Dr. Rothman had to admit that when he

10:05:51   8   got that 6.8 percent there, he had used the wrong formula.

10:05:55   9   And when he corrected it, it went to 3.2.

10:05:5910                    Now, obviously that's over fifty percent change.

10:06:0311     But what's also important is that it brought that number

10:06:0612     down below five percent.     And that's important because

10:06:1113     experts and the government's own guidelines, they typically

10:06:1614     characterize findings of below five percent as small and

10:06:2115     insignificant.

10:06:2416                    There are a litany of other errors with

10:06:2717     Dr. Rothman's approach, and in fact, every time that

10:06:3218     Dr. Rothman has testified in a Section 7 case, on market

10:06:3519     definition or competitive effects, his findings have been

10:06:3920     rejected by the courts as being unreliable.        And here,

10:06:4421     Dr. Rothman, he's predicting the same analysis, using the

10:06:4922     same models as he did in those other cases where the courts

10:06:5323     rejected him, and there is no reason why the results here

10:06:5624     should be any different.

10:06:5725                    So that leaves just the issue of coordinated
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10:07:01   1   effects which looks to whether the competitors will be more

10:07:06   2   likely to coordinate and implement higher prices together as

10:07:09   3   a result of this transaction.     And for all the reasons that

10:07:13   4   we've talked about, we're never even going to get to

10:07:16   5   coordinated effects because of all the problems with the

10:07:19   6   market definition.    But focusing on the government's theory

10:07:23   7   here, it's largely that United and ASR, neither of whom are

10:07:29   8   parties to this transaction, they share certain information

10:07:32   9   with third-party analysts, and from that that the government

10:07:3810     argues once US Sugar owns Imperial, that United and ASR are

10:07:4211     going to stop competing with one another on bids in order to

10:07:4612     raise prices.

10:07:4713                 Once again, this is a claim and a theory that

10:07:5014     makes no sense in the real world.      First, the information

10:07:5415     that's being provided to the analysts here, it's neither

10:07:5816     confidential nor competitively sensitive.       It's information

10:08:0217     that's available on United's website and it's provided to

10:08:0618     customers on behalf.    We're going to hear from the

10:08:1019     government's witness, Piedmont, that even they get this

10:08:1420     information freely from companies in the industry, they just

10:08:1721     ask them and it's provided.

10:08:1922                 And second, we're also going to hear that

10:08:2223     because again, that United is a cooperative, it actually

10:08:2624     can't do what the government theorizes, it can't stop

10:08:2925     selling sugar to get higher prices.      And that's what the
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10:08:34   1   government's theory is, it's nothing more.        That's what

10:08:38   2   their expert will tell us and you positively hear.         His only

10:08:42   3   theory of coordination is that after this transaction goes

10:08:46   4   through that perhaps United and Domino are going to stop

10:08:49   5   bidding on opportunities.     United can't do that, it has to

10:08:54   6   sell all the sugar that its members produce.

10:08:58   7                  Now, the government mentioned sold positions in

10:09:03   8   addition to these prices.     And I also want to be clear that

10:09:06   9   when we are talking about the prices, we're talking about

10:09:1010     spot prices.    Over approximately 95 percent of the sales in

10:09:1411     this country are not made based on spot, they're based on

10:09:1812     long-term contracts.    So we're talking about the remaining

10:09:2213     spot prices which again are the list prices.        If somebody

10:09:2514     wanted to go into the market today and just buy some extra

10:09:2915     sugar because they needed it, and that's why it's readily

10:09:3416     available, it's not just that they're readily available and

10:09:3817     provided by the companies, they're also just published by

10:09:4118     these third-party analysts and they're used by everybody in

10:09:4419     the industry, customers and in fact the USDA.        The USDA,

10:09:4820     they routinely communicate with these third-party analysts

10:09:5221     and publish their information.      So if there really was

10:09:5722     something wrong with what's going on here in terms of

10:10:0023     publishing these spot prices or these sold positions, well,

10:10:0624     presumably the USDA, which is part of the plaintiff here,

10:10:1025     they would have said something.
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10:10:14   1               Now this same theory of coordination, it was

10:10:17   2   proposed by Dr. Rothman in a case brought by the Federal

10:10:23   3   Trade Commission called Evonik.      In that case they looked at

10:10:27   4   a host of factors and what they ultimately determined was

10:10:30   5   that Dr. Rothman's theory was just off base.        As we're going

10:10:34   6   to see over the next coming days, almost all of those same

10:10:39   7   factors, they apply here.     And they mean that Dr. Rothman's

10:10:42   8   theory again just doesn't match the real world factors.

10:10:48   9               Finally, I want to talk for a minute about the

10:10:5010     USDA, because despite everything else, USDA does act as a

10:10:5611     backstop against any risk of anticompetitive effects.         As we

10:11:0112     know, the sale of sugar in the United States is heavily

10:11:0313     regulated by the USDA and it's done to ensure that there is

10:11:0714     adequate supplies of raw and refined sugar available at

10:11:1115     reasonable prices.    There it is, Your Honor, from the USDA.

10:11:1516     The USDA has numerous tools that allow it to control the

10:11:1917     supply of raw and refined sugar that's available for sale

10:11:2318     and they have been very explicit that they use these tools

10:11:2719     to cure high sugar prices.

10:11:2920                 Now, the only witness from the USDA who is going

10:11:3221     to testify here in this case is the economist who runs that

10:11:3522     program, and her name is Dr. Fecso.      She knows this industry

10:11:4123     better than anyone, better than anyone in this courtroom,

10:11:4424     better than anyone in the United States.       Her testimony will

10:11:4925     be that the government's theories here, they're simply
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10:11:53   1   incorrect.   In fact, Dr. Fecso believes that this proposed

10:11:57   2   transaction is going to again benefit the domestic sugar

10:12:02   3   industry and is likely to result in lower prices.

10:12:05   4                Now, the government doesn't really contest that

10:12:08   5   if prices went up here that it could take action to fix

10:12:12   6   those prices, but their argument is that this court, this

10:12:17   7   court should block this transaction nonetheless because they

10:12:21   8   might decide not to use those powers.       Well, that's not a

10:12:25   9   reason to employ the drastic and extraordinary remedy of

10:12:3010     preventing companies from completing their deal.

10:12:3411                  But in any event, the fact of the matter is that

10:12:3612     we'll hear the testimony of the CEO of United and

10:12:4113     Mr. Wineinger and others, sugar sellers, they're all aware

10:12:4514     that the government could take action to lower prices and

10:12:4815     that in and of itself acts as a deterrent that prevents them

10:12:5316     from even attempting to raise prices above a competitive

10:12:5717     level.   It's another industry reality that doesn't comport

10:13:0018     with the government's theory.

10:13:0119                  With that, Your Honor, we look forward to

10:13:0520     presenting our evidence over the coming days and

10:13:0721     establishing that in the real world, US Sugar's acquisition

10:13:1122     of Imperial will benefit customers and consumers and that

10:13:1523     the government simply cannot come close to meeting its heavy

10:13:2024     burden of establishing that this transaction may

10:13:2225     substantially lessen competition.
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10:13:24   1                Thank you.

10:13:25   2                THE COURT:   Thank you.

10:13:29   3                MR. CAMERON:    Good morning, Your Honor.      Tim

10:13:36   4   Cameron on behalf of the Louis Dreyfus Company and Imperial

10:13:40   5   Sugar.

10:13:41   6                Your Honor, we join in Mr. Buterman's opening

10:13:43   7   but with your permission I would like to take just five

10:13:46   8   minutes to make five quick points as to what the evidence in

10:13:49   9   this case will show regarding Imperial's view on its place

10:13:5310     in the industry, why it currently struggles to compete, and

10:13:5711     why it will continue to do so in the future, and why this

10:14:0112     merger is not anticompetitive.

10:14:0313                  The five points, Your Honor, are on the slide

10:14:0614     and I believe you have a copy in your book as well.         Turning

10:14:0915     to point one, Your Honor, Imperial has no access to low cost

10:14:1516     domestically grown raw cane sugar.      Instead, it must rely on

10:14:2117     high cost imported raw sugar to run its refinery.         Imported

10:14:2718     raw cane sugar costs significantly more than the cost of

10:14:2919     domestic raw sugar.

10:14:3220                  Mr. Buterman during his opening referred to the

10:14:3521     fact that in 2021, he put up a chart, the cost of raw sugar

10:14:3922     to US Sugar was $22 per hundred pounds, while for Imperial

10:14:4523     it was 29.   But that figure is not static, Your Honor, and

10:14:5024     that problem is something that remains very much an issue

10:14:5425     today.   Indeed today for Imperial, that cost has increased
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10:14:59   1   in 2022 from $29 to $37 per hundred pounds.        And that

10:15:06   2   disparity, Your Honor, coupled with the fact that raw sugar

10:15:11   3   cost is 70 to 80 percent of Imperial's total costs, is why

10:15:17   4   Imperial's prices for refined sugar are almost always higher

10:15:21   5   than other suppliers and often by a lot.       That's not all,

10:15:29   6   because supply of imported raw sugar is restricted.

10:15:32   7   Imperial's refinery typically runs at less than full

10:15:36   8   capacity, on average basis somewhere around 75 percent

10:15:40   9   capacity, but sometimes, Your Honor, as low as 60 to

10:15:4510     65 percent.

10:15:4511                   Secondly, Your Honor, we will show regulations

10:15:4712     in the sugar industry are designed to ensure that all

10:15:5113     domestically sourced sugar is sold each year, but Imperial

10:15:5514     is different.   It's reliance on high cost imported raw sugar

10:16:0015     first forces it to serve as a residual supplier that

10:16:0416     typically cannot sell successfully against lower cost

10:16:0717     suppliers, except during narrow windows of time, like the

10:16:1118     end of the annual selling cycle where domestic producers

10:16:1619     have already sold much of their sugar for the year and are

10:16:1920     low on stock and customers then turn to Imperial.         That's

10:16:2321     not to say that Imperial doesn't make sales during the rest

10:16:2622     of the year, it does, and it makes some sales throughout the

10:16:3023     year either as a backup supplier to customers, indeed often

10:16:3424     it's the third or fourth backup supplier, to fill in for

10:16:3825     other suppliers that could experience unexpected
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10:16:40   1   disruptions, or when imported raw sugar prices are

10:16:45   2   uncharacteristically low.     It also makes sales to customers

10:16:49   3   that are not served in any significant way by other

10:16:55   4   suppliers such as United.     And one example of that, Your

10:16:57   5   Honor, is the food service segment.      But the key is this,

10:17:00   6   when it makes those types of sales, Imperial is serving a

10:17:05   7   different role in the market, often not competing directly

10:17:09   8   with United or any other lower cost suppliers or providing

10:17:13   9   any kind of significant competitive constraint on them.

10:17:1710                 Turning to point three, then, Your Honor,

10:17:2111     Mr. Buterman spoke at some length about the numerous

10:17:2412     problems with the DOJ's proposed geographic market.          All I

10:17:2813     would add is that the evidence will show in the case that

10:17:3114     neither of the DOJ's proposed markets, what they referred to

10:17:3615     as the narrow market or the broader market is consistent

10:17:3916     with the commercial realities of Imperial's business.

10:17:4217                 THE COURT:    Is it the defendants' position that

10:17:4318     the commercial realities are what, nationwide?

10:17:4819                 MR. CAMERON:     In essence, yes.     Imperial

10:17:5020     competes or tries to sell its product around the country.

10:17:5321     Mr. Gorrell will testify that for Imperial it sells the vast

10:17:5822     majority of its sugar really from Texas up to Chicago and

10:18:0223     east of that, but they also do sell west.       And even more

10:18:0624     than that, they compete with suppliers all over the country

10:18:0825     to sell sugar.   So yes, the market is absolutely much, much
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10:18:13   1   broader than anything that's been contended by the DOJ in

10:18:18   2   this case.   Indeed, Imperial consistent with that, Your

10:18:21   3   Honor, Imperial doesn't have sales regions at all, let alone

10:18:25   4   ones that correspond to the markets proposed by the DOJ.

10:18:29   5   Imperial, as I mentioned, sells its product far more broadly

10:18:33   6   than the alleged markets proposed by the DOJ.        And key

10:18:37   7   points, Your Honor, some of Imperial's top selling states

10:18:40   8   like Texas rank third for Imperial in sales by volume in

10:18:45   9   2021, third, are inexplicably excluded from both of the

10:18:5110     markets proposed by the government.

10:18:5311                  The other point, Your Honor, is that distant

10:18:5612     competitors, located well outside what the DOJ described as

10:19:0013     their broader market frequently compete with Imperial inside

10:19:0514     that market, undercut Imperial on price and win customer

10:19:0915     business from Imperial and that happens all the time.          And

10:19:1316     they're able to do that because even though Imperial may

10:19:1617     have some advantage on freight costs in that area, its raw

10:19:2118     sugar costs are typically so much higher than its

10:19:2419     competitors that it still can't come close to competing with

10:19:2820     them on price.

10:19:3021                  And Your Honor, this hard reality from Imperial

10:19:3422     is best illustrated by the following example, beet

10:19:3923     manufacturers that Mr. Buterman referred to who are located

10:19:4224     in the midwest and northwest of the country can often grow,

10:19:4725     process, refine, and ship their refined sugar from the
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10:19:51   1   midwest and northwest into Georgia and indeed, Your Honor,

10:19:55   2   into Savannah where Imperial's refinery is located, more

10:20:00   3   cheaply than Imperial can acquire the imported raw sugar

10:20:04   4   that it needs to actually run its refinery.        So it's a

10:20:09   5   dramatic difference.

10:20:10   6               Finally, Your Honor, none of these challenges

10:20:13   7   that are faced by Imperial are changing any time soon.

10:20:17   8   Consequently, absent this transaction, Imperial will remain

10:20:22   9   competitively handicapped to the high price of imported raw

10:20:2710     sugar. Without any guarantee of supply, it will continue to

10:20:3211     suffer from aging facilities being run at around 75 percent

10:20:3812     of the capacity and often significantly lower than that,

10:20:4113     with capital expenditures being made only to maintain

10:20:4414     operations and to preserve safety and health.        And, Your

10:20:4715     Honor, as Mr. Gorrell, Imperial's CEO will testify, he is

10:20:5216     extremely concerned about what lies ahead for this business

10:20:5517     absent this transaction.

10:20:5718                 Thank you, Your Honor.

10:20:5819                 THE COURT:     All right.   Thank you.    Who is your

10:21:0220     first witness?

10:21:0921                 MS. SINKLER:     Good morning, Your Honor.      Chinita

10:21:1622     Sinkler for the United States of America.       And we call our

10:21:1923     first witness is Mr. Aaron Riippa who is the business

10:21:4424     sourcing manager at General Mills.

10:21:4425                 THE COURT:     Make sure you get the direct and the
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10:21:49   1   cross binders, and the witness should come up with them.          I

10:21:53   2   see one.

10:21:54   3                  MS. SINKLER:   I gave him the direct already.

10:21:56   4                  THE COURT:   But we want him to have the direct

10:21:58   5   and cross when he goes up.

10:22:00   6                  MS. SINKLER:   It's up there already, Your Honor.

10:22:03   7   On the stand.

10:22:04   8                  THE COURT:   Okay.   Thank you.

10:22:06   9                  MS. SINKLER:   You're welcome.

10:22:0910                    COURT CLERK:   Please raise your right hand.

10:22:1211     Please state and spell your full name for the record.

10:22:1412                    THE WITNESS:   Aaron Michael Riippa.     Want me to

10:22:1813     spell the whole thing?      A-A-R-O-N, M-I-C-H-A-E-L,

10:22:2314     R-I-I-P-P-A.

10:22:2415                    AARON MICHAEL RIIPPA, having been duly sworn,

10:22:3116     was examined and testified as follows:

10:22:3717                    MS. SINKLER:   May I proceed, Your Honor?

10:22:4318                    THE COURT:   Please.

10:22:4419                    MS. SINKLER:   Thank you.

10:22:4520                       DIRECT EXAMINATION

10:22:4521     BY MS. SINKLER:

10:22:4622     Q.     Good morning, Mr. Riippa.

10:22:4723     A.     Good morning.

10:22:4824     Q.     You have two binders of exhibits up there.         You can

10:22:5125     just leave them there right now.       Once we get to the
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10:22:53   1   documents, I'll let you know.     Okay?

10:22:55   2   A.      Okay.

10:22:55   3   Q.      Would you please state your full name for the record

10:22:58   4   and spell your last name?

10:22:59   5   A.      Aaron Michael Riippa.    R-I-I-P-P-A.

10:23:05   6   Q.      Where do you work?

10:23:06   7   A.      General Mills.

10:23:07   8   Q.      Where is General Mills headquartered?

10:23:09   9   A.      Minneapolis, Minnesota.

10:23:1110     Q.      What type of business is General Mills?

10:23:1311     A.      A food manufacturing company.

10:23:1512     Q.      What are some of the brands that General Mills makes?

10:23:1913     A.      Things like cereal, so Cheerios, Cinnamon Toast

10:23:2514     Crunch, Nature Valley and different snack products, Betty

10:23:3015     Crocker cake mix, canned refrigerated dough, such as

10:23:3616     Pillsbury crescent rolls, sweet rolls, soup, and a whole

10:23:3817     host of other products as well.

10:23:4018     Q.      How many manufacturing plants does General Mills have

10:23:4219     in the United States?

10:23:4420     A.      We have over fifteen plants and then dozens of

10:23:4921     external company manufacturer locations that we contract

10:23:5222     with.

10:23:5323     Q.      Are your manufacturing plants located all around the

10:23:5624     country?

10:23:5625     A.      They are, yes.
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10:23:57   1   Q.     Let's talk a little bit about your job history.          How

10:24:00   2   long have you worked at General Mills?

10:24:02   3   A.     It will be eleven years this May.

10:24:05   4   Q.     What is your current role at the company?

10:24:08   5   A.     My current role is the sourcing business leader in

10:24:13   6   our meals and baking operating system.

10:24:14   7   Q.     What do you do as sourcing business leader?

10:24:17   8   A.     I am integrated within the operating unit which

10:24:22   9   houses our business team which is the marketing team that

10:24:2610     owns the PNL of our brand.     I am the liaison between the

10:24:3111     broader sourcing organization and those brand marketing

10:24:3612     teams and those supply teams and I manage those structures.

10:24:3913     Q.     Could you explain how your current job relates to the

10:24:4214     purchase of sugar for General Mills?

10:24:4415     A.     Yes.   So being the liaison between the sourcing

10:24:5116     organization, I'm aware of all of the inputs that would go

10:24:5317     into those, the different ingredients, the market exposures,

10:24:5718     the price volatiles related to that, translating those

10:25:0019     messages back to the marketing teams as part of that, the

10:25:0320     sugar being a very significant input for the product

10:25:0721     portfolio that I support.

10:25:0822     Q.     How long have you been in your current position?

10:25:1023     A.     It will be one year this summer.

10:25:1424     Q.     What was your job before that?

10:25:1625     A.     I was the senior sourcing manager, leading our sweet
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10:25:21   1   commodities portfolio.

10:25:23   2   Q.       What did you do as the senior sourcing manager?

10:25:26   3   A.       I would manage a team of buyers that had all things

10:25:31   4   sweet commodities which would include individually managing

10:25:34   5   our sugar portfolio, but also had things such as cocoa,

10:25:38   6   chocolate, honey, non-fructose sweeteners and marshmallow as

10:25:44   7   well, and was responsible for all aspects of the broader

10:25:49   8   category management including price, price market,

10:25:57   9   understanding, contracting decisions, supplier relationship

10:26:0210     management, productivity and cost savings initiatives just

10:26:0511     to name a few.

10:26:0612     Q.       What did you do in regards to the sugar portfolio?

10:26:0913     A.       I managed all the day-to-day responsibilities and the

10:26:1214     vendor relationship management, contracting aspects of the

10:26:1815     sugar.

10:26:1916     Q.       Does that involve negotiating with suppliers?

10:26:2217     A.       Yes, it did.

10:26:2318     Q.       During that time were you doing anything to stay

10:26:2819     abreast of the sugar market?

10:26:2920     A.       Yes.

10:26:3021     Q.       What were you doing?

10:26:3222     A.       We would review different market intelligence

10:26:3823     reports, we would meet often with different suppliers and

10:26:4224     producers in the industry and analyst groups, and it was

10:26:5025     just kind of a -- part of the day-to-day responsibility to
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10:26:54   1   staying abreast of the changing market conditions relating

10:26:57   2   to sugar.

10:26:58   3   Q.       How long were you in that position?

10:27:00   4   A.       About two years.

10:27:02   5   Q.       How long in total have you been a part of the

10:27:07   6   sourcing team at General Mills?

10:27:08   7   A.       My entire time with General Mills.

10:27:10   8   Q.       Let's talk a little bit more specifically about the

10:27:13   9   sugar that General Mills buys.      Does General Mills buy and

10:27:1810     use refined sugar to make its products?

10:27:1911     A.       Yes, we do.

10:27:2012     Q.       What is refined sugar?

10:27:2213     A.       Refined sugar would be derived from either a beet or

10:27:2814     cane origin source and then molasses and other content

10:27:3415     extracted from it, leaving a fine granulated white crystal

10:27:3916     sugar.

10:27:3917     Q.       What type of refined sugar is General Mills buying?

10:27:4318     A.       We have -- we buy a few different things, but the

10:27:5019     majority of our spend is in with one specification that

10:27:5420     designated either beet or cane sugar as what's known as DSU

10:28:0021     or extra fine granulated.

10:28:0322     Q.       Does General Mills also buy liquid sugar?

10:28:0623     A.       We do, yes.

10:28:0824     Q.       How does extra fine granulated that you referred to

10:28:1325     relate to the sugar that most of us make, have at our
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10:28:17   1   kitchen table?

10:28:17   2   A.     To my understanding it would be the equivalent of

10:28:20   3   what you would see in sugar that you would buy from the

10:28:24   4   grocery store or at a restaurant.

10:28:28   5   Q.     Are you familiar with the term high fructose corn

10:28:33   6   syrup or HFCS?

10:28:35   7   A.     Yes, I am.

10:28:35   8   Q.     What is that?

10:28:37   9   A.     That's a sweetener derived from corn.

10:28:3910     Q.     I want to talk a little bit about the company's sugar

10:28:4411     purchases.   Approximately how many of General Mills' U.S.

10:28:4712     manufacturing plants use refined sugar?

10:28:5013     A.     I believe just about all of them.

10:28:5314     Q.     And are you familiar with some of the companies that

10:28:5815     make refined sugar from cane in the United States?

10:29:0116     A.     Yes, I am.

10:29:0217     Q.     Would you name them, please?

10:29:0418     A.     Imperial Sugar, US Sugar Corporation, Domino Sugar or

10:29:1019     ASR, and Louisiana Sugar Refineries.

10:29:1520     Q.     Where are those companies's refineries located?

10:29:1921     A.     LSR and Domino would be in the New Orleans area.          US

10:29:2522     Sugar is in Florida and Imperial in Savannah, Georgia.

10:29:2923     Q.     Does General Mills buy sugar from Imperial?

10:29:3224     A.     Yes, we do.

10:29:3325     Q.     Does General Mills buy sugar from United?
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10:29:36   1   A.      Yes, we do.

10:29:37   2   Q.      When General Mills is buying sugar from United, do

10:29:41   3   you ever deal with anyone at US Sugar?

10:29:44   4   A.      Not directly.

10:29:45   5   Q.      Who does General Mills deal with at United when

10:29:48   6   you're buying sugar?

10:29:50   7   A.      We would work through our main account team which

10:29:55   8   would be our direct account representative, Tim Minton, the

10:29:59   9   leadership team at United, Dirk Swart, and then occasionally

10:30:0710     Steve Hanson for market updates and information regarding.

10:30:1311     Q.      Are you familiar with some of the companies that make

10:30:1512     refined sugar from beets in the United States?

10:30:1813     A.      Yes, I am.

10:30:1814     Q.      Who are they?

10:30:2015     A.      Michigan Sugar, United Sugar, National Sugar

10:30:2716     Marketing, and Western Sugar.

10:30:2917     Q.      Where are those company's refineries located.

10:30:3318     A.      Michigan Sugar is in the state of Michigan.        NSM or

10:30:4119     National Sugar Marketing is in both Minnesota and greater

10:30:4520     plains region, so Idaho, United Sugar in the Red River

10:30:5321     Valley area which would be North Dakota and Minnesota and

10:30:5822     Western Sugar which would be the Colorado/Nebraska/Montana

10:31:0323     area.

10:31:0424     Q.      Are you aware of sugar distributors of refined sugar?

10:31:0825     A.      Yes I am.
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10:31:09   1   Q.     What is a sugar distributor?

10:31:10   2   A.     A sugar distributor depending on their size and scope

10:31:13   3   of how many sweeteners they manage would be a reseller of

10:31:18   4   sugar products.

10:31:19   5   Q.     Would you tell us approximately how much sugar

10:31:23   6   General Mills buys each year in the United States?

10:31:27   7   A.     About 700 million pounds of granulated sugar, about

10:31:31   8   100 million pounds of liquid sugar.       And about 20 million

10:31:36   9   pounds of specialty sugar.

10:31:3710     Q.     And generally, would you tell us what General Mills'

10:31:4211     yearly spend on sugar is in the United States?

10:31:4512     A.     Probably around $200 million, plus or minus depending

10:31:4913     on the year.

10:31:5014     Q.     Now, I have just a few questions about how General

10:31:5415     Mills buys its sugar.    Does General Mills use any contracts

10:31:5816     to buy sugar?

10:31:5917     A.     Yes, we do.

10:32:0018     Q.     What time frame do these contracts tend to cover?

10:32:0419     A.     They tend to cover a calendar year basically.

10:32:0720     Q.     Could you describe for us the type of contracts that

10:32:1021     General Mills uses?

10:32:1122     A.     In terms of bidding or when we secure?

10:32:1823     Q.     Do you use any type of volume contracts?

10:32:2024     A.     Yes.     We do volume contracts.

10:32:2525     Q.     What is that?
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10:32:25   1   A.      That means we agree to a certain volume and price or

10:32:31   2   set of prices depending on the plant that it's delivered

10:32:35   3   rate for the period of time in question.

10:32:37   4   Q.      Is there a time of year when General Mills does its

10:32:42   5   annual contracting for sugar?

10:32:43   6   A.      We tend to start our contracting activities in the

10:32:47   7   springtime.

10:32:49   8   Q.      Why is that?

10:32:50   9   A.      There is an industry event called the International

10:32:5410     Sweeteners Colloquium which is viewed as the formal kickoff

10:32:5911     to contracting season with industry participants and

10:33:0412     industry users.

10:33:0713     Q.      And why does the contracting tend to happen around

10:33:1114     that time frame?

10:33:1315     A.      I don't know the specific origin of it, but it is a

10:33:1816     convenient event nonetheless when there are all your

10:33:2317     suppliers and customers are together in which you can have

10:33:2818     individual meetings, talk about price expectations, growing

10:33:3319     expectations, and ultimately the kind of first draft of what

10:33:3720     they believe their pricing will be for the next calendar

10:33:4021     year.

10:33:4122     Q.      Are you familiar with the term sold position?

10:33:4423     A.      I am, yes.

10:33:4524     Q.      Why does that context matter?

10:33:4925     A.      A sold position for our use at General Mills would
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10:33:55   1   reference how much a vendor has sold of their book

10:34:00   2   business, and we would interpret that as being the more sold

10:34:05   3   someone is, the potential for less lower prices, they're

10:34:11   4   less competitive, and a lower sold position might equal more

10:34:17   5   opportunity from a buying side.

10:34:18   6   Q.     How does it affect General Mills, if at all, if your

10:34:25   7   sugar suppliers were sharing the sold information with one

10:34:29   8   another?

10:34:29   9   A.     That would have a negative impact to our buying.

10:34:3310     Q.     Why?

10:34:3311     A.     As referenced, our belief if they knew what other

10:34:4112     people were potentially going to offer, how much they would

10:34:4513     offer or how aggressive someone else would be, could

10:34:4814     potentially dictate what type pricing they would submit to

10:34:5315     us.

10:34:5416     Q.     Does General Mills use a request for proposal or an

10:34:5917     RFP process to buy its sugar?

10:35:0218     A.     Yes, we do.

10:35:0319     Q.     Would you describe the RFP process at just a high

10:35:0720     level for us?

10:35:0821     A.     Yep.     So at -- following the event we will do an RFP,

10:35:1522     request proposal, different pricing structures, different

10:35:1923     mechanisms can be within that but fundamentally it's

10:35:2324     facilitated by a third-party sourcing organization for us

10:35:2625     called GEP and it invites vendors to participate and provide
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10:35:31   1   their price and then we use that as the framework of our

10:35:36   2   negotiation process moving forward.

10:35:37   3   Q.      And specifically what specifications are included in

10:35:40   4   General Mills' RFP?

10:35:42   5   A.      Generally, the main one is our main bulk sugar.

10:35:51   6   Q.      How is the sugar that is purchased under the RFP

10:35:55   7   delivered to General Mills' plants?

10:35:58   8   A.      The main volume is done either via bulk truck or bulk

10:36:03   9   rail.

10:36:0410     Q.      Why do some plants receive delivery of sugar via

10:36:1111     truck and other receive via rail?

10:36:1312     A.      Typically our larger using plants that have a lot of

10:36:1713     sugar have been able to historically afford the capital

10:36:2214     required to bring in bulk ingredients and/or they have

10:36:2615     access to a rail line that would facilitate that transaction

10:36:3116     smoothly.   And then others just potentially don't use enough

10:36:3517     sugar or enough bulk ingredients to justify the capital.

10:36:4018     Q.      Does the RFP that General Mills uses, include all the

10:36:4419     facilities around the United States?

10:36:4720     A.      For the most part, yes.

10:36:5021     Q.      In general, do the same suppliers bid for every

10:36:5422     facility?

10:36:5423     A.      No, they do not.

10:36:5524     Q.      Why not?

10:36:5725     A.      We will open up the bid to anyone that can feed all
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10:37:06   1   the plants and some choose to only bid on certain ones,

10:37:10   2   either based on historical deliveries there or a geographic

10:37:16   3   proximity to their location.

10:37:18   4   Q.     What do you mean by a geographic proximity?

10:37:22   5   A.     The closer our facility is to their production

10:37:28   6   location, might be a plant that they would be interested in

10:37:33   7   providing a price on.

10:37:34   8   Q.     And to your understanding, why does that matter?

10:37:38   9   A.     From a freight perspective, sugar is contracted and

10:37:4310     measured off of a delivered price, and so the freight

10:37:4811     component, although not the biggest part, but still can be

10:37:5212     significant, is -- would allow them to remain competitive in

10:37:5913     a given area.

10:38:0114     Q.     What factors determine whether a vendor will be

10:38:0415     awarded a contract to supply particular manufacturing plants

10:38:0916     for General Mills?

10:38:0917     A.     Predominantly will be, price driven and then

10:38:1318     secondarily would be service driven.

10:38:1619     Q.     What do you mean by price?

10:38:1820     A.     Price would be that delivered price I referenced

10:38:2221     which is the FOB plus freight would be the delivery price.

10:38:2622     Q.     What do you mean by service?

10:38:2823     A.     Service is the on time arrival of either a truck or a

10:38:3524     railcar to our plants when our purchase orders had asked for

10:38:3925     that sugar to be there, so the ability to consistently do
   Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 82 of 360 PageID #: 6010
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10:38:44   1   that is important consideration.

10:38:47   2   Q.     Anything else?

10:38:49   3   A.     You those would be the two primary factors.

10:38:53   4   Different payment terms which would be different extended

10:38:57   5   payment terms in which General Mills would pay for our

10:39:01   6   invoices, it could be a third consideration as well.

10:39:06   7   Q.     In general, are there any criteria that are important

10:39:10   8   when evaluating who will supply General Mills with sugar

10:39:16   9   year after year?

10:39:1710     A.     Price would be the biggest factor in that.

10:39:2111     Q.     Any other factors?

10:39:2312     A.     Service, reliability and consistency in previous

10:39:2913     performance could certainly influence that.        But we have

10:39:3514     known relationships with all the sugar producers in the

10:39:3815     country, and so we also feel confident in people's ability

10:39:4316     to service our plants as well, so price is the majority

10:39:4717     decision criteria.

10:39:4918     Q.     Do you consider quality at all?

10:39:5219     A.     We do, yes.

10:39:5420     Q.     How so?

10:39:5621     A.     We would want to make sure that our -- the sugar

10:40:0022     coming in would be free of foreign material and perform as

10:40:0423     well in our operating systems to make our finished products.

10:40:0724     So if there was a vendor that had a series of known issues

10:40:1225     and considerations, either poor material or sugar that did
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10:40:15   1   not perform or was not free flowing it would be part of our

10:40:19   2   consideration for that.

10:40:21   3   Q.     Is there any type of qualification process that

10:40:24   4   General Mills uses for new sugar supplier?

10:40:27   5   A.     Yes.

10:40:28   6   Q.     Would you describe that process?

10:40:30   7   A.     If we were to onboard a new sugar vendor, it would be

10:40:35   8   very similar to how we would onboard any ingredient vendor

10:40:39   9   and it would really start with a visit to their producing

10:40:4210     facility to understand if it's made in a food safe way, good

10:40:4711     manufacturing practices.     And then we would receive samples

10:40:5012     of that product and run them in different finished product

10:40:5313     that it would be used in to make sure that it did not drive

10:40:5714     any changes to our consumer.

10:40:5915     Q.     How important is it that the refined sugar that

10:41:0316     General Mills buys meets safety standards?

10:41:0517     A.     Very important.

10:41:0618     Q.     How so?

10:41:0719     A.     Well making sure there is no foreign material or not

10:41:1520     appropriate objects to be found in food is very important

10:41:1921     for our company, and the trust we built with consumers over

10:41:2422     the years.

10:41:2423     Q.     Does General Mills take any steps to ensure that the

10:41:2824     sugar it's buying meets their safety standards?

10:41:3225     A.     We do.
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10:41:32   1   Q.     What steps do you take?

10:41:33   2   A.     Most of our plants would have -- we would visit our

10:41:37   3   vendor locations and make sure that they are operating in

10:41:40   4   that safe manufacturing, and most of our plants we will then

10:41:45   5   have metal detection, magnets, other preventative streams

10:41:52   6   that would help stop any of those things entering into our

10:41:57   7   operations.

10:41:57   8   Q.     Anything else?

10:42:00   9   A.     No.

10:42:0310     Q.     Does General Mills make spot purchases of sugar?

10:42:0611     A.     We do occasionally, yes.

10:42:0812     Q.     What is spot purchasing?

10:42:0913     A.     Spot purchasing would be needing to go and secure an

10:42:1214     incremental or defined set of volume at a given plant or a

10:42:1815     very specific time, generated by not -- having exceeded your

10:42:2516     contract coverage or the vendor that is contracted for a

10:42:3017     given plant not being able to service that facility.

10:42:3518     Q.     How does one go about making spot purchases?

10:42:3919     A.     Typically when you need to make a spot purchase it is

10:42:4420     in an urgent and short notice environment so it tends to be

10:42:4921     e-mailing or calling other vendors, mostly sugar

10:42:5322     distributors to see if they can service a plant at a given

10:42:5923     time at a given quantity.

10:43:0524     Q.     I want to ask you a few questions about the USDA

10:43:0825     sugar program.   Are you familiar with the USDA sugar
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10:43:11   1   program?

10:43:12   2   A.     Yes, I am.

10:43:13   3   Q.     Why are you familiar with that program?

10:43:16   4   A.     In -- when on boarding and managing the sugar desk it

10:43:23   5   is a critical part of the on boarding process.        It

10:43:27   6   fundamentally governs how sugar operates in this country so

10:43:32   7   you become very well versed in that program.        And then I

10:43:36   8   joined the desk a couple of months before a force majeure

10:43:42   9   event and so learned very quickly how the sugar program

10:43:4610     worked as a result of that.

10:43:4711     Q.     And from your perspective as a customer, what is the

10:43:5012     USDA's role?

10:43:5313     A.     From my understanding, their role informed by the

10:43:5914     injury perspective is they will help solve for supply of

10:44:0515     sugar to ensure there is an adequate supply of sugar in our

10:44:0916     country.

10:44:0917     Q.     Have you ever communicated with the USDA about

10:44:1218     Mexican sugar imports?

10:44:1419     A.     Yes, we have.

10:44:1520     Q.     When was that?

10:44:1721     A.     I believe that was last March or April of 2021.

10:44:2422     Q.     And can you tell us what happened?

10:44:2623     A.     We had two conversations with the USDA in

10:44:3224     understanding what their recommendations would be to

10:44:3525     increase the amount of supply of refined sugar into this
   Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 86 of 360 PageID #: 6014
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10:44:39   1   country, to provide a price alleviation for what we were

10:44:43   2   seeing being transacted on the market related to sugar.          And

10:44:50   3   coming out of that, they did not take any direct action from

10:44:55   4   our conversation with them, but I do believe that in the

10:44:58   5   months and weeks that followed they did increase some sugar

10:45:03   6   from Mexico.

10:45:05   7   Q.     And did General Mills see any impact on the prices it

10:45:10   8   was paying for sugar in the USDA action?

10:45:14   9   A.     No.

10:45:1510     Q.     You mentioned force majeure.      What was that?

10:45:1911     A.     There was two bad sugar harvests, one in the Red

10:45:2812     River Valley represented by United Sugar and then one was

10:45:3113     Western Sugar that they were unable to harvest a significant

10:45:3414     amount of their sugar beets and thus both of those vendors

10:45:4015     claimed force majeure, which was a reduction in our

10:45:4416     contracted quantities.

10:45:4517     Q.     What did that mean for General Mills?

10:45:4618     A.     That means that we were ones, before that we had all

10:45:5119     of our sugar met before the next calendar year, so we had to

10:45:5720     go and find new sugar to replace the quantities that were

10:46:0121     reduced by.

10:46:0122     Q.     Let's talk a little bit more about the facilities.

10:46:0723     You testified earlier that General Mills has facilities all

10:46:1124     around the United States.     How many plants does it have in

10:46:1425     Covington, Georgia?
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10:46:15   1   A.       We have two plants in Covington, Georgia.

10:46:19   2   Q.       What kind of products are made in Covington, Georgia?

10:46:23   3   A.       Cereal, most obvious thing is like Cinnamon Toast

10:46:27   4   Crunch and snacks like Nature Valley.

10:46:31   5   Q.       How is refined sugar delivered to the Covington

10:46:35   6   plant.

10:46:35   7   A.       In bulk truck.

10:46:37   8   Q.       Is any delivered via rail?

10:46:39   9   A.       No.

10:46:4110     Q.       Why not?

10:46:4211     A.       We have not been able to do the -- to have the

10:46:4512     capital investment work out which would meet our internal

10:46:5113     guidance to support that, and then we have not -- we have

10:46:5414     also not recommended it for sugar to be via bulk as well.

10:47:0215     Q.       Why is that?

10:47:0316     A.       Based on feedback from the vendors including United

10:47:0717     about the change in humidity and temperature from Florida

10:47:1318     and Georgia potentially causing clumping or performance

10:47:1719     issues when it arrived at our plant.

10:47:1920     Q.       Could you explain a little bit more what you mean?

10:47:2121     A.       So, we have had some instances in the past and our

10:47:2722     belief or assumption is that in very humid climates when

10:47:3223     sugar is loaded into a railcar which has over 200,000

10:47:3724     pounds, that moisture as it moves north, moves into less

10:47:4125     humid conditions and kind of rumbling of the rail and the
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10:47:45   1   transit time it takes, can lead to significant clumping or

10:47:48   2   issues where sugar sticks to the walls of the railcar and

10:47:52   3   cannot be dislodged and cannot be used.

10:47:55   4   Q.        Have you heard of any such issues using trucks?

10:47:59   5   A.        No.

10:48:00   6   Q.        Now, I would like you, Mr. Riippa, to take a look at

10:48:05   7   a document in your binder.      Could you turn to JTX 008.

10:48:10   8                   MS. SINKLER:   I'm going to ask the Court at this

10:48:12   9   time not to display it on the public screen because it has

10:48:1610     competitively sensitive information.

10:48:1911                     And the binder is PDF version of this, Your

10:48:2312     Honor, and the native Excel actually may have some hidden

10:48:2813     screens that have not been opened.        Plaintiff and defendants

10:48:3214     agreed to make sure all the screens are opened in your

10:48:3615     system.

10:48:3616                     THE COURT:   Was someone going to put it on my

10:48:3917     screen?    I thought someone could do that.

10:48:4618                     MS. SINKLER:   Not the public screen.    Are you

10:48:5019     able to see it, Your Honor?

10:48:5220                     THE COURT:   In theory.   I can't see a number on

10:48:5621     there.

10:49:0222                     MS. SINKLER:   It was a native cover.

10:49:0523                     THE COURT:   I can see it.   I can't read it.    The

10:49:0824     font is so small, I can't read them.

10:49:1125                     MS. SINKLER:   I'm sorry.    I can give you a hard
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10:49:14   1   copy.

10:49:14   2                THE COURT:   I can pull it up.      What exhibit is

10:49:16   3   it?

10:49:18   4                MS. SINKLER:    JTX 008.

10:49:23   5                THE COURT:   Okay.    Thank you.    You just have to

10:49:28   6   tell me what tab.

10:49:34   7                MS. SINKLER:    What tab?

10:49:35   8                THE COURT:   It's an Excel document.       There are

10:49:38   9   tabs at the bottom and the picture that is on my screen here

10:49:4210     has red and green things on it, and the first page of it

10:49:4511     does not, so I don't know what I have, consolidated response

10:49:5012     payment terms, S & G actuals, Michigan revised.

10:49:5513                  MS. SINKLER:    Right, I think some of the tabs

10:49:5714     are hidden on the Excel, so you have to unhide them.         You

10:50:0315     have to select columns E and AP on the tab at the top and

10:50:1016     right click to unhide the tab.

10:50:1217                  THE COURT:   I have no idea what that means.          You

10:50:2718     have to tell me again what to do.

10:50:3019                  MS. SINKLER:    I think what you do is you click

10:50:3220     on the tabs at the top, and you see E and AP, column

10:50:3721     headings and you highlight those.       And then right click

10:50:4122     unhide.   And it should open up.

10:51:0323                  THE COURT:   Do you have stuff highlighted on

10:51:0524     here in different colors than what's on my sheet?

10:51:0825                  MS. SINKLER:    No, they are in different colors.
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                                                                             90
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10:51:13   1               THE WITNESS:     I think if you scroll.

10:51:25   2               THE COURT:    If you guys could give us this stuff

10:51:27   3   in the right format, it would help because you're just

10:51:31   4   wasting your time in trying to figure this out.        Or you can

10:51:35   5   do it this way if you want.

10:51:43   6               Okay.    I got it.   Thank you.

10:51:46   7               MS. SINKLER:     Thank you.

10:51:47   8   BY MS. SINKLER:

10:51:50   9   Q.     Do you recognize JTX 008?

10:51:5310     A.     Yes, I do.

10:51:5311     Q.     What is it?

10:51:5512     A.     This is our following the bid event, this is the -- a

10:52:0313     consolidation half of the pricing, vendor locations, and

10:52:1014     then a color coding to designate the competitiveness or the

10:52:1615     lowest price compared to the highest price.

10:52:1916     Q.     Did you prepare JTX 008 in the ordinary course of

10:52:2317     your duties at General Mills?

10:52:2418     A.     Yes, I did.

10:52:2519     Q.     Does General Mills routinely prepare such reports to

10:52:2820     reflect bids?

10:52:2921     A.     Yes, we do.

10:52:3122                 MS. SINKLER:     Your Honor, I would like to offer

10:52:3323     JTX 008 into evidence.    And it's been designated as a

10:52:3824     confidential document.

10:52:3825                 THE COURT:    Any objection?
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10:52:40   1                 MR. YATES:   No objection, Your Honor.

10:52:41   2                 THE COURT:   All right.   It's so admitted.

10:52:43   3                 (JTX Exhibit No. 008 was admitted into

10:52:43   4   evidence.)

10:52:43   5   BY MS. SINKLER:

10:52:49   6   Q.     Mr. Riippa, I'm going to ask you a few questions

10:52:52   7   about the document.    First of all, do you see the

10:52:54   8   consolidated response tab at the bottom.       Would you describe

10:52:58   9   generally what the consolidated response tab is doing?

10:53:0110     A.     This is showing all the different responses we've

10:53:0611     received, the starting in column C down would be all of our

10:53:1612     plant locations.    Column D would have the method in which

10:53:2113     sugar would be delivered.     Column E would have two price

10:53:2514     represented in millions of pounds, and then through the rest

10:53:2915     of the sheet would be the vendors broken down by their FOB

10:53:3516     price delivered and then delivered price offering.

10:53:4017     Q.     Thank you.

10:53:4018                   And if you look at line 5 starting at E, page

10:53:5519     22, volume in pounds, do you see that?

10:53:5720     A.     Yes.

10:53:5721     Q.     Right next to it, it says FOB dollar sign/CWT, right

10:54:0422     under F5.

10:54:0623     A.     Yes.

10:54:0624     Q.     What is CWT referring to?

10:54:0925     A.     That is referring to a hundredweight price.         And so
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                                                                             92
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10:54:16   1   if -- so you would move the decimal point over two spots to

10:54:21   2   the left to get a per pound price.

10:54:23   3   Q.     Could you give us an example?

10:54:25   4   A.     If something was $50 a hundredweight, you would move

10:54:29   5   it twice and therefore it would be $0.50 a pound.

10:54:34   6   Q.     Thank you.

10:54:35   7                 Are all the reported prices on JTX 008 on a

10:54:39   8   hundredweight basis?

10:54:40   9   A.     Yes, they are.

10:54:4410     Q.     First, let's focus on Covington, Georgia on lines 13

10:54:4911     and 14 of JTX 008.    Do you see that?

10:54:5312     A.     Yes.

10:54:5413     Q.     Will you just tell us the cells that reflect the

10:54:5914     vendors who bid to supply Covington, Georgia?

10:55:0215     A.     It would be in sales F through H1.        And then U

10:55:1516     through Z1.   And AJ through AL1.

10:55:3017     Q.     According to JTX 008, what sales showed who had the

10:55:3718     lowest delivered price bid of the three companies listed in

10:55:4119     the previous cell?

10:55:4520     A.     That would be the cell Z 13 and 14.

10:55:5321     Q.     And which cell JTX 008 shows the facility from where

10:56:0122     the winning bidder would be supplying sugar from?

10:56:0423     A.     That would be X through Z3.

10:56:1024                   THE COURT:   I don't know what any of this means,

10:56:1225     X through Z3.   I thought I was following along and now I'm
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                                                                             93
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10:56:17   1   just -- X through Z3.       I see X through Z, I don't know what

10:56:24   2   3 means.

10:56:27   3                  MS. SINKLER:    So the number to the left on the

10:56:31   4   Excel, on JTX 008, the 3, and then --

10:56:38   5                  THE COURT:    I have no idea what you're talking

10:56:40   6   about.   I have X, Y and Z, and I see for lines 13 and 14,

10:56:49   7   Covington, Georgia, there are numbers.       But I'm missing the

10:56:53   8   3.   I just don't know what you're talking about.

10:57:05   9                  MS. SINKLER:    If you go back to which cell shows

10:57:1010     the facility, the winning bidder, would be the final sugar

10:57:2311     comp.

10:57:2312                    THE COURT:    I have no idea what you're talking

10:57:2413     about.

10:57:2614                    MS. SINKLER:    Do you see the X, Y, Z at the top?

10:57:2915                    THE COURT:    Yes, I have the X, Y, Z.    I don't

10:57:3216     see the 3.

10:57:3417                    MS. SINKLER:    The 3 is on the left, the far

10:57:3618     left, if you go all the way across to the right under X, Y,

10:57:4019     Z, that's what he's referring to as the 3.

10:57:4420                    THE COURT:    So its the name of the city and

10:57:4721     state, that's X, Y, Z, you can't tell me that on the record.

10:57:5122                    MS. SINKLER:    That would identify for him

10:57:5423     specifically who the supplier was that bid.

10:57:5724                    THE COURT:    Truly, is that highly competitive

10:57:5925     information?    I need someone to help me out here because
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10:58:05   1   this is -- we are making this trial impossible to figure out

10:58:08   2   on the record with this code that is going to make it very

10:58:14   3   difficult for us in post-trial briefing.       So who -- I don't

10:58:19   4   understand.

10:58:20   5                 MS. SINKLER:   I think what the company --

10:58:22   6                 THE COURT:   We're talking about -- some of these

10:58:25   7   parties here are parties in this case.

10:58:27   8                 MS. SINKLER:   Right.

10:58:27   9                 THE COURT:   And we can't say whether or not -- I

10:58:3010     mean, what?   You can't even say the states?

10:58:4111                   MS. SINKLER:   We can, just going back to the

10:58:4412     prices, the specific prices, because we don't want to do the

10:58:4913     specific prices on the public record.

10:58:5114                   THE COURT:   Okay.

10:58:5115                   MS. SINKLER:   Is that all right?

10:58:5516     BY MS. SINKLER:

10:58:5617     Q.     According to JTX 008, which cells show who has the

10:59:0118     next lowest prices to supply Covington?

10:59:0519     A.     H13 and 14.

10:59:1620     Q.     Finally, which cells show who have the highest bid to

10:59:2221     supply Covington?

10:59:2322     A.     AL 13 and 14.

10:59:2623                   MS. SINKLER:   At this time Your Honor --

10:59:2824                   THE COURT:   Let me figure it out.     I now

10:59:3125     understand it.    But I am not understanding who it is because
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                                                                             95
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10:59:35   1   he's clearly been prepared to spit these names out and I

10:59:39   2   need to find them.

10:59:41   3               MS. SINKLER:     All right.

10:59:42   4               THE COURT:    Okay.   When you guys do post-trial

10:59:48   5   briefing, if you don't specify who these people are, it's

10:59:52   6   going to be very difficult for you to win.        We're just going

10:59:56   7   to sit here and say AB4, anyway, go ahead.

11:00:04   8               MS. SINKLER:     At this time I would request to

11:00:06   9   close the courtroom for the rest of the witness's testimony.

11:00:0910     We'll be eliciting confidential information.

11:00:1311                 THE COURT:    Anyone who is not in protective

11:00:1612     order, we are going to be eliciting third-party highly

11:00:2013     confidential information.     There is a record that's been

11:00:2314     made in the submissions that this is highly competitive and

11:00:3115     would be prejudice to the parties.      And we're going to shut

11:00:3716     off the streaming, too.

11:01:0117                 (Courtroom sealed.)

11:01:1518

11:01:1719


11:01:1720


11:01:1821


11:01:2922

11:01:3723


11:01:4224


11:01:4825
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                                                                             96
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11:01:59   1

11:02:02   2

11:02:07   3

11:02:09   4

11:02:10   5

11:02:14   6

11:02:15   7

11:02:23   8

11:02:23   9

11:02:2510


11:02:2911

11:02:3012


11:02:3213


11:02:3714


11:02:3715

11:02:4416


11:02:4617

11:02:5018

11:02:5419


11:02:5720


11:02:5921


11:03:0222

11:03:0623


11:03:0724


11:03:1025
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11:03:14   1

11:03:22   2

11:03:22   3

11:03:22   4

11:03:23   5

11:03:27   6

11:03:33   7

11:03:36   8

11:03:39   9

11:03:4510


11:03:4711

11:03:4812


11:03:5713


11:03:5914


11:04:0015

11:04:0216


11:04:0617

11:04:1718

11:04:2219


11:04:2220


11:04:2521


11:04:2622

11:04:3023


11:04:3324


11:04:3425                                                             to supply
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                                                                             98
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11:04:37   1

11:04:40   2

11:04:43   3

11:04:48   4

11:04:52   5

11:04:52   6

11:04:55   7

11:05:01   8

11:05:01   9

11:05:0610


11:05:0911

11:05:1112


11:05:1813


11:05:2314


11:05:2615

11:05:3716


11:05:3717

11:05:3718

11:05:4119


11:05:4920


11:05:5421


11:05:5622

11:05:5923


11:06:0324


11:06:0925
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                                                                             99
                                      Riippa - direct

11:06:17   1

11:06:21   2

11:06:22   3

11:06:27   4

11:06:29   5

11:06:29   6

11:06:32   7

11:06:35   8

11:06:36   9

11:06:4110


11:06:4411

11:06:4512


11:06:5113


11:06:5614


11:07:0115

11:07:0516


11:07:1017

11:07:1018

11:07:1519


11:07:1920


11:07:2421


11:07:2822

11:07:3323


11:07:3324


11:07:3725
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                                                                            100
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11:07:42   1

11:07:46   2

11:07:49   3

11:07:53   4

11:07:57   5

11:07:58   6

11:07:59   7

11:08:06   8

11:08:11   9

11:08:1410


11:08:1911

11:08:2312


11:08:2813


11:08:3214


11:08:3515

11:08:3916


11:08:4217

11:08:4418

11:08:4819


11:08:5220


11:08:5321


11:08:5922

11:09:0323


11:09:0824


11:09:1425
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                                                                            101
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11:09:21   1

11:09:26   2

11:09:30   3

11:09:34   4

11:09:34   5

11:09:36   6

11:09:40   7

11:09:45   8

11:09:49   9

11:09:5410


11:10:0011

11:10:0212


11:10:0513


11:10:0914


11:10:1215

11:10:1516


11:10:2117

11:10:2318

11:10:2919


11:10:3520


11:10:3921


11:10:4422

11:10:4823


11:10:5124


11:10:5625                                                                  use.
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                                                                            102
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11:11:01   1

11:11:06   2

11:11:09   3

11:11:10   4

11:11:13   5

11:11:17   6

11:11:22   7

11:11:26   8

11:11:29   9

11:11:3010                 MS. SINKLER:    I have no further questions at

11:11:3211     this time, Your Honor.

11:11:3212                 THE COURT:    All right.    So let's do the cross

11:11:3613     just on anything you have on this, and then -- you don't

11:11:4114     have.

11:11:4615                 MR. YATES:    I don't think we need to do anything

11:11:4916     on the confidential sealed record.

11:11:5117                 THE COURT:    Okay.   We'll open the sealed record

11:11:5318     but let's take our morning break.

11:11:5519                 COURT CLERK:    All rise.

11:28:5820                 (A brief recess was taken.)

11:28:5821                 THE COURT:    All right.    Please be seated.

11:29:0122                 Cross-exam.

11:29:0123                 MR. YATES:    Good morning, Your Honor.      Chris

11:29:0424     Yates of Latham & Watkins for US Sugar.       May I proceed?

11:29:0825                 THE COURT:    Yes, please.
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                                                                            103
                                      Riippa - cross

11:29:09   1                          CROSS-EXAMINATION

11:29:09   2   BY MR. YATES:

11:29:10   3   Q.        Thank you.    Nice to seen you again, Mr. Riippa.

11:29:12   4                     Mr. Riippa, let's start where Ms. Sinkler ended

11:29:16   5   and spend a lot of time with the Covington, Georgia plants.

11:29:20   6   Is that all right?

11:29:21   7   A.        Yes.

11:29:21   8   Q.        For 2022, those two plants were being supplied by

11:29:25   9   United, correct?

11:29:2610     A.        Correct.

11:29:2711     Q.        For 2022, United and General Mills entered into

11:29:3112     what's called a blanket volume agreement which covers nine

11:29:3513     different plants from New York to Iowa to Tennessee to

11:29:3914     Georgia, correct?

11:29:3915     A.        Correct.

11:29:3916     Q.        And as part of that blanket volume agreement, General

11:29:4417     Mills allowed United to`raise the price for the supplies for

11:29:4818     the Covington, Georgia plants in exchange for a price

11:29:5319     reduction in other parts of the country.       Isn't that true?

11:29:5620     A.        That is correct.

11:29:5721     Q.        And Imperial didn't bid on any of the other plants

11:30:0322     that are covered by the blanket volume contract with United,

11:30:0723     did it?

11:30:0824     A.        Correct.

11:30:0925     Q.        Okay.    Including Centerville, Tennessee?
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                                                                            104
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11:30:12   1   A.     Correct.

11:30:13   2   Q.     Murfreesburo, Tennessee?

11:30:16   3   A.     Correct.

11:30:16   4   Q.     As part of its blanket volume agreement with United,

11:30:20   5   General Mills ultimately agreed to a price for the

11:30:25   6   Covington, Georgia plants there's higher than the price that

11:30:29   7   the DOJ showed you, right?

11:30:32   8   A.     Can you say it again?

11:30:34   9   Q.     Sure.

11:30:3510                    Do you recall Ms. Sinkler went through the

11:30:3911     spreadsheet and she isolated the price that United bid, do

11:30:4512     you recall that?

11:30:4513     A.     Yes.

11:30:4514     Q.     Do you recall that what ended up happening was

11:30:4815     General Mills and United said United, you can charge a

11:30:5116     higher price to Covington, Georgia and a price even higher

11:30:5417     than the Imperial price?

11:30:5518     A.     I cannot recall the specifics.

11:30:5719     Q.     Okay.    But what did happen was General Mills wanted a

11:31:0320     price reduction in other parts of the country from United,

11:31:0621     correct?

11:31:0622     A.     Correct.

11:31:0723     Q.     And General Mills agreed to a higher price for

11:31:1024     Covington, Georgia in exchange for a lower price in other

11:31:1425     parts of the country; right?
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                                      Riippa - cross

11:31:15   1   A.     Correct.

11:31:17   2   Q.     Okay.     And that's because General Mills cares about

11:31:19   3   its overall spend, the overall price it's paying for refined

11:31:24   4   sugar throughout the United States; correct?

11:31:26   5   A.     Correct.

11:31:30   6   Q.     Let's talk briefly about another General Mills

11:31:32   7   facility in Georgia, that's a company packing facility in

11:31:37   8   Rome, Georgia?

11:31:38   9   A.     Yes.

11:31:3810     Q.     For 2022, Cargill, LSR Cargill is contracted to

11:31:4511     supply that facility, correct?

11:31:4712     A.     I believe so.

11:31:4713     Q.     And Cargill is the sole supplier of that facility in

11:31:5214     Rome, Georgia, correct?

11:31:5315     A.     Yes.

11:31:5316     Q.     For calendar year 2022, General Mills didn't contract

11:31:5717     with Imperial to supply that facility, did it?

11:32:0018     A.     Correct.

11:32:0019     Q.     That's even though Imperial is located in the state

11:32:0320     of Georgia, right?

11:32:0421     A.     To my knowledge, yes.

11:32:0522     Q.     And I think you said that General Mills has fifteen

11:32:0923     plants and dozens of co-packing locations, correct?

11:32:1324     A.     Correct.

11:32:1325     Q.     The only plants in the United States that Imperial
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                                                                            106
                                      Riippa - cross

11:32:16   1   bid on were the two plants in Covington, Georgia and the one

11:32:21   2   plant in Rome, Georgia in 2022, correct?

11:32:23   3   A.       I would have to look and see.

11:32:25   4   Q.       Well, we could look at JTX 008, and we'll do that

11:32:30   5   after in the post-trial briefing?

11:32:32   6   A.       Okay.

11:32:33   7   Q.       To the best of your recollection, Imperial did not

11:32:35   8   bid on any of General Mills' plants in Tennessee; is that

11:32:40   9   right?

11:32:4010     A.       Correct.

11:32:4111     Q.       And didn't bid on any General Mills' facility or

11:32:4512     co-packing facility in Kentucky or any other state; correct?

11:32:4913     A.       Correct.

11:32:5014     Q.       I think, let me just confirm, when General Mills

11:32:5315     wants to purchase refined sugar, it typically issues

11:32:5716     requests for proposal to suppliers, correct?

11:33:0117     A.       Correct.

11:33:0118     Q.       And does General Mills use the fact that it's a large

11:33:0419     purchaser of refined sugar to retain favorable pricing

11:33:1020     terms?

11:33:1021     A.       Yes, we do.

11:33:1222     Q.       I think what you told me in deposition was that

11:33:1623     General Mills uses its economy of scale to obtain the best

11:33:2124     prices possible, right?

11:33:2225     A.       I believe so.
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                                                                            107
                                      Riippa - cross

11:33:22   1   Q.     Let's talk a bit further about these blanket volume

11:33:27   2   contracts that General Mills entered into with certain sugar

11:33:31   3   suppliers.    Is it true with a blanket volume contract

11:33:35   4   General Mills retains the flexibility to shift sugar

11:33:39   5   deliveries between its various plants?

11:33:41   6   A.     Yes.

11:33:41   7   Q.     And with this blanket volume contract, General Mills

11:33:46   8   can shift the supply of refined sugar from among its various

11:33:52   9   plants, correct?

11:33:5310     A.     Yes.

11:33:5311     Q.     And let's use United as an example.       There is a

11:33:5912     blanket volume contract with United and General Mills,

11:34:0213     correct?

11:34:0214     A.     Correct.

11:34:0315     Q.     With a blanket volume contract, General Mills has the

11:34:0716     ability to tell United that it wants to shift the delivery

11:34:1017     of a certain number of thousands of pounds or tens of

11:34:1318     thousands of pounds of sugar from let's say Murfreesburo,

11:34:1719     Tennessee to Cedar Rapids, Iowa, correct?

11:34:2020     A.     Correct.

11:34:2021     Q.     And the converse is true, isn't it, General Mills has

11:34:2322     the ability to tell United please send the sugar that was

11:34:2723     going to go to Cedar Rapids, Iowa to Murfreesburo, Tennessee

11:34:3224     instead?

11:34:3225     A.     With enough notice there is flexibility to do that,
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 108 of 360 PageID #: 6036
                                                                            108
                                      Riippa - cross

11:34:35   1   yes.

11:34:36   2   Q.       The reason General Mills does that is because General

11:34:39   3   Mills wants the flexibility to shift the supply of sugar to

11:34:42   4   its various plants around the country, correct?

11:34:44   5   A.       That is correct.

11:34:50   6   Q.       I mentioned Murfreesburo, Tennessee.     General Mills

11:34:53   7   has two plants in Murfreesburo Tennessee correct?

11:34:57   8   A.       Yes.

11:34:58   9   Q.       And one of those plants makes Pillsbury products,

11:35:0210     right.

11:35:0211     A.       Yes.

11:35:0212     Q.       And the other one makes Yoplait Yogurt?

11:35:0613     A.       Yes.

11:35:0714     Q.       And General Mills purchases a very large amount of

11:35:1015     sugar for those two plants in Murfreesburo?

11:35:1316     A.       I believe that is correct.

11:35:1517     Q.       About 200 million pounds?

11:35:1818     A.       I believe so, yes.

11:35:1919     Q.       Out of the 750 million pounds that it buys yearly?

11:35:2320     A.       Some of that would be the liquid sugar which is not

11:35:2621     in the 750 million.

11:35:2922     Q.       Fair to say that Murfreesburo is one of General

11:35:3423     Mills' larger sugar using locations in the United States?

11:35:3824     A.       That is correct.

11:35:3825     Q.       And in 2022 General Mills contacted with United in
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 109 of 360 PageID #: 6037
                                                                            109
                                      Riippa - cross

11:35:43   1   Cargill to deliver the bulk sugar, correct?

11:35:47   2   A.     Yes.

11:35:47   3   Q.     And United was supplied the Murfreesburo, Tennessee

11:35:51   4   plant with beet sugar, is that right?

11:35:52   5   A.     On occasion, yes.

11:35:55   6   Q.     And that comes down to Tennessee to Murfreesburo,

11:35:57   7   Tennessee from the Red River Valley, right?

11:36:01   8   A.     Yes.

11:36:01   9   Q.     Comes all the way down from the boarder of North

11:36:0510     Dakota and Minnesota, correct?

11:36:0611     A.     Correct.

11:36:0712     Q.     And the sugar that General Mills purchases from LSR

11:36:1213     and Cargill, that comes up to Tennessee from Louisiana, is

11:36:1714     that correct?

11:36:1715     A.     That is correct.

11:36:1716     Q.     You mentioned liquid sugar.      General Mills buys

11:36:2117     liquid sugar for its Murfreesburo, Tennessee plant from a

11:36:2518     company we haven't discussed in this trial yet called CSC,

11:36:3019     correct?

11:36:3020     A.     That is correct.

11:36:3221     Q.     Is CSC the sole supplier of liquid sugar to the

11:36:3622     Murfreesburo, Tennessee plants?

11:36:3823     A.     Yes, they are.

11:36:3924     Q.     And CSC supplies a significant quantity of liquid

11:36:4325     sugar to those plants?
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 110 of 360 PageID #: 6038
                                                                            110
                                      Riippa - cross

11:36:45   1   A.     That is correct.

11:36:45   2   Q.     Much of the hundred million pounds of liquid sugar

11:36:48   3   that General Mills buys on an annual basis?

11:36:52   4   A.     Correct.

11:36:52   5   Q.     And you testified, I believe on direct that about

11:36:56   6   something called the International Sweeteners Colloquium.

11:37:00   7   Do you recall that?

11:37:01   8   A.     Yes, I do.

11:37:02   9   Q.     You helped prepare presentations in advance of those

11:37:0710     meetings, is that correct?

11:37:0711     A.     That is correct.

11:37:0812     Q.     Let's take a look at JTX 007 which I will ask the

11:37:1213     court not to display on the public screen since General

11:37:1714     Mills has marked it as confidential.      Let me know when you

11:37:2115     have that, sir.

11:37:2216     A.     What was the -- I have the --

11:37:2517     Q.     JTX-007.   Do you have that?

11:37:2818     A.     Yes.

11:37:2819     Q.     Would you turn to the slide that ends in the Bates

11:37:3120     number 407, it's entitled CSC Sugar.

11:37:4221     A.     Yes.

11:37:4322     Q.     And JTX-007, this is the document you prepared in the

11:37:4923     ordinary course of your job duties at General Mills, is that

11:37:5224     correct?

11:37:5225     A.     That is correct.
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 111 of 360 PageID #: 6039
                                                                            111
                                      Riippa - cross

11:37:53   1   Q.       And to prepare for meetings with suppliers and others

11:37:56   2   at the International Sweeteners Colloquium in 2020, correct?

11:38:00   3   A.       That is correct.

11:38:01   4   Q.       And you meet with analysts, industry analysts at the

11:38:06   5   colloquium?

11:38:07   6   A.       Yes.

11:38:07   7   Q.       And you meet with sugar suppliers?

11:38:09   8   A.       Yep.

11:38:09   9   Q.       You said earlier I think on direct that it's the

11:38:1310     beginning of the contracting season for the next year, is

11:38:1611     that correct?

11:38:1612     A.       That is correct.

11:38:1713     Q.       Take a look at the slide for the meeting with CSC

11:38:2114     Sugar.   Do you have that, sir?

11:38:2315     A.       Yes.

11:38:2316     Q.       Under the heading background, do you see it says CSC

11:38:2717     has built a business around raw sugar trade and as a

11:38:3218     disrupter in the finished product phase for sugar?

11:38:3519     A.       Yes.

11:38:3620     Q.       Is it fair to say that General Mills perceived CSC to

11:38:4121     be a disrupter in the sugar space in the United States?

11:38:4422     A.       Yes, we do.

11:38:4623     Q.       Is that because CSC has built new liquid facilities

11:38:5024     that have disrupted supply and demand dynamics in the sugar

11:38:5525     industry?
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 112 of 360 PageID #: 6040
                                                                            112
                                      Riippa - cross

11:38:55   1   A.     That is one factor, yes.

11:38:56   2   Q.     What are the others?

11:38:58   3   A.     Their ability to take the raw sugar and make higher

11:39:01   4   color sugar which would drive cost savings projects for

11:39:06   5   General Mills, and that would be the other factor.

11:39:11   6   Q.     In fact, under background, it talks about some of the

11:39:14   7   substantial cost savings to General Mills from working with

11:39:18   8   a company like CSC?

11:39:21   9   A.     That is correct.

11:39:2110     Q.     And under supplier interests in General Mills, do you

11:39:2711     see that, sir?

11:39:2812     A.     Yes.

11:39:2913     Q.     Do you see it says open new liquid sugar lanes, even

11:39:3514     willing to adopt and build manufacturing sites close to GMI,

11:39:4115     General Mills, do you see that?

11:39:4116     A.     Yes.

11:39:4217     Q.     Does that mean that CSC Sugar has expressed a

11:39:4718     willingness to build new manufacturing facilities close to

11:39:5119     General Mills plants?

11:39:5220     A.     Yes, they have.

11:39:5421     Q.     If you turn to slide 404, sir.      This is a slide to

11:40:0322     prepare for a meeting with Batory Foods?

11:40:0723     A.     Yes.

11:40:0724     Q.     In your direct, Batory Foods was referred to as a

11:40:1225     distributor, correct?
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                                                                            113
                                      Riippa - cross

11:40:14   1   A.        Yes.

11:40:14   2   Q.        But Batory Foods takes refined sugar and produces

11:40:19   3   powdered sugar for General Mills, does it not?

11:40:21   4   A.        That's correct, yes.

11:40:22   5   Q.        And General Mills has purchased powdered sugar from

11:40:25   6   Batory Foods; correct?

11:40:27   7   A.        Yes.

11:40:27   8   Q.        And it also says under Batory Foods, Batory Foods is

11:40:33   9   a big sugar buyer in NAR, North American Region, 500 million

11:40:4010     pounds.    Do you see that?

11:40:4111     A.        Yes.

11:40:4112     Q.        Is that the quantity of sugar that Batory is buying

11:40:4613     on an annual basis?

11:40:4714     A.        That was shared with us, so I'm not sure you have the

11:40:4915     scope of that, but I believe so.

11:40:5116     Q.        Is Batory an example of a distributor who General

11:40:5717     Mills turns to when it needs to make spot purchases?

11:40:5918     A.        They are one of our distributors, yes.

11:41:0319     Q.        Let's take a look at slide, the slide that's

11:41:0720     immediately prior to this one, that's on Bates number 403.

11:41:1421     Is this slide one that's being prepared for a meeting with

11:41:1722     Imperial?

11:41:1723     A.        Yes, it is.

11:41:1924     Q.        And do you see under supplier interests in General

11:41:2525     Mills that there are two sub-bullets?
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                                                                            114
                                      Riippa - cross

11:41:27   1   A.       Yes.

11:41:28   2   Q.       And the second one is they don't really need us?

11:41:33   3   A.       Yes.

11:41:33   4   Q.       And you told me in your deposition that General

11:41:37   5   Mills' view is Imperial doesn't price its refined sugar to

11:41:42   6   win General Mills' business?

11:41:43   7   A.       That is correct.

11:41:44   8   Q.       In fact, Imperial's pricing to General Mills is

11:41:47   9   particularly higher than the pricing of other General Mills

11:41:5110     suppliers, isn't that true?

11:41:5311     A.       Yes.

11:41:5412     Q.       Now, Mr. Riippa, you also attended the colloquium in

11:42:0013     the spring of 2021, correct?

11:42:0214     A.       I do not believe there was a colloquium in 2021.

11:42:0715     Q.       You prepared slides in advance of a virtual

11:42:1116     colloquium in 2021, right?

11:42:1417     A.       Yes.

11:42:1418     Q.       Please take a look at what's been marked as JTX 009,

11:42:1919     sir, in your binder.   Is this a presentation that you helped

11:42:3020     prepare in the ordinary course of your job duties at General

11:42:3321     Mills?

11:42:3322     A.       Yes, it is.

11:42:3423     Q.       And at this time, General Mills had already entered

11:42:3824     into its contracts for calendar year 2021 and it was

11:42:4225     beginning the contracting process for calendar year 2022,
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                                                                            115
                                      Riippa - cross

11:42:46   1   correct?

11:42:47   2   A.        That is correct.

11:42:47   3   Q.        Let's turn to the second slide in the deck, the one

11:42:50   4   that's titled NAR Sugar Book Summary Calendar 2021.         Do you

11:42:56   5   see that?

11:42:57   6   A.        Yes.

11:42:57   7   Q.        And this slide shows General Mills refined sugar

11:43:03   8   purchases from certain suppliers for calendar years 2017

11:43:08   9   through 2021; correct?

11:43:0910     A.        Correct.

11:43:1111     Q.        And General Mills' largest suppliers of refined sugar

11:43:1512     by volume for those years were Michigan Sugar, NSM and

11:43:2013     United, correct?

11:43:2114     A.        That is correct.

11:43:2215     Q.        And General Mills also purchased refined sugar from

11:43:2616     Cargill, Western, Domino, Imperial, and CSC between 2017 and

11:43:3217     2021; is that correct?

11:43:3318     A.        That is correct.

11:43:3419     Q.        And General Mills also bought refined sugar such as

11:43:3820     powder sugar from Batory and Indiana during that time

11:43:4321     period?

11:43:4422     A.        Yes.

11:43:4423     Q.        Were there other suppliers of refined sugar to

11:43:4724     General Mills during that time period, sir?

11:43:5425     A.        Yes.   McGill via Batory, related to the force majeure
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                                                                            116
                                      Riippa - cross

11:44:02   1   purchases we needed to make.

11:44:04   2   Q.     And General Mills' sugar purchases for calendar year

11:44:08   3   2021 are reflected in this slide by the light purple bar;

11:44:13   4   correct?

11:44:13   5   A.     That is correct.

11:44:14   6   Q.     And is it true that in calendar year 2021, General

11:44:18   7   Mills purchased more refined sugar from each of NSM, United,

11:44:23   8   Michigan, Cargill, Western, and CSC than it did from

11:44:29   9   Imperial?

11:44:3010     A.     It appears that it did, yes.

11:44:3211     Q.     Of all the suppliers listed on this slide from whom

11:44:3612     General Mills purchased refined sugar in 2021, Imperial was

11:44:4013     the smallest; correct?

11:44:4314     A.     I believe so.     Domino would be the smallest.      I don't

11:44:4915     believe they have a bar.

11:44:5016     Q.     Domino, you didn't buy any sugar from Domino in 2021,

11:44:5417     correct?

11:44:5418     A.     I don't believe so.

11:44:5519     Q.     But of the ones that you were purchased refined sugar

11:44:5920     from, Imperial was the smallest?

11:45:0121     A.     Yes.

11:45:0122     Q.     Do you see the text at the top of page 2 of JTX 009,

11:45:0623     sir, that indicates the total quantity of refined sugar

11:45:1024     General Mills purchased in calendar year 2021?

11:45:1325     A.     Yes.
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                                                                            117
                                      Riippa - cross

11:45:13   1   Q.     That's 750 million pounds?

11:45:17   2   A.     Correct.

11:45:17   3   Q.     General Mills bought a very small fraction of its

11:45:21   4   overall sugar purchases, about one percent from Imperial in

11:45:24   5   calendar year 2021, correct?

11:45:27   6   A.     I believe so.

11:45:27   7                 THE COURT:   Is this document, I mean, is this

11:45:29   8   one that we're only doing on the small screen and not on the

11:45:32   9   big one?

11:45:3410                   MR. YATES:   Yes, Your Honor.    General Mills has

11:45:3711     asked that it be kept confidential.

11:45:3912                   THE COURT:   That's okay.   For the reasons set

11:45:4113     forth in their submissions, I granted that, I just want to

11:45:4514     make sure.

11:45:4615                   MR. YATES:   I appreciate it.    I think we can do

11:45:4916     it all on the public record.

11:45:5117                   THE COURT:   This one, okay.

11:45:5318     BY MR. YATES:

11:45:5419     Q.     Do you see on the right-hand portion of this same

11:45:5720     slide it says 90 percent of GMI book is beet sugar?

11:46:0221     A.     Yes.

11:46:0222     Q.     That means that in 2021, 90 percent of General Mills

11:46:1223     sugar purchases were beet?

11:46:1324     A.     Correct.

11:46:1425     Q.     Imperial is a cane only supplier?
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                                                                            118
                                      Riippa - cross

11:46:17   1   A.     Yep correct.

11:46:18   2   Q.     The percentage of refined sugar that was beet sugar

11:46:21   3   that General Mills made that increased from eight percent in

11:46:27   4   2020 to 9 percent in 2021, correct?

11:46:29   5   A.     I do not recall the specifics of that number.

11:46:31   6   Q.     By 2021 there was 90 percent, correct?

11:46:34   7   A.     Correct.

11:46:35   8   Q.     In 2021 according to the same slide, cane suppliers

11:46:40   9   lost share at General Mills due to cost, correct?

11:46:4310     A.     That is correct.

11:46:4411     Q.     Domino is a cane only supplier, correct?

11:46:4712     A.     Correct.

11:46:4713     Q.     And General Mills made no purchases in 2021 from

11:46:5114     Domino, correct?

11:46:5215     A.     I believe so, correct.

11:46:5316     Q.     And between 2020 and 2021, United lost volume to

11:46:5917     General Mills, isn't that true?

11:47:0218     A.     Yes.

11:47:0419     Q.     And that was because of United inability to meet

11:47:0820     General Mills' price targets, correct?

11:47:1121     A.     I cannot recall the specifics.

11:47:1322     Q.     Well, let's take a look at DTX-098.

11:47:3023                   For the record DTX-098, is that an e-mail from

11:47:3324     your boss at the time, Christophe Laurent to a variety of

11:47:4025     individuals at General Mills attaching a PowerPoint slide?
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                                                                            119
                                      Riippa - cross

11:47:42   1   A.       Christophe is a peer sourcing manager to me, yes, our

11:47:47   2   sourcing leadership.

11:47:48   3   Q.       Fair enough.

11:47:49   4                   If you go to the second page of this document,

11:47:51   5   sir.   This page is seeking approval of General Mills sugar

11:47:59   6   purchase contracts for calendar year 2021; correct?

11:48:03   7   A.       That is correct.

11:48:04   8   Q.       And you see that it says under C 21 allocation?

11:48:10   9   A.       Yes.

11:48:1010     Q.       United's volume decreases and it's got a number based

11:48:1411     on inability to reach target price submitted by General

11:48:1912     Mills?

11:48:1913     A.       That is correct.

11:48:1914     Q.       So General Mills set a target price and if United

11:48:2315     didn't meet it, their volume was going to go down, correct?

11:48:2616     A.       I believe so.

11:48:2717     Q.       In fact, if you go up in this document, sir, do you

11:48:3018     see it talks about General Mills forcing pressure on all

11:48:3419     suppliers who are expecting an earlier cover from General

11:48:3820     Mills, do you see that, top of the page, sir, under context,

11:48:4321     last paragraph, last sentence in the paragraph.

11:48:4822     A.       Yes.   Yep.

11:48:5223     Q.       Now, let's talk for a moment again about Imperial.

11:48:5724     For calendar year 2022, General Mills didn't contract with

11:49:0225     Imperial to supply any bulk sugar, correct, if Imperial was
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                                                                            120
                                    Riippa - redirect

11:49:09   1   supplying less than one percent of General Mills' refined

11:49:12   2   sugar in 2021, correct?

11:49:13   3   A.     I believe so.

11:49:15   4   Q.     And Imperial supplied no bulk refined sugar to

11:49:19   5   General Mills in 2022; correct?

11:49:24   6   A.     That is correct.

11:49:27   7                 MR. YATES:   Your Honor, I would like to move

11:49:28   8   into evidence JTX-008, 009 and DTX-098.

11:49:33   9                 THE COURT:   Any objection?    There might be a

11:49:3710     correction.

11:49:3811                   MR. YATES:   007, my apologies.

11:49:4012                   THE COURT:   Any objection?

11:49:4113                   MS. SINKLER:   No.

11:49:4114                   THE COURT:   All right.   Thank you.

11:49:4315                   (The above exhibit were admitted into evidence.)

11:49:4416                   MR. YATES:   No further questions, Your Honor.

11:49:4517     Thank you.

11:49:4618                   THE COURT:   Thank you.

11:49:4719                   Redirect.

11:49:4720                   MS. SINKLER:   Yes, Your Honor.

11:49:5321                         REDIRECT EXAMINATION

11:49:5322     BY MS. SINKLER:

11:50:0323     Q.     On cross Mr. Yates asked you about CSC.        Can General

11:50:0824     Mills use CSC to supply Covington, Georgia?

11:50:1125     A.     We cannot.
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                                                                            121
                                    Riippa - redirect

11:50:12   1   Q.     Why not?

11:50:13   2   A.     They are a liquid sugar supplier, not a bulk dry

11:50:17   3   granulated sugar supplier, and they do not have assets to

11:50:21   4   meet our needs in Covington.

11:50:24   5   Q.     You were also asked about Murfreesboro Tennessee.

11:50:28   6   When United is supplying sugar to Murfreesboro Tennessee and

11:50:34   7   bidding to supply Murfreesboro do they bid to supply from

11:50:38   8   Florida or the Red River Valley?

11:50:40   9   A.     Most assumptions would be based out of Florida and

11:50:4310     then some conversation about either some quantity or

11:50:4811     contingency plan from the Red River Valley if needed.

11:50:5112     Q.     Is General Mills paying United based on a Florida

11:50:5513     quoted price or a Red River Valley quoted price?

11:50:5814     A.     Most are Florida.

11:51:0215     Q.     You were also asked about Rome, Georgia.        How many

11:51:0716     suppliers in total bid to supply Rome, Georgia for 2022?

11:51:1217     A.     I cannot recall specifically.

11:51:1718     Q.     You were also asked about Batory Foods.        Do you know

11:51:2119     where Batory Foods obtains the refined sugar that it uses to

11:51:2520     make the powdered sugar for General Mills?

11:51:2821     A.     From United.

11:51:3322     Q.     I want to refer you back to JTX-007.       And it's the

11:51:4623     page that has Bates 403 ending in 403.      Do you see that?

11:52:0724     A.     Yes.

11:52:0825     Q.     Do you see under background it's well situated to
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 122 of 360 PageID #: 6050
                                                                            122
                                    Riippa - redirect

11:52:14   1   serve the Covington plant as well as smaller southeastern

11:52:19   2   end points?

11:52:19   3   A.     Yes.

11:52:20   4   Q.     What does that mean?

11:52:21   5   A.     That means that I believe geographically they're

11:52:24   6   about, from the Savannah refinery to the Covington plant is

11:52:28   7   about an hour or so drive, and then also Rome, Georgia

11:52:32   8   facility is also not far away, so that was our comment, is

11:52:36   9   that they're very close geographically to our plants.

11:52:4010                   MS. SINKLER:   Thank you, Mr. Riippa.     I don't

11:52:4211     have any further questions.

11:52:4312                   THE COURT:   Thank you very much, sir.     You are

11:52:4513     excused.

11:52:4614                   What's next?

11:52:4715                   MR. HANNA:   Your Honor, Brian Hanna for the

11:52:4916     United States.   At this time United States called Dirk Swart

11:52:5317     to the stand.    Dirk Swart is the executive vice-president of

11:52:5718     sales for United Sugars.

11:53:0219                   THE COURT:   Great.   Thank you.

11:53:5420                   COURT CLERK:   Please raise your right hand.

11:54:0221     Please state and spell your full name for the record.

11:54:0622                   THE WITNESS:   Dirk Francis Swart, D-I-R-K,

11:54:1023     F-R-A-N-C-I-S, S-W-A-R-T.

11:54:1724                   DIRK FRANCIS SWART, having been duly sworn was

11:54:1825     examined and testified as follows:
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                                                                            123
                                      Swart - direct

11:54:40   1                    MR. HANNA:   May I proceed, Your Honor?

11:54:41   2                    THE COURT:   Yes, please.

11:54:41   3                      DIRECT EXAMINATION

11:54:41   4   BY MR. HANNA:

11:54:42   5   Q.       Good morning Mr. Swart.

11:54:43   6   A.       Good morning.

11:54:44   7   Q.       Nice to see you again.     We handed you a binder on

11:54:48   8   your way up.      You may refer to that during your testimony

11:54:50   9   today.   I'll let you know when you need it.

11:54:5310     A.       Okay.

11:54:5411     Q.       Mr. Swart, you're the executive vice-president of

11:54:5812     sales at United Sugar; right?

11:55:0013     A.       Yes.

11:55:0014     Q.       And you have been in that position since 2015

11:55:0415     Murfreeboro correct?

11:55:0516     A.       That's correct.

11:55:0617     Q.       And you have been working at United Sugars since it

11:55:0918     was created back in 1994; correct?

11:55:1119     A.       That's correct.

11:55:1320     Q.       And you, sir, oversee the sale and pricing for

11:55:1721     industrial customers for United, right?

11:55:1822     A.       Yes.

11:55:1923     Q.       Now, an industrial customer is a food processor or a

11:55:2524     distributors of retail?

11:55:2625     A.       Right.
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11:55:26   1   Q.     General Mills, for example, would be an example of a

11:55:29   2   industrial food processor, correct?

11:55:31   3   A.     Correct.

11:55:32   4   Q.     Batory Foods would be an example of a distributor or

11:55:36   5   resale customer, right?

11:55:37   6   A.     Right.

11:55:38   7   Q.     Now, United is a marketing cooperator that is owned

11:55:43   8   by four companies that produce sugar, right?

11:55:45   9   A.     That's correct.

11:55:4510     Q.     And United's four owners are American Crystal Sugar,

11:55:5111     Minn-Dak Farmers Cooperative, Wyoming Sugar and US Sugar?

11:55:5512     A.     That is right.

11:55:5613     Q.     US Sugar has the refinery in Clewiston, Florida?

11:56:0014     A.     Yes, sir.

11:56:0115     Q.     And other owners of United are three sugar producers,

11:56:0516     right, three beet sugar producers, right?

11:56:0817     A.     That's correct.

11:56:0818     Q.     The beet sugar production plants are located in

11:56:1119     Minnesota, North Dakota, Montana and Wyoming, right?

11:56:1620     A.     Yes.

11:56:1621     Q.     And the area in Minnesota and North Dakota, Montana

11:56:2022     are referred to as Red River Valley at times?

11:56:2423     A.     That's correct.

11:56:2424     Q.     And United is the exclusive seller of the sugar

11:56:2725     produced by those four sugar producers, right?
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11:56:30   1   A.     That's correct.

11:56:31   2   Q.     Now, I want to talk about the type of refined sugar

11:56:33   3   that United sells.   United sells granulated sugar, right?

11:56:37   4   A.     Correct.

11:56:38   5   Q.     And granulated sugar is the white crystalized sugar

11:56:42   6   that we're all familiar with, right?

11:56:44   7   A.     That's right.

11:56:45   8   Q.     United Sugar sells powdered sugar, brown sugar and

11:56:49   9   liquid sugar, right?

11:56:5010     A.     That's correct.

11:56:5011     Q.     United sells granulated sugar in bulk form via truck

11:56:5512     or railcar, right?

11:56:5713     A.     That's correct.

11:56:5814     Q.     And United Sugar also sells sugar in various size

11:57:0215     packaging, right?

11:57:0316     A.     That's correct.

11:57:0417     Q.     United sells sugar in 25-pound bags and 50-pound bags

11:57:0918     correct?

11:57:1019     A.     That's correct.

11:57:1020     Q.     United also sells super sacks to customers, right?

11:57:1321     A.     Yes.

11:57:1422     Q.     Super sacks are 2,000-pound bags?

11:57:1823     A.     That is correct.

11:57:1924     Q.     United also sells retail size bags, right?

11:57:2325     A.     They do, yes.
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11:57:24   1   Q.     Now, some of United customers specified that they

11:57:28   2   require cane sugar only, right?

11:57:30   3   A.     That's correct, yes.

11:57:32   4   Q.     And for customers that specify cane only sugar, they

11:57:36   5   can't take beet sugar for that product, right?

11:57:38   6   A.     No, that's correct.

11:57:40   7   Q.     And for industrial customers, about 13 to 15 percent

11:57:45   8   of United's sales volume are for customers that specify cane

11:57:50   9   sugar only, right?

11:57:5110     A.     Yeah, that's about right.

11:57:5311     Q.     Now, let's talk about the process of United selling

11:57:5612     sugar to customers.   United has sole discretion over pricing

11:58:0013     of the sugar produced by the members owners; right?

11:58:0314     A.     That's correct.

11:58:0415     Q.     And you, sir, have full pricing authority to set the

11:58:0716     prices for industrial customers; right?

11:58:0917     A.     Correct.

11:58:1018     Q.     Now, the financial return that gets paid back to

11:58:1319     United owners is what's called the net selling price; is

11:58:1720     that right?

11:58:1721     A.     Yes, sir.

11:58:1822     Q.     And the net selling price is sometimes abbreviated as

11:58:2123     NSP, correct?

11:58:2224     A.     Correct.

11:58:2325     Q.     Now, the net selling price is generally the net
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11:58:26   1   revenue from the customer minus the cost to make that sale,

11:58:29   2   right?

11:58:30   3   A.       That's correct.

11:58:31   4   Q.       And net revenue is the delivered price to have the

11:58:35   5   customer pay?

11:58:36   6   A.       That's correct.

11:58:37   7   Q.       The delivered price is the price you have sugar

11:58:40   8   delivered to a particular customer's location; right?

11:58:42   9   A.       That's correct.

11:58:4310     Q.       The transportation cost is a component of the

11:58:4711     delivered price, right?

11:58:4812     A.       Right.

11:58:4913     Q.       United paid each owner the net selling price

11:58:5314     multiplied by the volume of sugar that that owner

11:58:5615     contributed to the pool for that year; right?

11:58:5916     A.       That's correct.

11:59:0017     Q.       So each owner of United benefits financially from

11:59:0518     each sale of sugar regardless if that owner produced the

11:59:1019     sugar; is that right?

11:59:1120     A.       That's correct.

11:59:1221     Q.       For example, US Sugar does not have the capability of

11:59:1522     produce powdered sugar, right?

11:59:1723     A.       That's right.

11:59:1824     Q.       But one of United owners, American crystal does

11:59:2125     produced powdered sugar, right?
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11:59:23   1   A.     That's right.

11:59:24   2   Q.     So US Sugar benefits financially from United sale of

11:59:28   3   that powdered sugar produced by American Crystals, right?

11:59:31   4   A.     Right.

11:59:32   5   Q.     Now, sir, part of your job function is to maximize

11:59:36   6   the net selling price of the sugar, right?

11:59:38   7   A.     That's correct.

11:59:39   8   Q.     And United does set the minimum margins for its sales

11:59:44   9   managers to obtain, correct?

11:59:4710     A.     I don't think I would say that, no.

11:59:4911     Q.     You don't set minimum margins for your sales

11:59:5412     managers?

11:59:5413     A.     We do not.

11:59:5514     Q.     I took your deposition back in September of 2021.          Do

11:59:5915     you recall that?

12:00:0016     A.     Yes, I do.

12:00:0117     Q.     I would like you to turn to your deposition,

12:00:0718     page 139, sir?

12:00:0819     A.     Could you tell me what tab again, please.

12:00:1020     Q.     It should say CID depo on the exhibits.

12:00:1721     A.     Okay.

12:00:1822     Q.     For correction, your deposition was October 6, 2021.

12:00:2623     Do you see that?

12:00:2624     A.     Yes.

12:00:2725     Q.     If you could flip to page 139, sir, and I'm going to
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12:00:32   1   direct your attention to line 13 first.

12:00:39   2   A.     What line, please?

12:00:40   3   Q.     Page 139, lines 13 through 18.

12:00:48   4   A.     Yeah, I think this is a matter of semantics.         We set

12:00:53   5   minimums for the sales managers as I stated here, but we

12:00:58   6   don't refer to it as margins.     We set a minimum net selling

12:01:03   7   price at which they are free to accept sales from customers,

12:01:09   8   below that they have to advance that opportunity for

12:01:11   9   approval.

12:01:1410     Q.     At your deposition I did ask you the question:         "Did

12:01:1611     you set a minimum margin that United looks to obtain?"

12:01:2012                    And your answer was:   "We set minimums for sales

12:01:2313     managers."

12:01:2314                    Correct?

12:01:2315     A.     Yes.

12:01:2416     Q.     You provide exceptions to this minimum sales price

12:01:2817     but based on the number of competitors that are involved in

12:01:3018     bid, right?

12:01:3119     A.     Would you repeat that for me, please?

12:01:3320     Q.     Do you provide minimum margins or minimum selling

12:01:3721     price for your managers to obtain, but you have exceptions

12:01:4022     based on the number of competitors that are involved in a

12:01:4323     bid; right?

12:01:4424     A.     Well, sir, I wouldn't say that we -- I wouldn't say

12:01:4725     that's true.    We make exceptions, but it doesn't necessarily
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12:01:52   1   matter how many competitors are involved on that particular

12:01:57   2   piece of business.      We do make exceptions, but it's based on

12:02:02   3   a host of factors.

12:02:05   4   Q.        Can you look at the same line, page 139 of your

12:02:09   5   deposition, lines 13 through 18, "Question:       Do you set

12:02:12   6   minimum margins that United is looking to obtain?"

12:02:16   7                    "Answer:   And we set minimums for the sales

12:02:19   8   managers, but there are -- there are exceptions to those

12:02:22   9   based on the number of -- the competitors that are involve."

12:02:2610                      Do you see that?

12:02:2711     A.        I see that.

12:02:2812     Q.        Did I ask you that question and did you give me that

12:02:3113     answer?

12:02:3114     A.        Yes, sir, I did.

12:02:3215     Q.        If there are more competitors bidding then that

12:02:3516     increases the likelihood that one of these exceptions to the

12:02:3917     minimum has to be made, right?

12:02:4118     A.        Yes.

12:02:4119     Q.        And United is the one negotiating with customers for

12:02:4420     the sale of sugar on behalf of its owners, right?

12:02:4821     A.        That's correct.

12:02:4822     Q.        And during these negotiations there is a give and

12:02:5123     take between United and the customer related to price;

12:02:5424     correct?

12:02:5525     A.        Yes, sir.
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12:02:56   1   Q.        The level at which United competitors price their

12:03:02   2   sugar, strongly influences United price, right?

12:03:06   3   A.        Yes, sir.

12:03:06   4   Q.        I want to look at one of the negotiation with one of

12:03:09   5   your customers.       Pepsi is one of United's largest industrial

12:03:13   6   customers, is that correct?

12:03:14   7   A.        That is correct.

12:03:14   8   Q.        And United has competed against Imperial for Pepsi's

12:03:18   9   business at the locations in Wytheville, Virginia and

12:03:2210     Atlanta, Georgia?

12:03:2311     A.        We compete against Imperial there as well as other

12:03:2712     people.

12:03:2713     Q.        You compete against Imperial at Wytheville, Virginia

12:03:3014     and at Atlanta, Georgia?

12:03:3215     A.        That is correct.

12:03:3216     Q.        A few years ago United was the supplier at the Pepsi

12:03:3917     Wytheville, Virginia location?

12:03:3918     A.        Yes.

12:03:4019     Q.        And United lost the Pepsi Wytheville, Virginia

12:03:4620     business to Imperial?

12:03:4621     A.        Yes.

12:03:4722     Q.        United was won that Pepsi Wytheville, Virginia

12:03:5223     business back from Imperial, right?

12:03:5324     A.        That's right.

12:03:5425     Q.        I ask you to turn to PTX 416 in your notebook, sir.
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12:03:58   1   There is a tab that's labeled PTX 416 in your notebook.         Do

12:04:11   2   you have 416?

12:04:12   3   A.     I do.

12:04:13   4   Q.     PTX 416 is an e-mail from you, Eric Speece and Ted

12:04:18   5   Guy dated April 26, 2021, correct.

12:04:23   6   A.     Yes.

12:04:25   7                  MR. HANNA:    Your Honor, at this time the United

12:04:26   8   States moves to admit PTX 416 into evidence.       I don't

12:04:30   9   believe there is any objections, or we will work them out.

12:04:3310                    MS. GIORDANO:   No objection.

12:04:3411                    THE COURT:    It's admitted.

12:04:3612                    MR. HANNA:    Your Honor, may we publish the

12:04:3813     document?

12:04:3814                    THE COURT:    Any time it's admitted, you don't

12:04:3915     have to ask.    Thank you.

12:04:4116                    MR. HANNA:    Thank you, Your Honor.

12:04:4117                    (PTX Exhibit No. 416 was admitted into

12:04:4218     evidence.)

12:04:4219     BY MR. HANNA:

12:04:4420     Q.     Sir, Eric Speece is the director of strategic

12:04:4721     accounts at United?

12:04:4822     A.     That is correct.

12:04:4923     Q.     He's the one that sent you the e-mail, correct?

12:04:5124     A.     That's correct.

12:04:5225     Q.     All right.     And Mr. Speece handles the Pepsi
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12:04:55   1   accounts, correct?

12:04:55   2   A.        Correct.

12:04:57   3                     MS. GIORDANO:   Your Honor, I'm sorry to

12:05:00   4   interrupt.       This is one that is redacted, I think the

12:05:04   5   government knows that it should not be displayed.

12:05:08   6                     MR. HANNA:   It should be the redacted copy.

12:05:11   7                     THE COURT:   Thank you.

12:05:12   8                     MR. HANNA:   Sorry about that, Your Honor.

12:05:13   9                     THE COURT:   So I guess if it's redacted on the

12:05:1710     public screen then we can't put the unredacted on my private

12:05:2111     screen.    Let me pull it up in case -- okay, go ahead.

12:05:3712                       MR. HANNA:   Apologies, Your Honor.

12:05:3813                       THE COURT:   That's okay.

12:05:3914     BY MR. HANNA:

12:05:3915     Q.        At this time United was negotiating with Pepsi for

12:05:4216     the 2022 business, right?

12:05:4417     A.        That's correct.

12:05:4518     Q.        I want to look at Mr. Speece, do you see where

12:05:5119     Mr. Speece says Imperial freight to Wytheville?

12:05:5620     A.        I do.

12:05:5721     Q.        So, at the time of this e-mail, United had evidence

12:06:0022     that Imperial was one of the suppliers to the Wytheville,

12:06:0423     Virginia facility, right?

12:06:0624     A.        Yes.

12:06:0625     Q.        And United was competing against Imperial for this
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12:06:09   1   Pepsi Wytheville Virginia facility?

12:06:13   2   A.     Right.   Yes.

12:06:14   3   Q.     The only competitor that Mr. Speece mentions in this

12:06:17   4   e-mail was Imperial, right?

12:06:19   5   A.     That's correct.

12:06:20   6   Q.     And Mr. Speece is providing you Imperial's estimated

12:06:24   7   freight cost to deliver sugar by rail to the Wytheville,

12:06:28   8   Virginia facilities?

12:06:31   9   A.     Yes.

12:06:3210     Q.     It's been redacted in the public screen, those are

12:06:3511     estimated freight costs that United is estimating for

12:06:4012     Imperial, right?

12:06:4013     A.     That's right.

12:06:4114     Q.     One of the locations, actually, sorry about that.          If

12:06:4615     you look below that, you see where it says our price in

12:06:5016     front of them is, and they be there is some numbers

12:06:5317     redacted?

12:06:5418     A.     Yes, I see that.

12:06:5519     Q.     So at the time, United had already -- at the time of

12:07:0020     this e-mail, United already made a bid for the Pepsi

12:07:0421     business, right?

12:07:0522     A.     That's correct.

12:07:0723     Q.     And do you see below where it says, where Mr. Speece

12:07:1124     says our price in front of them is and then there is a

12:07:1425     dollar figure, and it says competitive discount of and then
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12:07:18   1   there is a redacted dollar figure?

12:07:21   2   A.       Yes, I see that.

12:07:22   3   Q.       And I'm trying -- the unredacted copy is in your

12:07:27   4   notebook, and I would ask you to look at the unredacted

12:07:30   5   copy.    I would caution you not to say the numbers aloud.

12:07:34   6   I'm going to try to do this confidentially.       Your counsel

12:07:38   7   redacted this.

12:07:39   8                    So where it says competitive discount of and

12:07:43   9   then there is a dollar figure right next to that.        Do you

12:07:4610     see that dollar figure?

12:07:4711     A.       I do.

12:07:4712     Q.       Now that dollar figure after the competitive discount

12:07:5113     of, that represents the competitive discount per

12:07:5414     hundredweight of sugar that you understood United had

12:07:5715     offered Pepsi in this bid for its business; right?

12:08:0216     A.       Yes, it was in our original offer, that's right.

12:08:0517     Q.       Now, CWT is a measure of volume by hundredweight;

12:08:0918     right?

12:08:0919     A.       That's correct.

12:08:1020     Q.       And 100 weight equals a hundred pounds?

12:08:1521     A.       That's correct.

12:08:1522     Q.       I want to look at what Mr. Speece told you next.         Do

12:08:1923     you see Mr. Speece says, discuss giving Pepsi, then again

12:08:2324     there was a redacted dollar figure there, per hundredweight

12:08:2925     competitive discount decrease, do you see that?
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12:08:31   1   A.       I do.

12:08:32   2   Q.       That competitive discount number, that redacted

12:08:35   3   number, that that was the -- you understood that was an

12:08:39   4   additional competitive discount that United was willing to

12:08:43   5   give Pepsi for the business, right?

12:08:45   6   A.       That's correct.

12:08:46   7   Q.       Now, he next says we may be able to give them their

12:08:51   8   ask of, again there is a redacted specific dollar value.         Do

12:08:57   9   you see that?

12:08:5710     A.       I do.

12:08:5711     Q.       That second redacted dollar figure is the additional

12:09:0112     discount for hundredweight that you understood Pepsi wanted

12:09:0413     on top of the initial competitive discount that United

12:09:0814     offered, correct?

12:09:0815     A.       Correct.

12:09:0916     Q.       You see Mr. Speece then identifies two conditions

12:09:1417     that were in this negotiation with Pepsi, do you see that?

12:09:1718     A.       I do.

12:09:1919     Q.       So you understood that United asked Pepsi to consider

12:09:2220     these conditions in order for United to consider this

12:09:2521     additional competitive discount that Pepsi was asking for,

12:09:2922     right?

12:09:3223     A.       Yes, sir.

12:09:3324     Q.       I want to look at condition number two.      For

12:09:3525     condition number two you understood that United wanted Pepsi
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12:09:39   1   to increase Imperial's award volume for the Pepsi bulk rail

12:09:45   2   location, correct?

12:09:46   3   A.     Right.

12:09:47   4   Q.     As part of the condition, Mr. Speece tells you we

12:09:49   5   have our eye on Wytheville.     Do you see that?

12:09:51   6   A.     I do.

12:09:52   7   Q.     You understood Mr. Speece to be referring to the

12:09:55   8   Pepsi Wytheville, Virginia facility.

12:10:00   9   A.     I do.

12:10:0110     Q.     You understood United was looking to get back into

12:10:0311     the Pepsi Wytheville, Virginia facility after it lost the

12:10:0912     business to Imperial?

12:10:1213     A.     I do.

12:10:1214     Q.     I would ask you to turn to PTX 417 in your notebook.

12:10:2415     Do you have that 417 pulled up?

12:10:2716     A.     I do.

12:10:2817     Q.     PTX 417 is an e-mail from Eric Speece to some people

12:10:3318     at Pepsi and he has copied you?

12:10:3619     A.     Yes, sir.

12:10:3620     Q.     PTX 417 is a follow-up e-mail to the negotiation of

12:10:4121     the Pepsi?

12:10:4222     A.     Yes.

12:10:4323                    MR. HANNA:   Your Honor, United States admits to

12:10:4624     admit PTX 417 and any objections that we worked out.

12:10:5025                    MS. GIORDANO:   No objection, but I believe it is
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12:10:51   1   a confidential document.

12:10:52   2                  THE COURT:   Okay.

12:10:53   3                  (PTX Exhibit No. 417 was admitted into

12:10:55   4   evidence.)

12:10:55   5   BY MR. HANNA:

12:10:56   6   Q.     Sir, please turn to the bottom of page 2 to the

12:10:58   7   e-mail from Fany Fernandez.     It's at 3:48 p.m.     Do you see

12:11:05   8   that, sir?

12:11:05   9   A.     I do.

12:11:0610     Q.     This is on page 2?

12:11:0711     A.     I have got it.

12:11:0812     Q.     Now, Fany Fernandez is the manager level purchasing

12:11:1213     agent at Pepsi, right?

12:11:1414     A.     I think she's director level.

12:11:1615     Q.     Director level?

12:11:1716     A.     Yes.

12:11:1817     Q.     And do you see where she writes, please review the

12:11:2218     attached.    Overall the ask is of a -- and then there is

12:11:2619     another redacted dollar figure there, additional discount.

12:11:3020     Do you see that?

12:11:3021     A.     I do.

12:11:3122     Q.     You understood that Pepsi was, again, asking for an

12:11:3523     additional price discount for hundredweight equal to that

12:11:3924     dollar figure that's been redacted, right?

12:11:4225     A.     Correct.
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12:11:43   1   Q.      Now, let's turn the page.    Do you see there is some

12:11:48   2   bullet points that Ms. Fernandez has there.       She wrote the

12:11:53   3   proposal considers the following volume allocation and terms

12:11:58   4   and there are some bullet points.      Do you see that?

12:12:00   5   A.      No, I'm sorry.    Oh, I do, I see it is on the next

12:12:05   6   page.

12:12:06   7   Q.      Yes, sir.    Page 3?

12:12:08   8   A.      Sorry.

12:12:08   9   Q.      No need to apologize.

12:12:1010                     So the first bullet point, do you see where

12:12:1311     Ms. Fernandez says including blue ridge as originally

12:12:1712     requested?

12:12:1713     A.      I do.

12:12:1714     Q.      So Blue Ridge is the Pepsi Wytheville Virginia

12:12:2215     facility that we have been talking about today, correct?

12:12:2416     A.      Correct.

12:12:2517     Q.      You understand that United agreed to the additional

12:12:2818     discount per hundredweight mentioned on the previous page,

12:12:3219     then United would be awarded the business, right?

12:12:3420     A.      That's correct.

12:12:3621     Q.      So I want to look at, there is an attached

12:12:4022     spreadsheet to this document, and Your Honor what we have

12:12:4523     done here is for ease of asking the questions and the

12:12:5024     agreement with the parties, we have provided a demonstrative

12:12:5425     that just shows, it's quite large spreadsheet so we're
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12:12:59   1   showing part of the spreadsheet, I believe counsel has seen

12:13:03   2   them.   We're not marking as an exhibit the underlying

12:13:06   3   spreadsheet attachment will be entered as an exhibit.

12:13:10   4   BY MR. HANNA:

12:13:11   5   Q.        And, sir, this document, if you look at the

12:13:15   6   spreadsheet, do you see the spreadsheet in your note book

12:13:22   7   behind the--

12:13:23   8   A.        I do.

12:13:23   9   Q.        Can you pull it up on the screen.

12:13:3810                       Sir, the prices in the attached spreadsheet that

12:13:4111     we're looking at are the final seller prices that United and

12:13:4412     Pepsi agreed to for 2022; is that right?

12:13:4713     A.        Well, this looks like only a portion of a much larger

12:13:5314     spreadsheet.

12:13:5615     Q.        Correct.

12:13:5716     A.        Are we clear on that.

12:13:5817     Q.        And if you want to view it on native I'm happy to

12:14:0218     give it to you.

12:14:0219     A.        No, I don't need it, but I want to make sure this

12:14:0620     isn't being considered all of the Pepsi locations and

12:14:0921     volume.

12:14:1022     Q.        But the Pepsi locations that are displayed on that

12:14:1323     demonstrative are locations that you bid on and they are the

12:14:1724     final prices for those locations that you were awarded

12:14:2225     volume, right?
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12:14:23   1   A.       Yeah, we were awarded volume to some of these

12:14:26   2   locations.

12:14:27   3   Q.       Now, this spreadsheet shows that United won the

12:14:31   4   Wytheville, Virginia business from 2022 back from Imperial,

12:14:35   5   right?

12:14:35   6   A.       We were -- yes, that's correct.

12:14:37   7   Q.       And if you look at rows I believe it's 34 and 35,

12:14:42   8   that is showing the terms and the price and the locations

12:14:47   9   for the Wytheville, Virginia business?

12:14:5110     A.       That is correct.

12:14:5211     Q.       In spreadsheet shows you increased the competitive

12:14:5612     discount to win Wytheville, Virginia business?

12:15:0013     A.       These competitive discounts are actually determined

12:15:0414     by Pepsi.

12:15:0415     Q.       So you agreed to an increase in competitive discount

12:15:0816     with Pepsi, right?

12:15:0917     A.       We agreed to an increase in the total competitive

12:15:1318     discount, the individual locations and their competitive

12:15:1619     discounts are determined by Pepsi.

12:15:1820     Q.       And you agreed to those, right?

12:15:2021     A.       We did.

12:15:2122     Q.       Now, let's look at Row 8, column K.     Do you see that?

12:15:3023     A.       Yes, sir, I do.

12:15:3124     Q.       That dollar figure in cell K8 is the weighted

12:15:3525     competitive average competitive discount across all Pepsi
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12:15:40   1   locations that United agreed?

12:15:41   2   A.     That's correct.

12:15:41   3   Q.     And you agreed to the prices of the sugar to the

12:15:44   4   Wytheville, Virginia facility from the Clewiston refinery?

12:15:49   5   A.     That's correct.

12:15:49   6   Q.     And United uses the Clewiston refinery to price the

12:15:53   7   share because the Clewiston refinery is the closest United

12:15:57   8   plant to the Wytheville?

12:15:58   9   A.     Right, that's consistent with our pricing convention,

12:16:0310     yes.

12:16:0311     Q.     Your price convention is that you priced the sugar

12:16:0612     from the United, from the origin that's closest to the

12:16:1113     customer; right?

12:16:1214     A.     That's correct.

12:16:1415     Q.     So you might price the sugar from Clewiston to the

12:16:2116     location that's closest to Clewiston, right?

12:16:2417     A.     That is correct.

12:16:2518     Q.     You do elect sometimes to ship that sugar from

12:16:2919     somewhere else?

12:16:2920     A.     That's correct.

12:16:2921     Q.     But the customer pays the price I believe it's from

12:16:3422     Clewiston?

12:16:3523     A.     That's right.

12:16:3924     Q.     Now, if you look at that spreadsheet and you see the

12:16:4225     competitive discount for Wytheville, Virginia in rows 34 and
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                                                                            143
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12:16:47   1   35?

12:16:48   2   A.        I do.

12:16:54   3   Q.        And I believe that's row 34 and 35, column K, right?

12:17:04   4   A.        Yes, that's correct.

12:17:05   5   Q.        And that was the competitive discount that you

12:17:08   6   offered and agreed to give Pepsi for the Wytheville,

12:17:12   7   Virginia business, right?

12:17:14   8   A.        Yes, that is.

12:17:14   9   Q.        And if you recall the earlier e-mail, that original

12:17:1810     competitive discount that United offered to Pepsi, the

12:17:2211     numbers in this spreadsheet are higher, right?

12:17:2612     A.        They are to that location, that's correct.

12:17:2813     Q.        To the Wytheville, Virginia location?

12:17:3714     A.        That is correct.

12:17:3815     Q.        I have some questions about United's strategy to

12:17:4116     reduce sales to distributors in the Chicago area.        I would

12:17:4717     like you to turn to PTX 507 now, sir.

12:17:5718     A.        Okay.

12:18:0019     Q.        PTX 507 is an e-mail from United's CEO Matthew

12:18:0720     Wineinger dated July 15, 2019, and he copied you on this

12:18:1121     e-mail?

12:18:1122     A.        Yes.

12:18:1123     Q.        And Mr. Wineinger is sending this e-mail with

12:18:1524     attachment to the United board of directors, correct?

12:18:1725     A.        Correct.
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12:18:18   1                    MR. HANNA:   Your Honor, at this time United

12:18:20   2   States moves to admit PTX 507 into evidence.

12:18:24   3                    MS. GIORDANO:   No objection.

12:18:24   4                    THE COURT:   All right.   Thank you.

12:18:24   5                    (PTX Exhibit No. 507 was admitted into

12:18:28   6   evidence.)

12:18:28   7   BY MR. HANNA:

12:18:29   8   Q.       Sir, I'm going to look at page 2 and look at the

12:18:32   9   agenda for this June 5th, 2019, United board meeting.         Sir,

12:18:3810     you're listed on this agenda for the update of this two-year

12:18:4411     audit of the Montgomery dome, right?

12:18:4712     A.       I am.

12:18:4813     Q.       Now the Montgomery dome is a storage facility in the

12:18:5314     Chicago area where the United unloads railcar sugar and

12:18:5715     transfer that sugar to Chicago area customers; is that

12:19:0216     right?

12:19:0217     A.       That is right.

12:19:0318     Q.       And this dome was put online January 2017, is that

12:19:0619     right?

12:19:0620     A.       Yes, that's about right.

12:19:0821     Q.       And you're recollection is the United Vice-President

12:19:1222     of Finance, Kae Kaske, presented on this audit for the

12:19:1823     Montgomery dome, is that right?

12:19:2224     A.       Kae prepared the deck and did the presenting.

12:19:2325     Q.       And you attended the presentation?
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12:19:25   1   A.     I did.

12:19:26   2   Q.     And you recall the presentation?

12:19:28   3   A.     I do.

12:19:32   4   Q.     If we can turn to slide 5, page 10 of 59.        Do you see

12:19:41   5   at the top where it says Montgomery post audit increase

12:19:46   6   customer revenue?

12:19:47   7   A.     I do.

12:19:47   8   Q.     Now this slide is describing the sales strategy that

12:19:51   9   United put in place in Chicago, right?

12:19:5510     A.     Yes, it is.

12:19:5611     Q.     In the Chicago area?

12:19:5912     A.     Yeah.

12:20:0013     Q.     I want to focus on the second bullet point where it

12:20:0414     says strategy.   Do you see that?

12:20:0515     A.     I do.

12:20:0716     Q.     The first note about the strategy says eliminate

12:20:1117     dependence on Batory Food, do you see that?

12:20:1418     A.     I do.

12:20:1719     Q.     Batory Foods is a distributor reseller in the Chicago

12:20:1920     area that United relied on make sales to customers, right?

12:20:2221     A.     That's not right, our dependence on Batory Food was

12:20:2622     for car to truck transfer services and liquification

12:20:3123     services that the bulk to truck transfer we no longer needed

12:20:3824     because that's what Montgomery was built to do.

12:20:4225     Q.     Because you built Montgomery you no longer needed
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12:20:46   1   Batory Foods and other distributors to provide that service

12:20:50   2   to United, right?

12:20:51   3   A.     Right.

12:20:52   4   Q.     One was the bulk rail to truck transfer, right?

12:20:55   5   A.     That's correct.

12:20:56   6   Q.     That would be instead of using Batory Food to help

12:20:59   7   with that, United would go sell directly to customer, right?

12:21:02   8   A.     That's correct.

12:21:05   9   Q.     I want to look at the second note, the second note

12:21:0810     for strategy says increase direct bag shipments to

12:21:1211     customers, do you see that?

12:21:1312     A.     I do.

12:21:1313     Q.     That strategy was to reduce the volume of bulk sugar

12:21:1714     that United sold to distributors and instead sell 50 pound

12:21:2215     bags direct to customers; correct?

12:21:2416     A.     Well, yeah, the strategy was to sell more sugar

12:21:2717     directly to small and medium size bag users.

12:21:3318     Q.     Instead of selling to distributors, United would sell

12:21:3619     direct to end user customers?

12:21:4020     A.     Yeah, that's correct.

12:21:4121     Q.     The third note here says increase prices to Chicago

12:21:4622     area distributors, do you see that?

12:21:4723     A.     I do.

12:21:4824     Q.     So as a consequence of this strategy to eliminate

12:21:5225     distributors, United was able to increase prices to
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 147 of 360 PageID #: 6075
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12:21:57   1   distributors in the Chicago area, right?

12:21:59   2   A.       That's correct.    But this -- I didn't prepare this

12:22:04   3   slide, and I think it appropriate to say that increasing the

12:22:09   4   prices to Chicago area distributors was not part of the

12:22:12   5   original strategy.     We did end up getting more money from

12:22:17   6   distributors, we sold a lot of sugar to small and medium

12:22:20   7   size bag users, so that took some of the volume pressure

12:22:24   8   off, and prices to the Chicago area distributors did go up,

12:22:29   9   we were able to reduce the discount that we had to give

12:22:3210     them.

12:22:3411     Q.       Now, you considered the sales strategy in Chicago to

12:22:3812     be a success, right?

12:22:3913     A.       I do.

12:22:4014     Q.       And this is sometimes called the Chicago strategy,

12:22:4315     right?

12:22:4416     A.       Correct.

12:22:4417     Q.       And you eventually recommended a similar strategy to

12:22:4918     be implemented in the southeast correct?

12:22:5119     A.       Correct.

12:22:5220     Q.       Let's look at that southeast market strategy.       I

12:22:5521     would like you to turn to PTX 452 in your notebook, sir.

12:23:0922     A.       I see that.

12:23:1023     Q.       PTX 452 is a set of materials for a March 16, 2020,

12:23:1524     United executive committee meeting.      Is that right?

12:23:1825     A.       That is correct.
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12:23:19   1   Q.      United executive committee is comprised of the CEOs

12:23:24   2   of United owners including the CEO of US Sugar, Bob Buker,

12:23:30   3   is that correct?

12:23:30   4   A.      That's correct.

12:23:30   5   Q.      You attended this March 16, 2020, executive committee

12:23:34   6   meeting, right?

12:23:35   7   A.      I did.

12:23:35   8                   MR. HANNA:   Your Honor, at this time United

12:23:37   9   States moves to admit PTX 452 into evidence.

12:23:4010                     THE COURT:   Any objection?

12:23:4211                     MS. GIORDANO:   No objection, Your Honor.

12:23:4312                     THE COURT:   Thank you.   It's admitted.

12:23:4413                     (PTX Exhibit No. 452 was admitted into

12:23:4714     evidence.)

12:23:4715     BY MR. HANNA:

12:23:4716     Q.      Sir, I want to stick on the first page.       The first

12:23:5017     page of PTX 452 is an approved agenda for this executive

12:23:5518     committee meeting on March 16, 2020, is that right?

12:23:5819     A.      Yes.

12:23:5820     Q.      Let's focus on the strategic update.      Do you see

12:24:0221     that?

12:24:0222     A.      I do.

12:24:0323     Q.      Now agenda subject number two is identified as

12:24:0824     regional markets overview, do you see that?

12:24:1125     A.      I do.
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12:24:12   1   Q.     And in the first subheading under regional markets

12:24:16   2   overview is Florida/Southeast market.      Do you see that?

12:24:20   3   A.     I do.

12:24:21   4   Q.     And then your name, sir, is identified in parenthesis

12:24:27   5   under this regional markets overview, right?

12:24:30   6   A.     It is, yes.

12:24:31   7   Q.     And you participated in the presentation to the

12:24:34   8   executive committee on the subject of regional markets

12:24:37   9   overview, right?

12:24:3710     A.     You I don't remember presenting any of these

12:24:4111     materials, the materials were prepared by Steve Hanson, and

12:24:4412     as I recall it, he did the overwhelming majority of

12:24:4913     presenting.    I don't recall presenting any of these

12:24:5114     materials.

12:24:5115     Q.     But you attended the meeting?

12:24:5216     A.     I did.

12:24:5317     Q.     And you attended the session when you discussed the

12:24:5618     Southeast market and the regional market?

12:24:5919     A.     I did.

12:25:0020     Q.     Let's turn to the regional market overview

12:25:0321     presentation, it starts on page 17.      So this is a regional

12:25:1822     markets overview supplied that were provided to United, the

12:25:2323     CEOs of United, right?

12:25:2524     A.     Yes.

12:25:2625     Q.     Now, and you reviewed this presentation before it was
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12:25:28   1   presented, right?

12:25:29   2   A.        I did.

12:25:30   3   Q.        Now, let's look -- turn to page 20 of this

12:25:33   4   presentation.      The numbers are on the top right.    Do you see

12:25:50   5   the --

12:25:50   6   A.        Yeah, I'm there.

12:25:51   7   Q.        Do you see the map?

12:25:52   8   A.        I do.

12:25:53   9   Q.        All right.   Now this is a map created by United that

12:25:5610     shows markets where different sugar producers have freight

12:26:0011     cost advantages, right?

12:26:0212     A.        Yeah, it's a map that reflects groups of states and

12:26:0713     identifies the producing locations within those groups of

12:26:1114     states.

12:26:1115     Q.        And the title of the slide is regional markets

12:26:1416     overview, right?

12:26:1517     A.        That's correct.

12:26:1618     Q.        And that's regional markets is being referred to the

12:26:2019     different collection of states that are in different colors,

12:26:2220     right?

12:26:2221     A.        Yeah, that's correct.

12:26:2322     Q.        And each colored market represents the locations

12:26:2823     where a sugar producer located in that market has a freight

12:26:3324     cost advantage, right?

12:26:3425     A.        That's correct.
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12:26:35   1   Q.     And this map was provided to the CEOs of United had

12:26:41   2   includes Bob Buker?

12:26:42   3   A.     That's correct.

12:26:43   4   Q.     The title of this slide is USC definition (supplier

12:26:47   5   backyard).   Do you see that?

12:26:48   6   A.     I do.

12:26:49   7   Q.     USC means United Sugar Corporation?

12:26:52   8   A.     That's correct.

12:26:52   9   Q.     And supplier backyards means the markets which the

12:26:5610     producers that are identified in those markets have a

12:27:0011     freight advantage, right?

12:27:0112     A.     That's correct.

12:27:0213     Q.     And the black triangles on this map represent the

12:27:0714     beet sugar processing facilities, right?

12:27:0915     A.     Yes, that's correct.

12:27:1116     Q.     And the black triangles in the orange shaded market

12:27:1417     are the beet sugar production plans of United and NSM in the

12:27:2218     Red River Valley?

12:27:2219     A.     That's correct.

12:27:2220     Q.     And United's highest concentration of sales is in the

12:27:2721     upper midwestern states, right?

12:27:3122     A.     Yes, that's correct.

12:27:3223     Q.     Now the red triangles on this map represent cane

12:27:3724     refined sugar, right?

12:27:3925     A.     That's correct.
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 152 of 360 PageID #: 6080
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12:27:40   1   Q.     I want to focus on the collection of states that are

12:27:43   2   shade had in red, the southeast location, do you see that?

12:27:48   3   A.     I do.

12:27:48   4   Q.     If a customer is located in the southeast market, US

12:27:52   5   Sugar, Imperial and Domino have a freight cost advantage

12:27:57   6   compared to competitors located outside that southeast

12:28:00   7   market, right?

12:28:00   8   A.     That's what the map depicts.

12:28:03   9   Q.     Now, customers that United supplies in the southeast

12:28:0710     predominantly get sugar from the Clewiston refinery, right?

12:28:1111     A.     Predominantly, yes.

12:28:1312     Q.     And United's secondary of high concentration of sugar

12:28:1913     sold is in the southeast market; right?

12:28:2214     A.     Yes, that's correct.

12:28:2315     Q.     And customers located in a southeast market

12:28:3016     predominantly get sugar from a Clewiston refinery because

12:28:3517     Clewiston is the lowest cost way to get sugar to United's

12:28:4018     customers that are located in the southeast, right?

12:28:4219     A.     Yes, that's right.

12:28:4320     Q.     And the freight rate from Clewiston into the

12:28:4521     southeast market are lower than the Red River Valley to the

12:28:4922     southeast market; right?

12:28:5023     A.     Yes, that's correct.

12:28:5524     Q.     I want to turn to slide 34 of this regional market

12:28:5925     presentation.
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 153 of 360 PageID #: 6081
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12:29:08   1   A.       Do you have a page number?

12:29:12   2   Q.       Page 34.    Ending in Bates number 2462, at the top it

12:29:34   3   says USC southeast strategy.

12:29:38   4   A.       Give me just a second.    Okay.   I see it.

12:29:47   5   Q.       Now, this southeast strategy slide is an overview of

12:29:51   6   what the United management was recommended to the executive

12:29:55   7   committee for sales strategy in the southeast market; right?

12:29:58   8   A.       That's correct.

12:29:59   9   Q.       Now, the left side of this southeast strategy slide

12:30:0510     is focusing on the sales strategy for industrial customers;

12:30:0911     right?

12:30:0912     A.       That's correct.

12:30:1013     Q.       And on the right side, it's focusing on the sales

12:30:1414     strategy for the consumer or retail customers?

12:30:1715     A.       Correct.

12:30:1716     Q.       I want to focus on the left side, the industrial

12:30:2017     customers.      Do you see where on the left-hand side slide it

12:30:2618     says similar to Chicago strategy, do you see that?

12:30:2819     A.       Yes.

12:30:2920     Q.       This is referring to the Chicago strategy that we

12:30:3221     talked about earlier in your testimony, right?

12:30:3422     A.       That's correct.

12:30:3423     Q.       And the recommendation was to apply the Chicago sales

12:30:3824     strategy to the southeast market, right?

12:30:4025     A.       That is correct.
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 154 of 360 PageID #: 6082
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12:30:40   1   Q.     Now, the strategy was to margin up by selling more

12:30:44   2   bagged sugar to customers in the southeast market, right?

12:30:48   3   A.     That is correct.

12:30:49   4   Q.     Including 50-pound bags of sugar, right?

12:30:52   5   A.     Yes.     Specifically 50-pound bags.

12:30:56   6   Q.     Now, because United freight advantage out of

12:31:10   7   Clewiston, Florida, United saw an opportunity to win

12:31:13   8   business in the southeast market, right?

12:31:16   9   A.     Yeah, that's true, but I think the bigger issue was

12:31:2110     that we saw an opportunity to ship more 50-pound fine gran,

12:31:2511     which is an efficient product for us to manufacture and it

12:31:2912     increases the net selling price.     So this -- we were focused

12:31:3413     on the southeast but some of those bags were going to go

12:31:3814     beyond that red state geographic group.

12:31:4215     Q.     You saw an opportunity to increase the net selling

12:31:4516     price into the southeast market, right?

12:31:4817     A.     That's correct, yes.

12:31:4918     Q.     50-pound bags is a profitable product for United, is

12:31:5419     that correct?

12:31:5420     A.     That's correct.

12:31:5521     Q.     At the time of this slide, US Sugar did have 50-pound

12:32:0022     bags packaging capability, right?

12:32:0323     A.     Yes, we did.

12:32:0424     Q.     U.S. Sugar still produces 50-pound bags out of

12:32:0825     Clewiston?
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12:32:09   1   A.     That's correct.

12:32:10   2   Q.     Two 50-pound bagging lines?

12:32:12   3   A.     Yes.

12:32:12   4   Q.     Do you see the bullet point on this slide where it

12:32:15   5   says needs?

12:32:15   6   A.     I do.

12:32:16   7   Q.     United management was recommending, the United

12:32:21   8   management recommendation was to invest in adding 50-pound

12:32:24   9   bag and super sack packaging capability in Clewiston, right?

12:32:3010     A.     That's correct.

12:32:3211     Q.     But to your knowledge the southeast strategy being

12:32:3612     recommended was not dependent on the acquisition of

12:32:3913     Imperial; right?

12:32:4014     A.     Yes, to my knowledge, it was not.

12:32:4415     Q.     The Imperial acquisition means you no longer need to

12:32:4916     invest in the bagging equipment at Clewiston to compete for

12:32:5217     more sales in the southeast, right?

12:32:5518     A.     Well, I don't know that, no.

12:32:5619     Q.     Well, you understand, it's your understanding that

12:32:5920     the money for this expansion has not been spent?

12:33:0321     A.     That's correct.

12:33:0322     Q.     And you understand that Imperial does have 50-pound

12:33:0723     bag packaging capability at its refinery?

12:33:1224     A.     Yes.

12:33:1225     Q.     And you understand Imperial has super sack capable at
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12:33:17   1   it refinery in Georgia?

12:33:18   2   A.     I believe I understand that.

12:33:19   3   Q.     You believe that United with may not have to spend

12:33:22   4   money on packaging equipment at Clewiston if US Sugar

12:33:28   5   acquires Imperial?

12:33:29   6   A.     I don't know that.

12:33:30   7   Q.     Sir, I took your deposition back in February of this

12:33:33   8   year, do you recall that?

12:33:34   9   A.     I do.

12:33:3510     Q.     I would like you to turn to your litigation

12:33:3911     deposition at page 228?

12:33:5112     A.     What page, please.

12:33:5213     Q.     148, starting at line 24.     We're going to go through

12:33:5914     page 149, line 11.    I'll read the question and answer when

12:34:0515     you have a second to review it.     Are you on page 148

12:34:1416     line 24?

12:34:1517     A.     I am 4.

12:34:1618     Q.     "Question:    How will United in your view benefit from

12:34:2019     access to these additional packaging assets at Imperial?

12:34:2420                    "Answer:   Well, I believe that depending on how

12:34:2721     -- what kind of capability there is for packaging 50-pound

12:34:3122     bags as an example at Imperial that the benefits to United

12:34:3423     would be that we would have those packaging assets and we

12:34:3724     might not have to spend the money on the packaging equipment

12:34:4025     at Clewiston."
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12:34:41   1   A.        I see that.

12:34:42   2   Q.        Did I ask you that question and did you give me that

12:34:44   3   answer?

12:34:45   4   A.        I did.

12:34:45   5   Q.        You can set PTX 452 aside.

12:34:49   6                     Now, I would like you to turn to PTX 429 in your

12:34:54   7   notebook.

12:35:14   8   A.        Okay.

12:35:16   9   Q.        Sir, PTX 429 is an e-mail from updated February 11,

12:35:2110     2021, that you sent to some of your colleagues at United,

12:35:2411     right?

12:35:2412     A.        I did.

12:35:2513     Q.        And you sent this e-mail to a bunch of members of the

12:35:3014     industrial sales team, right?

12:35:3115     A.        Well, it's all the members of my team, yes.

12:35:3416     Q.        All the members of the industrial sale team?

12:35:3617     A.        Correct.

12:35:3718                       MR. HANNA:   Your Honor, at this time United

12:35:3919     States moves to admit PTX 429 into evidence.

12:35:4320                       THE COURT:   All right.   It's admitted.

12:35:4621                       (PTX Exhibit No. 429 was admitted into

12:35:4722     evidence.)

12:35:4723                       MR. HANNA:   I don't believe there are any

12:35:4824     redactions on this.

12:35:5025     BY MR. HANNA:
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12:35:50   1   Q.     Sir, in your e-mail you're providing your assessment

12:35:52   2   of a company called Sucro Sourcing, is that right?

12:35:56   3   A.     That's correct.

12:35:56   4   Q.     And prior to this e-mail, you had spoken to one of

12:36:00   5   Sucro Sourcing principles, Don Hill?

12:36:04   6   A.     That's correct.

12:36:05   7   Q.     And you and Mr. Hill talked about Sucro Source's

12:36:09   8   facility being built in Lackawanna, New York?

12:36:13   9   A.     Well, I had talked to, I had talked to him about it.

12:36:1910     The reason for this e-mail was that there had been a

12:36:2311     newspaper article I believe that appeared in the Buffalo

12:36:2612     paper, and it had gotten whipped around the industry and

12:36:3113     several of the people in my group were forwarding it and

12:36:3714     were asking questions about what we do about what was going

12:36:4115     on.

12:36:4116     Q.     You went and endeavored to find out what you could

12:36:4417     about this Sucro Sourcing facility in New York, right?

12:36:4818     A.     Pardon?

12:36:4919     Q.     You went and endeavored to assess what this facility

12:36:5420     from Sucro Sourcing in Lackawanna, New York was?

12:36:5921     A.     Well, there were questions coming as a result of the

12:37:0222     article.

12:37:0223     Q.     And your assessment of that facility in Lackawanna

12:37:0624     from Sucro Sourcing is in the e-mail?

12:37:1125     A.     I don't remember talking to Don Hill about it.         I
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12:37:14   1   don't think most of this information came either from the

12:37:16   2   article itself or from a guy by the name of Kyle Whitburg

12:37:20   3   from Sweeteners Supplies.

12:37:22   4   Q.      Let's look at what you said in your e-mail, sir.

12:37:25   5   A.      Okay.

12:37:26   6   Q.      Do you see where you said it small 40 to 50,000 ton

12:37:30   7   liquid operation?

12:37:31   8   A.      I do.

12:37:31   9   Q.      And by liquid operation, you mean Sucro Sourcing is

12:37:3510     producing liquid sugar, right?

12:37:3811     A.      That's correct.

12:37:3912     Q.      I want to move down one paragraph.      Do you see where

12:37:4613     you say so just one more CSC type operation.       Do you see

12:37:5014     that?

12:37:5015     A.      I do.

12:37:5116     Q.      Now CSC is referring to another liquid sugar producer

12:37:5617     called CSC Sugar, right?

12:37:5818     A.      That's correct.

12:38:0219     Q.      I want to go to, I think it's the very bottom of your

12:38:0620     e-mail, and do you see where you say, "so, small, high color

12:38:1121     liquid sucrose.     We don't like it, but it's hardly a threat

12:38:1622     to our business."

12:38:1723                     Do you see that?

12:38:1824     A.      I do.

12:38:1925     Q.      That's what you wrote, right?
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12:38:21   1   A.     That's what I wrote, that's correct, because that

12:38:25   2   facility in Lackawanna, New York is not really in a market

12:38:31   3   that we participate aggressively in.

12:38:35   4   Q.     It was your assessment that Sucro Sourcing facility

12:38:38   5   was not a threat to United, right?

12:38:40   6   A.     Because it's in Lackawanna, New York, that is

12:38:45   7   correct.

12:38:45   8   Q.     You can set that document to the side.

12:38:48   9                  Now, I want to talk about pricing information in

12:38:5110     the market.    You testified at your deposition that customers

12:38:5511     will sometimes convey your competitor's pricing, do you

12:38:5912     recall that?

12:38:5913     A.     Yes.

12:39:0014     Q.     And that is true, right?

12:39:0215     A.     It is true.

12:39:0316     Q.     And the customer feedback usually includes how

12:39:0717     United's pricing compares to United's competitors, right?

12:39:1118     A.     Yes, that's correct.

12:39:1219     Q.     And you testified at your deposition that you believe

12:39:1520     customers use the pricing that they get from alternative

12:39:1821     suppliers to leverage the price down from United, right?

12:39:2122     A.     That's correct.

12:39:2223     Q.     And this strategy of customers using pricing from

12:39:2624     competitors to leverage prices down is proven to be

12:39:3025     destructive for United, right?
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12:39:32   1   A.      No, that's correct.

12:39:33   2   Q.      And you believe this dynamic has been destructive

12:39:37   3   because prices get pushed down, correct?

12:39:40   4   A.      During the deposition process, that's correct.

12:39:42   5   Q.      Because they have pricing from your competitors?

12:39:45   6   A.      That's correct.

12:39:46   7   Q.      And you believe that the customers wanted United to

12:39:50   8   believe that they had the lower price in hopes that United

12:39:52   9   is going to continue to reduce its price, right?

12:39:5510     A.      Correct.

12:39:5611     Q.      So when competitors offer customers a lower price, it

12:40:0012     can have an effect on pushing United's prices down?

12:40:0413     A.      I'm sorry, would you say that again, please.

12:40:0614     Q.      When competitors offer customers a lower price, it

12:40:1015     can have an effect of pushing United's prices down, right?

12:40:1416     A.      Yeah, that's correct.

12:40:1617     Q.      But it's in United's interests to avoid its prices

12:40:2118     being pushed down, right?

12:40:2219     A.      Yeah, that's correct.

12:40:2420     Q.      Now, if you had better information about what your

12:40:2821     competitor's actual prices were, you could better avoid

12:40:3222     these destructive situations, couldn't you?

12:40:3723     A.      Yes.

12:40:3724     Q.      Please turn to PTX 432 in your notebook.       Do you have

12:40:5625     that?
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12:40:56   1   A.     I do.

12:40:57   2   Q.     PTX 432 is an e-mail from you to Mr. Speece and you

12:41:01   3   copied Steve Hanson, right?

12:41:04   4   A.     Yes.

12:41:05   5                  MR. HANNA:   Your Honor, at this time the United

12:41:07   6   States moves to admit PTX 432 into evidence.

12:41:10   7                  THE COURT:   All right.   Thank you.   It's

12:41:12   8   admitted.

12:41:13   9                  (PTX Exhibit No. 432 was admitted into

12:41:1410     evidence.)

12:41:1411     BY MR. HANNA:

12:41:1512     Q.     All right, sir.      I want to direct your attention to

12:41:1813     the first -- to an e-mail from Mr. Speece from someone named

12:41:2414     Rich at Commodity Information.     Do you see that e-mail?

12:41:2915     A.     I do.

12:41:3016     Q.     November 16, 2020.

12:41:3217     A.     I do.

12:41:3218     Q.     Rich at Commodity Information is somebody by the name

12:41:3719     of Rich Wistisen?

12:41:3920     A.     That is correct.

12:41:4021     Q.     I understand Mr. Speece and Mr. Wistisen communicated

12:41:4522     to each other?

12:41:4623     A.     Yes, I do.

12:41:4724     Q.     Mr. Speece is a direct report to you, right?

12:41:4925     A.     That's correct.
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12:41:49   1   Q.     And you think Mr. Speece is one of the future leaders

12:41:53   2   at United, right?

12:41:55   3   A.     He has been identified, yeah.

12:41:58   4   Q.     Mr. Speece is part of a small group called the

12:42:04   5   Pricing Council that was formed at your suggestion, right?

12:42:08   6   A.     That's correct.

12:42:09   7   Q.     Now, I want to turn to the bottom of Mr. Wistisen's

12:42:14   8   e-mail to Mr. Speece.    Do you see Mr. Wistisen asked

12:42:20   9   Mr. Speece, what are you hearing on domestic and raw and

12:42:2510     refined pricing?

12:42:2611     A.     Yes.

12:42:2712     Q.     He asked Mr. Speece where you would put both spot

12:42:3213     prices and also forward beet prices, right?

12:42:3614     A.     Yes, I see that.

12:42:3715     Q.     Mr. Speece forwarded you this e-mail from

12:42:4016     Mr. Wistisen with some questions.      I want to look at his

12:42:4317     e-mail to you.    Back on the first page.     Do you see that,

12:42:4818     sir?

12:42:4819     A.     I do.

12:42:4820     Q.     So Mr. Speece asked you, "Should I let him know we

12:42:5321     are out of the market for the time being or selectively

12:42:5622     selling?"

12:42:5623                    That's what he asked you, right?

12:42:5824     A.     Yes, I see that.

12:42:5925     Q.     But you actually wanted Mr. Wistisen to hear
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12:43:03   1   something more specific about United's pricing position than

12:43:06   2   what Mr. Speece was asking, right?

12:43:08   3   A.       Well, we participate in his pricing survey, so yeah,

12:43:14   4   I indicated the prices that should go into that survey, yes.

12:43:19   5   Q.       We'll look at your e-mail in a second, but

12:43:23   6   Mr. Speece's question to you didn't say anything about

12:43:25   7   giving Mr. Wistisen pricing or pricing strategy?

12:43:29   8   A.       No, that's correct.

12:43:30   9   Q.       Let's look at your response to Mr. Speece.      You wrote

12:43:3410     here, "I'd like him to hear $36.50/$38 and probably moving

12:43:4411     higher based on the strength of the booked position.         Stop

12:43:4712     short of saying anything about being oversold."

12:43:5113                     That was the specific pricing information that

12:43:5414     you wanted Mr. Wistisen to hear; right?

12:43:5715     A.       Yes.

12:43:5816     Q.       Now, the $36.50 that you refer to in your e-mail is

12:44:0417     the beet price?

12:44:0618     A.       Yes.

12:44:0619     Q.       And the $38 you referenced in your e-mail is cane

12:44:1020     price?

12:44:1121     A.       That's correct.

12:44:1222     Q.       When you said booked position, you're referring to

12:44:1523     how far along United is to having its sugar sold out, right?

12:44:1924     A.       That's correct.

12:44:2025     Q.       That's sold position, right?
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12:44:22   1   A.        That's correct.

12:44:22   2   Q.        Now, when you say moving higher based on the strength

12:44:28   3   of the booked position, you wanted Mr. Wistisen to hear that

12:44:31   4   United was probably increasing its prices because its sold

12:44:35   5   position was strong, right?

12:44:36   6   A.        That's correct.

12:44:36   7   Q.        And you wanted Mr. Speece to convey to Mr. Wistisen

12:44:40   8   that there was pressure to increase United's prices giving

12:44:44   9   the strong sold position, right?

12:44:4510     A.        I would say it differently, we had contemplating

12:44:4911     moving the prices up because of the strength of the sold

12:44:5112     position.

12:44:5213     Q.        You were contemplating increasing prices in the

12:44:5514     future and that's what you wanted Mr. Wistisen to hear?

12:44:5815     A.        Well, yeah.

12:44:5916                    MR. HANNA:   No further questions.

12:45:0117                    THE COURT:   Thank you.

12:45:0318                    Ms. Giordano.

12:45:1619                    MS. GIORDANO:   Jennifer Giordano on behalf of

12:45:1720     the defendants.

12:45:1721                    THE COURT:   Thank you.   Can you make sure you

12:45:1922     speak up?

12:45:1923                    MS. GIORDANO:   Is this better?   No, is this

12:45:2224     better?

12:45:2325                    THE COURT:   Yes.
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12:45:24   1                  MS. GIORDANO:   I got the right microphone.

12:45:26   2   Great.

12:45:26   3                      CROSS-EXAMINATION

12:45:26   4   BY MS. GIORDANO:

12:45:27   5   Q.       Mr. Swart, how long have you worked at United?

12:45:29   6   A.       I have been with the enterprise forty years.

12:45:31   7   Q.       Does that mean you have been selling sugar for about

12:45:34   8   forty years?

12:45:34   9   A.       Yes, ma'am.

12:45:3510     Q.       And what responsibilities do you have for setting the

12:45:3911     price at which United sells sugar to industrial customers,

12:45:4312     like General Mills, for example, grocers?

12:45:4613     A.       I have the pricing authority to enter into those

12:45:4914     contracts.

12:45:4915     Q.       Do you have any responsibilities for sales to

12:45:5316     United's retail customers like grocers?

12:45:5617     A.       No, I don't.

12:45:5718     Q.       Who at United is responsible for that?

12:46:0219     A.       Dave Sulsa.

12:46:0320     Q.       How does the job of selling sugar to industrial

12:46:0721     customers like you're responsible for compare to the job of

12:46:1022     selling sugar to retail customers like grocers?

12:46:1323     A.       Well, the selling process is different and frankly I

12:46:1824     don't know a lot about that side of the business.

12:46:2125     Q.       What percentage of United's business is sales to
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12:46:26   1   industrial customers as compared to retail customers?

12:46:28   2   A.     It varies a little bit from one year to the next, but

12:46:32   3   typically it's 90 percent.

12:46:34   4   Q.     How does the sales process to an industrial customer

12:46:37   5   typically start?

12:46:38   6   A.     It starts with requests for a proposal or a request

12:46:42   7   for a quote.

12:46:45   8   Q.     Do you typically know who you're bidding against for

12:46:48   9   any particular request for proposal or request for quote?

12:46:5210     A.     No, customers send those RFQs or RFPs out to a

12:46:5811     variety of suppliers, they treat that information pretty

12:47:0212     confidentiality and we rarely understand who is in.

12:47:0613     Q.     Do you sometimes have some indication who you might

12:47:0914     be bidding against for particular customers?

12:47:1115     A.     Yeah, sometimes we do, and over the course of a

12:47:1416     number of years, from time to time, it will come out in

12:47:1917     conversation who might be serving one location or another.

12:47:2318     Q.     You were asked a number of questions about exhibit

12:47:2619     PTX 452.   That was the regional markets overview

12:47:3220     presentation from March of 2020.     Do you recall those

12:47:3421     questions?

12:47:3522     A.     I do.

12:47:3623     Q.     Can we put that up on the screen, please, this is not

12:47:3924     confidential at page 222445.     Thank you.

12:47:4425                    Mr. Swart, what was the purpose of this regional
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12:47:48   1   markets overview?

12:47:49   2   A.     Well, the members of United had made decisions to

12:47:54   3   increase the amount of sugar that they were going to

12:47:57   4   produce, and so our job at United is first and foremost to

12:48:02   5   make sure that we get all the sugar sold, so this -- at this

12:48:06   6   regional markets overview we provided some background

12:48:09   7   information, and we looked at the most profitable ways for

12:48:14   8   us to be able to market that additional production.         And we

12:48:18   9   made recommendations for a 50-pound bag line at Clewiston

12:48:2410     and we also looked at liquid sugar in the Chicago area.

12:48:2911     Q.     Why were you discussing that 50-pound bag extension

12:48:3312     in Florida at the time?

12:48:3513     A.     Well, 50-pound bags are a profitable item for us.

12:48:4014     The packaging upcharge that we get in the marketplace is

12:48:4515     higher than the cost of producing those 50-pound bags.         So

12:48:5116     all other things being equal, 50-pound bags tend to be a

12:48:5517     little bit higher margin for us.

12:48:5718     Q.     What does that mean for United's margins or for its

12:49:0319     members?

12:49:0320     A.     Well, it's a little bit higher net selling price on

12:49:0721     50-pound bags than on bulk.

12:49:1022     Q.     We talked about United's members a few times here, I

12:49:1323     think you mentioned it earlier, but just who are United's

12:49:1724     members?

12:49:1725     A.     They are American Crystal Sugar headquartered in
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12:49:21   1   Morgan, Minnesota.   Minn-Dak Farmers Cooperative is

12:49:25   2   headquartered in Wahpeton, North Dakota.       Wyoming Sugar is

12:49:30   3   in Worland, Wyoming.   And, of course, US Sugar in Clewiston,

12:49:35   4   Florida.

12:49:35   5   Q.     Who determines how much sugar each of those four

12:49:39   6   members produces each year?

12:49:41   7   A.     The individual members make their own production

12:49:44   8   decisions.

12:49:44   9   Q.     What role does United have in that?

12:49:4710     A.     We have no role in determining how much sugar they

12:49:4911     produce.

12:49:5012     Q.     What are United's responsibilities with respect to

12:49:5313     the refined sugar that each of its four members produces?

12:49:5714     A.     Well, first and foremost it's our job to make sure

12:50:0015     that we get that sugar sold and shipped each and every year.

12:50:0416     And, of course, we're also focused on trying to generate the

12:50:0817     highest net selling price that we can.

12:50:1218     Q.     Does United have the option of just selling some of

12:50:1719     the sugar that its members produced and not selling other

12:50:2120     quantities or holding or storing other quantities?

12:50:2421     A.     No, not getting all the sugar sold would be

12:50:2722     unsatisfactory to the members.

12:50:2823     Q.     We talked about the term net selling price a few

12:50:3124     times today.   Can you explain what that is?

12:50:3325     A.     Yeah, that's the revenue that we get from a sale,
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12:50:38   1   from any customer, and from that we subtract discounts and

12:50:42   2   allowances, we subtract freight costs, packaging,

12:50:48   3   warehousing costs and our own overhead, so it's what we

12:50:52   4   return to our owners as a result of the sale.

12:50:55   5   Q.     And is owner another term you use for your four

12:50:58   6   members?

12:50:59   7   A.     Yes.

12:50:59   8   Q.     Conceptually, so we make sure we're clear, what is

12:51:04   9   the difference between the return to your owners, to your

12:51:0610     members and the price that the customer pays?

12:51:0911     A.     Well, it's the price, the net selling price is the

12:51:1212     price the customer pays, minus all of the expenses

12:51:1513     associated with making that sale.

12:51:1814     Q.     Does United seek to increase the return to its

12:51:2315     members without necessarily increasing the price that the

12:51:2616     customer is paying?

12:51:2717     A.     Yeah, absolutely, that was the focus of the 50-pound

12:51:3218     bag recommendation in Clewiston, we could generate a little

12:51:3619     bit higher net selling price by installing that 50-pound bag

12:51:4020     line without assuming any change in our prices, because we

12:51:4621     produce those products efficiently.

12:51:4922     Q.     Does raising the price to your customers, does that

12:51:5123     necessarily mean that United is going to get a higher net

12:51:5524     selling price or more money for its members?

12:51:5725     A.     No.    You know, a lot of it has to do with selling and
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12:52:01   1   shipping efficiently, and chasing, you know, a few pennies

12:52:07   2   higher on the delivered price, if that sugar is distributed

12:52:11   3   inefficiently or it's in a package that we don't make money

12:52:16   4   on, it does not necessarily mean that the net selling price

12:52:19   5   will be higher.

12:52:20   6   Q.     Just to be clear, does United prioritize selling its

12:52:24   7   sugar most efficiently or holding out for the highest price

12:52:29   8   it can get from the customer?

12:52:31   9   A.     No, we focus on selling and distributing efficiently.

12:52:3510     Q.     Focusing back on this regional markets overview that

12:52:3811     you were discussing earlier this morning, did any of the

12:52:4112     strategies, the regional strategies you were talking about,

12:52:4413     did any of those involve a plan to raise the price that the

12:52:4714     customer was going to pay?

12:52:4815     A.     No.

12:52:4916     Q.     So what were you trying to do?

12:52:5117     A.     What we were trying to figure out a way to sell more

12:52:5418     higher margin product.

12:52:5619     Q.     Now, the government asked you about a map, they

12:53:0020     showed you a map in this presentation.      I want to start a

12:53:0321     little bit earlier than that.     This is slide 19, before the

12:53:0822     map the government showed you, one page before it.        Just for

12:53:1223     the record, it's Bates stamped 2447.      What do the colors on

12:53:1724     this map show?

12:53:1825     A.     Those, it's the U.S. that is divided into USDA
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12:53:24   1   regions, the way USDA would define regions in the U.S.

12:53:29   2   Q.     Just for the record, who is the USDA?

12:53:31   3   A.     That's the Department of Agriculture.       They're the

12:53:34   4   governing body of the sweetener market in the US.

12:53:39   5   Q.     If we click one more page to the next slide 20, 448

12:53:46   6   for the record, this is the map the government showed you.

12:53:49   7   What do the colors on this map, what's being conveyed here?

12:53:52   8   A.     These are just groups of states that have the

12:53:55   9   producing locations identified within them.       And it was our

12:54:0010     assessment at a point in time of where those -- the states

12:54:0511     in which the producing locations would have freight

12:54:0912     advantage.

12:54:1113     Q.     In the many years that you have worked at United, how

12:54:1414     often have you seen United break up the country like this

12:54:1715     with the states in these particular colors?

12:54:2016     A.     Yeah, not ever before this.      We used this map in a

12:54:2517     couple of presentations around that period of time.         But we

12:54:2918     had never done this before and haven't done it since.

12:54:3319     Q.     What's the more typical way that United thinks or

12:54:3620     uses maps or what kind of a breakdown to you typically use?

12:54:4021     A.     Well, all of the demand that's reported by USDA

12:54:4522     regions, so those are the regions that we use when we

12:54:4823     typically analyze the demand flows.

12:54:5224     Q.     Now, what do the colors on this map mean to you in

12:54:5725     your sort of day-to-day responsibility of selling sugar?
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12:54:59   1   A.        Well, they don't mean anything.   And you know, I

12:55:06   2   think if you look at the dark green states, those producing

12:55:09   3   locations in Michigan, certainly Michigan can ship sugar to

12:55:15   4   Chicago that's in the orange area, in fact less expensively

12:55:19   5   than we can, Cargill and ASR, those two red dots near

12:55:24   6   Louisiana have freight rates that allow them to access to

12:55:29   7   the states that are identified as red.      It just, it doesn't

12:55:35   8   influence what we do in the normal course of business.

12:55:42   9   Q.        Let's move to the very next slide in the presentation

12:55:4510     which is slide 21, for the record it's Bates stamped 449.

12:55:4911     What is this map showing?

12:55:5112     A.        This map tries to portray how sugar flows throughout

12:55:5713     the U.S. from producing regions, the production will find

12:56:0414     demand.    So in the red state areas, the producing locations

12:56:1015     that are in that area actually ship sugar into the Midwest,

12:56:1416     they ship sugar up the eastern seaboard, the refiners that

12:56:2117     are near New Orleans, Louisiana ship sugar from those

12:56:2718     refineries into the states that are in red, they ship sugar

12:56:3219     into Chicago, they ship sugar up into the northeast.

12:56:3520                    We ship sugar from the Red River Valley and NSM

12:56:4121     ships sugar from Renville into the Gulf, the light green

12:56:4522     shaded areas and down into the red state areas and there is

12:56:4923     sugar produced as far away as the Pacific northwest that

12:56:5524     finds itself all the way across the country.       I should

12:56:5925     mention that we know that there is sugar that's produced in
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12:57:02   1   that geography that also finds it way into the red state

12:57:07   2   grouping.

12:57:08   3   Q.     Can you explain why it is that there are these arrows

12:57:12   4   all over this map with sugar flowing everywhere, why don't

12:57:18   5   the producers just sell close to home, why don't in the

12:57:22   6   yellow states they sell right into yellow states and keep

12:57:26   7   all their sugar there?

12:57:27   8   A.     That's a more efficient sale, but selling commodities

12:57:32   9   is not just a matter -- it becomes a matter of what's

12:57:3610     available at a time.   So an opportunity that might come up

12:57:4011     for one of those refiners in New Orleans to sell sugar in

12:57:4412     Chicago, if it fits their margin requirements, or if it

12:57:4813     meets their net selling price objectives, then they're

12:57:5214     likely to take that sale at that time.      Holding sugar back

12:57:5515     to sell it close to home is just -- it's not a realistic

12:58:0116     strategy.

12:58:0217     Q.     I think you mentioned a few times that this map

12:58:0518     depicts where certain producers have something called a

12:58:0819     freight advantage, do you recall that?

12:58:0920     A.     I do.

12:58:1021     Q.     Does having a freight advantage mean that you're able

12:58:1422     to charge higher prices, for example to the customer in the

12:58:1723     red states?

12:58:1824     A.     No, not at all.    Any attempt to raise the prices is

12:58:2125     going to attract volume, it's going to attract production
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12:58:27   1   from alternative places.

12:58:29   2   Q.      So what is the benefit of having a freight advantage

12:58:33   3   then?

12:58:33   4   A.      Well, it's a more efficient sale but it doesn't allow

12:58:40   5   you to increase the delivered price.

12:58:42   6   Q.      When you say it's a more efficient sale but you can't

12:58:47   7   raise the price to the customer what does it enable you to

12:58:50   8   do?

12:58:51   9   A.      It enables you to distribute it more efficiently, it

12:58:5410     provides for lower freight costs.

12:58:5611     Q.      Now, the government's theory in this case you

12:59:0012     understand is that if US Sugar acquires Imperial, United is

12:59:0513     going to have a freight advantage in those red states over

12:59:1014     all the other sugar producing competitors in the country and

12:59:1315     that's going to allow United, the seller of that sugar to

12:59:1816     raise price to customers that are in those red states.         Do

12:59:2117     you understand that's the government's theory?

12:59:2318     A.      I do.

12:59:2419     Q.      What's your reaction to that as a person responsible

12:59:2620     for selling sugar for United?

12:59:2821     A.      That's not going to be able to happen because any

12:59:3122     attempt to raise prices, whether it be in the red state

12:59:3423     areas or anyplace else, is going to attract production from

12:59:3924     outside of that narrow geography.      So an attempt to raise

12:59:4525     prices in Atlanta is going to attract more sugar from
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12:59:51   1   Cargill and ASR in the New Orleans area, it could attract

12:59:55   2   more sugar from NSM, it could attract more sugar from

13:00:01   3   Western, it could attract more sugar from Baltimore to North

13:00:06   4   Carolina, as an example.

13:00:07   5   Q.     If US Sugar acquires -- I mean, what is your

13:00:10   6   understanding about how much additional sugar you as United

13:00:15   7   might be responsible for selling?

13:00:16   8   A.     I think we -- our estimates are that they produce

13:00:20   9   between 12 and 15 million hundredweight of sugar per year,

13:00:2510     so that would be a 20, 25 percent increase in the amount of

13:00:2911     volume that we would have to sell.

13:00:3112     Q.     And because that additional volume is coming from one

13:00:3313     of your members, US Sugar, are you, United, will you be

13:00:3914     responsible for selling all of that sugar?

13:00:4115     A.     Responsible and obligated to sell it.

13:00:4416     Q.     If you as United have an additional 20 to 25 percent

13:00:4917     of sugar to sell, what does that mean for your ability to

13:00:5318     raise prices, frankly anywhere in the country, but certainly

13:00:5719     in these red states?

13:00:5820     A.     It's kind of simple economics, right, we're going to

13:01:0221     have 20 percent more sugar and it's going to be a difficult

13:01:0622     task to get it all sold.    I don't see being able to raise

13:01:1123     the price.

13:01:1224     Q.     Does the cost of storing sugar, does that have any

13:01:1625     role in how United prices its sugar?
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13:01:19   1   A.     It does.    Storing sugar is very expensive.      We built

13:01:25   2   that Montgomery storage facility.      It holds 1.3 million

13:01:32   3   hundredweight.    We spent $45 million on that, and on the

13:01:34   4   margin from time to time we have to put sugar into 2,500

13:01:37   5   pound tote boxes and the cost is about $3.50, $4.00 a

13:01:45   6   hundredweight, that's ten percent of the net selling price.

13:01:48   7   Storing that bulk sugar is an economic disaster.

13:01:52   8   Q.     You mentioned a few times if you did try to raise

13:01:55   9   prices, sugar would flow in from some of your competitors.

13:01:5910     Who do you think of in particular when you think of who some

13:02:0211     of the more aggressive ones are?

13:02:0512     A.     Well, most price aggressive competitors of late have

13:02:0913     been Cargill coming out of that Gramercy, Louisiana refinery

13:02:1614     and NSM.

13:02:1715     Q.     Are you aware that Cargill has announced plans to

13:02:2116     increase the capacity at its refinery in Gramercy, Louisiana

13:02:2717     by as much as 25 percent?

13:02:2818     A.     I am.

13:02:2919     Q.     What was your reaction when you heard that?

13:02:3220     A.     Well, I, my reaction is my job is going to get a lot

13:02:3721     tougher.

13:02:3822     Q.     You mentioned Cargill and I think it was NSM as the

13:02:4323     two most aggressive competitors.     What about Imperial?

13:02:4724     A.     They are in the mix.     ASR is in the mix.     There are

13:02:5225     places where we compete against CSC and Sucro Sourcing.         So
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13:02:59   1   they're in the mix.

13:03:02   2   Q.     The government alleges that if U.S. Sugar is allowed

13:03:06   3   to buy Imperial, that after the transaction the only two

13:03:09   4   major competitors that are going to be supplying customers

13:03:14   5   in that red state are Domino and United.       What's your

13:03:18   6   reaction to that?

13:03:19   7   A.     I think it's false.     I think Cargill is already

13:03:22   8   shipping sugar into that geography.      NSM is already shipping

13:03:28   9   sugar into that geography, there is sugar flowing from the

13:03:3410     Red River Valley that that geography.

13:03:3711     Q.     Does United have any intention of trying to raise

13:03:4112     prices anywhere in the United States based on the fact that

13:03:4313     US Sugar could own Imperial?

13:03:4614     A.     No.

13:03:4715     Q.     Now, you were also asked some questions in this

13:03:5216     document and in another document that was PTX 507 about

13:03:5517     something called United Chicago strategy with respect to

13:04:0018     distributors.   Do you recall that?

13:04:0019     A.     I do.

13:04:0120     Q.     What is the Chicago strategy?      What was it?

13:04:0621     A.     Well, we had several problems back in 13.        We were

13:04:1322     handcuffed by poor rail service and bad weather conditions,

13:04:1723     so the Chicago strategy set out to allow us to build a more

13:04:2424     bulk capacity closer to the customers.      That was purpose of

13:04:2925     building the dome, better serve customers, alleviate the
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13:04:33   1   hang ups with the rail line.     And as a part of that

13:04:38   2   strategy, we set out to sell more bagged sugar to small and

13:04:42   3   medium sized customers.

13:04:45   4   Q.     So what effects did the Chicago strategy, the

13:04:49   5   strategy in Chicago, have in customers in that area, in

13:04:53   6   terms of their options for bagged sugar?

13:04:55   7   A.     So we were an additional solid option for a lot of

13:04:59   8   those customers.   We have had some success selling those

13:05:03   9   small and medium size bag customers.      And the ultimate

13:05:0910     weight of price to those users went down.

13:05:1411     Q.     Did United ever pursue any version of the Chicago

13:05:1812     strategy in the southeast?

13:05:2013     A.     No.

13:05:2514     Q.     If US Sugar were allowed to acquire Imperial, does

13:05:3215     United have any plans to stop selling sugar to distributors?

13:05:3616     A.     No.

13:05:3717     Q.     If United were to try to raise prices to distributors

13:05:4118     in the southeast in those red states we were looking at,

13:05:4419     what would happen?

13:05:4520     A.     Well, they would fill that need from somebody else.

13:05:5021     We've seen that in Chicago, Batory for example, previously

13:05:5622     bought quite a bit of sugar from us, we don't sell them much

13:05:5923     now but they have been able to replace those volumes from

13:06:0324     alternative sources of supply.

13:06:0525     Q.     How would you describe the nature of competition with
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13:06:10   1   distributors in the Chicago area today?

13:06:12   2   A.     Well, they're intense competitors.       They have made a

13:06:17   3   living buying sugar from sellers at their weak point and we

13:06:23   4   compete aggressively against them.

13:06:27   5   Q.     Turning to another topic, the government showed you

13:06:30   6   an e-mail from someone at United named I remember Eric

13:06:36   7   Speece and it had to do with a communication that Mr. Speece

13:06:40   8   was having with a person named Rich Wistisen.        Do you recall

13:06:44   9   that e-mail?

13:06:4410     A.     I do.

13:06:4411     Q.     Who is Rich Wistisen?

13:06:4712     A.     Rich Wistisen writes a monthly newsletter on sugar,

13:06:5413     he normally recasts the spot pricing information in there,

13:06:5914     but he's an analyst that writes a newsletter about the

13:07:0315     industry.

13:07:0516     Q.     Why did United or why does United share information

13:07:0917     about itself with Mr. Wistisen?

13:07:1118     A.     Well, we know he's going to share information and we

13:07:1519     want the information that gets shared to be accurate.         It's

13:07:1920     the same thing that we're telling our customers every time

13:07:2321     the phone rings or every time there is an e-mail that needs

13:07:2722     to be responded to, but we see a value in having the

13:07:3223     information that he publishes be accurate.

13:07:3524     Q.     You mean the information in his monthly report?

13:07:3825     A.     That's correct.
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13:07:39   1   Q.     That's an industry wide report?

13:07:41   2   A.     It is.

13:07:42   3   Q.     Why does United care whether the information in

13:07:47   4   Mr. Wistisen's monthly report is accurate?

13:07:50   5   A.     Well, it's widely read by customers.       We also think

13:07:53   6   that the USDA reads that.    Reads other periodicals that

13:07:59   7   write on the industry, like Sosland Milling & Baking News

13:08:05   8   report, Jenkins, Frank Jenkins, JSG Commodities I think it

13:08:12   9   is writes virtually a daily report tracking the industry.

13:08:1610     And it's read by all of the industry analysts and by USDA.

13:08:2011     We want what's in there to be accurate.

13:08:2312     Q.     All those different industry reports you mentioned,

13:08:2613     do those generally all have the same types of information,

13:08:3014     they report the same types of information?

13:08:3215     A.     Yes, typically, yes.

13:08:3316     Q.     What types of information did the United provide to

13:08:3717     Mr. Wistisen for his monthly report?

13:08:4018     A.     Well, we have made a habit of producing his -- of

13:08:4619     giving him kind of our spot prices at the moment.        We might

13:08:5120     indicate our sold position from time to time.        He'll ask

13:08:5521     questions about crop development or if we have any news

13:08:5822     about how recovery is going.     Which is I guess it's how the

13:09:0523     recovery of sugar from slicing the sugar beets is going,

13:09:1024     kind of a barometer of how production is progressing.

13:09:1425     Q.     How often did United share this type of information
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13:09:18   1   with Mr. Wistisen?

13:09:20   2   A.        I don't talk to him myself, but it's my belief that

13:09:24   3   Eric was talking to him about once a month.

13:09:27   4   Q.        You mentioned spot prices, I think.    Are those

13:09:31   5   sometimes called the list prices?

13:09:33   6   A.        Yes.

13:09:34   7   Q.        How much of United's sugar sales are sold on a spot

13:09:41   8   basis, at spot prices versus other prices?

13:09:44   9   A.        Yes.   It's very small.   We're a much more aggressive

13:09:4810     forward seller.

13:09:4911     Q.        Do customers have access to United spot prices?

13:09:5412     A.        Yes, that's -- those are the prices that get quoted

13:09:5713     any time anybody calls.     They're published in the portal.

13:10:0214     They're readily available.

13:10:0415     Q.        You mentioned the portal.   Is that a United website?

13:10:0816     A.        Well, yeah, it's a -- yeah, it's a portal, it's a

13:10:1417     customer relationship modeling tool.

13:10:1918     Q.        And if I go on there today, can you see United's spot

13:10:2319     prices?

13:10:2420     A.        Yes.

13:10:2521     Q.        Does United also share its spot prices and list

13:10:2922     prices with prospective customers?

13:10:3223     A.        Yes.

13:10:3324     Q.        You mentioned the concept of sold position.     What is

13:10:3625     that?
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13:10:37   1   A.        Well, it's just a percentage of how far along we are

13:10:41   2   in getting -- gaining full commitment for all of the sugar

13:10:47   3   that's being produced.

13:10:48   4   Q.        Does United sometimes share its sold position with

13:10:52   5   customers?

13:10:52   6   A.        Yes, we do, freely.

13:10:54   7   Q.        And why does that make sense, why would you do that?

13:10:58   8   A.        Well, as the sold position approaches a hundred

13:11:01   9   percent, we would have -- there would be a tendency to raise

13:11:0510     the prices, and customers in the name of good customer

13:11:0911     service, building good relationships, we would convey that

13:11:1312     sold position to inform the customer the prices might be

13:11:1713     going up and giving them an opportunity to buy before the

13:11:2014     price is advanced.

13:11:2215     Q.        Is it important for example for the USDA to know when

13:11:2616     United might be starting to sell out for decisions that USDA

13:11:3017     might make?

13:11:3118     A.        Yeah, it could be.

13:11:3319     Q.        Does United sometimes provide its sold position to

13:11:3720     prospective customers, too?

13:11:3921     A.        Yes, we do, it's information that is -- we use pretty

13:11:4322     freely.

13:11:4423     Q.        The specific exhibit the government showed you was

13:11:4724     from November of 2020, if you recall it, and they were

13:11:5025     asking you about your indication to Mr. Speece that you
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13:11:55   1   wanted to -- you wanted Mr. Wistisen to understand what your

13:11:59   2   current spot prices were and that there was a possibility

13:12:02   3   they might be going up.    Do you recall that?

13:12:04   4   A.     I do.

13:12:06   5   Q.     Was United telling customers that exact same thing at

13:12:10   6   that time in November 2020?

13:12:11   7   A.     Yes, we were.

13:12:13   8   Q.     And do the members of United's sales team typically

13:12:17   9   warn customers and prospective customers when it's

13:12:2110     considering raising prices?

13:12:2311     A.     Yes, we do.

13:12:2512     Q.     Why does that make business sense?

13:12:2713     A.     Because it helps us drive some additional sales

13:12:3014     through the door to be honest with you, it helps get people

13:12:3415     off the fence.

13:12:3516     Q.     And things like crop yields, how the weather is doing

13:12:3917     on the harvest, how the beets are slicing, are those

13:12:4218     conversations you're having regularly with the customers?

13:12:4419     A.     Yeah, the inquiries come in on all of those topics,

13:12:4920     more frequently from sophisticated buyers but we share that

13:12:5321     information freely, it's just part of helping the customer

13:12:5722     stay informed about what's going on.

13:12:5923     Q.     Does United share any information, provide any

13:13:0324     information to Mr. Wistisen that it was not freely providing

13:13:0625     to customers at the time it was providing it to
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13:13:08   1   Mr. Wistisen?

13:13:09   2   A.     No.

13:13:11   3   Q.     As the person responsible for setting the price of

13:13:14   4   sugar for industrial customers, did you use the information

13:13:17   5   that Mr. Wistisen provided to Mr. Speece for any purpose in

13:13:23   6   setting any particular customer price?

13:13:25   7   A.     No, customer prices are unique, it's a unique

13:13:32   8   negotiation.

13:13:35   9   Q.     Is each one individualized?

13:13:3710     A.     Yes.

13:13:3811     Q.     When United provided information to Mr. Wistisen for

13:13:4312     his monthly report, were you trying to coordinate with

13:13:4613     Domino in some way?

13:13:4714     A.     No.     No, there is no love lost between us and Domino.

13:13:5215     Q.     The government asked you a number of questions about

13:13:5616     a 2022 bid for Pepsi.    Do you recall that?

13:13:5917     A.     I do.

13:14:0018     Q.     And I think they talked an awful lot about the

13:14:0519     Wytheville, Virginia plant, do you recall that?

13:14:0720     A.     They did.

13:14:0721     Q.     Is Wytheville, Virginia the only Pepsi plant United

13:14:1122     was bidding on for 2022?

13:14:1323     A.     No, as I recall it, there were -- I think there were

13:14:1724     between 110 and 125 line items in that RFQ.       Some of them

13:14:2325     were duplicates so I think there were probably in the
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13:14:26   1   vicinity, conservatively there were 75 to 80 locations in

13:14:32   2   that RFP.

13:14:33   3   Q.     How does United approach an RFP like that with Pepsi

13:14:38   4   that has so many plants, so many line items, is it plant by

13:14:44   5   plant or do you look at the bid holistically?

13:14:47   6   A.     No, it's about the totality of the deal.        See what we

13:14:52   7   care about is the 5.2 or 5 weight and the net selling price

13:14:57   8   that you have spin out of the bottom right-hand corner of

13:15:03   9   that spreadsheet.   We allow Pepsi to determine what level

13:15:0910     they want to put those individual competitive discounts.

13:15:1211     Q.     And the government asked you a number of questions

13:15:1612     about sort of what he -- we went through one e-mail with

13:15:2013     Mr. Speece and then went from one number to another number

13:15:2514     and we won't talk about the numbers.      Does it matter to you

13:15:2815     as United what particular number Pepsi decides to input for

13:15:3316     any plant in terms of what competitive discount they put on

13:15:3617     that chart?

13:15:3718     A.     No, as I said, I think it was supported in the

13:15:4019     e-mail, we increased the competitive discount across all of

13:15:4320     the locations in all of the volumes.      And Pepsi then decides

13:15:4721     what it is, how it is they want to divide those dollars up

13:15:5122     among those individual use points.

13:15:5323     Q.     For 2022, did United win the business at that

13:15:5824     Wytheville, Virginia plant?

13:15:5925     A.     We did.
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13:16:00   1   Q.     And what type of sugar does United supply into

13:16:04   2   Virginia?

13:16:05   3   A.     We took that business specifically to be able to ship

13:16:08   4   beet sugar in there.

13:16:09   5   Q.     And where does that beet sugar come from?

13:16:11   6   A.     The Red River Valley.

13:16:13   7   Q.     And what are those states again?

13:16:15   8   A.     Minnesota and North Dakota.

13:16:17   9   Q.     It's not coming out of Clewiston, Florida?

13:16:2110     A.     Some of it may have come out of Clewiston, I think we

13:16:2511     were a little long on cars at Clewiston as we entered into

13:16:2912     the new year, I think we shipped a few.       But the

13:16:3213     overwhelming majority of that sugar will be supplied from

13:16:3614     the Red River Valley plants.

13:16:3915     Q.     Why does --

13:16:4016                 THE COURT:    Do you want to take our lunch break?

13:16:4317     Q.     This is my last question.

13:16:4418                 Why does it make any sense to ship that beet

13:16:4619     sugar in from the Red River Valley all the way to --

13:16:5020     A.     Well, the producers in the Red River Valley are

13:16:5321     increasing their production, and this landing that spot was

13:16:5722     part of number one job which is to ensure that we get all of

13:17:0323     that sugar sold.

13:17:0524     Q.     Thank you.

13:17:0525                 THE COURT:    All right.    Let's take our lunch
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13:17:07   1   break.   We'll come back around 1:50.

13:17:57   2                   (A luncheon recess was taken.)

13:48:32   3                   THE COURT:   All right.   Please be seated.   Let's

13:53:16   4   continue.

13:53:18   5                   MS. GIORDANO:   Thank you, Your Honor.    Ready to

13:53:19   6   proceed?    I have no more questions, Mr. Swart.      Thank you.

13:53:26   7                   THE COURT:   Redirect.

13:53:27   8                        REDIRECT EXAMINATION

13:53:29   9   BY MR. HANNA:

13:53:3110     Q.       Quick redirect, Your Honor.      Brian Hanna.   All right,

13:53:3511     Mr. Swart, your counsel asked some questions about

13:53:4012     industrial versus retail on your questions.       Do you recall

13:53:4513     that?

13:53:4514     A.       Yes.

13:53:4615     Q.       And United produces or it sells retail products;

13:53:5016     right?

13:53:5017     A.       That's correct.

13:53:5118     Q.       United has the retail brand, Crystal Sugar, right?

13:53:5619     A.       That's correct.

13:53:5620     Q.       United also sells retail to private labels as well,

13:54:0121     correct?

13:54:0222     A.       That's correct.

13:54:0323     Q.       Can we look at PTX 452.    It's already been admitted

13:54:0824     into evidence.     This is the regional market overview.      And I

13:54:1225     want to look at row or slide 34, the USC southeast strategy
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13:54:24   1   slide again.

13:54:34   2   A.     Okay.

13:54:36   3   Q.     So the right-hand side for the southeast strategy

13:54:39   4   includes the strategy for the consumer per retail sales for

13:54:43   5   United, right?

13:54:47   6   A.     Yes.

13:54:48   7   Q.     And do you see at the top the strategy says focus on

13:54:52   8   additional customer/lanes in the key markets for volume and

13:54:58   9   consuming while maintaining premium NSPs and alignment with

13:55:0310     consumer sales strategic plan, do you see that?

13:55:0511     A.     I do.

13:55:0612     Q.     That was presented on the United board?

13:55:0913     A.     Correct.

13:55:1014     Q.     Do you see the needs below that?

13:55:1215     A.     I do.

13:55:1216     Q.     That's the recommended needs that the top management

13:55:1717     at United were recommending to implement this sales strategy

13:55:2218     for the southeast retail, correct?

13:55:2419     A.     That's correct.

13:55:2420     Q.     And bullet 1 underneath says additional full

13:55:2821     portfolio pack size capability, ten-pound bags and specialty

13:55:3522     for cane spec requirements desirable freight lanes without

13:55:4023     adding capacity to balanced market; do you see that?

13:55:4224     A.     I do see that, right.

13:55:4425     Q.     That was part of the plan?
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13:55:45   1   A.     That's what it says.

13:55:46   2   Q.     That was part of the plan for consumer retail

13:55:50   3   strategy in the southeast?

13:55:51   4   A.     Yes, that's retail.

13:55:52   5   Q.     And an additional part of the plan was to add sales

13:55:56   6   managers to open up and add new customers for consumer

13:55:59   7   retail, right?

13:56:00   8   A.     Yes, that's what's on.

13:56:01   9   Q.     That's the strategy for the southeast market, right?

13:56:0510     A.     Correct.

13:56:0611     Q.     Set that document aside now.

13:56:0812                 Now, when United sells 50-pound bags, it then

13:56:1513     tells the owner that's producing the sugar how many bags of

13:56:1914     50-pound bags of sugar to produce, right?

13:56:2215     A.     Well, it's not quite like that.      The bag lines run.

13:56:2916     We don't -- we're not really giving them daily instructions

13:56:3317     about how much sugar to put into a 50-pound bag.        They fire

13:56:3718     the lines up early in processing campaign and they continue

13:56:4219     to run for months.

13:56:4620     Q.     Based on how many -- how much sale --

13:56:4921     A.     Yeah, anticipated sales over the course of the year.

13:56:5222     Q.     And United provides the owners on a weekly basis how

13:56:5923     much sugar in 50-pound bags United committed to sell, right?

13:57:0524     A.     Well, I think it happens at a higher level than that.

13:57:1125     We forecast demand monthly, I don't think -- I don't know
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13:57:15   1   that there is any weekly communication about what to do with

13:57:18   2   the bag lines.

13:57:20   3   Q.     Now, your counsel asked you some questions about

13:57:25   4   Wytheville, Virginia facility do you recall that?

13:57:28   5   A.     Yes.

13:57:29   6   Q.     And they asked you some questions about Pepsi United

13:57:33   7   delivering beet sugar from the Red River Valley to the

13:57:37   8   Wytheville location, do you recall that?

13:57:38   9   A.     Yes.

13:57:3810     Q.     You recall when I asked you questions, you testified

13:57:4111     that United was actually pricing that sugar from the

13:57:4512     Clewiston refinery, right?

13:57:4713     A.     That's correct.

13:57:4814     Q.     Pepsi is paying as if you're delivering that sugar

13:57:5215     from Clewiston, right?

13:57:5316     A.     That's the pricing convention that we use, yes.

13:57:5617     Q.     Now, you also had some questions from your counsel

13:58:0018     about customer portal, do you recall that?

13:58:0319     A.     Yes.

13:58:0320     Q.     I think she said, she asked you could just go on to

13:58:0621     the portal and access United's pricing, do you recall that?

13:58:1122     A.     Yes, I do.

13:58:1223     Q.     Now, your counsel couldn't actually go on to the

13:58:1624     portal and access that pricing right?

13:58:1825     A.     Not without gaining previous access, that's right.
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13:58:21   1   Q.      And the folks that have previous access of the portal

13:58:27   2   that can see your pricing is actual current customers of

13:58:30   3   United, right?

13:58:31   4   A.      Pardon?

13:58:32   5   Q.      Only your current customers can access the portals to

13:58:36   6   see your current pricing, right?

13:58:38   7   A.      That's true, yes.

13:58:39   8   Q.      Your competitors can't go on the portal and see your

13:58:43   9   pricing right?

13:58:4410     A.      No, they cannot.

13:58:5111                    MR. HANNA:   No further questions, Your Honor.

13:58:5312                    THE COURT:   All right.   Thank you.   Thank you,

13:58:5613     sir.   You are excused.

13:58:5714                    What's next?

13:59:0615                    MR. SANDROCK:   Good afternoon, Your Honor.     Ryan

13:59:0716     Sandrock from the United States of American.       We will

13:59:1017     proceed with our next witness.

13:59:1118                    THE COURT:   Yes.

13:59:1319                    MR. SANDROCK:   Your Honor, the United States

13:59:1420     calls Steven Hanson, United's products director.

13:59:3821                    COURT CLERK:    Please raise your right hand.

13:59:4222     Please state and spell your full name.

13:59:4523                    THE WITNESS:    Steven Hanson.   S-T-E-V-E-N,

13:59:5124     H-A-N-S-O-N.

13:59:5425                    STEVEN HANSON, having been duly sworn was
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13:59:56   1   examined and testified as follows:

13:59:56   2                      DIRECT EXAMINATION

13:59:56   3   BY MR. SANDROCK:

13:59:59   4   Q.     Good afternoon, Mr. Hanson.

14:00:01   5   A.     Good afternoon.

14:00:01   6   Q.     You should have a binder in front of you and you

14:00:04   7   don't need to look at it now, I'll direct it to you a couple

14:00:06   8   of times during the examination, it has some exhibits and a

14:00:10   9   copy of your deposition as well.

14:00:1110                    Can you please state your name for the record,

14:00:1511     Mr. Hanson?

14:00:1512     A.     Stephen Hanson.

14:00:1613     Q.     And your currently employed by United Sugars,

14:00:1914     correct?

14:00:2015     A.     I am.

14:00:2116     Q.     You have been at United for about twenty years,

14:00:2417     correct?

14:00:2418     A.     Pretty close, yes.

14:00:2619     Q.     And your current position is, in fact, titled

14:00:2920     Director of Industrial Products Bargaining?

14:00:3121     A.     It is.

14:00:3222     Q.     One of your activities at United is market analysis,

14:00:3623     correct?

14:00:3624     A.     Yes.

14:00:3625     Q.     And United has a software program called the portal
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14:00:40   1   that United uses for market analysis?

14:00:42   2   A.       Yes.

14:00:42   3   Q.       And you manage the portal?

14:00:45   4   A.       I do.

14:00:46   5   Q.       The portal can identify the most profitability set of

14:00:51   6   net selling price opportunities correct?

14:00:52   7   A.       That's one of its functions.

14:00:54   8   Q.       And freight costs are an input in United's modeling,

14:00:58   9   right?

14:00:5810     A.       One of them, yes.

14:00:5911     Q.       And freight costs are used in the portal?

14:01:0112     A.       They are.

14:01:0213     Q.       And freight costs vary, can vary by Zip code,

14:01:0714     correct?

14:01:0715     A.       They can.

14:01:0816     Q.       And the portal takes into account driven differences

14:01:1317     in freight cost by zip code, correct?

14:01:1518     A.       They do.

14:01:1619     Q.       And the portal also has something called a

14:01:1920     competitive freight application, correct?

14:01:2121     A.       That's correct.

14:01:2122     Q.       And the competitive freight application is an

14:01:2523     estimate of the competitor's freight costs from a certain

14:01:2924     Zip code?

14:01:3025     A.       From an origin to and from a Zip code, yes.
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14:01:35   1   Q.        So it takes into account the to and from Zip code

14:01:40   2   that your competitors would ship from?

14:01:43   3   A.        Yes.

14:01:44   4   Q.        And Mr. Hanson, please turn to PTX 481 in your

14:01:50   5   binder.    There is an e-mail and a slip sheet for an Excel

14:01:55   6   attachment.       We show you the attachment, we will put it on

14:01:58   7   the screen in front of you have as a native.        Do you have

14:02:02   8   that in front of you, Mr. Hanson?

14:02:04   9   A.        I do.

14:02:0510     Q.        And this is an e-mail you sent to Steve Hines;

14:02:1111     correct?

14:02:1112     A.        It is.

14:02:1413                       MR. SANDROCK:   Your Honor, there are no

14:02:1514     outstanding objections to PTX 481 and the United States

14:02:1915     moves to admit it into evidence.

14:02:2216                       MR. BUTERMAN:   No objection.

14:02:2317                       THE COURT:   It's admitted.

14:02:2418                       MR. SANDROCK:   Thank you, Your Honor.

14:02:2419                       (PTX Exhibit No. 481 was admitted into

14:02:2420     evidence.)

14:02:2421     BY MR. SANDROCK:

14:02:2622     Q.        Mr. Hines is United Sugars vice-president of

14:02:2923     strategy, correct?

14:02:2924     A.        That's correct.

14:02:3025     Q.        And Mr. Hines at some point asked you for a synergy
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14:02:34   1   analysis of the transaction that is at issue in this case,

14:02:37   2   right?

14:02:38   3   A.       I believe so.

14:02:40   4   Q.       And this document might have been provided to him as

14:02:43   5   part of that analysis; correct?

14:02:44   6   A.       It might have.

14:02:46   7   Q.       This list identifies some locations utilized in your

14:02:51   8   competitive freight application, correct?

14:02:53   9   A.       That's correct.

14:02:5310     Q.       And the third location listed on here is Port

14:02:5911     Wentworth, that is Imperial's facility in Port Wentworth,

14:03:0412     Georgia, correct?

14:03:0513     A.       That's correct.

14:03:0614     Q.       And the fourth location listed in have is Clewiston,

14:03:0815     that's the US Sugar facility in Clewiston, Florida, correct?

14:03:1316     A.       That's correct.

14:03:1317     Q.       And both Clewiston and Port Wentworth are USDA

14:03:1918     reporters correct?

14:03:2019     A.       They are.

14:03:2020     Q.       And USDA reporters are the refiners that are required

14:03:2421     to report volumes to USDA, correct?

14:03:2722     A.       That's correct.

14:03:2723     Q.       And Mr. Hanson, we will turn to the spreadsheet.

14:03:3324     Ms. Martinez if we could put up the spreadsheet in native

14:03:3725     that is attached PTX.      I'm sorry, this is marked
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14:03:42   1   confidential, I believe, counsel.

14:03:47   2                  So Your Honor, I don't think we can show it on a

14:03:50   3   public screen.    But we could have it on the screen before

14:03:55   4   Mr. Hanson.

14:04:01   5                  Do you see it, Mr. Hanson?

14:04:02   6   A.     I do.

14:04:04   7   Q.     And this it's --

14:04:06   8                  THE COURT:   Mine just has the native, it's not

14:04:09   9   on there yet.    Okay.   Tell me what number this is again

14:04:1110     because I can't see that.

14:04:1411                    MR. SANDROCK:   It is PTX 481, Your Honor.     Do

14:04:2312     you have it, Your Honor?

14:04:2413                    THE COURT:   No.   Hold on.   Okay.   All right.

14:04:2414     BY MR. SANDROCK:

14:04:3615     Q.     Mr. Hanson, you prepared this spreadsheet, correct?

14:04:3916     A.     I did.

14:04:4017     Q.     And this is an output of the competitive freight

14:04:4318     application, correct?

14:04:4319     A.     I believe so.

14:04:4420     Q.     And this spreadsheet had columns for freight costs;

14:04:4921     correct?

14:04:4922     A.     Yes.

14:04:5023     Q.     And we can take that down.

14:04:5824                    And Mr. Hanson, you're modeling also helps

14:05:0125     analyze the product mix for a particular location; correct?
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14:05:06   1   A.        It includes the product mission for a certain

14:05:09   2   location, yes.

14:05:09   3   Q.        And Mr. Hanson, please turn to PTX 380 in your

14:05:16   4   binder.    And PTX 380 is an August 17, 2018, appointment

14:05:24   5   invitation for Mr. Hines to you and others with the subject

14:05:27   6   SE product mix status and next steps.         Do you have that in

14:05:32   7   front of you?

14:05:33   8   A.        I do.

14:05:34   9                     MR. SANDROCK:   And, Your Honor, there are no

14:05:3610     outstanding objections to PTX 380.          And we request to move

14:05:4011     it into evidence.

14:05:4012                       MR. BUTERMAN:   No objection.

14:05:4113                       THE COURT:   Thank you.   It's admitted.

14:05:4114                       (PTX Exhibit No. 380 was admitted into

14:05:4515     evidence.)

14:05:4516                       MR. SANDROCK:   Thank you, Your Honor.

14:05:4517     BY MR. SANDROCK:

14:05:4618     Q.        And your understanding is SE in the subject line

14:05:4919     refers to the southeast?

14:05:5420     A.        I believe so, yes.

14:05:5521     Q.        And SE could also mean Clewiston because United

14:05:5922     conflates the southeast and Clewiston product mix, correct?

14:06:0323     A.        Yes, that's correct.

14:06:0524     Q.        And your understanding is Mr. Hines was asking the

14:06:1025     team to get together to talk about the potential
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14:06:13   1   contribution of a base case facility?

14:06:16   2   A.     Yes, it looks like that is the case.

14:06:18   3   Q.     And if you look at the first bullet there, it says

14:06:22   4   using the 40-acre site adjacent to Clewiston's property,

14:06:26   5   that was the base case facility; correct?

14:06:33   6   A.     I believe so.

14:06:35   7   Q.     And Mr. Hines -- sorry?

14:06:37   8   A.     I believe so.

14:06:40   9   Q.     And Mr. Hines says that United should attack the

14:06:4410     market like Chicago.    You understood that to be a reference

14:06:4711     to the Chicago strategy?

14:06:4912     A.     We do have a Chicago strategy, yes.

14:06:5213     Q.     And you understood attack the market like Chicago to

14:06:5614     be a reference to that strategy?

14:06:5915     A.     I don't know about attack, but there is a reference

14:07:0216     to the Chicago strategy, yes.

14:07:0417     Q.     And attack the market like Chicago, is that reference

14:07:0818     to the Chicago strategy?

14:07:1119     A.     Yes.

14:07:1120     Q.     And the Chicago strategy was a plan to ship bagged

14:07:1721     product to small customers directly rather than using

14:07:2022     distributors correct?

14:07:2123     A.     Yes.

14:07:2124     Q.     And you used the terms distributors and resellers

14:07:2525     interchangeably, correct?
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14:07:26   1   A.     Frequently, yes.

14:07:27   2   Q.     And you understood the reference to market in the

14:07:31   3   attack the market bullet to refer to the area around

14:07:36   4   Clewiston; correct?

14:07:39   5   A.     Yeah.    I mean, that's -- yes.

14:07:42   6   Q.     So that e-mail was from -- that invite was from 2018.

14:07:49   7   Let's move ahead to 2019.      In 2019, Mr. Hanson, you

14:07:55   8   continued working with Mr. Hines on a model that included

14:07:59   9   adding additional capacity in Clewiston; correct?

14:08:0210     A.     That's correct.

14:08:0311     Q.     And if you could please turn to PTX 483 in your

14:08:0912     binder, Mr. Hanson.    So this is an e-mail and a slip sheet

14:08:1613     for the Excel attachment.      Right now I would like you to

14:08:2014     please just look at the e-mail.     Do you have that in front

14:08:2315     of you have?

14:08:2416     A.     I do.

14:08:2517     Q.     And you wrote this October 2019 e-mail; correct?

14:08:2918     A.     I did.

14:08:2919     Q.     And you put together the sales plan that was attached

14:08:3420     to this e-mail?

14:08:3521     A.     In conjunction with our sales team, that's correct.

14:08:4022                    MR. SANDROCK:   And, Your Honor, there are no

14:08:4223     outstanding objections to PTX 483, the United States ask to

14:08:4524     move it into evidence.

14:08:4625                    MR. BUTERMAN:   No objection.
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14:08:47   1                 THE COURT:   Thank you.   It's admitted.

14:08:49   2                 (PTX Exhibit No. 483 was admitted into

14:08:50   3   evidence.)

14:08:50   4   BY MR. SANDROCK:

14:08:51   5   Q.     I said your e-mail but this e-mail expressed the

14:08:54   6   views not just of yourself but of a collected group of

14:08:59   7   United employees, correct?

14:09:00   8   A.     That's correct.

14:09:00   9   Q.     And you got feedback from multiple people before

14:09:0410     sending this e-mail, correct?

14:09:0511     A.     I did.

14:09:0612     Q.     And you ran the model and portal and landed on the

14:09:0913     plan set forth in point 1; correct?

14:09:1114     A.     Yes, that's correct.

14:09:1315     Q.     And part of the plan is set forth in 1D, and it

14:09:1816     included adding additional 50-pound granulated bags in

14:09:2617     Clewiston?

14:09:2718     A.     Yes.

14:09:2819     Q.     And the model you put together it took into account

14:09:3220     competitive responses, correct?

14:09:3621     A.     The model, the portal does not, but the overall plan

14:09:4222     did.

14:09:4223     Q.     So your plan took into account competitive responses,

14:09:4624     correct?

14:09:4725     A.     That's correct.
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14:09:47   1   Q.     And you wrote, "We paid particular attention to

14:09:51   2   expected competitive pricing responses of a

14:09:55   3   increasing/decreasing market shares."

14:09:57   4   A.     Correct.    I did write that.

14:09:59   5   Q.     And you also wrote, "As with all plans of this

14:10:02   6   nature, where we are looking at taking share from

14:10:04   7   competitors, we need to factor into competitive responses."

14:10:08   8   A.     Yes.

14:10:09   9   Q.     And you provide an example of a competitive response,

14:10:1410     for example, adding bulk demand for the competitors is going

14:10:1911     to cost us in expected lower prices, correct?

14:10:2412     A.     It could, yes.

14:10:2513     Q.     Adding demand from competitors would cost United

14:10:2914     because it would lead to lower prices, right?

14:10:3215     A.     It's one of the factors that we were considering.

14:10:3516     Q.     And you gave the collective view there that the key

14:10:3917     was to stay balanced, correct?

14:10:4218     A.     Yes.

14:10:4419     Q.     And that was the collective view, right?

14:10:4620     A.     That was.

14:10:4721     Q.     And the collective view was balanced moves would

14:10:5122     initiate relatively smaller competitive reactions; right?

14:10:5723     A.     Yes, that's what it says, yes.

14:10:5924     Q.     So be balanced on taking market share to make sure

14:11:0325     that the price response wasn't too strong, right?
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14:11:08   1   A.       The expectation was to work with customers to not

14:11:22   2   elicit too strong of a reaction because when you're taking

14:11:28   3   share with customers or moving into selling new customers,

14:11:32   4   sometimes price has to drop for us to convert that customer

14:11:36   5   over.

14:11:36   6   Q.       So stay balanced, so the price doesn't drop too much;

14:11:40   7   right?

14:11:40   8   A.       That's right.

14:11:42   9   Q.       And let's move to the attached spreadsheet.       And I

14:11:4710     think this should be on -- if we can get it on your screen.

14:11:5311                      MS. GARRETT:   I apologize, Your Honor.   I think

14:11:5512     we have the same issue as last time.       This is PTX 483.    I

14:11:5913     think actually we can show this on the public screen.         I

14:12:0314     don't believe there is an objection to PTX --

14:12:0715     confidentiality issue.      If we can go to the summary build

14:12:1116     out tab.

14:12:1317     Q.       Do you have that on the screen in front of you,

14:12:1718     Mr. Hanson?

14:12:1719     A.       Yeah, I can see it.

14:12:1820     Q.       And you put together this spreadsheet; correct?

14:12:2221     A.       I did.

14:12:2222     Q.       And line 8 there says install new 2.5 bag line in

14:12:3123     Clewiston.    I skipped a couple of numbers.     But do you see

14:12:3524     what I'm referring to, Mr. Hanson?

14:12:3625     A.       I do.
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14:12:37   1   Q.       That's the reference to this proposed new production

14:12:42   2   line in Clewiston, right?

14:12:43   3   A.       Yes.

14:12:44   4   Q.       That's a reference to what was in 1D in the e-mail,

14:12:47   5   right?

14:12:48   6   A.       Right.

14:12:48   7   Q.       And there is also a column labeled Market Share.       Do

14:12:53   8   you see that, Mr. Hanson?

14:12:54   9   A.       I do.

14:12:5610     Q.       And then there is an asterisk and it says share of

14:13:0111     USC volume over USDA reporter data, that was the market

14:13:0612     share definition you used in this report; correct?

14:13:0913     A.       That is.

14:13:1014     Q.       And the numerator is share of US Sugar's volume --

14:13:1815     I'm sorry, the numerator is US Sugar's volume?

14:13:2116     A.       It's anticipate United Sugar's volume, this is the

14:13:2417     total.

14:13:2418     Q.       Got it.    So this is the numerator is United's volume?

14:13:2819     A.       Yeah, USC.

14:13:3020     Q.       And the denominator is the USDA reporter data; is

14:13:3721     that right?      And the USDA reporter data is just the data

14:13:4122     provided by USDA reporters, right?

14:13:4423     A.       That's correct.

14:13:4524     Q.       And USDA reporters do not include distributors,

14:13:5025     correct?
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14:13:50   1   A.        That's correct.

14:13:50   2   Q.        And we can put that spreadsheet away.

14:13:56   3                    Mr. Hanson, will you please turn to PTX 452 in

14:14:02   4   your binder?

14:14:02   5                    MR. SANDROCK:   Your Honor, this exhibit has been

14:14:04   6   admitted already.      And if we could show it on the public

14:14:17   7   screen.    Thank you.

14:14:19   8   Q.        You presented at a March 16, 2020, executive meeting,

14:14:26   9   correct?

14:14:2610     A.        Yes.

14:14:2711     Q.        You were one of the people presenting, correct?

14:14:3012     A.        That's correct.

14:14:3113     Q.        And you gave a regional markets overview with the

14:14:3514     regional market identified as the Florida southeast market;

14:14:3915     correct?

14:14:4016     A.        That's correct, along with Dirk Swart.

14:14:4317     Q.        Could you please turn to slide 20, Mr. Hanson.      You

14:14:5318     created this slide; correct?

14:14:5519     A.        I did.

14:14:5620     Q.        And the key, on the left shows Clewiston, South Bay,

14:15:0221     Imperial in red, correct?

14:15:0322     A.        Yes.

14:15:0423     Q.        And the three triangles in the red region corresponds

14:15:0724     to the USDA reporters in that area; correct?

14:15:1125     A.        That's correct.
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14:15:12   1   Q.     And the area in red shows the supplier backyards for

14:15:17   2   those three facilities, correct?

14:15:20   3   A.     They are the states surrounding those three

14:15:23   4   reporters.

14:15:24   5   Q.     And you labeled them as supplier backyards; correct?

14:15:28   6   A.     For this presentation, yes.

14:15:30   7   Q.     Can you move to slide 29, please, Mr. Hanson.         You

14:15:39   8   created this slide as well; correct?

14:15:41   9   A.     I did.

14:15:4210     Q.     And these are the same states we saw in slide 20;

14:15:4811     correct?

14:15:4812     A.     They are.

14:15:5013     Q.     And the top left says Clewiston, South Bay and Seine,

14:15:5914     do you see that?

14:15:5915     A.     I do.

14:16:0016     Q.     And Seine is a reference to Imperial, correct?

14:16:0317     A.     Correct.

14:16:0318     Q.     And this slide also contains -- strike that.

14:16:0719                    You were the author of the comments in the

14:16:1020     bottom left, correct?

14:16:1421     A.     I believe it was collectively, but yeah, I wrote the

14:16:1822     comments on the bottom.

14:16:1923     Q.     And one of the comments talks about freight rates by

14:16:2424     region; right?    The second comment.

14:16:3125     A.     It says low freight rates create a deficit market,
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14:16:37   1   yes.

14:16:37   2   Q.     And you were comparing the freight rates in the

14:16:40   3   southeast market to freight rates in other markets; correct?

14:16:44   4   A.     Yes.

14:16:45   5   Q.     And the data that United has shows, that freight

14:16:50   6   rates are relatively low coming out of this market as

14:16:54   7   compared to other areas; correct?

14:16:56   8   A.     On average.

14:16:57   9   Q.     The Clewiston rates are relatively lower per mile

14:17:0310     than Red River Valley rates?

14:17:0711     A.     On average, yes.

14:17:0912     Q.     Your conclusion on the slide was based on modeling

14:17:1213     you did in the portal, correct?

14:17:1414     A.     That is correct.

14:17:1515     Q.     And you also analyzed whether -- strike that.

14:17:1816                   You stated a conclusion about whether there were

14:17:2117     integrated distributor competitors in the southeast market;

14:17:2618     correct?

14:17:2619     A.     Yes, I included that comment.

14:17:2820     Q.     And the comment you made was that there were few

14:17:3321     integrated distributor competitors in the southeast market;

14:17:3622     correct?

14:17:3723     A.     Yes.

14:17:4024     Q.     Can you please turn to slide 31 of the same

14:17:4425     presentation, Mr. Hanson.    You also worked on this slide;
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14:17:54   1   correct?

14:17:54   2   A.     I did.

14:17:55   3   Q.     And this slide also describes the southeast market;

14:18:00   4   correct?

14:18:00   5   A.     Yes.

14:18:01   6   Q.     And can you please turn to slide 34, Mr. Hanson.         You

14:18:10   7   were also involved in preparing this slide; correct?

14:18:14   8   A.     Yes, I was.

14:18:15   9   Q.     And the southeast in the heading is the same

14:18:1810     southeast market we saw in the map slides; correct?

14:18:2311     A.     Yes.

14:18:2412     Q.     And the Chicago strategy is the same Chicago strategy

14:18:2913     we saw before in the attack the market bullet?

14:18:3414     A.     I think the word says similar and the focus there was

14:18:3815     you're going to sell small and medium size customers as we

14:18:4316     did in Chicago which is the priority of the strategy.

14:18:4817     Q.     It's the same Chicago strategy we saw in the other

14:18:5218     document, right?

14:18:5419     A.     There are similarities.

14:18:5520     Q.     And it also says that there are means of additional

14:19:0221     supply chain capacity, do you see that?

14:19:0422     A.     I do.

14:19:0423     Q.     So does the need section there mean that by

14:19:0924     March 2020, United still had not expanded its production

14:19:1425     lines in Clewiston to implement the Chicago strategy?
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14:19:20   1   A.     Yes, we hadn't by that point.

14:19:22   2   Q.     Mr. Hanson, I would like you to turn to another

14:19:26   3   exhibit, PTX 474.    Do you have that, Mr. Hanson?

14:19:37   4   A.     I do.

14:19:39   5   Q.     The second e-mail there is an e-mail from you to

14:19:46   6   Kevin Comb at McKeany-Flavell.     Do you see that?

14:19:51   7   A.     I do.

14:19:51   8   Q.     And you wrote this e-mail in April 2021 asking for a

14:19:57   9   slide on the map of sugar beet and sugarcane processors,

14:20:0210     correct?

14:20:0211     A.     Yes, that's what it says.

14:20:0412     Q.     And you said you had a use for that slide; correct?

14:20:1013     A.     I had a use for the image that was on the slide.

14:20:1414     Q.     And you had just attended a McKeany-Flavell seminar

14:20:2115     where you saw this slide; correct?

14:20:2416     A.     That's correct.

14:20:2517     Q.     And the document attached to this e-mail is what

14:20:3118     Mr. Comb sent to you?

14:20:3419     A.     Yes.

14:20:3620                    MR. SANDROCK:   And Your Honor, the United States

14:20:3821     moves to admit PTX 474 into evidence.

14:20:4122                    MR. BUTERMAN:   No objection.

14:20:4223                    THE COURT:   Thank you.   It's admitted.

14:20:4424                    (PTX Exhibit No. 474 was admitted into

14:20:4525     evidence.)
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14:20:45   1   BY MR. SANDROCK:

14:20:46   2   Q.     If you could turn, look at the slide, Mr. Hanson?

14:20:53   3   A.     I am.

14:20:55   4   Q.     Do you see the circle in Florida and Georgia?

14:21:00   5   A.     Yes, I do.

14:21:02   6   Q.     And that circle in Florida and Georgia is a portion

14:21:07   7   of what we saw in the red region in the map slides that you

14:21:11   8   created, correct?

14:21:14   9   A.     Looks like it's within that region, yes.

14:21:1710     Q.     And the -- this map shows the same three USDA

14:21:2411     reporters that we saw on your map; correct?

14:21:3412     A.     On the initial map, yes.

14:21:3613     Q.     And the only difference is that this shows the

14:21:4314     Savannah facility and the Clewiston facility both being

14:21:4715     controlled by United, correct?

14:21:5216     A.     It appears so.

14:21:5417     Q.     Because this slide models --

14:21:5618     A.     It's hard to see.

14:21:5719     Q.     The colors are hard to see?

14:21:5920     A.     Yeah.

14:22:0021     Q.     This slide models a post acquisition United; correct?

14:22:1022     A.     Yeah, it looks like that.

14:22:1223     Q.     April 2021 was after the proposed acquisition had

14:22:1724     been announced, right?

14:22:1925     A.     Right, I believe so.
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14:22:21   1   Q.      And the slide then also has conclusions about or

14:22:26   2   statements about market share and consolidation of the

14:22:30   3   southeast post acquisition, correct?

14:22:34   4   A.      Yes.

14:22:35   5   Q.      And do you see the reference to market share on this

14:22:39   6   document?

14:22:40   7   A.      I do.

14:22:43   8   Q.      This would be a post acquisition market share to your

14:22:47   9   understanding?

14:22:4810     A.      I don't know.    Frankly I wasn't interested in that

14:22:5311     data.   I was frankly only interested in the map.

14:22:5912     Q.      PTX 483 that we saw earlier, which had your analysis

14:23:0713     of the potential expansion in Clewiston, that also

14:23:1614     referenced mark share?

14:23:1715     A.      I believe so.

14:23:1816     Q.      That's where we saw the market share definition of

14:23:2717     USDA volume over USDA reported data?

14:23:2718     A.      Okay.

14:23:2819     Q.      This slide has market share information, right?

14:23:3020     A.      It does, but I can barely read the capacity number

14:23:3521     which is a different definition of market share.

14:23:4022     Q.      Now, United at some point after the acquisition was

14:23:4523     announced stopped publishing market share data; correct?

14:23:5224     A.      So United faced a force -- so I published a market

14:24:0025     report and in that market report we do have market share
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14:24:04   1   data, and we had a force majeure event that happened

14:24:09   2   slightly before that, and we removed the market share slides

14:24:13   3   from that market report.

14:24:18   4   Q.        So your testimony is that you stopped publishing

14:24:22   5   market share data due to the force majeure?

14:24:25   6   A.        That's correct.

14:24:26   7   Q.        Mr. Hanson, could you please turn to PTX 367 in your

14:24:33   8   binder.    And you wrote this e-mail, correct?

14:24:44   9   A.        I did.

14:24:4610                      MR. SANDROCK:   And there are no objections to

14:24:4711     this exhibit.      The United States moves to admit it, Your

14:24:5112     Honor.

14:24:5113                      MR. BUTERMAN:   No objection.

14:24:5214                      THE COURT:   All right.   Thank you.   It's

14:24:5315     admitted.

14:24:5416                      (PTX Exhibit No. 367 was admitted into

14:24:5517     evidence.)

14:24:5518     BY MR. SANDROCK:

14:24:5619     Q.        So the top e-mail is from you to Lisa Malloy, right?

14:25:0020     A.        It is.

14:25:0021     Q.        It's from November 2021?

14:25:0422     A.        Yes.

14:25:0423     Q.        You wrote, "We are not publishing market share charts

14:25:0924     due to the ongoing Imperial acquisition."

14:25:1225                      Correct?
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14:25:13   1   A.     I did write that.

14:25:14   2   Q.     You did not write anything about force majeure, did

14:25:17   3   you?

14:25:17   4   A.     I didn't.

14:25:29   5                 MR. SANDROCK:   Nothing further at this time for

14:25:32   6   Mr. Hanson.

14:25:33   7                 THE COURT:   Thank you.   Cross-exam.

14:25:38   8                      CROSS-EXAMINATION

14:25:48   9   BY MR. BUTERMAN:

14:25:5110     Q.     Good afternoon, Mr. Hanson.

14:25:5311     A.     Good afternoon.

14:25:5412     Q.     Just picking up where counsel left off, when did

14:25:5913     United stop publishing that market share information?

14:26:0514     A.     I believe it was November of 2019.

14:26:0715     Q.     And what was the reason?

14:26:0916     A.     Because we had endured a force majeure event which

14:26:1317     dramatically changed our production and supply.

14:26:1718     Q.     Can you put you Exhibit 474 on the screen.        Go to the

14:26:3119     slide of the presentation -- counsel was just asking you

14:26:3820     about this map.    First of all, who is McKeany-Flavell?

14:26:4721     A.     They are a sugar analyst.

14:26:4922     Q.     So this wasn't put together by anyone at United, was

14:26:5323     it?

14:26:5324     A.     It was not.

14:26:5425     Q.     And counsel asked you questions about market share
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14:27:00   1   information.   Looking at this, can you tell me, is this

14:27:05   2   looking at market shares from the perspective of southeast

14:27:10   3   market or is this looking at this from a national market?

14:27:14   4   A.     It looks like a national market.

14:27:19   5   Q.     And by the way, if we look at those numbers on the

14:27:21   6   right, can you see what that word says, the third column

14:27:28   7   down, is that capacity?

14:27:33   8   A.     The capacity is the third row or column, I'm sorry.

14:27:40   9   Q.     Now, just taking a step back, sir, you're the

14:27:4310     director of industrial products marketing at United, right?

14:27:4811     A.     I am.

14:27:4912     Q.     And do you have responsibility for the consumer

14:27:5213     retail side of the business?

14:27:5314     A.     I don't.

14:27:5415     Q.     Is there someone else who has your responsibilities

14:27:5816     on the consumer side?

14:27:5917     A.     Yes.

14:28:0018     Q.     Who is that?

14:28:0019     A.     Dave Sulsa.

14:28:0320     Q.     Why is it that Mr. Sulsa has the responsibilities on

14:28:0821     the consumer side and you do not?

14:28:1022     A.     It's a different skill set, it's a different type of

14:28:1423     responsibility.

14:28:1424     Q.     Are you responsible for determining the price of

14:28:1625     sugar that any industrial customer pays?
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14:28:19   1   A.     I am not.

14:28:23   2   Q.     If we could put up PTX 481, please.       Now, counsel

14:28:36   3   asked you some questions about this document, the

14:28:40   4   competitive FOB rates that are here.      Where did you obtain

14:28:48   5   the competitor FOB prices that are blacked out here?

14:28:53   6   A.     I didn't obtain them, I inputted numbers that were

14:28:59   7   within my planning process.

14:29:03   8   Q.     Are these actual competitive FOB prices?

14:29:06   9   A.     No.

14:29:0910     Q.     Now, counsel also asked you questions about United's

14:29:1511     use of the competitive freight rate application.        Do you

14:29:1812     recall that?

14:29:1913     A.     I do.

14:29:1914     Q.     What does United use the competitive freight rate

14:29:2415     application for?

14:29:2516     A.     Primarily for our targeting and also for pricing

14:29:2917     analysis purposes.

14:29:2918     Q.     Is freight cost the only factor that affects a

14:29:3319     supplier's ability to compete?

14:29:3420     A.     No, there is many, that's just one factor.

14:29:3621     Q.     Does the competitive freight application include

14:29:3922     freight costs for distributors?

14:29:4123     A.     It does.

14:29:4124     Q.     And does the competitive freight application include

14:29:4525     every competitor in every possible routing option?
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14:29:49   1   A.     No, because ultimately that would be millions of

14:29:52   2   rates, so we need to prioritize them down to a more

14:29:56   3   manageable number.

14:29:57   4   Q.     Let's put PTX 452 on the screen, please.        And the

14:30:07   5   government's counsel asked you questions about the slide

14:30:27   6   ending in 448.   Do you see that?

14:30:34   7   A.     I do.

14:30:35   8   Q.     Just taking a step back, what was the purpose of the

14:30:37   9   regional markets overview presentation?

14:30:4010     A.     Ultimately we were looking at potentially putting in

14:30:4311     a new bag line in Clewiston.

14:30:4512     Q.     And why was United considering expanding its

14:30:5013     packaging capacity for bags in Clewiston?

14:30:5214     A.     Because we found that we make more money, we generate

14:30:5715     a higher NSP on bag product.

14:31:0016     Q.     NSP is?

14:31:0117     A.     Our bottom line.

14:31:0418     Q.     NSP is the delivered price per customer?

14:31:0819     A.     It is not.

14:31:1120     Q.     Now, the government asked you about this slide.         I

14:31:2021     would like to back up to the slide beforehand.        This one is

14:31:2722     entitled USDA demand.    What do the colors on this map

14:31:3223     represent?

14:31:3224     A.     This is the demand by USDA region as reported in

14:31:3725     monthly USDA data.
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14:31:41   1   Q.     Now, if we go back to the slide that the government

14:31:46   2   focused you on.   Is this the way that United typically

14:31:50   3   categorized the states?

14:31:51   4   A.     No.

14:31:51   5   Q.     In your seventeen years of working at United, how

14:31:55   6   does United typically categorize states, if it does at all?

14:32:00   7   A.     In the USDA regions.

14:32:02   8   Q.     Turn to the next slide, which the government didn't

14:32:05   9   show you.    Can you tell us what this slide is showing?

14:32:0810     A.     This is industrial bulk movements.       So as you can

14:32:1211     see, there is bulk, this is USDA data, bulk shipments moving

14:32:1712     generally from the west to the east.

14:32:2013     Q.     And what are the arrows, the red arrows moving out of

14:32:2614     that area indicating?

14:32:2815     A.     So there is two red arrows, both over bulk.        One

14:32:3416     moving in bulk sugar moving from the south into the

14:32:3917     northeast and the other one into the Midwest.

14:32:4218     Q.     And what does that represent?

14:32:4519     A.     It represents suppliers shipping sugar up to

14:32:5220     customers in different geographies.

14:32:5721     Q.     There is also an orange arrow coming in and a yellow

14:33:0222     arrow coming in to those red states.      Do you see those?

14:33:0723     A.     I do.

14:33:0724     Q.     What do those represent?

14:33:0925     A.     Shipments moving into that region from other regions,
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14:33:13   1   from the south region, the midwest region.

14:33:17   2   Q.      And why were you putting those arrows moving in and

14:33:23   3   out of the various different color sections?

14:33:28   4   A.      To show that the market moves from one region to the

14:33:33   5   next.

14:33:34   6   Q.      If we look at the next slide.      And we have arrows

14:33:39   7   here as well.     Is this depicting the same phenomenon of

14:33:45   8   sugar moving throughout the country that you just testified

14:33:48   9   to?

14:33:4810     A.      It does, but it's on bags and not bulk.

14:34:2011                     MR. BUTERMAN:   That's all I have, Your Honor.

14:34:2112                     THE COURT:   All right.   Thank you.

14:34:3013                     MR. SANDROCK:   Thank you, Your Honor, I'll be

14:34:3214     very brief.

14:34:3315                        REDIRECT EXAMINATION

14:34:3316     BY MR. SANDROCK:

14:34:3417     Q.      Mr. Hanson, could you please look at PTX 474, the

14:34:3918     McKeany-Flavell slide.       Do you have that in front of you?

14:34:4719     A.      I do.

14:34:4720     Q.      And distributors are not listed there for the market

14:34:5121     share calculation, are they?

14:34:5622     A.      Looks like you only included the reporters.

14:35:0023     Q.      And the market share definition in the spreadsheet

14:35:0424     that you created, only included the USDA reporters, correct?

14:35:1425     Remember we saw that denominator, USC volumes over USC
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14:35:20   1   reporters, you created that, right?

14:35:21   2   A.      Yes, so we know the denominator with USDA data so

14:35:26   3   it's easier to capture market share data when you have a

14:35:30   4   known confident denominator, but we do know that there is

14:35:34   5   additional sugar that is marketed.

14:35:36   6   Q.      And could you turn back to PTX 481, please.       This is

14:35:42   7   the competitive freight application e-mail.       Do you have

14:35:47   8   that, Mr. Hanson?

14:35:48   9   A.      I do.

14:35:4910     Q.      Distributors are not listed in that cover e-mail, are

14:35:5311     they?

14:35:5312     A.      They are.    They're actually the bottom two lines,

14:35:5913     distributors are the primary importers of Mexican sugar and

14:36:0314     refined imports.

14:36:0415     Q.      You don't list any specific distributor in this

14:36:0816     e-mail, do you?

14:36:0917     A.      Not a specific one, because there is many.

14:36:1218                     MR. SANDROCK:   No further questions.

14:36:1419                     THE COURT:   All right.   Thank you.   All right.

14:36:1820     Anything else?     Thank you, sir.   You are excused.

14:36:2321                     What's next?

14:36:2322                     MR. HANNA:   Your Honor, the United States calls

14:36:2523     the next witness.

14:36:2624                     THE COURT:   Okay.

14:36:2725                     MR. HANNA:   United States calls to the witness
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14:36:29   1   stand Jeana Hines who is an adverse witness.       Jeana Hines is

14:36:34   2   the vice-president of sales at Imperial Sugar.

14:36:40   3                  THE COURT:   Okay.

14:37:04   4                  COURT CLERK:   Please raise your right hand.

14:37:11   5   Please state and spell your full name for the record.

14:37:17   6                  THE WITNESS:   Jeana Hensley Hines, J-E-A-N-A,

14:37:24   7   H-E-N-S-L-E-Y, H-I-N-E-S.

14:37:28   8                  JEANA HENSLEY HINES, having been duly sworn was

14:37:31   9   examined and testified as follows:

14:37:3910                    MR. HANNA:   May I proceed, Your Honor?

14:37:4011                    THE COURT:   Please.

14:37:4012                       DIRECT EXAMINATION

14:37:4013     BY MR. HANNA:

14:37:4214     Q.     Good afternoon, Ms. Hines.

14:37:4315     A.     Good afternoon.

14:37:4416     Q.     I handed you a binder on your way up there.        I might

14:37:4917     refer to that during your testimony.      I'll let you know when

14:37:5118     we turn to it.

14:37:5219     A.     Okay.

14:37:5220     Q.     Ms. Hines, you're the vice-president of sales and

14:37:5521     marketing for Imperial Sugar, right?

14:37:5622     A.     Yes.

14:37:5723     Q.     You have been vice-president of sales and marketing

14:38:0024     since 2011, right?

14:38:0125     A.     Yes.
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14:38:02   1   Q.     And you're considered part of the senior management

14:38:05   2   at Imperial, right?

14:38:06   3   A.     Yes.

14:38:07   4   Q.     You have management responsibilities for both

14:38:11   5   industrial customers, distributors and retailers, right?

14:38:14   6   A.     Yes.     And --

14:38:17   7                 THE COURT:    Could you put the microphone

14:38:19   8   somewhere near you.      You're not coming through at all.

14:38:34   9   BY MR. HANNA:

14:38:3910     Q.     Ms. Hines, you report to the senior vice-president of

14:38:4211     sales, Patrick Henneberry, right?

14:38:4412     A.     Yes.

14:38:4613     Q.     And you work with both the Imperial CEO, Mike

14:38:5014     Gorrell, and Mr. Henneberry to make pricing decisions and

14:38:5415     negotiate with customers, right?

14:38:5516     A.     Yes.

14:38:5717     Q.     And one of your direct reports is Beth Smith who is a

14:39:0118     regional sales manager; right?

14:39:0319     A.     Yes.

14:39:0320     Q.     And Ms. Smith has responsibilities to cover sales to

14:39:0821     customers in southeastern United States, right?

14:39:1022     A.     Yes.

14:39:1123     Q.     The southeast region for Ms. Smith covers Alabama,

14:39:1624     Georgia, North Carolina, South Carolina, Kentucky and

14:39:2025     Tennessee, right?
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14:39:20   1   A.       And also Florida.

14:39:22   2   Q.       She also covers the Publix industrial sales in

14:39:26   3   Florida, right?

14:39:27   4   A.       Yes.

14:39:27   5   Q.       The southeast region is the only region in the United

14:39:30   6   States in which Imperial has a specific sales manager

14:39:33   7   focusing on the region; right?

14:39:35   8   A.       Yes.

14:39:35   9   Q.       And as far as you recall, Ms. Hines, Imperial has

14:39:3910     always had a sales manager focusing on the southeast region,

14:39:4311     right?

14:39:4312     A.       Since I have been with the company, yes.

14:39:4713     Q.       And the customers that you directly manage are Pepsi,

14:39:5114     Costco, Mars and Hershey, is that right?

14:39:5415     A.       Yes.

14:39:5516     Q.       Hershey, Imperial has contracted to supply sugar to

14:39:5917     both the Hershey, Pennsylvania facility as well as the

14:40:0618     Stuarts Draft, Virginia facility?

14:40:0719     A.       Those are two of the three yes.

14:40:0920     Q.       And you competed for the Hershey, Stuarts Draft,

14:40:1321     Virginia facility in 2022 right?

14:40:1622     A.       We did bid on the location.

14:40:1723     Q.       And Imperial has been awarded volume to supply the

14:40:2224     Hershey Plant in Stuarts Draft, Virginia for the year 2022,

14:40:2425     right?
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14:40:25   1   A.       Yes.

14:40:26   2   Q.       And Imperial has supplied the Hershey plant in

14:40:31   3   Stuarts Draft, Virginia for the past five years, right?

14:40:33   4   A.       Yes.

14:40:33   5   Q.       Let's talk a little bit about what Imperial does.

14:40:36   6   Imperial produces various sizes packages of sugar ranging

14:40:40   7   from two-pound bags to 50-pound bags, is that right?

14:40:43   8   A.       Yes.

14:40:43   9   Q.       Imperial also sells super sacks, right?

14:40:4610     A.       Yes.

14:40:4711     Q.       And you sometimes refer to super sacks as a tote,

14:40:5112     right?

14:40:5113     A.       Yes.

14:40:5214     Q.       Now, a tote or a super sack is a 2,000-pound bag.

14:40:5615     Right?

14:40:5616     A.       It can be 2,000 pounds up to 2,400 pounds.

14:40:5917     Q.       Now, Imperial's packaging facility at the refinery in

14:41:0618     Port Wentworth came online in 2009, is that right?

14:41:1119     A.       Yes.

14:41:1220     Q.       And you would agree that Imperial's packaging

14:41:1621     facility is state of the art, right?

14:41:1722     A.       Yes.

14:41:1823     Q.       Now, for Imperial's super sack business, you consider

14:41:2424     Imperial's core geography for those sales to cover, Alabama,

14:41:2925     Mississippi, Florida, Georgia, North Carolina, South
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14:41:33   1   Carolina, Kentucky and Tennessee, right?

14:41:35   2   A.       I would also add Indiana and Illinois into that.

14:41:44   3   Q.       You would consider those states that I just read off

14:41:47   4   to you as your core geography in total?

14:41:51   5   A.       Depends on the year, yes.

14:41:52   6   Q.       So your core geography for the super sacks is,

14:41:57   7   Alabama, Mississippi, Florida, Georgia, North Carolina,

14:42:01   8   South Carolina, Kentucky and Tennessee, right?

14:42:04   9   A.       It would be, depending on the year.

14:42:0510     Q.       And you refer to that area as being the core

14:42:0811     geography of the super sack business for Imperial, right?

14:42:1212     A.       It fluctuates depending on the year, at times,

14:42:1613     Indiana and Illinois are also in our core area.

14:42:2314     Q.       Now, the last three or four years Imperial has

14:42:2615     retained an industry consultant named McKeany-Flavell right?

14:42:3116     A.       We have used them as a broker, yes.

14:42:3417     Q.       And McKeany will sometimes give presentations on

14:42:3818     market information, is that right?

14:42:3919     A.       To customers, yes.

14:42:4620     Q.       You have been happy with McKeany's service to you,

14:42:4921     right?

14:42:5022     A.       As a broker, they have done a very good job for us.

14:42:5323     Q.       If you can turn to PTX 217 in your notebook.       By

14:43:0124     agreement with your attorney we prepared a PDF of the

14:43:0525     PowerPoint presentation that we'll show you that I provided
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14:43:11   1   some page numbers on there.       We have a version that is

14:43:17   2   colored I think it will be easier for you to follow after

14:43:21   3   the black and white version.

14:43:33   4   A.       Yes.

14:43:34   5   Q.       PTX 217 is a presentation that was prepared by

14:43:38   6   McKeany-Flavell, is that right?

14:43:40   7   A.       Yes, for Pepsi.

14:43:42   8   Q.       And you reviewed this document before it went to

14:43:45   9   Pepsi, though, right?

14:43:4610     A.       No, I did not.

14:43:4711     Q.       You reviewed the document after Pepsi sent it to you,

14:43:5212     right?

14:43:5213     A.       Pepsi sent it to me, yes, and then I looked at it.

14:43:5514     Q.       And they sent it to you before Pepsi came to Savannah

14:44:0015     Georgia for a plant tour, right?

14:44:0316     A.       Yes.

14:44:0317     Q.       This was prepared for a meeting between Pepsi and

14:44:0718     Imperial that took place in February of 2020, is that right?

14:44:0919     A.       Yes.

14:44:1120                     MR. HANNA:   Your Honor, at this time the

14:44:1321     government moves to admit PTX 217.       Any objections have been

14:44:1822     resolved.

14:44:1923                     THE COURT:   Any objections, I would like you to

14:44:2124     say it on the report even though Mr. Hanna said it.

14:44:2425                     MR. ZACH:    No objection.
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14:44:24   1                  (PTX Exhibit No. 217 was admitted into

14:44:35   2   evidence.)

14:44:35   3   BY MR. HANNA:

14:44:35   4   Q.      This is a map showing the locations of sugar

14:44:38   5   refineries in the United States, right?

14:44:39   6   A.      Yes.

14:44:40   7   Q.      And this map has a region of the United States that

14:44:42   8   is shaded in red, do you see that?

14:44:44   9   A.      Yes.

14:44:4510     Q.      And on this map that's shaded, that red shaded region

14:44:4911     is identified as the primary marketing region for Imperial,

14:44:5212     do you see that?

14:44:5313     A.      Yes, that's what McKeany had put in there.

14:44:5814     Q.      And you reviewed this, right?

14:45:0015     A.      I reviewed it.

14:45:0116     Q.      And the blue shaded area on this map was identified

14:45:0517     as the secondary marketing region for Imperial, do you see

14:45:0818     that?

14:45:0819     A.      That's what McKeany has put.

14:45:1120     Q.      And Imperial tends to sell more sugar in the

14:45:1421     southeast than in the northeast, right?

14:45:1622     A.      Yes.

14:45:1623     Q.      And one factor why that is true is because it's more

14:45:2024     expensive for Imperial to ship from Savannah to the

14:45:2325     northeast than to ship to some customers in the southeast,
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14:45:28   1   right?

14:45:28   2   A.       Yes.

14:45:28   3   Q.       Now, because you can be more reliable about

14:45:33   4   delivering sugar to a customer to a quicker basis, that is

14:45:37   5   another reason Imperial sells more sugar in the southeast

14:45:40   6   than the northeast?

14:45:41   7   A.       That could be one of the reasons, there are also more

14:45:44   8   manufacturing facilities in Georgia.

14:45:46   9   Q.       Earlier you testified that Imperial's core geography

14:45:4610     for the super sack business to be Alabama, Mississippi,

14:45:5611     Florida, Georgia, North Carolina, South Carolina, Kentucky

14:45:5712     and Tennessee, right?

14:45:5813     A.       Depending on the year for totes, yes.

14:46:0014     Q.       And that core geography are all the states covered by

14:46:0415     this red region on this map, right?

14:46:0616     A.       That is correct, that's what McKeany put there.

14:46:0917     Q.       And after reviewing this, you did not tell McKeany or

14:46:1318     Pepsi that the depictions of Imperial's primary or secondary

14:46:1719     market regions were not accurate, right?

14:46:1920     A.       No, I did not notify McKeany because Pepsi sent this

14:46:2521     to me just to see what they had been told about our refinery

14:46:3022     selection, so I did tell Pepsi that they might want to

14:46:3523     double-check with McKeany because some information was

14:46:3824     inaccurate, for instance, the sugar trader that they listed

14:46:4125     had been gone for four years.
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14:46:44   1   Q.     That was the only information you asked them to

14:46:46   2   correct, right?

14:46:46   3   A.     Yes, because we were going to discuss our own numbers

14:46:49   4   and everything at the meeting ourselves.

14:46:51   5   Q.     You can put that document away.

14:46:54   6                 Now, Ms. Hines, when deciding what price to

14:46:58   7   quote a potential customer you look at the competitors that

14:47:02   8   can bid on the business, right?

14:47:03   9   A.     Yes, we do.

14:47:0410     Q.     And when putting together a bid Imperial will review

14:47:0711     who you think could compete on the business and what you

14:47:1212     think the competitor could possibly do for pricing, right?

14:47:1513     A.     Yes, we did that as a group.

14:47:1714     Q.     And you will look at the customer's shipping location

14:47:2015     and assess which competitors could possibly ship into that

14:47:2416     customer's shipping location, right?

14:47:2617     A.     Yes.

14:47:2618     Q.     I think you told me at your deposition you have a map

14:47:2919     in your head and by knowing the customer's shipping

14:47:3320     locations, that helps you understand which competitors could

14:47:3721     bring in sugar and which competitors could not bring in

14:47:4022     sugar to that location, right?

14:47:4123     A.     Yes.

14:47:4224     Q.     Now, Imperial will also estimate the freight cost of

14:47:4625     the competitors to ship sugar to that customer location,
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14:47:49   1   right?

14:47:49   2   A.       Yes, we estimate it.

14:47:50   3   Q.       And so you have an idea of which other competitors

14:47:53   4   are likely to be able to compete on the business, right?

14:47:57   5   A.       At times, yes.

14:47:58   6   Q.       You also look at a report called the Sosland Report

14:48:02   7   that gives a general view of what pricing is by certain

14:48:05   8   areas of the country, right?

14:48:07   9   A.       I do receive the Sosland.

14:48:1110     Q.       Is it a weekly report that Imperial subscribed to?

14:48:1311     A.       Yes, we did.

14:48:1412     Q.       The Sosland Report provides general pricing

14:48:1813     information for the West Coast, Midwest, Northeast, Gulf and

14:48:2314     the southeast regions of the United States; right?

14:48:2615     A.       Yes.

14:48:2716     Q.       And it's been your observation that prices generally

14:48:3117     vary by region; right?

14:48:3318     A.       Yes.

14:48:3419     Q.       And when assessing what price to bid for a customer,

14:48:3820     you do not take into account the prices of imported refined

14:48:4221     sugar; right?

14:48:4322     A.       Depending on who we think can bring -- who can

14:48:4723     compete for that business, we may look at it that way.

14:48:5124     Q.       Now, I took your deposition back in 2021, for DOJ

14:49:0025     investigation on the merger, do you recall that?
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14:49:03   1   A.     Yes.

14:49:03   2   Q.     Can you turn to your deposition that's in your

14:49:06   3   report, in your notebook there, CID deposition, I would like

14:49:10   4   to direct your attention to page 252.      I want to direct your

14:49:20   5   attention to lines 10 through 14.      Are you there, Ms. Hines?

14:49:33   6   A.     Yes.

14:49:34   7   Q.     All right.     So line 10:

14:49:36   8                  "QUESTION:   When you're assessing what price to

14:49:38   9   bid for a customer, do you take into account what the import

14:49:4310     prices of refined sugar are?

14:49:4511                    "ANSWER:   No."

14:49:4612                    Did I ask you that question and did you give me

14:49:4813     that answer?

14:49:4914     A.     Excuse me, are you under -- what tab did you say you

14:49:5415     were underneath again?

14:49:5416     Q.     The CID depo tab.

14:50:0017     A.     Sorry.

14:50:0718     Q.     Page 252, lines 10 to 14.

14:50:1019     A.     Yes.

14:50:1220     Q.     All right.     I'll ask you the question again.      The

14:50:1421     question:   "When you're assessing what price to bid for a

14:50:1822     customer, do you take into account what the import prices of

14:50:2223     refined sugar are?"

14:50:2424                    "ANSWER:   No."

14:50:2525                    Did I ask you that question and did you give me
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                                                                            231
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14:50:27   1   that answer?

14:50:27   2   A.       Yes, at that time that was an accurate statement for

14:50:30   3   me back then.

14:50:31   4   Q.       Back in was it September of 2021?

14:50:34   5   A.       Yes.

14:50:38   6   Q.       All right.   When Imperial delivers sugar to the

14:50:40   7   customer's location, the customer pays a delivery price;

14:50:43   8   right?

14:50:43   9   A.       If we deliver it, yes, they do.

14:50:4610     Q.       And the delivered price is the price the customer

14:50:4811     pays in total for the sugar to be delivered to the shipping

14:50:5212     location; right?

14:50:5213     A.       Yes.

14:50:5214     Q.       To the customer's location?

14:50:5415     A.       Yes.

14:50:5416     Q.       Now, freight costs make up a significant portion of

14:50:5817     the delivery price, right?

14:50:5918     A.       Because our raw sugar costs are 70 percent

14:51:0319     approximately of our costs, yes, the transportation is part

14:51:0720     of that, and it is significant.

14:51:0921     Q.       Transportation cost is a significant component of the

14:51:1322     delivered price, right?

14:51:1423     A.       Yes, because our raw sugar costs are 70 percent and

14:51:1824     they can't be changed, so freight rates are significant to

14:51:2125     us because every penny counts.
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                                                                            232
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14:51:24   1   Q.     That wasn't my question.     My question was freight

14:51:27   2   costs are a significant component of the delivered price?

14:51:30   3   A.     Yes, they are one of the significant components.

14:51:33   4   Q.     Now, price is not the only dimension on which

14:51:37   5   Imperial competes, though, right?

14:51:39   6   A.     Yes.

14:51:39   7   Q.     Another factor customers might consider when

14:51:43   8   selecting a supplier is reliability, right?

14:51:46   9   A.     Yes.

14:51:4610     Q.     Imperial differentiates itself from competitors by

14:51:5011     striving to have the best reliability, right?

14:51:5212     A.     Yes.

14:51:5213     Q.     Another factor a customer might consider is risk

14:51:5614     tolerance, right?

14:51:5715     A.     Yes.

14:51:5716     Q.     By risk tolerance, some customers may want more than

14:52:0217     one supplier supplying a location, right?

14:52:0418     A.     Yes.

14:52:0519     Q.     Will you turn to PTX 163 in your notebook.        Have you

14:52:2120     seen PTX 163?

14:52:2121     A.     Yes.

14:52:2622     Q.     PTX 163 the Jabber message between you and your boss,

14:52:3223     Patrick Henneberry, right?

14:52:3424     A.     Yes.

14:52:3525                   MR. HANNA:   At this time, the United States
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                                                                            233
                                    J. Hines - direct

14:52:38   1   seeks to admit PTX 163 into evidence.

14:52:42   2                    MR. ZACH:    No objection, Your Honor.

14:52:43   3                    THE COURT:   Thank you.

14:52:43   4                    (PTX Exhibit No. 163 was admitted into

14:52:45   5   evidence.)

14:52:45   6   BY MR. HANNA:

14:52:45   7   Q.        Ms. Hines, I want to direct your attention to the

14:52:47   8   first page of 1:28 you say, you asked Mr. Henneberry, what

14:52:55   9   tolling range for the several year period do you want Kim to

14:52:5810     give to Molson Coors today.        That's what you wrote, right?

14:53:0211     A.        Yes, I did.

14:53:0312     Q.        At the time of the time of your message, Imperial was

14:53:0613     bidding on a specific bid for Molson Coors, right?

14:53:0914     A.        She was giving them a price indication at that time.

14:53:1215     Q.        And the she referred to is Kim Youngblood who reports

14:53:1716     to you?

14:53:1717     A.        Yes.

14:53:1818     Q.        She is an Imperial regional sales manager?

14:53:2019     A.        Yes.

14:53:2220     Q.        And Imperial was bidding to supply sugar to the

14:53:2721     Molson Coors facility in Texas and Georgia, right?

14:53:3022     A.        Yes.

14:53:3023     Q.        I want to look at your message at 132 mark.     We have

14:53:3924     it on your computer screen.        You said, we only have a chance

14:53:4725     really in Georgia, right?
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14:53:50   1   A.     Yes.

14:53:50   2   Q.     So you didn't think Imperial was able -- would be

14:53:53   3   able to be competitive for a Texas Molson Coors facility due

14:53:58   4   to freight costs, right?

14:54:00   5   A.     Yeah.

14:54:00   6   Q.     I want to direct your attention to Mr. Henneberry's

14:54:04   7   message to you at 1:49 at the bottom of the first page up on

14:54:07   8   the screen as well.    Mr. Henneberry asked you, do they care

14:54:12   9   beet or cane, right?

14:54:1310     A.     Yeah.

14:54:1411     Q.     And then in your reply, you confirm that Molson

14:54:1912     Coor's required cane for this business, right?

14:54:2113     A.     Yes, for this one specific line they were producing,

14:54:2514     yes.

14:54:2515     Q.     Now, if you know that a customer like Molson Coors

14:54:2916     requires cane sugar, then you know that a beet supplier is

14:54:3317     not going to be able to compete for that business right?

14:54:3618     A.     Yes.

14:54:3619     Q.     I want to direct your attention to Mr. Henneberry's

14:54:4020     long response to you at 2:01 p.m.      Do you see that?

14:54:5421     Mr. Henneberry says, "For Georgia, we have a locational

14:54:5822     advantage."

14:55:0023                    That's what he wrote, right?

14:55:0224     A.     Yes, because of the mileage.

14:55:0425     Q.     Right.    By locational advantage of Georgia,
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14:55:08   1   Imperial's freight cost would be lower than other suppliers

14:55:12   2   that are not close to this Molson Coors facility in Georgia,

14:55:16   3   right?

14:55:16   4   A.       Yes.

14:55:17   5   Q.       Imperial would have advantage because Imperial cost

14:55:21   6   to supply sugar to Molson Coors would be less than the

14:55:24   7   competition, right?

14:55:25   8   A.       That was his estimate, yeah.

14:55:26   9   Q.       Now the competitors he is estimating this message,

14:55:3010     he's estimating freight cost for LSR, ASR and United, right?

14:55:3511     A.       Yeah.

14:55:3612     Q.       And ASR is referred to sometimes as Domino Sugar,

14:55:4113     right?

14:55:4114     A.       Yes.

14:55:4115     Q.       And LSR Sugar sold by Cargill?

14:55:4416     A.       Yes.

14:55:4517     Q.       Now, he's not estimating the freight costs of any

14:55:4918     distributors in this e-mail, right?

14:55:5019     A.       Not on this chat, no.

14:55:5320     Q.       Now, I want to direct your attention to your reply to

14:55:5621     him at 2:01 p.m. right below that.      You inform your boss,

14:56:0122     Mr. Henneberry, you say, "We have always lost Georgia to

14:56:0523     United cane on the last three bids."

14:56:0724                      That's what you wrote, right?

14:56:0925     A.       Yes.
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14:56:09   1   Q.     And you actually wrote BIS, but you actually typo,

14:56:13   2   you meant B-I-D-S, bids?

14:56:17   3   A.     Yes.

14:56:17   4   Q.     So on the last three bids from Molson Coors Georgia

14:56:21   5   business, Imperial competed against United on the cane and

14:56:26   6   it should go out of Clewiston Florida refinery?

14:56:29   7   A.     Yes.

14:56:29   8   Q.     Imperial is currently serving Molson Coor's sugar

14:56:34   9   needs for its Georgia facility, right?

14:56:3610     A.     Yes.

14:57:1011     Q.     Ms. Hines, if you could turn to PTX 137 in your

14:57:1512     notebook.    PTX 137 is an e-mail dated August 8, 2018, from

14:57:2713     you to the CEO of Imperial, Mike Gorrell?

14:57:3214     A.     Yes, it is.

14:57:3415                   MR. HANNA:   Your Honor, at this time the United

14:57:3516     States moves to admit PTX 137 into evidence.

14:57:3817                   MR. ZACH:    No objection, Your Honor.

14:57:4118                   THE COURT:   Thank you.   It's admitted.

14:57:4119                   (PTX Exhibit No. 137 was admitted into

14:57:4420     evidence.)

14:57:4421     BY MR. HANNA:

14:57:4522     Q.     Ms. Hines in this e-mail you're informing Mr. Gorrell

14:57:4923     for a bidding event for General Mills facility in

14:57:5424     Murfreesburo, Tennessee?

14:57:5425     A.     Yes.
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14:57:55   1   Q.       I want to look at your e-mail at the top of this

14:57:57   2   e-mail chain.     I want to direct your attention to the

14:58:02   3   middle, about five lines down of your e-mail.        We'll

14:58:06   4   highlight it on the computer screen for you.       You tell

14:58:09   5   Mr. Gorrell, that you are not hopeful on this location;

14:58:14   6   right?

14:58:14   7   A.       Yes, I did.

14:58:16   8   Q.       By location, you meant the General Mills facility in

14:58:20   9   Murfreesburo, Tennessee, right?

14:58:2310     A.       Yes.

14:58:2411     Q.       I want to direct your attention to something you said

14:58:2712     about three lines down, you see where he said also on every

14:58:3113     bid, do you see that?

14:58:3214     A.       Yes, I did.

14:58:3315     Q.       You inform Mr. Gorrell in writing here, "Also on

14:58:3716     every bid we have won on the auction, and we were number one

14:58:4117     in price.   United has come back in after the fact, Amanda

14:58:4618     called with a lower price and then got the business."

14:58:4919                     That's what you told Mr. Gorrell, right?

14:58:5120     A.       That's what my salesperson Kim Youngblood had told

14:58:5621     me.

14:58:5622     Q.       And you're reporting that to the CEO of Imperial?

14:59:0123     A.       Yes.

14:59:0224     Q.       You understand in the past bid, Imperial had been the

14:59:0425     lowest bidder for the General Mills Murfreesburo, Tennessee
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14:59:10   1   location, right?

14:59:11   2   A.     Yes.

14:59:11   3   Q.     And you understand that United won the General Mills

14:59:14   4   business in Murfreesburo, Tennessee by coming in behind

14:59:19   5   Imperial and lowering its price?

14:59:20   6   A.     That's what Kim had told me.

14:59:24   7   Q.     You can put this document to the side and turn to PTX

14:59:29   8   154 in your notebook.       Do you have 154 up?

14:59:43   9   A.     Yes.

14:59:4310     Q.     All right.    PTX 154 is an e-mail between you and

14:59:4711     Imperial sales team between August 31st and September 7th,

14:59:5212     2018; right?

14:59:5513     A.     Are you saying 154?

14:59:5814     Q.     Yes, PTX 154.

15:00:0115     A.     Okay.

15:00:0216     Q.     This is about Costco?

15:00:0417     A.     Yes.

15:00:0518     Q.     And this is an e-mail that you're on, this e-mail

15:00:1019     chain between August 31st and September 7th, right?

15:00:1320     A.     Yes.

15:00:1421                    MR. HANNA:    Your Honor, at this time United

15:00:1622     States moves to admit PTX 154 into evidence.

15:00:1923                    MR. ZACH:    No objection, Your Honor.

15:00:2124                    THE COURT:    Thank you, it's admitted.

15:00:2125                    (PTX Exhibit No. 154 was admitted into
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15:00:23   1   evidence.)

15:00:23   2   BY MR. HANNA:

15:00:24   3   Q.       Ms. Hines, as I said earlier, this is an e-mail about

15:00:27   4   a bidding event for Costco, Southeast and Northeast

15:00:31   5   divisions, right?

15:00:32   6   A.       Yes.

15:00:32   7   Q.       And the Costco Southeast division means the

15:00:36   8   distribution center in Georgia and Florida where Costco

15:00:42   9   ships out to retail outlets in that region?

15:00:4410     A.       Yes.

15:00:4411     Q.       The Costco Northeast division means the distribution

15:00:4712     centers in Maryland and New Jersey that ships out to those

15:00:5313     centers, right?

15:00:5314     A.       Yes.

15:00:5315     Q.       That actually includes the Delaware region, right?

15:00:5816     A.       Yes.

15:00:5817     Q.       For this particular Costco bidding opportunity,

15:01:0218     Imperial was bidding to supply the Costco southeast and

15:01:0519     northeast division with 25-pound bags and 50-pound bags,

15:01:1020     right?

15:01:1021     A.       Yes.

15:01:1122     Q.       I want to look at your e-mail generated September 7,

15:01:1623     2018, at 1:09 p.m.   Again, we put it up on the computer

15:01:1924     screen if it's helpful for you, Ms. Hines.       Do you see where

15:01:2325     you write, "Costco feedback, any room to go down slightly?
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                                    J. Hines - direct

15:01:27   1   Competing with United Cane."

15:01:29   2   A.       Yes.

15:01:30   3   Q.       You understood that United had submitted a competing

15:01:34   4   bid for this Costco bid using sugar out of the Clewiston,

15:01:39   5   Florida refinery, right?

15:01:41   6   A.       Yes.

15:01:41   7   Q.       When you said any room to go down slightly, you

15:01:44   8   understood that Costco wanted Imperial to lower its bid

15:01:48   9   price, right?

15:01:4910     A.       Yes.

15:01:4911     Q.       I want to turn to Ms. Hancock, Heidi Hancock's e-mail

15:01:5412     at 1:23 p.m.     Ms. Hancock is in the sales department at

15:01:5913     Imperial, right?

15:02:0014     A.       Yes.

15:02:0015     Q.       You see she says, "This is priced at net FOB $34.

15:02:0916     Pat?   Mike?    Thoughts?"

15:02:1217                     Pat and Mike are referring to Patrick Henneberry

15:02:1618     and Mike Gorrell?

15:02:1719     A.       Yes.

15:02:1820     Q.       The initial bid price from Imperial was 34 FOB price,

15:02:2421     right?

15:02:2422     A.       Yes.

15:02:2423     Q.       For this Costco southeast northeast division business

15:02:2924     right?

15:02:2925     A.       Yes.
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15:02:30   1   Q.       I want to turn to the next e-mail in this chain which

15:02:32   2   is from Ms. Hancock at 2:45 p.m., I believe it's on page 1.

15:02:43   3   Now, Ms. Hancock is getting back to you with revised pricing

15:02:48   4   from Costco, after you sent some bid intelligence about

15:02:53   5   competing with United Cane right?

15:02:54   6   A.       Yes, she did.

15:02:55   7   Q.       I want to go to the top of the next page where her

15:02:58   8   response continues.      And you see where Ms. Hancock says,

15:03:05   9   "The 50-pound are priced net FOB bulk at $33.91.        Good

15:03:1310     luck."

15:03:1311     A.       Yes.

15:03:1412     Q.       So Ms. Hancock was given you the green light to offer

15:03:1913     Costco a lower price to the 50-pound bags from $34 to now

15:03:2414     $33.91 right?

15:03:2415     A.       She was lowering it because of our range we had

15:03:2816     available to sell.

15:03:2917     Q.       She was lower the price that Imperial would offer a

15:03:3318     Costco customer, right?

15:03:3319     A.       Yeah, because we had a price range.

15:03:3520     Q.       Imperial, in fact, did offer Costco this lower price

15:03:3821     of $33.91 per bag, right?

15:03:4222     A.       Yes.

15:03:4323     Q.       And Costco awarded Imperial some of this business?

15:03:4724     A.       Yes, on this one, they did.

15:03:4925     Q.       And currently today Imperial supplies the southeast
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                                                                            242
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15:03:52   1   and northeast divisions of Costco with 10-pound bags,

15:03:56   2   25-pound bags and 50-pound bags, right?

15:03:58   3   A.       Yes, we did.

15:04:00   4   Q.       You can set that document to the side.

15:04:02   5                   Let's talk about Pepsi Wytheville, Virginia

15:04:07   6   facility.    If you could turn to PTX 164 in your notebook.

15:04:20   7   Do you have PTX 164 pulled up?

15:04:22   8   A.       Yes, I do.

15:04:23   9   Q.       PTX 164 is an e-mail regarding a bidding event for

15:04:2710     the Pepsi Wytheville, Virginia sugar business in 2019,

15:04:3211     right?

15:04:3212     A.       Yes.

15:04:3413                     MR. HANNA:   Your Honor, at this time the United

15:04:3614     States seek to admit PTX 164 into evidence.

15:04:4015                     MR. ZACH:    No objection.

15:04:4116                     THE COURT:   It's admitted.

15:04:4117                     (PTX Exhibit No. 164 was admitted into

15:04:4318     evidence.)

15:04:4319     BY MR. HANNA:

15:04:4320     Q.       Let's look at your e-mail at the top of this e-mail

15:04:4621     chain.   You told Mr. Gorrell and Ms. Henneberry, "I would

15:04:5122     say it's either Domino or United Florida."

15:04:5423                     That's what you wrote?

15:04:5524     A.       That was me guessing.

15:04:5725     Q.       You thought the likely competition for the Pepsi
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                                                                            243
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15:05:00   1   Wytheville, Virginia facility would be United out of

15:05:04   2   Clewiston, Florida or Domino?

15:05:07   3   A.     Yes.

15:05:08   4   Q.     And you thought United would competing out Clewiston,

15:05:12   5   Florida, because you had learned that Pepsi for that

15:05:15   6   Wytheville, Virginia facility required cane sugar?

15:05:18   7   A.     I don't recall if they told me cane or not at that

15:05:25   8   time, I don't remember.

15:05:26   9   Q.     If I showed you your deposition, do you think that

15:05:2910     would refresh your recollection?

15:05:3011     A.     It could be, but to be honest, I don't remember.         I

15:05:3712     would have to look back.

15:05:3813     Q.     Can you turn to your CID deposition.       I want to

15:05:4914     direct your attention to line 19 through 25.       CID depo 159?

15:05:5815     A.     Yes.

15:05:5816     Q.     If you could read to yourself lines 19 through 25.

15:06:0517     A.     (Witness reviewing.)     Yes, I see that.

15:06:1318     Q.     Does that refresh your recollection that Pepsi was

15:06:1719     requiring cane sugar for the Pepsi Wytheville, Virginia

15:06:2120     facility?

15:06:2121     A.     At that time they must have been because they

15:06:2322     converted back and forth.

15:06:2523     Q.     And likewise, you thought Domino was likely to be the

15:06:2824     other competition for this Pepsi Wytheville, Virginia

15:06:3125     business, because you knew at the time they required cane
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15:06:35   1   sugar, right?

15:06:36   2   A.       Yes.

15:06:36   3   Q.       LSR produces cane sugar, which is sold by Cargill,

15:06:41   4   right?

15:06:42   5   A.       Yes.

15:06:42   6   Q.       You didn't mention LSR or Cargill in your e-mail,

15:06:46   7   right?

15:06:46   8   A.       No, I did not.

15:06:47   9   Q.       You thought LSR was not competing for this Pepsi

15:06:5310     Wytheville, Virginia?

15:06:5411     A.       At that time, no.

15:06:5512     Q.       Because you thought LSR Cargill was located too far

15:07:0013     away in Gramercy, Louisiana?

15:07:0014     A.       Yes.

15:07:0315     Q.       You never seen LSR Cargill go that far from Louisiana

15:07:0716     to sell sugar, which could be due to freight cost, right?

15:07:1317     A.       At that time, yes.

15:07:1418     Q.       Now ultimately, Imperial did win the Pepsi

15:07:1719     Wytheville, Virginia business to provide both granulated

15:07:2020     sugar and liquid sugar, right?

15:07:2321     A.       Yes.

15:07:2322     Q.       At the time of this e-mail, United was the incumbent

15:07:2723     supplier for the Wytheville, Virginia business?

15:07:3224     A.       Yes, they were.

15:07:3325     Q.       If you could turn to PTX 147 in your notebook.       PTX
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                                                                            245
                                    J. Hines - direct

15:07:48   1   147 is the e-mail from Imperial CEO to you and others, dated

15:07:55   2   April 23, 2019, is that right?

15:07:58   3                 MR. HANNA:   Your Honor, at this time, United

15:08:01   4   States moves to admit PTX 147 into evidence.

15:08:05   5                 MR. ZACH:    No objection, Your Honor.

15:08:06   6                 THE COURT:   Thank you.

15:08:06   7                 (PTX Exhibit No. 147 was admitted into

15:08:08   8   evidence.)

15:08:08   9   BY MR. HANNA:

15:08:0810     Q.     This is another e-mail about the Wytheville, Virginia

15:08:1211     Pepsi facility, right?

15:08:1312     A.     Yes, it is.

15:08:1313     Q.     At the top of this e-mail in April of 2019, as of

15:08:1814     April 2019, Imperial had been serving the Wytheville,

15:08:2215     Virginia facility for about four months, right?

15:08:2316     A.     Yes.

15:08:2417     Q.     Now, I want to direct your attention to the middle of

15:08:2718     the first page at 11:08 a.m., your e-mail.       Do you see that?

15:08:3419     You say a little background, do you see that paragraph?

15:08:3620     A.     Yes.

15:08:3721     Q.     And then on the second line you inform everybody on

15:08:4122     this e-mail their cane sugar supply had been from United.

15:08:4523     That's what you wrote, right?

15:08:4624     A.     Yes, I did.

15:08:4725     Q.     Now, you're providing everyone on this e-mail some
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 246 of 360 PageID #: 6174
                                                                            246
                                    J. Hines - direct

15:08:50   1   context of Imperial taking over the Wytheville, Virginia

15:08:53   2   facility from United, right?

15:08:55   3   A.     Yes.

15:08:57   4   Q.     And you had learned that when United was the supplier

15:09:00   5   to this Wytheville, Virginia facility, United had been

15:09:04   6   delivering sugar that was lumpy and it was difficult to get

15:09:07   7   out of the railcars, right?

15:09:09   8   A.     The cane that they had originally shipped had been,

15:09:11   9   and then they had changed it to beet.

15:09:1410     Q.     You had learned from Pepsi that the cane sugar that

15:09:1811     had come from Clewiston that United was delivering was lumpy

15:09:2212     and it was difficult to get out of the railcars, right?

15:09:2613     A.     Yes, that's what they told us.

15:09:2714     Q.     You learned that Pepsi did not like how the sugar

15:09:3015     from United was coming out of the railcars at Wytheville,

15:09:3516     Virginia, right?

15:09:3517     A.     For the cane, yes.

15:09:3618     Q.     Then you write in here, not once did they send anyone

15:09:4019     in to review the system, sugar, or attempt to solve any of

15:09:4320     their issues.   That's what you wrote?

15:09:4521     A.     That's what Pepsi had told me.

15:09:4722     Q.     And that's what you learned?

15:09:4923     A.     Yes.

15:09:4924     Q.     And the they is referring to United, right?

15:09:5325     A.     Yes.
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                                                                            247
                                    J. Hines - direct

15:09:53   1   Q.       And so you learned that United not once sent anyone

15:09:56   2   to review the unloading process; right?

15:09:59   3   A.       Yes.

15:09:59   4   Q.       And you learned that United not once sent anyone to

15:10:03   5   inspect the sugar United was delivering to the Pepsi

15:10:07   6   Wytheville, Virginia facility, right?

15:10:08   7   A.       Yes.

15:10:09   8   Q.       And you learned that United never made any attempt to

15:10:11   9   solve any of Pepsi's issues with the quality of the sugar,

15:10:1510     right?

15:10:1511     A.       That's what Pepsi had told me, yes.

15:10:1712     Q.       So after Pepsi told you that in a meeting, Imperial

15:10:2213     sent Mike Kaminski to the Pepsi Wytheville, Virginia to

15:10:2614     provide Pepsi suggestions on how to improve the railcar

15:10:3015     unloading process, right?

15:10:3116     A.       Actually Mike was actually at that meeting, too, for

15:10:3517     the meeting itself.

15:10:3618     Q.       He was at the meeting with Pepsi?

15:10:3919     A.       Yes, he was in that meeting with me.

15:10:4120     Q.       And then Mr. Kaminski actually went to the

15:10:4421     Wytheville, Virginia facility and helped out with the

15:10:4722     unloading process when the sugar was arriving for Imperial,

15:10:5023     right?

15:10:5024     A.       We were actually at the Wytheville location so he

15:10:5525     just stayed there.
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                                                                            248
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15:10:56   1   Q.       Mr. Kaminski is the plant manager for Imperial

15:10:57   2   Ludlow, Kentucky facility?

15:11:02   3   A.       Yes.

15:11:02   4   Q.       And you understood that he gave suggestions to Pepsi

15:11:06   5   on how to unload to railcars, right?

15:11:08   6   A.       To improve how their unloading system was working,

15:11:12   7   yes.

15:11:12   8   Q.       And you understood that the Pepsi team was thrilled

15:11:15   9   about his advice about the railcar unloading process, right?

15:11:1810     A.       Yes, that's what was shared with me.

15:11:2011     Q.       And you wrote in there, after Mike was there, they

15:11:2312     were thrilled at his advice and our sugar.       That's what you

15:11:2613     wrote?

15:11:2614     A.       Yes, it is.

15:11:2715     Q.       And you understand that the Pepsi team at the

15:11:3216     Wytheville, Virginia facility location was happy with the

15:11:3417     quality of the sugar from Imperial?

15:11:3518     A.       Yes.

15:11:3619     Q.       Imperial was able to hold on to this Wytheville,

15:11:4220     Virginia business for the next two years, right?

15:11:4321     A.       Yes, we were.

15:11:5222     Q.       Ms. Hines, you were aware of generally what prices

15:11:5623     other suppliers of refined sugar are selling to customers,

15:11:5924     right?

15:11:5925     A.       You can see pricing in the Sosland Report.
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                                                                            249
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15:12:03   1   Q.       You get market intelligence from varied sources,

15:12:06   2   right?

15:12:07   3   A.       Yes, I do.

15:12:08   4   Q.       And one of your sources to get pricing information

15:12:10   5   from competitors is a broker named Jerry Kramer, right?

15:12:14   6   A.       Yes.

15:12:15   7   Q.       If you could please turn to PTX 127 in your notebook.

15:12:30   8                   Ms. Hines, PTX 127 is an e-mail from you dated

15:12:34   9   November 15, 2019, where you are responding back to Jerry

15:12:3910     Kramer who has sent you an e-mail, right?

15:12:4111     A.       Yes.

15:12:4312                     MR. HANNA:   Your Honor, at this time the United

15:12:4513     States moves to admit PTX 127 into evidence.

15:12:4814                     MR. ZACH:    No objection, Your Honor.

15:12:4915                     THE COURT:   Thank you.

15:12:4916                     (PTX Exhibit No. 127 was admitted into

15:12:5217     evidence.)

15:12:5218     BY MR. HANNA:

15:12:5219     Q.       Ms. Hines, Mr. Kramer has been in the industry for a

15:12:5720     very long time, right?

15:12:5821     A.       Yes, he has.

15:12:5922     Q.       You have known Mr. Kramer for about fifteen years

15:13:0323     since you started at Imperial, right?

15:13:0424     A.       Yes.

15:13:0525     Q.       The topic of Mr. Kramer's e-mail to you is about
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 250 of 360 PageID #: 6178
                                                                            250
                                    J. Hines - direct

15:13:08   1   Domino Sugar's pricing, right?

15:13:14   2   A.       Yes, he sent it to us, yes.

15:13:15   3   Q.       He sent it to you and Mr. Gorrell and Mr. Henneberry,

15:13:20   4   right?

15:13:20   5   A.       Yes.

15:13:21   6   Q.       All right.   Now I want to focus on Mr. Kramer's

15:13:25   7   initial e-mail to you, I think it's on the second page.         Do

15:13:33   8   you see that Mr. -- you had received some pricing

15:13:35   9   information that Domino has offering industrial customers

15:13:3910     and distributor customers right?

15:13:4211     A.       That's what Jerry provided.

15:13:4512     Q.       He provided it to you, right?

15:13:4613     A.       To the group, yes.

15:13:4814     Q.       And Domino is Imperial's competitor, right?

15:13:5115     A.       Yes.   And he says it's from reliable sources.

15:13:5416     Q.       He told you he has reliable sources that are

15:13:5817     providing you that information?

15:13:5918     A.       Those were his definitions, reliable source.

15:14:0319     Q.       Mr. Kramer tries to be helpful in this way, in giving

15:14:0620     you any information that he thought it might be helpful to

15:14:0921     you, right?

15:14:0922     A.       He sends a lot of information, yes.

15:14:1223     Q.       I want to go to your response to him on the, I think

15:14:1624     it's on the first page at 12:46 p.m.      And your response, you

15:14:2625     wanted Mr. Kramer to get you the pricing that Domino was
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                                                                            251
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15:14:30   1   charging retail customers, right?

15:14:31   2   A.     I am asking him if he had seen anything with Domino

15:14:36   3   in the retail side of the business because we had received

15:14:39   4   two requests from two major retailers in the northeast

15:14:43   5   wanting to put the Imperial brand into distribution and I

15:14:46   6   couldn't understand why they wanted it, so I was asking if

15:14:49   7   he had seen anything.

15:14:51   8   Q.     All right.       You wanted him to go out and get Domino's

15:14:55   9   pricing?

15:14:5610     A.     No, I just wanted to see if he had any ideas of what

15:15:0011     was going on.

15:15:0012     Q.     Than you knew that he had reliable sources that could

15:15:0313     get you Domino pricing information?

15:15:0514     A.     No, this is the retail side so I don't know if he has

15:15:0815     anything on the retail side of the business.

15:15:1016                    MR. HANNA:    No further questions, Your Honor.

15:15:1217                    THE COURT:    Thank you.

15:15:1418                    Cross.

15:15:2519                    MR. ZACH:    Good afternoon, Your Honor.    Dan Zach

15:15:2920     for LDC and Imperial Sugar Company.       May I proceed?

15:15:3521                    THE COURT:    Please.

15:15:3522                      CROSS-EXAMINATION

15:15:3523     BY MR. ZACH:

15:15:3724     Q.     Good afternoon, Ms. Hines.

15:15:3925     A.     Hello.
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15:15:39   1   Q.     So plaintiff's counsel just asked you a number of

15:15:43   2   questions about different customer interactions and I want

15:15:46   3   to take a step back and begin by talking to you about the

15:15:50   4   broader context of Imperial's business.

15:15:53   5                 Does Imperial make most of its refined sugar

15:15:56   6   from imported or domestic raw sugar?

15:15:58   7   A.     Because we are not vertically integrated for cane

15:16:03   8   sugar supply, we get approximately 90 to 95 percent of our

15:16:08   9   raw sugar from imports.

15:16:0910     Q.     Why does Imperial rely on imports?

15:16:1211     A.     Because they're not vertically integrated which means

15:16:1612     we don't have access to domestic raw cane sugar in the US on

15:16:2013     a consistent basis.

15:16:2114     Q.     What suppliers can make refined sugar without relying

15:16:2515     on imports?

15:16:2616     A.     You got quite a few, you got NSM, Michigan, Western,

15:16:3217     LSR, Domino and United.

15:16:3518     Q.     Are Imperial's costs to use imported raw sugar

15:16:3919     typically higher than those companies that have access to

15:16:4320     domestic sources?

15:16:4421     A.     Yes.

15:16:4522     Q.     As an import refiner, how do Imperial's high raw

15:16:5023     sugar costs affect the refined sugar prices that Imperial

15:16:5424     charges?

15:16:5425     A.     We are almost always higher than competition.
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                                                                            253
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15:16:58   1   Q.        And how do Imperial's refined sugar prices compare to

15:17:02   2   those offered by other refined sugar suppliers who have

15:17:06   3   access to domestic sources?

15:17:07   4   A.        When the raw cane market pricing is high, our refined

15:17:12   5   sugar prices will end up being $5 to $7 higher than our

15:17:17   6   competition, but when it's on an a more average basis, we

15:17:20   7   may only be $1 to $2 higher than competition.

15:17:23   8   Q.        So there is a range of prices that Imperial buys

15:17:26   9   imported raw sugar at?

15:17:2710     A.        Yes.

15:17:2811     Q.        And regardless of whether you are at the high end or

15:17:3112     low end of that range, refined sugar prices tend to be

15:17:3413     higher than competition?

15:17:3714                      MR. HANNA:   Objection.   Leading.

15:17:3815     Q.        Does Imperial keep track of its sales of refined

15:17:4216     sugar in the ordinary course?

15:17:4317     A.        Yes, we do.

15:17:4418     Q.        What system do you use to track those sales?

15:17:4619     A.        PeopleSoft.

15:17:4820     Q.        I would like to show you a document, it's in your

15:17:5121     binder, but we can pull up a redacted version for the

15:17:5522     public.    And that document is marked DTX 516.       Have you been

15:18:0623     able to locate the document?

15:18:0824     A.        Yes.

15:18:0825     Q.        What is DTX 516?
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15:18:10   1   A.       This is a record of our 2021 sales data.

15:18:15   2   Q.       Were you involved in ensuring the accuracy of DTX

15:18:21   3   516?

15:18:21   4   A.       Yes, I was.

15:18:22   5                   MR. ZACH:    At this time, Your Honor, I move to

15:18:25   6   enter DTX 516 into evidence.

15:18:28   7                   MR. HANNA:   No objection.

15:18:29   8                   THE COURT:   Thank you.   It's admitted.

15:18:30   9                   (DTX Exhibit No. 516 was admitted into

15:18:3110     evidence.)

15:18:3111     BY MR. ZACH:

15:18:3212     Q.       According to this document, Ms. Hines, what is

15:18:3413     Imperial's third largest state in terms of volume sales?

15:18:3914     A.       Texas.

15:18:4115     Q.       And what percent of Imperial's total sales go to

15:18:4516     Texas?

15:18:4517     A.       Eleven percent.

15:18:4718     Q.       Who are some of Imperial's largest customers in

15:18:5119     Texas?

15:18:5220     A.       HEB.   Sam's.   Wal-Mart.

15:18:5821     Q.       What percentage of Imperial sales go to the state of

15:19:0122     Indiana?

15:19:0123     A.       Six percent.

15:19:0224     Q.       Who are some of Imperial's largest customers in

15:19:0725     Indiana?
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15:19:07   1   A.     Indiana Sugar, Pepsi, Kroger, Weston Foods.

15:19:11   2   Q.     What classes of customers does Imperial sell refined

15:19:16   3   sugar to?

15:19:16   4   A.     We sell to three different classes of trade.         We sell

15:19:19   5   to the industrial channel which our example would be Hershey

15:19:24   6   or Mars; we sell to the food service/distributor channel,

15:19:29   7   example would be Indiana Sugar or US Food Service; and the

15:19:31   8   last would be our retail channel and that would be either a

15:19:35   9   Kroger or a Wal-Mart.

15:19:3610     Q.     What percent of Imperial total refined sugar sales in

15:19:4111     2021 went to the retail sector?

15:19:4312     A.     21 percent.

15:19:4413     Q.     When selling sugar does Imperial focus on any

15:19:4814     particular geography?

15:19:4915     A.     My job is to sell sugar wherever I can sell it,

15:19:5216     historically I'll look at previous customers from the past,

15:19:5517     we can go from Texas, up to Wisconsin, up to Pennsylvania,

15:20:0018     all the way down to Miami, Florida.

15:20:0219     Q.     In the ordinary course, does Imperial define a region

15:20:0520     as the southeast in which it operates?

15:20:0821     A.     No.

15:20:0822     Q.     Based on your experience why do customers choose to

15:20:1223     buy sugar from Imperial rather than other suppliers?

15:20:1524     A.     They either buy from us because they want to have

15:20:1725     multiple suppliers or for our reliability and customer
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                                                                            256
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15:20:22   1   service.

15:20:22   2   Q.     Why, based on your experience, do some customers want

15:20:25   3   to have multiple suppliers?

15:20:26   4   A.     They want to ensure continuity and supply, take for

15:20:32   5   instance, the hurricane down in the Gulf, they still have

15:20:35   6   sugar coming in.   If there is a big snowstorm or freeze up

15:20:38   7   in the valley for the beets and it is impacted.        They want

15:20:42   8   to make sure they can still have sugar so their operations

15:20:44   9   don't stop.

15:20:4410     Q.     When trying to secure contracts with customers, does

15:20:4811     Imperial typically have to submit a bid in a RFP or some

15:20:5212     other bidding process?

15:20:5313     A.     For many of our industrial customers, we do.

15:20:5614     Q.     During those RFP or bidding processes, do you learn

15:20:5915     what the actual prices submitted by your competitors are?

15:21:0516     A.     No.

15:21:0517     Q.     Who do you view to be Imperial's competitors?

15:21:0818     A.     We have a lot.    I consider Michigan, NSM, CSC, LSR,

15:21:1619     Domino, United, ADM, Batory Foods, ICI, just to name a few.

15:21:2320     Q.     Who is NSM?

15:21:2521     A.     National Sugar Marketing.

15:21:2722     Q.     What are some examples of customers for which NSM

15:21:3123     competes with you?

15:21:3224     A.     We go against them, compete with them Bimbo, Bordon,

15:21:3725     even Pepsi, Southern Visions, Kings Hawaiian - there are
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                                                                            257
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15:21:43   1   quite a few.

15:21:44   2   Q.      You mentioned Kings Hawaiian.     Where is that located?

15:21:47   3   A.      Kings Hawaiian is in Flowery Branch, Georgia.

15:21:51   4   Q.      How would NSM be able to compete for Kings Hawaiian

15:21:55   5   based on that?

15:21:55   6   A.      They can do it two different ways, they can either

15:21:58   7   rail beet sugar in from the valley to a transfer station in

15:22:03   8   Atlanta, Georgia, they have an affiliation with Sucden and

15:22:06   9   they can bring in imported cane sugar into that same station

15:22:1010     in Atlanta and then put it into a bulk truck or liquid truck

15:22:1411     and ship it to them.

15:22:1512     Q.      I want to talk now about a number of the customer

15:22:2113     interactions that plaintiff's counsel talked to you about.

15:22:2414     Let me ask you in total how many customers does Imperial

15:22:2715     have?

15:22:2716     A.      In 2021 we had 208 corporate customers.

15:22:3417     Q.      In 2022 how many do you have?

15:22:3618     A.      We're down to 183 corporate customers.

15:22:3919     Q.      Why is that number falling?

15:22:4020     A.      Our refined sugar prices were high, so we lost

15:22:4621     business.

15:22:4622     Q.      During your direct examination, plaintiff's counsel

15:22:4823     asked you a number of questions about General Mills.         Do you

15:22:5224     remember that?

15:22:5225     A.      Yes.
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15:22:52   1   Q.     And does Imperial currently have a contract to supply

15:22:56   2   bulk trucks to any of General Mills' locations?

15:22:59   3   A.     No.

15:23:00   4   Q.     Does Imperial currently supply General Mills'

15:23:03   5   facility in Tennessee?

15:23:04   6   A.     No.

15:23:05   7   Q.     When was the last time Imperial won General Mills'

15:23:08   8   business anywhere?

15:23:09   9   A.     We haven't won their business in a long time.         I know

15:23:1310     we helped out in 2017 with nine trucks at that time.

15:23:1711     Q.     And have you served any General Mills' facilities in

15:23:2212     Tennessee since then?

15:23:2313     A.     No.

15:23:2414     Q.     Why not?

15:23:2415     A.     Our prices are too high so they can go to CSC that

15:23:2916     has lower prices or an LSR or an ADM, their prices are all

15:23:3517     lower than ours.

15:23:3618     Q.     Plaintiff's counsel asked you about Pepsi as well.

15:23:3919     Do you remember that?

15:23:3920     A.     Yes.

15:23:4021     Q.     How does Pepsi get sugar into its Wytheville

15:23:4522     location?

15:23:4523     A.     The primary way is by rail because, 90 percent of

15:23:4824     Wytheville has to be in railcar sugar.

15:23:5225     Q.     Given the Wytheville location accepts sugar by rail,
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                                                                            259
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15:23:58   1   who can compete for Pepsi's business at that location?

15:24:02   2   A.       Domino, United, LSR actually could easily do the same

15:24:06   3   mileage as United, and those would be the ones, NSM could

15:24:11   4   because they could rail car sugar in as well.

15:24:14   5   Q.       You had provided testimony today or been asked some

15:24:17   6   questions about whether LSR served that facility.        You said

15:24:23   7   at that time you gave your testimony, you gave the

15:24:25   8   testimony.      Today do you believe that LSR could serve Pepsi

15:24:30   9   in that location?

15:24:3210     A.       Absolutely.

15:24:3211     Q.       How would they do that?

15:24:3312     A.       They would ship it in via a railcar.

15:24:3613     Q.       Approximately how much sugar does Imperial currently

15:24:4014     sell to Pepsi?

15:24:4415     A.       Actually for 2022 business, we have roughly 300,000

15:24:4916     hundredweight.

15:24:4917     Q.       Has Imperial's volume for Pepsi fallen overtime?

15:24:5318     A.       We're actually down about 27 percent versus the

15:24:5619     previous year.

15:24:5720     Q.       Why is that?

15:24:5821     A.       Our prices of refined sugar were too high so we lost

15:25:0222     business.

15:25:0223     Q.       Plaintiff's counsel also asked you about Molson

15:25:0624     Coors.   Do you recall that?

15:25:0625     A.       Yes.
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15:25:07   1   Q.     And roughly how much of Imperial's total sales volume

15:25:11   2   did Molson Coors account for in 2021?

15:25:15   3   A.     They did .6 percent of our total business.

15:25:20   4   Q.     Less than one percent?

15:25:21   5   A.     Yes.

15:25:23   6   Q.     I want to talk for a moment about some customers that

15:25:28   7   didn't come up in your direct examination.       Are you aware of

15:25:31   8   a company named Post?

15:25:33   9   A.     Yes.

15:25:3310     Q.     And who's Post?

15:25:3511     A.     They're a maker of cereals.

15:25:3812     Q.     Does Imperial compete effectively for Post's business

15:25:4113     in North Carolina?

15:25:4214     A.     No, we do not.

15:25:4315     Q.     Why?

15:25:4416     A.     Our prices are too high.     In fact, we just did a bid,

15:25:4817     and the feedback from the buyers was we were $5 a

15:25:5318     hundredweight higher than our competition.

15:25:5619     Q.     Are you aware of a company named Hostess?

15:25:5820     A.     Yes.

15:25:5921     Q.     Who are they?

15:26:0022     A.     They make Twinkies and Dingdongs.

15:26:0323     Q.     Does Imperial compete effectively for Hostess's

15:26:0724     business?

15:26:0725     A.     No, we do not.
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15:26:08   1   Q.        Why not?

15:26:09   2   A.        Our prices are to high.   In fact, we're not even

15:26:13   3   asked to bid.

15:26:14   4   Q.        Is that true for the Hostess plant in Georgia?

15:26:16   5   A.        Yes.

15:26:18   6   Q.        Are you aware of a company named Danone?

15:26:20   7   A.        Yes.

15:26:21   8   Q.        Who is Danone?

15:26:22   9   A.        A maker of yogurt and creamers and waters.

15:26:2410     Q.        Does Imperial compete effectively for Danone's

15:26:2811     business in Virginia?

15:26:3012     A.        No.

15:26:3013     Q.        Why not?

15:26:3014     A.        Our prices are too high versus CSC.

15:26:3515     Q.        So Danone is served by CSC?

15:26:3916     A.        That is my understanding.

15:26:4017     Q.        Do you have any other examples of instances which CSC

15:26:4618     has beat Imperial?

15:26:4719     A.        In the past we've lost business with Unilever.

15:26:5320     Q.        You were talking with plaintiff's counsel a moment

15:26:5921     ago, you were asked about PX 217 which is that map, if you

15:27:0422     recall.

15:27:0423     A.        Yes.

15:27:0524     Q.        And actually if we could pull it up.    Do you

15:27:1025     remember, the map now that it's on the screen here, PX 217?
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15:27:13   1   A.     Yes.

15:27:14   2   Q.     And who created PX 217?

15:27:17   3   A.     It was from McKeany-Flavell.

15:27:22   4   Q.     From whom did you receive this document?

15:27:25   5   A.     I received it from Pepsi.

15:27:27   6   Q.     So Imperial did not create this map, is that right?

15:27:30   7   A.     No, we did not.

15:27:30   8   Q.     Does Imperial use this document in the ordinary

15:27:34   9   course of business for any purpose?

15:27:3610     A.     No.

15:27:3611     Q.     In the ordinary course of business, does Imperial

15:27:3812     keep track of primary or secondary marketing regions?

15:27:4213     A.     No.

15:27:4314     Q.     Plaintiff's counsel asked you some questions about

15:27:5115     Jerry Kramer, and certain information that Imperial receives

15:27:5416     from him.    Do you recall that?

15:27:5517     A.     Yes.

15:27:5618     Q.     Do you believe the information that Mr. Kramer

15:28:0019     provides is accurate?

15:28:0220     A.     I take it with a grain of salt, he provides a lot of

15:28:0621     information, it doesn't say who it's from, it says reliable

15:28:1022     sources, I really look at it as kind of a general overview

15:28:1423     of what is happening in the market from a supply and demand

15:28:1824     at a high level.   It doesn't even give me prices specific to

15:28:2125     a customer.
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15:28:23   1   Q.       Do you use the pricing information that you receive

15:28:26   2   from Mr. Kramer, such as an e-mail that you talked about in

15:28:30   3   making any pricing decisions for specific customers?

15:28:34   4   A.       No, because we have to follow whatever the raw

15:28:37   5   pricing is at that time and we have a formula that we have

15:28:42   6   to use, plus our margin which we do have a range of a top

15:28:46   7   and a bottom and we will not go below that bottom and any

15:28:49   8   other differential cost to make the specific product, so we

15:28:51   9   have to follow our pricing model.

15:29:0110     Q.       What is a BYA?

15:29:0311     A.       It's a buying agreement.

15:29:0712     Q.       Do BYA spreadsheets contain a cell in them labeled

15:29:1213     competition?

15:29:1314     A.       There is one there, yes.

15:29:1515     Q.       And who at Imperial ever fills in that cell?

15:29:1816     A.       None of the salespeople fill it in other than Beth

15:29:2317     Smith.   And when I have asked her about it in the past she's

15:29:2618     not even sure if she updates it for each different

15:29:3019     spreadsheets she uses.

15:29:3220     Q.       Do you use the information in that cell labeled

15:29:3521     competition for any purpose in the ordinary course of

15:29:3822     business?

15:29:3823     A.       No.

15:29:3924     Q.       Does the information contained in that cell identify

15:29:4325     all of the competitive options that a customer might have
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15:29:47   1   who is the focus of the BYA document?

15:29:49   2   A.     No.

15:29:56   3                 MR. ZACH:    I have no more questions.

15:29:58   4                 THE COURT:   Thank you.

15:29:59   5                 Redirect, Mr. Hanna

15:30:03   6                      REDIRECT EXAMINATION

15:30:05   7   BY MR. HANNA:

15:30:12   8   Q.     Counsel asked you some questions and you rattled off

15:30:16   9   some competitors, do you recall that?

15:30:1810     A.     Yes.

15:30:1811     Q.     Do you recall, I walked you through some of your

15:30:2012     e-mails, right?

15:30:2113     A.     Yes.

15:30:2114     Q.     One of those e-mails was about a Wytheville, Virginia

15:30:2515     facility for Pepsi.

15:30:2616     A.     Yes.

15:30:2617     Q.     And the only two competitors you mentioned in this

15:30:2818     e-mail was Domino and United Sugar?

15:30:3319     A.     That was at that time, yes.

15:30:3420     Q.     You mentioned about a range of margin that Imperial

15:30:3821     had, right?

15:30:3822     A.     Yes, we do.

15:30:3923     Q.     That means you negotiate with customers within that

15:30:4224     range, right?

15:30:4225     A.     If we're given approval to do so, yes.
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15:30:46   1   Q.     What does margin mean?

15:30:48   2   A.     It's the profit you're making on the item.

15:30:51   3   Q.     Okay.   Now, earlier you talk about Costco's business,

15:30:58   4   do you remember that?

15:30:58   5   A.     Yes.

15:30:59   6   Q.     Imperial supplies Costco's northeast division, right?

15:31:03   7   A.     Yes, we supplied their 10 pound for years.

15:31:05   8   Q.     And you said that the northeast division covers

15:31:09   9   Delaware, right?

15:31:1010     A.     Yes.

15:31:1011     Q.     So if I went to Costco in Christiana, Delaware which

15:31:1412     is outside of Wilmington, I would find Imperial sugar there?

15:31:1813     A.     I would think you would find Imperial 10 pound, I

15:31:2114     don't know right off the bat.

15:31:2315     Q.     You would find it in a Costco in Delaware, right?

15:31:2616     A.     If it's in that group, yes.

15:31:2817     Q.     All right.   Your counsel showed you DTX 516, a

15:31:3418     summary of Imperial's sales, do you recall that?

15:31:3619     A.     Yes.

15:31:3620     Q.     And if we could pull it up.      I don't know counsel if

15:31:4221     you have it, DTX 516.    Do you have it available.      Ms. Hines,

15:31:5322     DTX 516, do you see it?

15:31:5523     A.     Yes.

15:31:5524     Q.     Do you see Delaware?

15:31:5825     A.     Yes, I do.
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15:31:59   1   Q.       There is one customer listed there, right?

15:32:01   2   A.       Yes.

15:32:02   3   Q.       And you have more than one customer in Delaware,

15:32:05   4   right?

15:32:05   5   A.       It depends, I would have to go back and look at on

15:32:09   6   the Dover, Delaware could actually be in that store but the

15:32:12   7   warehouse could actually be -- there is one in Monroe

15:32:16   8   Township and one other so it wouldn't show up in the

15:32:19   9   Delaware numbers as ordered in.

15:32:2110     Q.       Let me ask you a question.       You have Imperial does

15:32:2411     sell sugar also to Kraft in Dover, Delaware, right?

15:32:2812     A.       Yes.

15:32:2813     Q.       And that's one customer, right?

15:32:2914     A.       Yes.

15:32:3015     Q.       And you also sell to Costco's northeast division that

15:32:3416     also delivers into Delaware, right?

15:32:3617     A.       But the warehouse is not in Delaware for Costco.

15:32:4018     It's in Maryland, and New Jersey, so we don't deliver to

15:32:4619     Delaware.

15:32:4620     Q.       So that sale would be Maryland or New Jersey, but

15:32:5021     those sales would go to Costco Delaware, right?

15:32:5322     A.       Yes.

15:32:5323                     MR. HANNA:   No further questions.

15:32:5524                     THE COURT:   Thank you.    Okay.

15:32:5825                     THE WITNESS:   Am I done?
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15:32:58   1                THE COURT:   Thank you.    You are excused.

15:33:01   2                What's next?

15:33:08   3                MR. HANNA:   Your Honor, apologize, I was

15:33:11   4   informed, I think I did not move to admit PTX 164.        I ask

15:33:17   5   that it be admitted at this time.

15:33:21   6                THE COURT:   Any objection to PTX 164?

15:33:25   7                MR. ZACH:    Thank you.   No objection.

15:33:27   8                THE COURT:   Thank you.

15:33:27   9                (PTX Exhibit No. 164 was admitted into

15:33:2810     evidence.)

15:33:2811                  MS. GARRETT:   Good afternoon, Your Honor.

15:33:3412     Jenigh Garrett for the United States.      Your Honor, may we

15:33:3713     proceed with the next witness?     Your Honor, the United

15:33:4014     States calls Patrick Henneberry as an adverse witness.

15:33:4515     Mr. Henneberry is Senior Vice President for Refined Sugar

15:33:4616     Marketing and Business Development for Imperial Sugar

15:33:5017     Company.

15:34:1618                  COURT CLERK:   Please raise your right hand.

15:34:1919     Please state and spell your name for the record.

15:34:2120                  THE WITNESS:   Patrick Henneberry, P-A-T-R-I-C-K,

15:34:2621     H-E-N-N-E-B-E-R-R-Y.

15:34:4022                       DIRECT EXAMINATION

15:34:4023     BY MS. GARRETT:

15:34:4624     Q.     Good afternoon, Mr. Henneberry.

15:34:4825     A.     Good afternoon.
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15:34:51   1                 MS. GARRETT:   Permission to proceed?

15:34:52   2                 THE COURT:    Yes, please.

15:34:52   3   BY MS. GARRETT:

15:34:54   4   Q.       Mr. Henneberry, you have worked in the sugar industry

15:34:56   5   for about thirty years or more, right?

15:34:58   6   A.       Yes, since 1979.

15:35:01   7   Q.       And currently you are the senior vice-president for

15:35:04   8   refined sugar marketing and business development for

15:35:09   9   Imperial Sugar Company; correct?

15:35:1110     A.       That's correct.

15:35:1111     Q.       You worked for Imperial before LDC acquired the

15:35:1712     company, right?

15:35:1713     A.       Yes, I did.

15:35:1914     Q.       And you first came to Imperial in 2002; is that

15:35:2215     right?

15:35:2216     A.       That's correct.

15:35:2317     Q.       As senior vice-president, you supervise the sales

15:35:2718     team, correct?

15:35:2819     A.       I oversee the sales team, and Jeana Hines directly

15:35:3320     supervises.

15:35:3421     Q.       And you supervise Jeana Hines?

15:35:3722     A.       Yes, I do.

15:35:3723     Q.       Now, you also manage Imperial's day to day pricing?

15:35:4224     A.       Yes I do.

15:35:4325     Q.       And one of your responsibilities is to give the sales
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15:35:46   1   team the price they can offer to a potential customer,

15:35:49   2   right?

15:35:50   3   A.       That's correct.

15:35:51   4   Q.       The sales team asks for prices by submitting a quote

15:35:57   5   request, right?

15:35:58   6   A.       Yes, that's the process.

15:36:01   7   Q.       You also try to make sure Imperial's pricing is

15:36:05   8   consistent with what you believe is going on in the market

15:36:09   9   competitively, correct?

15:36:1010     A.       I do.

15:36:1211     Q.       I would like to discuss the process that a buyer

15:36:1612     would have when purchasing sugar from Imperial for a second.

15:36:2013     Now, Imperial competes to supply customers of refined sugar;

15:36:2514     right?

15:36:2515     A.       Yes, we do.

15:36:2616     Q.       And some of Imperial's customers may stay with

15:36:3117     Imperial because Imperial has the better price; right?

15:36:3418     A.       Among other factors, yes.

15:36:3719     Q.       Well, some of the other reasons, other than price,

15:36:3920     that a customer may choose Imperial is the quality of

15:36:4521     Imperial sugar, right?

15:36:4622     A.       That's one of the factors.

15:36:4823     Q.       The granulation Imperial offers is a reason, other

15:36:5324     than price, that Imperial wins business, correct?

15:36:5625     A.       From time to time, yes.
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15:36:57   1   Q.       Granulation means the size of the sugar, right?

15:37:01   2   A.       That's correct.

15:37:02   3   Q.       Timely delivery is another reason besides price that

15:37:07   4   Imperial wins business, right?

15:37:09   5   A.       That's correct.

15:37:10   6   Q.       Timely delivery is part of reliable customer service,

15:37:16   7   correct?

15:37:16   8   A.       Yes, among other factors, yes.

15:37:18   9   Q.       Well, it's true that reliable customer service is

15:37:2110     another way Imperial competes with other refined sugar

15:37:2511     suppliers; is that right?

15:37:2612     A.       That's correct.

15:37:2713     Q.       I would like to discuss how customers receive the

15:37:3114     sugar they buy.   When a customer wants their sugar

15:37:3615     delivered, Imperial provides a delivered price; right?

15:37:3916     A.       Yes, generally.

15:37:4117     Q.       And the delivered price includes freight charges,

15:37:4518     right?

15:37:4519     A.       Yes, it does.

15:37:4620     Q.       The freight charge can vary based on where the

15:37:5021     customer wants the sugar delivered right?

15:37:5222     A.       By where the customer wants it delivered, and the

15:37:5523     form of the sugar and other factors, yes.

15:37:5924     Q.       Could you please turn to PTX 163 in your binder.

15:38:0625                   MS. GARRETT:   Your Honor, PTX 163 has already
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15:38:08   1   been admitted.

15:38:11   2                  THE COURT:   Great.   Thank you.

15:38:12   3   BY MS. GARRETT:

15:38:13   4   Q.     PTX 163 is a jabber chat between you and Jeana Hines,

15:38:18   5   correct?

15:38:18   6   A.     That's correct.

15:38:18   7   Q.     And jabber is a type of instant messaging or chat

15:38:24   8   program that you have used, right?

15:38:25   9   A.     Yes, it is.

15:38:2610     Q.     And instant messaging is one way that you communicate

15:38:3111     with the sales team in your day-to-day business, right?

15:38:3312     A.     Yes, that's correct.

15:38:3413     Q.     Now, I would just like to look at the second page of

15:38:4114     PTX 163 if we could put that up.      Now, I would like to draw

15:38:5015     your attention to -- I would like to draw your attention to

15:38:5716     the language right under your name there, you should be able

15:39:0117     to see that.    Imperial has a locational advantage in

15:39:0618     Georgia, right?

15:39:1019     A.     We have a locational advantage in some cases as to

15:39:1420     the distance to the customer, but it's not often decisive.

15:39:2121     Q.     So Imperial has a locational advantage with its

15:39:2522     location in Georgia, right?

15:39:2623     A.     Yes, we have a distance advantage which is often

15:39:3124     overridden by other factors.

15:39:3225     Q.     Thank you.    We can put that exhibit away.
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15:39:36   1               Now, in the past, Imperial has undercut its

15:39:41   2   competitor's price; correct?

15:39:43   3   A.     From time to time, we sell cheaper than others and

15:39:48   4   win business that way, yes.

15:39:50   5   Q.     When Imperial has undercut its competitors on price

15:39:53   6   in the past, it has brought down the market price of sugar,

15:39:57   7   correct?

15:39:58   8   A.     We have -- sometimes we are selling into a downward

15:40:02   9   moving market, but just because you're selling at a cheaper

15:40:1310     price doesn't mean you're moving the market down.

15:40:1611     Q.     And, but sometimes Imperial has brought down the

15:40:2012     market price of sugar with its lower price, right?

15:40:2313     A.     Sometimes, that prices declining are one of the main

15:40:2914     ways we are able to bring down prices.

15:40:3115     Q.     When a customer awards its business to Imperial, the

15:40:3416     salesperson records the details of the sale on a

15:40:3717     spreadsheet, right?

15:40:3818     A.     Yes, that's correct.

15:40:3919     Q.     And the spreadsheet the salesperson completes is

15:40:4420     called a buying agreement request?

15:40:4721     A.     The buying agreement basically means the contract and

15:40:4922     the spreadsheet is the form that's filled out to get that

15:40:5323     contract into the system.

15:40:5424     Q.     And sometimes a buying agreement request is referred

15:40:5925     to as a BYA, right?
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15:41:01   1   A.       That's correct.

15:41:02   2   Q.       The salesperson submits the BYA to the pricing group,

15:41:06   3   right?

15:41:06   4   A.       Yes.

15:41:08   5   Q.       And Imperial's pricing group receives the e-mail sent

15:41:13   6   to SGL-PricingAdmin@LDC.com, right?

15:41:19   7   A.       That's right.

15:41:20   8   Q.       You also receive e-mails sent to

15:41:27   9   SGL-PricingAdmin@ldc.com?

15:41:2710     A.       Yes, I do.

15:41:2811     Q.       After the BYA request goes to pricing it's entered

15:41:3212     into Imperial's internal system, right?

15:41:3413     A.       That's right.

15:41:3514     Q.       Imperial then again creates the contract you

15:41:3815     mentioned for the customer identified in the BYA, right?

15:41:4216     A.       Right.

15:41:4317     Q.       Could you please turn to PTX 150 in your binder.

15:41:4918     A.       Okay.

15:41:5019     Q.       PTX 150 is an e-mail attaching a buying agreement

15:41:5820     request, right?

15:41:5821     A.       That's correct.

15:41:5922     Q.       And the e-mail dated here is August 28th -- is

15:42:1023     September 10th, 2019, correct?

15:42:1224     A.       That's right.

15:42:1225     Q.       And you're copied on this e-mail as well, right?
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15:42:15   1   A.       Yes.

15:42:16   2                   MS. GARRETT:    Your Honor, plaintiffs move to

15:42:18   3   admit PTX 150.

15:42:20   4                   MR. ZACH:    No objection, Your Honor.

15:42:21   5                   THE COURT:   Thank you.   It's admitted.

15:42:24   6                   (PTX Exhibit No. 150 was admitted into

15:42:24   7   evidence.)

15:42:24   8                   The Court:   Any we publish, any time it's

15:42:27   9   admitted, you don't have to ask.       It's better to ask.

15:42:3410     BY MS. GARRETT:

15:42:3411     Q.       Now, this e-mail is to that SGL pricing admin e-mail

15:42:4112     address we just discussed, right?

15:42:4213     A.       Yes.

15:42:4314     Q.       This sender is Beth Smith, she's a sales associate at

15:42:4815     Imperial?

15:42:4916     A.       That's right.

15:42:5017     Q.       Attached to the e-mail, this is the third page in PTX

15:42:5418     150, is a PDF of a completed buying agreement request for

15:42:5919     Bud's Best Cookies.

15:43:0420     A.       That's right.

15:43:0521     Q.       Let's turn to the fourth page of PTX 150, it's the

15:43:0922     second page of the BYA.        The buying agreement request

15:43:1323     records the type of product that the customer purchases,

15:43:1724     right?

15:43:1725     A.       Yes, it does.
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15:43:18   1   Q.       And the product in this buying agreement request is

15:43:23   2   bulk sugar, right?

15:43:24   3   A.       That's right.

15:43:24   4   Q.       And the buying agreement request includes a field to

15:43:29   5   record how the sugar is delivered to the customer; right?

15:43:34   6   A.       In this case it says bulk truck.

15:43:37   7   Q.       And there is also the field right there the ship, via

15:43:42   8   freight term field, do you see that to the left of the

15:43:46   9   product field?

15:43:4610     A.       Yes, I do.

15:43:4711     Q.       And there its also recorded that it's by truck,

15:43:5012     correct?

15:43:5013     A.       Yes.

15:43:5114     Q.       Now, you rely on your salespeople to provide accurate

15:43:5615     information when they complete the buying agreement request,

15:44:0016     right?

15:44:0017     A.       That's correct.

15:44:0018     Q.       Could we move to the first page.     I would like to

15:44:0419     draw your attention to the right side of the page.        Now the

15:44:0920     BYA has a field to record whether the customer accepts beet

15:44:1621     sugar; correct?

15:44:1722     A.       That's correct.

15:44:1723     Q.       And some customers do not accept beet sugar, right?

15:44:2224     A.       That's correct.

15:44:2325     Q.       Beet sugar is genetically modified, right?
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15:44:27   1   A.       Yes, it is in the U.S.

15:44:28   2   Q.       The buying agreement request also includes a field to

15:44:33   3   record whether sugar from Mexico is allowed, for that

15:44:38   4   particular customer; right?

15:44:40   5   A.       Yes.

15:44:42   6   Q.       And it's true, that customers with very specific

15:44:46   7   quality control requirements, need to know where their sugar

15:44:49   8   is manufactured, right?

15:44:51   9   A.       Most customers want to pass off on the plants and

15:44:5510     inspect the plants for the sugar they're using just to make

15:45:0111     sure they're happy with our processes and confident selling

15:45:0412     their own product, yes.

15:45:0613     Q.       So for those customers that have those quality

15:45:0914     controls, they want to see where their sugar is refined,

15:45:1215     right?

15:45:1216     A.       That's right.

15:45:1317     Q.       I would like to draw your attention to the left side

15:45:1518     of the page.    Now, PTX 150 records a 2019 date for the Bud's

15:45:2519     Best Cookies contract, right?

15:45:2620     A.       That is right.

15:45:2621     Q.       And PTX 150 also records United as the competition

15:45:3122     for Bud's Best Cookies, right?

15:45:3323     A.       It does.

15:45:3424     Q.       We're going to be finished with PTX 150 for now and I

15:45:3825     would like to move to PTX 192.     Let me know when you're
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15:45:49   1   there.

15:45:51   2   A.       Okay.

15:45:52   3   Q.       PTX 192 is an April 22nd, 2021, e-mail to that same

15:46:01   4   SGL Pricing e-mail address, correct?

15:46:04   5   A.       That's right.

15:46:05   6                    MS. GARRETT:   Your Honor, plaintiffs would like

15:46:07   7   to move to admit PTX 192 into evidence.

15:46:11   8                    THE COURT:   Might be objection?

15:46:12   9                    MR. ZACH:    No objection.

15:46:1210                      THE COURT:   All right.   Thank you.   It's

15:46:1411     admitted.

15:46:1512                      (PTX Exhibit No. 192 was admitted into

15:46:1513     evidence.)

15:46:1514     BY MS. GARRETT:

15:46:1615     Q.       Can you please turn to the fourth page of PTX 192, it

15:46:2016     is the second page of the buying agreement request.            And

15:46:2317     just let me know when you're there?

15:46:2518     A.       I'm there.

15:46:2619     Q.       Now this product delivered in PTX 192 was liquid

15:46:3120     sucrose, right?

15:46:3221     A.       That's correct.

15:46:3322     Q.       Can we go back to the first page of the buying

15:46:3723     agreement request.      The contract, now the contract in PTX

15:46:4624     192 is a spot contract; right?        If you look over on the left

15:46:5425     side of the page right there.
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15:46:55   1   A.     Yes.     It is, yes.

15:46:58   2   Q.     Okay.    And the contract period, if I take your

15:47:01   3   attention to the right side of the page there, is from

15:47:05   4   April 22nd through April 30th, 2021; correct?

15:47:10   5   A.     That's right.

15:47:11   6   Q.     So back to the left side of the page, PTX 192 records

15:47:17   7   a 2021 date for the Helm's Candy contract right?

15:47:24   8   A.     That's right.

15:47:24   9   Q.     And PTX 192 also records Domino and United as the

15:47:2910     competition for the Helm's Candy spot contract, right?

15:47:3411     A.     It does.

15:47:3412     Q.     And we're finished with PTX 192.

15:47:3813                    I would like to ask you to turn to PTX 94.      And

15:47:4514     if you could let me know when you're there.

15:47:4815     A.     Okay.

15:47:4816     Q.     And PTX 94 is a July 27th, 2018, e-mail sent to that

15:47:5517     same SGL Pricing e-mail address right?

15:47:5918     A.     That's right.

15:48:0119                    MS. GARRETT:    Your Honor, plaintiffs move to

15:48:0220     admit PTX 94.

15:48:0421                    MR. ZACH:    No objection, Your Honor.

15:48:0522                    THE COURT:     All right.   It's admitted.

15:48:0523                    (PTX Exhibit No. 94 was admitted into evidence.)

15:48:0524     BY MS. GARRETT:

15:48:0725     Q.     And PTX 94 attaches a buying agreement request,
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15:48:12   1   correct, for Hospitality Mints, that should be the third

15:48:18   2   page of PTX 94?

15:48:20   3   A.        Yes, it does.

15:48:21   4   Q.        And I would just like to keep our attention on first

15:48:24   5   page there.      This is a 2018 contract for Hospitality Mints;

15:48:29   6   is that right?

15:48:30   7   A.        Yes, it is.

15:48:30   8   Q.        And the competition recorded on the buying agreement

15:48:34   9   request is United, correct?

15:48:3610     A.        That's correct.

15:48:3711     Q.        I need to also look at the contract period, PTX 94 on

15:48:4212     the right side, it records both volume and the time for

15:48:5013     which the customer is going to receive the sugar.        Is that

15:48:5414     right?

15:48:5415     A.        That's correct.

15:49:0016     Q.        Thank you.    We can put PTX 94 to the side now.

15:49:0417                      Mr. Henneberry, I'm going to switch gears for a

15:49:0918     second.    I would like to briefly discuss pricing decisions.

15:49:1519     There are some pricing decisions you discuss with Imperial's

15:49:1820     CEO Mike Gorrell?

15:49:2121     A.        Yes.

15:49:2222     Q.        One of the ways you communicate with Mr. Gorrell is

15:49:2523     by e-mail, correct?

15:49:2624     A.        That's correct.

15:49:2725     Q.        Mr. Henneberry, could you please turn to PTX 250 of
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15:49:32   1   your binder.    And let me know when you're there.

15:49:35   2   A.     I'm there.

15:49:36   3   Q.     PTX 250 is a series of e-mails between you and

15:49:41   4   Mr. Gorrell in June 2018, right?

15:49:44   5   A.     Yes, that's correct.

15:49:45   6   Q.     And you are discussing a potential pricing decision

15:49:49   7   with Mr. Gorrell, is that right?

15:49:52   8   A.     That's right.       We were discussing whether or not to

15:49:55   9   sell to DCB.

15:49:5910                    MS. GARRETT:    Plaintiffs would like to move PTX

15:50:0111     250 into evidence.

15:50:0212                    MR. ZACH:    No objection, Your Honor.

15:50:0313                    THE COURT:    Thank you.   It's admitted.

15:50:0314                    (PTX Exhibit No. 250 was admitted into

15:50:0515     evidence.)

15:50:0516     BY MS. GARRETT:

15:50:0517     Q.     Now the subject be line of the e-mail has the name of

15:50:0818     the company, correct?

15:50:0919     A.     That's right.

15:50:1020     Q.     And the company listed as DCB, right?

15:50:1521     A.     Yes, it is.

15:50:1522     Q.     And DCB refers to Diamond Crystal Brands, right?

15:50:2023     A.     That's correct.

15:50:2124     Q.     Diamond Crystal Brand is located in Savannah,

15:50:2525     Georgia, correct?
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15:50:26   1   A.     That's right.

15:50:26   2   Q.     And it's true that Diamond Crystal Brands takes in

15:50:32   3   bulk sugar to produce sugar packets?

15:50:35   4   A.     That's right.

15:50:35   5   Q.     In 2018, you were competing with United for DCB's

15:50:40   6   bulk business in Savannah, correct?

15:50:42   7   A.     That's correct.

15:50:42   8   Q.     While competing for the DCB bulk business you tried

15:50:46   9   to estimate United's price right?

15:50:5010     A.     We tried to estimate United's price and no doubt

15:50:5411     others as well.

15:50:5412     Q.     Well, in this e-mail here, you were discussing

15:50:5713     estimating United's price, right?

15:51:0014     A.     That's correct.

15:51:0015     Q.     And you contemplated lowering Imperial's price

15:51:0516     40 points to get the DCB business for Imperial, right?

15:51:0917     A.     No, it's a contemplation, we don't know for sure what

15:51:1518     the price, we get some guidance, sometimes from buyers, we

15:51:1919     read the tea leaves, but that's what we're talking about

15:51:2220     here, what level should we be at.

15:51:2621     Q.     You're trying to make your best decision based on

15:51:2922     what you think might be happening in the market, right?

15:51:3123     A.     What's happening in the market and what we need to

15:51:3524     have for pricing to make our economics work for Imperial.

15:51:3925     Q.     But there were downsides to lowering Imperial's price
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15:51:42   1   to get the DCB business from United, right?

15:51:47   2   A.     Yes, we were discussing that, we were seeing United's

15:51:54   3   price starting to rise and that's a symptom of the market

15:51:59   4   beginning to tighten.    At the beginning of the year, USDA

15:52:04   5   allocates sugar to the domestic grower/processors, unless

15:52:09   6   they use up their allocation and they need to keep their

15:52:12   7   sugar going out of the refinery.

15:52:15   8   Q.     I'm sorry, Mr. Henneberry, I'm going to ask you to

15:52:19   9   answer the question I ask.    You'll have a chance when you

15:52:2210     talk to Mr. Zach to provide more context.       There were

15:52:2611     downsides to lowering Imperial's price to get the DCB

15:52:2912     business from United, right?

15:52:3013     A.     There were a couple of potential downsides.

15:52:3414     Q.     But the main downside was snatching the DCB business

15:52:3715     from United, just as they we're raising their prices, right?

15:52:4416     A.     That's the way I phrase it is that basically, these

15:52:4817     kinds of businesses just tend to be important, because they

15:52:5218     process, because they're large volume bulk movements and if

15:52:5619     you take them, they can disrupt their marketing and further

15:53:0320     repercussions on ours.

15:53:0621     Q.     Well, we actually discussed this during your

15:53:0922     deposition.   You feared that United might react to Imperial

15:53:1323     lowering its price by cutting the United prices to other

15:53:1624     customers going forward, right?

15:53:1825     A.     Right.   The domestic processors need to sell their
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15:53:22   1   allocation so --

15:53:24   2                  THE COURT:   You can answer yes or no and then

15:53:26   3   give a brief explanation, but you need to get nearer to a

15:53:29   4   microphone because you're soft sounding and making it hard

15:53:37   5   for my court reporter.

15:53:38   6                  THE WITNESS:   Sorry.

15:53:39   7   Q.     And you also felt that Imperial lowering its price to

15:53:44   8   obtain the DCB business from United could awaken a sleeping

15:53:48   9   giant, right?

15:53:4810     A.     I think I said that in my deposition, yes.

15:53:5211                    MS. GARRETT:   Thank you.   The United States

15:53:5312     passes the witness, Your Honor.

15:53:5513                    THE COURT:   Thank you.

15:54:1114                    MR. ZACH:    Thank you.   May I proceed?

15:54:1415                    THE COURT:   Please.

15:54:1516                     CROSS-EXAMINATION

15:54:1517     BY MR. ZACH:

15:54:1518     Q.     Good afternoon, Mr. Henneberry.

15:54:1719     A.     Good afternoon.

15:54:1820     Q.     What are the components that go into the delivered

15:54:2521     price for refined sugar that Imperial sets for customers?

15:54:3022     A.     The biggest component is raw sugar, about 80 percent

15:54:3323     of the price at the moment is raw sugar costs.        We also then

15:54:3724     have a charge for refining the sugar, we have packaging

15:54:4125     expenses, the labor and energy that goes into the refining
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15:54:46   1   process, we may convert the sugar to granulated white sugar

15:54:50   2   into brown sugar or powdered sugar.      There is a charge for

15:54:55   3   that.   We may finance the purchase of the sugar with the

15:54:58   4   final customer and also there is the transportation to

15:55:00   5   deliver it to the end user's facility.

15:55:04   6   Q.      And does Imperial buy imported raw sugar or is it

15:55:09   7   domestically sourced raw sugar?

15:55:11   8   A.      Predominantly we import raw sugar, probably over

15:55:17   9   90 percent, over the years there is a little bit of domestic

15:55:2110     sugar that spills over to us, but it's not common.

15:55:2311     Q.      How do other sellers of refined sugar retain --

15:55:2812     strike that.

15:55:2913                    How do other sellers of refined sugar get access

15:55:3214     to their raw sugar?

15:55:3415     A.      Well, beets and cane are many of them, are

15:55:3916     cooperatives that are owned by the growers and they process

15:55:4217     all the sugar that the growers provide them most years.         And

15:55:4618     others have contractual relationship with the plants that

15:55:5119     are very near to the refineries in Louisiana and Florida.

15:55:5620     Q.      Now, talking about the imports that Imperial buys,

15:56:0021     how are prices for imported raw sugar set?

15:56:0422     A.      It's a regulated market by the USDA, but within those

15:56:0823     regulations is a set forward market of physical sugar

15:56:1424     amongst traders to us directly and by the intercontinental

15:56:1825     exchanges, number 16 future contract which is for domestic
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15:56:23   1   raw sugar.

15:56:24   2   Q.     What's the range of raw sugar costs that you have

15:56:28   3   seen over say, the last five years?

15:56:30   4   A.     Over the last five years we have probably seen prices

15:56:33   5   from, on the low side, $0.25 1/2 to say $0.28 a pound that

15:56:39   6   are more or less in line with the Mexican suspension

15:56:43   7   agreements to support the market, and recently we have seen

15:56:47   8   prices as high as $0.39 a pound last fall and we're

15:56:51   9   currently right around $0.37 a pound.      $0.36, $0.37 a pound.

15:56:5810     Q.     How do Imperial's raw sugar costs compare to the

15:57:0211     costs incurred by suppliers of domestic raw sugar?

15:57:0612     A.     It's difficult to know exactly, but over the last six

15:57:0913     to eight months, we have seen instances where the refined

15:57:1214     sugar price offered by our grower competitors is lower than

15:57:1515     our raw sugar costs.

15:57:1916     Q.     Have you heard of the term residual supplier?

15:57:2317     A.     Yes, I have.

15:57:2418     Q.     What does that term mean?

15:57:2519     A.     Residual supplier refers to imported raw sugar being

15:57:3020     a residual in the market.    Each year the USDA sets

15:57:3421     85 percent of the market for the domestic processors and

15:57:3822     allocates sugar to each one of them to sell and the balance

15:57:4223     of 15% is for imported raw sugar.

15:57:4424     Q.     Is Imperial a residual supplier?

15:57:4825     A.     Yes.
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15:57:49   1   Q.     How does being a residual supplier affect the type of

15:57:52   2   business that Imperial gets relative to suppliers with

15:57:54   3   domestic sources?

15:57:55   4   A.     It affects the overall quantity because in a year

15:57:59   5   with a big domestic crop the amount of imported sugar is

15:58:04   6   small, and vice versa.    Its sets our volumes to start with

15:58:08   7   but also we tend to be relegated to a period of time they

15:58:12   8   sell the sugar quickly at the beginning of the year so that

15:58:15   9   they can both fulfill their marketing allocation and keep

15:58:1810     the sugar moving so it's out of the way of the refinery.

15:58:2111     And then we're relegated to waiting until the market prices

15:58:2712     in the imported raw sugar prices, and whatever is left to

15:58:3013     sell at that point.

15:58:3114     Q.     Just so the record is clear, when you say they sell

15:58:3415     at the beginning of the year, you're referring to suppliers

15:58:3616     who have access to domestic sources of raw sugar?

15:58:4017     A.     Yes, that's correct.

15:58:4118     Q.     Is there a particular window of time when Imperial

15:58:4419     makes most of its refined sugar sales?

15:58:4620     A.     We typically sell our sugar from the late summer to

15:58:5021     early fall.

15:58:5122     Q.     Have you heard of the term backup supplier?

15:58:5323     A.     Yes, I have.

15:58:5424     Q.     What is that?

15:58:5425     A.     The backup supplier refers to the desire of a
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15:58:57   1   customer to ensure continuity of supply.       So hurricanes come

15:59:02   2   through and some refiners may be put out for a period of

15:59:05   3   time for that, or you can't find trucks for a certain period

15:59:09   4   of time, so it's always good to have another supplier who

15:59:12   5   may be able to stand in from a slightly different area to

15:59:16   6   make sure you have the continuity of supply.

15:59:19   7   Q.     Does Imperial serve as a backup supply for any

15:59:23   8   customers?

15:59:23   9   A.     Yes, we do.

15:59:2410     Q.     Can you give me some examples?

15:59:2511     A.     There are many of them, General Mills and ConAgra we

15:59:2912     tend to be back up suppliers there, Mars and Hershey from

15:59:3313     time to time, necessarily and perhaps many others.

15:59:3514     Q.     I would like to talk for a moment about the other

15:59:3815     components that make up Imperial's prices.       What is the

15:59:4116     relative importance of freight costs in comprising the

15:59:4617     overall price that you set for a customer?

15:59:4818     A.     Compared to raw sugar, it's relatively small.

15:59:5219     Freight costs are probably around five percent of your

15:59:5620     common deliveries and maybe up to ten percent for extending

16:00:0021     pushing sugar through a station.

16:00:0122     Q.     Where does Imperial sell refined sugar?

16:00:0523     A.     We sell pretty much all over the country from Maine

16:00:0724     to Texas and Chicago to Florida, we occasionally sell

16:00:1325     outside of that range and I think we sell in over 40
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16:00:17   1   different states.

16:00:17   2   Q.     Does Imperial use transfer stations?

16:00:21   3   A.     Yes, we do.

16:00:22   4   Q.     What is a transfer station?

16:00:23   5   A.     A transfer station is a facility generally on a rail

16:00:27   6   line where you take in bulk railcars of refined sugar and

16:00:31   7   they're able to break it down to make liquid sugar out of it

16:00:34   8   and put it in liquid truck for local delivery, or into a

16:00:38   9   bulk truck.   Some of them may do packaged goods or powdered

16:00:4310     sugar, breaking down bulk shipment to move cheaply into more

16:00:4811     difficult freight.

16:00:4812     Q.     How does using a transfer station impact

16:00:5213     transportation costs?

16:00:5314     A.     It generally keeps it lower for, because you can move

16:00:5715     long distance for bulk.

16:01:0016     Q.     Does Imperial always win customer business when it's

16:01:0317     the closest supplier?

16:01:0518     A.     No, we do not, DCB is eight miles from us and we

16:01:1419     compete with both beet and cane, we have seen beet sugar

16:01:1720     there from Idaho and Red River Valley and cane sugar there

16:01:2121     out of Floida today as well.

16:01:2322     Q.     Where is DCB located?

16:01:2623     A.     Eight miles away in Savannah, Georgia.

16:01:2924     Q.     And DCB came up in one of the e-mails that you talked

16:01:3225     about with plaintiffs's counsel?
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16:01:34   1   A.     That's correct.

16:01:34   2   Q.     That was referring to a customer that was located in

16:01:37   3   the Savannah area?

16:01:39   4   A.     Yes.

16:01:40   5   Q.     And just to make sure the record is clear, does

16:01:42   6   Imperial always win DCB business, despite it being right in

16:01:49   7   the same town?

16:01:50   8   A.     No, we have not had it far less than we have had it.

16:01:54   9   Q.     Who are Imperial's competitors in your view?

16:01:5710     A.     Pretty much everyone who sells raw sugar in the

16:02:0011     country can be our competitor, we have seen beet sugar come

16:02:0412     into our backyard as I said from Idaho and Minnesota, we see

16:02:0813     beets coming into the stations in Chattanooga fairly often,

16:02:1314     Memphis competing with us over there, we see cane sugar as

16:02:1715     well from both Domino and LSR through the station in

16:02:2716     Chattanooga and directly into the southeast.       There are

16:02:3117     customers in that area where sugars coming out of Florida

16:02:3518     and sort of coming out of New Orleans are more or less equal

16:02:3919     distances.

16:02:4020     Q.     Now, how are distributors, in your last answer I

16:02:4821     think you referred to raw sugar, but I think you may have

16:02:5422     meant refined sugar?

16:02:5523     A.     Yes, excuse me, refined sugar.

16:02:5724     Q.     Just so the record is clear, you mentioned that beets

16:02:5925     from Idaho came into Savannah.     Do you know what company was
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 290 of 360 PageID #: 6218
                                                                            290
                                    Henneberry - cross

16:03:03   1   selling to DCB in Savannah?

16:03:06   2   A.     I believe it was NSM.

16:03:09   3   Q.     You mentioned distributors in passing.        How are

16:03:12   4   distributors able to compete with Imperial even if they

16:03:15   5   source their supplies from refiners?

16:03:17   6   A.     Distributors some of them are the traders in the

16:03:22   7   market, they'll buy sugar when prices are cheap in their

16:03:26   8   view and hold them directly in their facility to sell them

16:03:31   9   later in time when they believe prices may go up.        We often

16:03:3510     see different customers competing with us with our own bags

16:03:4011     later in the year, selling them cheaper than we're currently

16:03:4412     selling them.

16:03:4413     Q.     Can you give me ideas of customers where you have

16:03:4714     seen distributors successfully competing to win the business

16:03:5015     against Imperial?

16:03:5116     A.     Yes, we have seen Saint Charles competed with us for

16:03:5717     McCall farms and offered them directly, we seen I C I do

16:04:0118     similar things with Sauer Brands just recently, we have seen

16:04:0719     distributors compete with us for Mars and General Mills out

16:04:1020     of Atlanta, ADM with McKee Foods putting beet sugar through

16:04:1721     their facility in Chattanooga.

16:04:2122     Q.     And plaintiff's counsel asked you about BYA.         Do you

16:04:2523     recall that?

16:04:2524     A.     Yes, I do.

16:04:2525     Q.     What's your understanding of what a BYA is?
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 291 of 360 PageID #: 6219
                                                                            291
                                    Henneberry - cross

16:04:28   1   A.      BYA is a buying agreement, and the forms we were

16:04:32   2   going over are the templates that are filled out by the

16:04:36   3   salesperson to document what was sold, quantities, time

16:04:41   4   period, pricing, for our own personal records, it records

16:04:45   5   the raw sugar price and our refining charge and it has the

16:04:50   6   freight for the final delivery.

16:04:51   7   Q.      One of your responsibilities is setting prices for

16:04:54   8   Imperial, is that right?

16:04:54   9   A.      That's right.

16:04:5510     Q.      Do you ever use the information in the BYA forms as

16:04:5911     part of your responsibilities to set prices?

16:05:0212     A.      They're more of a recording of what we have already

16:05:0513     set.   By the time they get there, the meeting is done, we

16:05:0914     have sold the sugar.

16:05:1115     Q.      Those BYA that you looked at, plaintiff's counsel

16:05:1616     didn't ask you about it, but there was a cell in that

16:05:2017     spreadsheet called competition.     Did you see that when you

16:05:2218     were looking at the spreadsheet?

16:05:2319     A.      I did.

16:05:2420     Q.      Do you ever use the information in that competition

16:05:2721     field in the BYA for any business purpose?

16:05:2922     A.      I don't.   In my deposition I was sort of surprised

16:05:3223     that we had it there.    I didn't realize that we were

16:05:3524     recording that, but it's not really used there.        We have

16:05:3925     other ways of tracking.
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                                                                            292
                                    Henneberry - cross

16:05:45   1   Q.     Plaintiff's counsel asked you briefly about a

16:05:49   2   document, PTX 163 and a reference that you made to a

16:05:55   3   locational advantage.    Do you recall that?

16:05:59   4   A.     Yes.

16:06:00   5   Q.     What did you mean when you used the term locational

16:06:03   6   advantage in that setting?

16:06:05   7   A.     Well, relative to what we're trying to move where we

16:06:11   8   are, the closer distance can be a locational advantage.         As

16:06:15   9   I said, there were many other factors that enter into it.

16:06:1910     Primary among them is the price at which the competing

16:06:2311     company is often selling their refined sugar on a FOB basis,

16:06:2912     we add the freight on, even when we're close and have a

16:06:3213     lower freight, we will still be unable to compete, DCB for

16:06:3814     example.

16:06:3815     Q.     Is it fair to say that having a locational advantage

16:06:4316     doesn't always put you in a position to win business?

16:06:4617     A.     That's for sure.

16:06:4718     Q.     Now, plaintiff's counsel asked you about a couple of

16:06:5019     specific BYAs that I want to briefly talk to you.        First I

16:06:5520     wanted -- the first I want to address is PTX 145 is the BYA

16:07:0221     for Bud's Best.   Do you recall that?

16:07:0422     A.     Yes, I do.

16:07:0423     Q.     Based on your experience, what --

16:07:0724                   MS. GARRETT:   Objection.   The Bud's Best BYA is

16:07:1025     PTX 150, I want to make sure the record is clear.
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                                                                            293
                                    Henneberry - cross

16:07:14   1                  MR. ZACH:   Thank you.   Appreciate that.    I stand

16:07:17   2   corrected.

16:07:17   3   BY MR. ZACH:

16:07:17   4   Q.     PTX 150 was the BYA related to Bud's Best.        Do you

16:07:22   5   recall that?

16:07:22   6   A.     I do.

16:07:23   7   Q.     And based on your experience, what other suppliers

16:07:27   8   could compete effectively for customers located where Bud's

16:07:33   9   Best is located?

16:07:3410     A.     We have a couple of customers located near there,

16:07:3611     Bud's Best who we have sold once I believe and Milo's Tea

16:07:4012     where we sold once or twice just around the Birmingham area

16:07:4613     in Alabama.    It's very close to the facility that ADM has in

16:07:5214     Chattanooga and that's a rail facility that can break down

16:07:5415     and produce whole trucks and they provided effective

16:07:5816     competition for we don't know. Beets or cane or others can

16:08:0217     go through there from time to time.

16:08:0818     Q.     Counsel also asked you about a BYA for Hospitality?

16:08:1119     A.     Yes, I do.

16:08:1320     Q.     I believe that was PTX 094.

16:08:1721                    Does Imperial still supply sugar to Hospitality?

16:08:1922     A.     I believe we do, yes.

16:08:2123     Q.     I'm sorry.    You said you believe you do?

16:08:2324     A.     I believe we do, yes.

16:08:2925     Q.     During your examination, plaintiff's counsel
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                                                                            294
                                    Henneberry - cross

16:08:32   1   discussed PX 250 which was an e-mail between you and Mike

16:08:38   2   Gorrell in which he discussed possible pricing

16:08:40   3   considerations relating to DCB.     Do you remember that?

16:08:43   4   A.     That's right.

16:08:44   5   Q.     And do you remember what time of year that exchange

16:08:47   6   was taking place?

16:08:48   7   A.     That was taking place in June.

16:08:51   8   Q.     And can you describe as a residual supplier what

16:08:55   9   factors affect Imperial's strategy for a making potential

16:08:5910     sales to a customer like DCB in the early summer?

16:09:0211     A.     We're getting usually by that time of year, the

16:09:0612     domestic processors have had several months of selling and

16:09:0913     they're starting to get their crop well placed, clear

16:09:1314     enough, still not certain what the size of the crop is, so

16:09:1615     they begin to slow down generally knowing that they can

16:09:1816     probably meet their allocations and keep the factories clear

16:09:2217     of the sugar.   So we're always sort of trying to read tea

16:09:2718     leaves and understand when is the market going to move up

16:09:3019     price in the refined, or the raw sugar from imported

16:09:3520     sources.

16:09:3621                 So what we're trying to figure out here in part

16:09:4022     is is this moment coming, is it coming to the moment where

16:09:4523     we can be able to actually begin selling effectively.         And

16:09:4824     that's what we're trying to judge, and we want to price more

16:09:5725     aggressively to get it or will this come to us, we're still
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                                                                            295
                                  Henneberry - redirect

16:10:02   1   trying to understand is the pricing.

16:10:03   2   Q.       What was the ultimate outcome of the discussion

16:10:06   3   between you and Mr. Gorrell as of the --

16:10:08   4   A.       We lowered our prices to try to compete.

16:10:12   5   Q.       I'm sorry.    Can you say it again?

16:10:14   6   A.       We lowered our price to compete.

16:10:16   7                 MR. ZACH:    Thank you, Mr. Henneberry.    I have no

16:10:18   8   more questions at this time.

16:10:21   9                 THE COURT:    Thank you.   Redirect.

16:10:2410                           REDIRECT EXAMINATION

16:10:3311     BY MS. GARRETT:

16:10:3812     Q.       Mr. Henneberry, Imperial competes to win customers,

16:10:4313     right?

16:10:4314     A.       Yes, we have plenty of competition out there.

16:10:4715     Q.       And Imperial wins customers, right?

16:10:5116     A.       We do.

16:10:5117     Q.       I would just like to take a minute to discuss how

16:10:5518     things might change from year to year.        It is true that what

16:11:0019     happens in one year might not happen in the next; right?

16:11:0320     A.       Every year can have a different supply and demand

16:11:0721     situation, that's true.

16:11:1022                   MS. GARRETT:    Thank you.     No further questions.

16:11:1123                   THE COURT:    All right.   Thank you very much,

16:11:1324     sir.   You are excused.

16:11:1525                   Let's take our fifteen-minute afternoon break.
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                                    S. Hines - direct

16:11:17   1                  (A brief recess was taken.)

16:29:32   2                  THE COURT:   All right.    Please be seated.

16:29:34   3                  What's next?

16:29:35   4                  MR. THORNBURGH:   Good afternoon, Your Honor.

16:29:38   5   John Thornburgh from the United States.       May we proceed with

16:29:40   6   the next witness?

16:29:41   7                  THE COURT:   Please.

16:29:42   8                  MR. THORNBURGH:   At this time United States

16:29:44   9   calls Steve Hines as an adverse party witness.        Mr. Hines is

16:29:4810     the Vice President of Strategy at United Sugar and his

16:29:5011     testimony will be to competitive effects and purported

16:29:5712     efficiencies of the proposed transaction.

16:30:1113                    COURT CLERK:   Please raise your right hand.

16:30:1414     Please state and spell your full name for the record.

16:30:1715                    THE WITNESS:   My name is Steven John Hines.

16:30:2216     S-T-E-V-E-N, J-O-H-N, H-I-N-E-S.

16:30:2917                    STEVEN JOHN HINES, having been duly sworn was

16:30:3318     examined and testified as follows:

16:30:3519                         DIRECT EXAMINATION

16:30:3720     BY MR. THORNBURGH:

16:30:4121     Q.       Good afternoon, Mr. Hines.      I handed you a binder or

16:30:4422     my colleague did while you were on your way up to the

16:30:4723     witness box.    We may refer to the binder during our time

16:30:5124     together, I will let you know if and when you need to refer

16:30:5425     to it.
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                                    S. Hines - direct

16:30:55   1                   Mr. Hines, you are currently the vice-president

16:30:57   2   of strategy at United Sugar, correct?

16:30:59   3   A.       That is correct.

16:31:00   4   Q.       And you have worked at United Sugars since 1995,

16:31:03   5   right?

16:31:04   6   A.       Yes, that's correct.

16:31:05   7   Q.       And other than your first year at United, you have

16:31:08   8   spent the rest of your tenure at the company focused on

16:31:11   9   refined sugar, correct?

16:31:1310     A.       Yes.

16:31:1311     Q.       And besides Mr. Swart, it is your understanding that

16:31:1612     you are the longest tenured executive at the company,

16:31:1913     correct?

16:31:1914     A.       Yes.

16:31:2015     Q.       And as vice-president of strategy you report to

16:31:2516     Mr. Wineinger, the president and CEO of United?

16:31:2817     A.       Yes, that's correct.

16:31:2918     Q.       And your job responsibility as vice-president of

16:31:3219     strategy are focused on facilitating the strategic planning

16:31:3620     of the company, correct?

16:31:3721     A.       Yes.

16:31:3722     Q.       And Mr. Hines, in various points during your tenure

16:31:4023     at the company, you have worked on determining the most cost

16:31:4324     effective way to move sugar from United's facilities to the

16:31:4825     end customer, correct?
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                                                                            298
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16:31:49   1   A.        Yes.   That's correct.

16:31:50   2   Q.        And that includes Mr. Hines helping United maximize

16:31:54   3   its NSP or net sell price for the refined sugar products the

16:31:59   4   company sells; correct?

16:32:00   5   A.        Yes.   Cost is one of the components of NSP.

16:32:05   6   Q.        And Mr. Hines NSP or net selling price is the

16:32:08   7   difference between the revenue that United takes in minus

16:32:11   8   the company's cost, correct?

16:32:13   9   A.        Yes.

16:32:1410     Q.        And Mr. Hines, United's aggregated NSP is the amount

16:32:2011     of money that is returned to United's member owners, right?

16:32:2412     A.        Yes, that's correct.

16:32:2513     Q.        And Mr. Hines, please turn to tab PTX 380 in your

16:32:3014     binder.

16:32:3015                      MR. THORNBURGH:   This is Plaintiff's Exhibit 380

16:32:3316     is found there, Your Honor.        This exhibit has already been

16:32:3517     admitted into evidence.       Can I publish it?

16:32:3718                      THE COURT:   Yes, absolutely.

16:32:3919                      MR. THORNBURGH:   Thank you.

16:32:3920     BY MR. THORNBURGH:

16:32:4021     Q.        Mr. Hines, you recognize this e-mail that you wrote,

16:32:4222     correct?

16:32:4323     A.        Yes, I do.

16:32:4424     Q.        And Mr. Hines, you wrote this e-mail on August 2018

16:32:5725     as United was exploring building a facility adjacent to the
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                                                                            299
                                    S. Hines - direct

16:33:02   1   US Sugar refinery in Clewiston, Florida, right?

16:33:06   2   A.        That's not entirely correct.

16:33:08   3   Q.        What is not correct about that, sir?

16:33:11   4   A.        We were looking at an alternative way to package

16:33:21   5   sugar products for sales into the marketplace.

16:33:24   6   Q.        And one of those options that you were looking at

16:33:27   7   Mr. Hines was exploring building a facility adjacent to the

16:33:31   8   US Sugar refinery in Clewiston, correct?

16:33:34   9   A.        Yes.

16:33:3410     Q.        And Mr. Hines, United was exploring the possibility

16:33:3711     of building this new facility because packaging capacity at

16:33:4112     the Clewiston refinery is limited, correct?

16:33:4413     A.        Yes.

16:33:4514     Q.        And United has not expanded packaging capacity at the

16:33:5015     Clewiston refinery since you wrote this e-mail in

16:33:5316     August 2018, correct?

16:33:5417     A.        That's correct.

16:33:5418     Q.        And at the time, Mr. Hines, United was interested in

16:33:5919     expanding its sales of certain refined sugar products that

16:34:0320     had better margins than sales of bulk refined sugar,

16:34:0721     correct?

16:34:0722     A.        Yes, that's correct.

16:34:0923     Q.        I want to zoom in here on the bottom of your e-mail,

16:34:1224     please.    In this e-mail you wrote after a conversation with

16:34:1925     Bob Buker, Matt would like us to identify a potential
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                                                                            300
                                    S. Hines - direct

16:34:22   1   contribution of a base case facility.      Did I read that

16:34:25   2   correctly?

16:34:25   3   A.       Yes.

16:34:25   4   Q.       And Matt here refers to your boss and the president

16:34:28   5   of United, Matt Wineinger, correct?

16:34:31   6   A.       Yes.

16:34:32   7   Q.       And then the first bullet down reads using the

16:34:35   8   40-acre site adjacent to Clewiston's property.        That's where

16:34:39   9   you were exploring building the new facility, right?

16:34:4210     A.       Yes, that's correct.

16:34:4311     Q.       And then in the third bullet down reads including

16:34:4712     super sacks, liquid and perhaps other products, brown,

16:34:5113     powdered, et cetera, do you see that?

16:34:5214     A.       Yes.

16:34:5315     Q.       And then in next bullet says grow sales of profitable

16:34:5716     products over five years at the expense of lower margin

16:35:0117     sales.   Did I read that correctly?

16:35:0218     A.       Yes, you did.

16:35:0319     Q.       So Mr. Hines, United was hoping to replace some of

16:35:0620     its lower margin sales like bulk sugar with sales of higher

16:35:1121     margin products like those listed in your e-mail here;

16:35:1422     correct?

16:35:1523     A.       Yes.

16:35:1724     Q.       And then I want to look at the last bullet in your

16:35:2025     e-mail here, you wrote attack the market like Chicago,
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                                                                            301
                                    S. Hines - direct

16:35:25   1   correct?

16:35:25   2   A.        Yes.

16:35:25   3   Q.        And that refers to this strategy United implemented

16:35:29   4   in the Chicago area after its Montgomery facility was built,

16:35:34   5   correct?

16:35:37   6   A.        Yes.

16:35:37   7   Q.        Mr. Hines, United did not end up pursuing the new

16:35:41   8   facility in this e-mail?

16:35:44   9   A.        Yes.

16:35:4410     Q.        And the reason United has not taken any actions for

16:35:4811     its packaging facility in Clewiston is because the company

16:35:5212     instead decided to pursue an acquisition of Imperial,

16:35:5613     correct?

16:35:5714     A.        No, I don't agree with that.

16:35:5815     Q.        You don't agree with that?

16:35:5916     A.        No.

16:36:0017     Q.        Mr. Hines, United was exploring building a new

16:36:0418     facility or either building a facility in either Birmingham

16:36:1019     or Atlanta; correct?

16:36:1020     A.        Yes.

16:36:1021     Q.        None of those options were pursued correct?

16:36:1322     A.        That's correct.

16:36:1423     Q.        Sir, I want to point you to your tab in your binder

16:36:1824     marked depo transcript and I'll ask you to go to page 150,

16:36:2225     please.    Mr. Hines, if I could direct you, please to
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                                                                            302
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16:36:37   1   line 17, please.     And Mr. Hines, I asked you, Mr. Hines,

16:36:44   2   what is your understanding of why United did not end up

16:36:47   3   opening or purchasing a facility in either Birmingham or

16:36:50   4   Atlanta and your answer was this was strictly an evaluation

16:36:54   5   exercise and exploratory in nature and before that occurred,

16:36:57   6   the opportunity to look at the Imperial acquisition would

16:37:01   7   alternatively provide us with the capacity to serve some of

16:37:05   8   those attractive customers.     Mr. Hines, did I ask you that

16:37:08   9   question and did you give me that answer?

16:37:1110     A.       Yes.

16:37:1211     Q.       Thank you, sir?

16:37:1212                     Mr. Hines, you can put that document aside.

16:37:1513                     Mr. Hines, before US Sugar agreed to purchase

16:37:2114     Imperial, United was considering purchasing Imperial

16:37:2515     instead, correct?

16:37:2516     A.       Yes.

16:37:2617     Q.       And when United Sugars was in the process of

16:37:2918     considering a proposed acquisition of Imperial, you were

16:37:3219     asked to help develop potential earnings associated with

16:37:3620     that transaction, correct?

16:37:3821     A.       Yes.

16:37:3822     Q.       And Mr. Hines, you also analyzed potential synergies

16:37:4223     that would result from a United acquisition of Imperial,

16:37:4524     right?

16:37:4625     A.       Yes.
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                                                                            303
                                    S. Hines - direct

16:37:46   1   Q.       And Mr. Hines, you started looking at potential

16:37:49   2   synergies associated with a acquisition of Imperial in

16:37:54   3   March 2018, does that sound right to you?

16:37:56   4   A.       Yes.

16:37:57   5   Q.       And then Mr. Hines, once US Sugar was considering a

16:38:01   6   proposed acquisition of Imperial, you took the synergies

16:38:05   7   analysis that you first put together for a proposed United

16:38:08   8   Imperial transaction and you refined that analysis for the

16:38:11   9   current transaction.   Is that right?

16:38:1310     A.       Yes, that's correct.

16:38:1411     Q.       Mr. Hines, the data sources you used for your synergy

16:38:2012     analysis remained consistent as the buyer changed from

16:38:2313     United to U.S. sugars, correct?

16:38:3114     A.       Yes, I think that's -- yes.

16:38:3315     Q.       And Mr. Hines, you led United's calculation of

16:38:3616     synergies with regard to US Sugar's acquisition of Imperial,

16:38:4117     right?

16:38:4118     A.       Yes, I did.

16:38:4219     Q.       And you don't recall anyone from US Sugar being

16:38:4520     involved in the synergies calculations that you computed,

16:38:4921     correct?

16:38:5022     A.       No, they were not.

16:38:5123     Q.       So --

16:38:5224     A.       Correct.

16:38:5325     Q.       So, for example, Mr. Hines, Ms. Elaine Wood at US
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                                                                            304
                                    S. Hines - direct

16:38:58   1   Sugar was not involved in the synergies calculations that

16:39:01   2   you put together; correct?

16:39:02   3   A.        Correct.

16:39:02   4   Q.        And Mr. Buker, U.S. Sugar's CEO was not involved in

16:39:07   5   the synergies calculation that you put together?

16:39:09   6   A.        That's correct.

16:39:09   7   Q.        Mr. Hines, next please turn to tab PTX 348 in your

16:39:14   8   binder.    Mr. Hines, do you recognize this presentation the

16:39:26   9   PTX 348, correct?

16:39:2910     A.        Hang on one second, please.     Yes, I do.

16:39:3511                      MR. THORNBURGH:   Your Honor, there are no

16:39:3712     outstanding objections to this exhibit.         Plaintiff moves it

16:39:4013     into evidence.

16:39:4214                      MS. REEVES:   No objection.

16:39:4215                      THE COURT:    It's admitted.

16:39:4216                      (PTX Exhibit No. 348 was admitted into

16:39:4417     evidence.)

16:39:4418     BY MR. THORNBURGH:

16:39:4419     Q.        Mr. Hines, I'm going to direct you right away to

16:39:4720     slide 28 which is on the screen in front of you.        This slide

16:39:5121     is describing a category of synergies that you calculated in

16:39:5522     connection with a potential United acquisition of Imperial,

16:39:5823     right?

16:39:5824     A.        Yes.

16:39:5925     Q.        And this category synergies you referred to it as
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                                                                            305
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16:40:03   1   product mix upgrade, correct?

16:40:06   2   A.       Yes.

16:40:07   3   Q.       And looking at this first bullet, it reads, Seine

16:40:10   4   would provide access to attractive southeast - southeast

16:40:16   5   demand for key products, do you see that?

16:40:18   6   A.       Yes, I do.

16:40:18   7   Q.       And Seine here refers to Imperial, correct?

16:40:22   8   A.       Yes.

16:40:24   9   Q.       And beneath that bullet there are several refined

16:40:2810     sugar products listed, correct?

16:40:2911     A.       Yes.

16:40:2912     Q.       And so, Mr. Hines, United was hoping to replace some

16:40:3413     of its current sales of lower margin products with increased

16:40:3814     sales of the higher margin products listed here, correct?

16:40:4115     A.       Yes.

16:40:4116     Q.       But to be clear all of the refined sugar products

16:40:4417     listed on this slide are products that United sells today;

16:40:4818     right?

16:40:4919     A.       Yes, they are.

16:40:5120     Q.       And so Mr. Hines, United doesn't actually need the

16:40:5521     Port Wentworth refinery to be able to sell these package

16:40:5922     products since the company can already do so today; right?

16:41:0323     A.       Yes.    We can do that today.

16:41:0624     Q.       Okay.    Go to slide 30, please.

16:41:1025                      And so Mr. Hines, on this slide there is a table
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 306 of 360 PageID #: 6234
                                                                            306
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16:41:13   1   and it's describing how United planned to convert customer

16:41:17   2   orders currently for bulk sugar from Clewiston to orders for

16:41:22   3   super sacks in 50-pound bags originating at Port Wentworth;

16:41:28   4   correct?

16:41:28   5   A.     Yes.

16:41:29   6   Q.     So Mr. Hines, United plans to reduce its sales of

16:41:33   7   bulk sugar out of Clewiston as a result of the proposed

16:41:36   8   transaction?

16:41:37   9   A.     I don't agree fully with that.

16:41:4010     Q.     What do you not agree with, sir?

16:41:4311     A.     In order to calculate this aspect, I needed to hold

16:41:4912     the volume constant.    So the increased sales equaled the

16:41:5513     amount of the reduced sales for the purposes of calculating

16:42:0014     this synergy.

16:42:0215     Q.     On this slide, Mr. Hines, you calculated or you model

16:42:0616     a reduction in the bulk sugar demand that would be refined

16:42:1117     at the Clewiston refinery, correct?

16:42:1318     A.     Yes.

16:42:1319     Q.     And Mr. Hines, this analysis on the screen in front

16:42:1620     of you does not contemplate the Port Wentworth refinery

16:42:2121     producing any more refined sugar than it does today, right?

16:42:2422     A.     That's correct.

16:42:2523     Q.     Now, I would like to go to slide 29, please.

16:42:2924                    Mr. Hines, this slide is indicating that you

16:42:3325     estimated that United could quote save $5.6 million annually
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 307 of 360 PageID #: 6235
                                                                            307
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16:42:39   1   by converting bulk sugar demand from Clewiston to 50-pound

16:42:43   2   bag and super sack sales from Port Wentworth, right?

16:42:47   3   A.     Yes.

16:42:47   4   Q.     So Mr. Hines, the quote savings that you calculated

16:42:51   5   here was based on the combined company exiting lower margin

16:42:56   6   sales and increasing United's sales of these higher margin

16:42:59   7   products, right?

16:43:00   8   A.     Yes, it does.

16:43:01   9   Q.     Mr. Hines, really the quote savings here that you

16:43:0410     calculated is the increased returns that the combined

16:43:0711     company would get from higher margin sales.       Right?

16:43:1112     A.     Yes.

16:43:1313     Q.     And then if you look at the bottom of this slide,

16:43:1614     Mr. Hines, there is a note that the total estimated savings

16:43:1915     was discounted by 40 to 60 percent due to some uncertainty.

16:43:2416     Do you see that?

16:43:2417     A.     Yes.

16:43:2518     Q.     And then the first bullet listed there is

16:43:3019     cannibalization risk, do you see that?

16:43:3120     A.     Yes.

16:43:3221     Q.     That refers to the fact that Imperial may already

16:43:3422     today be fulfilling this anticipated demand for bagged

16:43:3923     sugar, right?

16:43:3924     A.     Yes.

16:43:4025     Q.     Thank you.
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16:43:41   1                 We can put that document aside now, Mr. Hines.

16:43:48   2   Thank you.

16:43:49   3                 Mr. Hines, I'm going to next ask that you turn

16:43:53   4   to tab PTX 486 in your binder, please.

16:44:19   5                 Mr. Hines, do you recognize this e-mail

16:44:21   6   attachment, correct?

16:44:22   7   A.     Yes.

16:44:22   8   Q.     It's an e-mail that you wrote, correct?

16:44:25   9   A.     Yes.

16:44:2610                   MR. THORNBURGH:   Your Honor, there are no

16:44:2811     outstanding objections to this exhibit.       We move to admit it

16:44:3112     into exhibit, please.

16:44:3213                   THE COURT:    Is this 486, you said?

16:44:3414                   MR. THORNBURGH:   Correct, it should be PTX 486,

16:44:3715     Your Honor, this is an e-mail attachment and I will be

16:44:4116     asking you to allow me to introduce a demonstrative that's

16:44:4417     related to it.

16:44:4418                   THE COURT:    Great.   Thank you.

16:44:4719                   MS. REEVES:   No objection.

16:44:4920                   (PTX Exhibit No. 486 was admitted into

16:44:5021     evidence.)

16:44:5022                   MR. THORNBURGH:   Your Honor, can we publish it?

16:44:5223     BY MR. THORNBURGH:

16:44:5224     Q.     Mr. Hines, this is an e-mail that you wrote to your

16:44:5525     colleague, Mr. Hanson, on October 22nd, 2020, correct?
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                                                                            309
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16:44:58   1   A.     Yes.

16:44:58   2   Q.     And Mr. Hanson assisted you with some of the

16:45:02   3   synergies work that you did in connection with the proposed

16:45:05   4   transaction, correct?

16:45:06   5   A.     Yes.

16:45:06   6   Q.     And the subject line of your e-mail is updated

16:45:09   7   industrial synergies.    Do you see that?

16:45:11   8   A.     Yes.

16:45:12   9   Q.     And industrial synergies here refers to the

16:45:1610     industrial customer distribution synergies that you

16:45:1911     calculated, correct?

16:45:2012     A.     Yes.

16:45:2113     Q.     And distribution savings, Mr. Hines, was the most

16:45:2514     significant bucket of synergies that you calculated with

16:45:2915     regards to the proposed transaction, correct?

16:45:3116     A.     Yes.   That's correct.

16:45:3317     Q.     And then the next line in your e-mail starts with

16:45:3718     Seine 2.0 Synergies.    Do you see that?

16:45:4219     A.     Yes.

16:45:4320     Q.     And so Seine 2.0 specifically refers to US Sugar's

16:45:4821     proposed acquisition of Imperial, right?

16:45:5222     A.     Yes,

16:45:5223     Q.     So Seine, Mr. Hines, was a code name used for both

16:45:5524     the contemplated United acquisition of Imperial and US Sugar

16:46:0125     proposed acquisition of Imperial, correct?
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                                                                            310
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16:46:03   1   A.       Yes.

16:46:03   2   Q.       And Mr. Hines, although you may have updated your

16:46:06   3   synergies analysis since you sent this e-mail in

16:46:10   4   October 2020, the methodology that you utilized in the

16:46:13   5   attachments we're about to look at never materially changed,

16:46:16   6   right?

16:46:17   7   A.       Yes, the approach was the same, yes.

16:46:19   8   Q.       And Mr. Hines, you shared this methodology with

16:46:23   9   consultant at BDO that work with United and US Sugar on

16:46:2910     calculating synergies for the proposed transaction, right?

16:46:3211     A.       Yes.

16:46:3412                     MR. THORNBURGH:   Your Honor, I now request

16:46:3613     permission to introduce a demonstrative that will be

16:46:3814     identified PTX 486.     As we discussed, this is an excerpt of

16:46:4315     a spreadsheet that was attached to this e-mail that

16:46:4516     Mr. Hines and I have been discussing.        And I believe there

16:46:4717     are no objections to this demonstrative.

16:46:4918                     MS. REEVES:   No objections, Your Honor.

16:46:5219                     THE COURT:    Thank you.   Go ahead.

16:46:5420                     MR. THORNBURGH:   Your Honor, I'm showing on the

16:46:5521     screen a redacted version of the demonstrative.        I believe

16:46:5822     you should have an unredacted as should Mr. Hines.

16:47:0223                     THE COURT:    When I pull up -- there is a native

16:47:0824     -- this is 486?

16:47:1125                     MR. THORNBURGH:   This is PDX 486, Your Honor,
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                                                                            311
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16:47:14   1   which was the naming convention used to identify the

16:47:18   2   demonstratives.    It should be a PDF if that's helpful at

16:47:28   3   all.

16:47:48   4                 THE COURT:   Sorry about that.    Thank you.    I

16:47:50   5   have it.

16:47:51   6                 MR. THORNBURGH:   Great.

16:47:51   7                 (PDX Exhibit No. 486 was marked for

16:47:52   8   identification.)

16:47:52   9   BY MR. THORNBURGH:

16:47:5310     Q.     Mr. Hines, I want to direct your attention to page 1

16:47:5611     that's up on the screen.    And Mr. Hines, your counsel has

16:47:5912     designated the numerical values on this page as confidential

16:48:0213     so I have to try to avoid saying them out loud.        Mr. Hines,

16:48:0614     this sheet contains your aggregated calculations at this

16:48:1015     time for purported distribution savings associated with

16:48:1416     industrial customers for the proposed transaction.        Right?

16:48:1717     A.     Yes, that's correct.

16:48:1818     Q.     And more specifically, Mr. Hines, this page is

16:48:2219     showing the potential volume of refined sugar that would be

16:48:2620     shifted to or from Port Wentworth, Clewiston and the Red

16:48:3321     River Valley in connection with United's industrial

16:48:3622     customers if the proposed transaction was completed.         Is

16:48:4023     that right?

16:48:4024     A.     Yes.

16:48:4125     Q.     And Mr. Hines, you calculated a savings or in some
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                                                                            312
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16:48:45   1   cases an additional cost associated with moving the origins

16:48:49   2   of customer sugar purchases to, or from Clewiston, the Red

16:48:56   3   River Valley or Port Wentworth, right?

16:48:58   4   A.     Yes.

16:48:58   5   Q.     Now, I want to go to the second page of this

16:49:01   6   demonstrative, please.    And again, Mr. Hines, your counsel

16:49:05   7   has designated these values as confidential, so I ask you to

16:49:09   8   try to avoid saying them aloud.

16:49:12   9                 Mr. Hines, this sheet contains the customer and

16:49:1610     product specific data that you used to calculate the summary

16:49:2011     synergies that we just looked at, correct?

16:49:2312     A.     Yes.

16:49:2313     Q.     And so I just want to go through your methodology

16:49:2614     here a little bit.

16:49:2715                   Mr. Hines column E contains the specific

16:49:3116     examiner or order at issue that you looked at, right?

16:49:3417     A.     Yes.

16:49:3418     Q.     And then column N is the product that is sold to that

16:49:3919     particular customer in the location referenced in that row;

16:49:4320     correct?

16:49:4321     A.     Yes.

16:49:4422     Q.     And then if we go all the way over to the far right,

16:49:4823     savings, there you'll find the distribution savings that you

16:49:5324     have calculated associated with each of these customer

16:49:5525     products and facilities, right?
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                                                                            313
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16:49:57   1   A.     Yes.

16:49:58   2   Q.     And Mr. Hines, I just want to be very clear, column

16:50:04   3   AM for savings, to calculate that savings you calculated the

16:50:07   4   change in freight costs associated with moving the customer

16:50:10   5   order and then you multiplied it by the volume of the

16:50:13   6   refined sugar product at issue; right?

16:50:16   7   A.     Yes.

16:50:16   8   Q.     That was the total calculation; correct, sir?

16:50:20   9   A.     Yes.

16:50:2110     Q.     Okay.   And Mr. Hines, just as we did during your

16:50:2511     deposition, I have sorted this data so that the customer

16:50:2912     line item entries with the largest savings are listed first.

16:50:3313     Do you recognize that now on the screen in front of you,

16:50:3614     sir?

16:50:3615     A.     Yes.    Yes, I do.

16:50:3716     Q.     So Mr. Hines, the second entry here is for General

16:50:4117     Mills' Covington, Georgia facility.      Do you see that?

16:50:4518     A.     Yes.

16:50:4519     Q.     And United currently delivers refined sugar to this

16:50:4920     General Mills facility in Covington, Georgia, right?

16:50:5221     A.     Yes.

16:50:5322     Q.     And the product listed for this facility is bulk fine

16:50:5723     granulated sugar; correct, sir?

16:50:5924     A.     Yes.

16:51:0025     Q.     And so the value in column AM, savings, the furthest
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                                                                            314
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16:51:05   1   to the right indicates the total distribution savings that

16:51:08   2   you estimated for bulk fine granulated sugar that United

16:51:13   3   delivers to this General Mills location, correct?

16:51:17   4   A.       Yes.

16:51:19   5   Q.       And Mr. Hines, in estimating the quote, savings

16:51:24   6   associated with this General Mills facility, you did not

16:51:27   7   give any consideration as to whether General Mills was

16:51:30   8   currently benefitting from competition between Imperial and

16:51:34   9   United, right?

16:51:3510     A.       That's correct.

16:51:3711     Q.       And that is true even though Covington, Georgia is

16:51:4112     located less than 230 miles from Port Wentworth and the

16:51:4613     proposed transaction would eliminate Imperial as a proposed

16:51:5014     competitor, correct, Mr. Hines?

16:51:5215     A.       I don't know that the distance, but yes, it -- yes, I

16:51:5816     agree in general with that statement.

16:52:0017     Q.       Now, Mr. Hines, the savings associated with General

16:52:0418     Mills as shown in this table is not money that you

16:52:0719     contemplated returning to General Mills in the form of lower

16:52:1120     prices as part of your synergies analysis, correct?

16:52:1521     A.       I did not contemplate what would happen with that

16:52:1822     money.   That was not part of my charge.

16:52:2123     Q.       And, in fact, Mr. Hines, your synergies analysis

16:52:2624     assumed that this money would result in quote more NSP

16:52:3025     dollars available to United's members, right?
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                                                                            315
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16:52:33   1   A.       I did not contemplate what would happen with those

16:52:36   2   dollars.

16:52:36   3   Q.       But the savings would, in fact, increase the NSP

16:52:42   4   dollars available to United's membership, that's what you

16:52:46   5   were modeling, correct, sir?

16:52:47   6   A.       Yes.

16:52:47   7   Q.       We go one row down the next entry is for Hershey,

16:52:54   8   Stuarts Draft facility.     Do you see that?

16:52:55   9   A.       Yes, I do.

16:52:5610     Q.       And that Stuarts Draft facility is in Virginia,

16:53:0011     right?

16:53:0012     A.       Yes.

16:53:0013     Q.       As part of your synergies analysis you did not

16:53:0414     contemplate returning any of the savings found in column AM

16:53:0915     to Hershey as part of your synergies analysis, correct?

16:53:1216     A.       I don't agree with that.    My exercise did not

16:53:1617     contemplate what would occur with those funds.

16:53:1818     Q.       Understood.

16:53:2019                     So Mr. Hines, you did not contemplate returning

16:53:2320     the money that's indicated in the savings column to Hershey

16:53:2621     in the form of lower prices in the result of a synergies

16:53:3122     analysis?

16:53:3123     A.       That is correct.

16:53:3224     Q.       Lastly, I want to draw your attention to Row 19.       You

16:53:3625     will see Piedmont Candy there.      Do you see that?
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                                                                            316
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16:53:38   1   A.     Yes.

16:53:39   2   Q.     And their location is in Lexington, North Carolina.

16:53:43   3   Do you see that?

16:53:44   4   A.     Yes.

16:53:44   5   Q.     And similarly, Mr. Hines, you did not contemplate

16:53:48   6   returning any of these savings to Piedmont Candy as a result

16:53:52   7   of the proposed transaction, right?

16:53:53   8   A.     My exercise didn't contemplate what would happen with

16:53:57   9   those funds.

16:53:5810     Q.     Mr. Hines, in all the financial modeling that you did

16:54:0211     for the transaction, going back to March 2019, despite

16:54:0612     estimating millions of dollars of purported synergies, you

16:54:1113     did not model or consider giving these customers lower

16:54:1414     prices as a result of these savings, correct?

16:54:1715     A.     That's correct.

16:54:1916                    MR. THORNBURGH:   Mr. Hines, I have no further

16:54:2017     questions for you at this time.

16:54:2218                    THE COURT:    Thank you.

16:54:2319                    Cross-exam.

16:54:3020                    MS. REEVES:   Good afternoon, Your Honor.     Amanda

16:54:3221     Reeves for US Sugar.    May I proceed?

16:54:3422                    THE COURT:    Please.

16:54:3723                        CROSS-EXAMINATION

16:54:3724     BY MS. REEVES:

16:54:3825     Q.     Good afternoon, Mr. Hines.         Did you have any role
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                                                                            317
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16:54:40   1   associated with the transaction between US Sugar and

16:54:42   2   Imperial Sugar?

16:54:45   3   A.     Yes, I provided input on synergies.

16:54:48   4   Q.     And what synergies did you identify?

16:54:51   5   A.     Among the synergies the most significant were

16:54:56   6   distribution cost savings and the effect of product

16:55:00   7   switching.

16:55:00   8   Q.     Let's walk through both of those synergies.        What are

16:55:04   9   distribution costs synergies?

16:55:0610     A.     Distribution cost synergies are the difference in

16:55:1111     distribution costs by moving a customer from its current

16:55:1812     origin to a potential new origin, as a result of the

16:55:2513     additional company, additional origin.

16:55:2814     Q.     And why did the addition of Imperial's facility lower

16:55:3215     United's distribution costs?

16:55:3616     A.     We anticipated that for certain customers that United

16:55:4117     was currently serving, the distribution costs would likely

16:55:4518     be lower from Imperial.

16:55:4819     Q.     Another synergy you identified was product switching,

16:55:5520     can you explain that synergy?

16:55:5721     A.     Yes, that involves selling higher margin products at

16:56:0022     the expense of lower margin products.

16:56:0523     Q.     Did your analysis consider any changes to your post-

16:56:1024     acquisition prices?

16:56:1125     A.     No.
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                                                                            318
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16:56:12   1   Q.     Why not?

16:56:13   2   A.     The scope of my exercise was to look strictly at the

16:56:18   3   costs associated with the synergies.

16:56:22   4   Q.     Now, plaintiff just now asked you a series of

16:56:26   5   questions about what factor the transaction would have in

16:56:29   6   terms of additional products, and whether additional output

16:56:34   7   would result, tell me how you factored output into your

16:56:38   8   analysis?

16:56:39   9   A.     In order to isolate the effect of the synergies I

16:56:4410     assumed there was no change in output.

16:56:4611     Q.     Why did you assume that?

16:56:4712     A.     In order to clearly identify the effect solely of the

16:56:5313     distribution cost synergies of this case.

16:56:5614     Q.     If US Sugar acquires Imperial, do you know whether

16:56:5915     production output will remain the same?

16:57:0116     A.     My understanding is they expect to produce more.

16:57:0517     Q.     And how would increased production affect your

16:57:0918     synergies analysis?

16:57:1119     A.     Well, in the case of product switching, we could sell

16:57:1420     the additional higher margined products without giving up

16:57:1921     the lower margin products.

16:57:2222     Q.     Let's switch gears a bit.     You were also asked some

16:57:2523     questions about implementing the Chicago strategy in the

16:57:3024     southeast?

16:57:3125     A.     Yes.
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                                                                            319
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16:57:31   1   Q.     What steps did you take with regard to analyzing

16:57:34   2   whether to build a packaging facility in the southeast?

16:57:38   3   A.     We did a very cursory evaluation, preliminary

16:57:45   4   evaluation which was never completed.

16:57:48   5   Q.     And do you know why the plan to implement the Chicago

16:57:53   6   strategy was abandoned?

16:57:55   7   A.     No.

16:57:55   8   Q.     Are you aware of whether United has any plans to

16:57:57   9   implement the Chicago strategy in the southeast post

16:58:0110     closing?

16:58:0211     A.     No.

16:58:0412     Q.     Plaintiff also asked you a series of questions just

16:58:0713     now about the spreadsheet, PTX 486.      You were asked about a

16:58:1214     series of customers listed there.      Do you recall that a few

16:58:1515     minutes ago?

16:58:1516     A.     Yes, I do.

16:58:1617     Q.     Can you tell us how those customers were selected?

16:58:1918     A.     The -- we don't know Imperial's customers, nor do we

16:58:2419     know their costs.   We know United's customers and costs so

16:58:2920     in order to calculate the distribution synergies, we created

16:58:3421     a pro forma customer mix of customers that would likely be

16:58:4022     Imperial's and we used estimated rates.

16:58:4223     Q.     Was that list based on your knowledge of head-to-head

16:58:4624     competition with Imperial?

16:58:4725     A.     No.
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 320 of 360 PageID #: 6248
                                                                            320
                                    S. Hines - redirect

16:58:50   1                  MS. REEVES:   Thank you.   I have no further

16:58:55   2   questions.

16:58:59   3                     REDIRECT EXAMINATION

16:58:59   4   BY MR. THORNBURGH:

16:58:59   5   Q.     Mr. Hines, just a few more questions.       I would ask

16:59:02   6   that you turn to tab PTX 547 in your binder, please.

16:59:18   7                  Mr. Hines, you recognize this e-mail, correct?

16:59:20   8   A.     Yes, I do.

16:59:21   9   Q.     This is an e-mail that you wrote on April 12, 2019?

16:59:2510     A.     Yes.

16:59:2611                    MR. THORNBURGH:   Your Honor, there are no

16:59:2812     outstanding objections to this exhibit.       We ask that it be

16:59:3113     admitted into evidence.

16:59:3214                    MS. REEVES:   No objection.

16:59:3215                    THE COURT:    Thank you.   It's admitted.

16:59:3416                    (PTX Exhibit No. 547 was admitted into

16:59:3517     evidence.)

16:59:3518     BY MR. THORNBURGH:

16:59:3619     Q.     Mr. Hines, this is an e-mail that you wrote to

16:59:4020     individuals who worked at United's member owners, correct?

16:59:4421     A.     Yes.

16:59:4522     Q.     Okay.    And if we could zoom in on the top e-mail.

17:00:0123     Mr. Hines, in this e-mail, you were analyzing or looking at

17:00:1024     potential financials associated with an acquisition of

17:00:1525     Imperial, correct?
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 321 of 360 PageID #: 6249
                                                                            321


17:00:16   1   A.       Yes.

17:00:16   2   Q.       And I want to draw your attention to the numbers

17:00:22   3   listed in the middle of this e-mail, and specifically number

17:00:26   4   3 where you write, "Better yet, I propose 1.5 percent

17:00:29   5   inflation on costs, 1.5 percent on freight, and a more

17:00:34   6   realistic 1.15 increase in prices."

17:00:38   7                   Do you see that?

17:00:38   8   A.       Yes.

17:00:38   9   Q.       In this analysis you were considering prices as part

17:00:4110     of your financial modeling, correct?

17:00:4211     A.       I was attempting to forecast margins but because of

17:00:4612     the way the model was set up it included both prices and

17:00:4913     costs.

17:00:4914     Q.       So prices was part of the analysis that you looked

17:00:5215     at, correct, sir?

17:00:5316     A.       Correct.

17:00:5417                     MR. THORNBURGH:    No further questions, Your

17:00:5518     Honor.

17:00:5519                     THE COURT:   All right.   Thank you.   Sir, you are

17:00:5820     excused.   Let me just ask, PDX 486, that's a demonstrative,

17:01:0421     but you offered it into evidence.

17:01:0722                     MR. THORNBURGH:    Yes, Your Honor, if that's

17:01:1023     something that would aid the Court, it's a summary of

17:01:1324     information --

17:01:1425                     THE COURT:   Usually someone would mark a summary
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 322 of 360 PageID #: 6250
                                                                            322


17:01:17   1   exhibit as a DX, it's weird that it's a demonstrative.         We

17:01:21   2   don't usually consider those evidence and they don't come

17:01:23   3   into evidence, that's why I'm confused.

17:01:26   4                MR. THORNBURGH:    Your Honor, we wanted to admit

17:01:27   5   the underlying exhibit.     If it's the Court's preference, we

17:01:35   6   will not offer the demonstrative into evidence.

17:01:37   7                THE COURT:    Okay.   Now I'm confused.    Because

17:01:42   8   defendants didn't object.    So you guys are all cool with

17:01:45   9   this demonstrative coming into evidence?

17:01:4810                  MS. REEVES:    Your Honor, it's up to the

17:01:5111     government whether they want to admit it.       We don't object

17:01:5412     to it.

17:01:5513                  MR. THORNBURGH:    If there is no objection, we

17:01:5614     would like it to be admitted.

17:01:5815                  THE COURT:    For the most part if we're going to

17:02:0116     do summaries I would mark them as trial exhibits, because it

17:02:0517     gets confusing go when they're demonstratives, I know what

17:02:0918     you were doing with that, so we'll take that.        Thank you,

17:02:1319     sir.

17:02:1320                  What's next?

17:02:1421                  MR. HANNA:    Your Honor, we're going to play two

17:02:1722     videos.   I think they're two 25-minute or about 20 -- the

17:02:2423     first one is 27 minutes.    We'll give Mr. Buckson the actual

17:02:3024     time, about 17 minutes for plaintiffs and about ten minutes

17:02:3425     for the defendants.
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 323 of 360 PageID #: 6251
                                                                            323


17:02:36   1                  And we're going to call Matthew Kling.      He's the

17:02:40   2   chief operating officers of Batory Foods.       Batory Foods will

17:02:47   3   discuss purchasing and sale of sugar and other products.

17:03:07   4                  (Videotape deposition of Matthew Kling:)

17:03:14   5   Q.        Mr. Kling, would you please state your name for the

17:03:16   6   record?

17:03:16   7   A.        Matthew George Kling.

17:03:18   8   Q.        Where do you work?

17:03:20   9   A.        I work for Batory Foods.

17:03:2510     Q.        And at a very high level, what is Batory's business?

17:03:2911     A.        Batory is one of the largest food ingredient

17:03:3412     distributors in the United States.

17:03:3613     Q.        What is your current role at Batory?

17:03:3814     A.        Chief operating officer.

17:03:3915     Q.        Can you describe briefly how Batory's business has

17:03:4316     expanded, if at all, since you came on board?

17:03:4617     A.        We -- we have acquired other distributors in the --

17:03:5118     in the national marketplace.      That's been primarily the --

17:03:5519     the acquisitional growth we've had.      Organically, we earn

17:04:0220     new customers every day.       Organically, that's -- that's our

17:04:0721     primary route to -- to growth.

17:04:1322                    But there have been some acquisitions since I've

17:04:1823     joined.

17:04:2024                    MR. HANNA:   Your Honor, I apologize.    I forgot

17:04:2325     to request permission to close the courtroom.        As we talked
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 324 of 360 PageID #: 6252
                                                                            324


17:04:25   1   earlier this morning, there is some confidential

17:04:28   2   information.

17:04:29   3                  THE COURT:   The depositions are largely

17:04:30   4   confidential.    And I think good cause has been shown in the

17:04:35   5   written submissions which we received, so we will do that

17:04:38   6   with the proviso that public redactions need to be made for

17:04:42   7   the nonpublic information.     But for now we will close the

17:04:45   8   courtroom.

17:04:46   9                  MR. HANNA:   I apologize for that, Your Honor.

17:04:4910                    (Courtroom sealed.)

17:05:1711     A.     But there have been some acquisitions since I joined.

17:05:2112     Q.     Can you give us a sense of how much the customer base

17:05:2313     has grown since you joined Batory?

17:05:2614     A.     It would be -- it would be approximately a double

17:05:3115     digit percentage increase.

17:05:3516     Q.     Batory does not refine sugar, does it?

17:05:3817     A.     We do not refine sugar.

17:05:4018     Q.     Is it fair to say that, in part, your strategy is to

17:05:4519     buy sugar where it's less expensive in certain parts of the

17:05:4920     United States or abroad and then resell it in places where

17:05:5421     it can command a higher price?

17:05:5622     A.     Yes.

17:05:5623     Q.     And when Batory purchases sugar at a low price, is it

17:06:0124     able to beat out competitors by offering that sugar to

17:06:0525     customers at a lower price?     Correct?
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 325 of 360 PageID #: 6253
                                                                            325


17:06:09   1   A.     Incorrect.

17:06:09   2   Q.     Incorrect?   Why is that incorrect?

17:06:11   3   A.     We try to extract value for what we do.        A lot of our

17:06:16   4   customers are customers that come to us and want to purchase

17:06:20   5   other ingredients for delivery at the same time.        There are

17:06:24   6   costs incurred with buying and warehousing sugar that are

17:06:35   7   indignant to how we -- we cost our -- our products.

17:06:39   8   Q.     Is it fair to say that Batory is able to leverage its

17:06:43   9   facilities and distribution network to move sugar from areas

17:06:4710     of supply to area of demand?

17:06:4911     A.     It's fair to say that.

17:06:5112     Q.     At this point, I'm going to mark an exhibit.         It's

17:06:5613     BAT 0210.   It's an Excel spreadsheet.

17:07:0114


17:07:0415

17:07:0516


17:07:0617

17:07:1218

17:07:1519


17:07:1820


17:07:2221


17:07:2522

17:07:2623


17:07:3124


17:07:3725
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 326 of 360 PageID #: 6254
                                                                            326


17:07:38   1

17:07:41   2

17:07:45   3

17:07:52   4

17:07:56   5

17:07:57   6

17:07:59   7

17:08:00   8

17:08:05   9

17:08:1310


17:08:1511     Q.     So let's now mark as Exhibit 2, BAT 0208, another

17:08:2112     Excel spreadsheet.    And I guess we should put this in the

17:08:2413     chat as well, so everyone can see it in native form.

17:08:2814                    Are you familiar with this document?

17:08:3215     A.     I am.

17:08:3216     Q.     What does it show?

17:08:3317

17:08:3718

17:08:4219


17:08:4920


17:08:5321


17:08:5422

17:08:5523


17:09:0124


17:09:0825
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 327 of 360 PageID #: 6255
                                                                            327


17:09:16   1

17:09:16   2

17:09:21   3

17:09:27   4

17:09:32   5

17:09:42   6

17:09:45   7

17:09:49   8

17:09:52   9

17:09:5410


17:09:5511

17:09:5912


17:10:0213


17:10:0914


17:10:1315

17:10:3016


17:10:3317

17:10:4518

17:10:4619


17:10:5220


17:10:5521


17:10:5822

17:11:0223


17:11:0724


17:11:1025     Q.    Let's move to the third and last exhibit I'm going to
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 328 of 360 PageID #: 6256
                                                                            328


17:11:16   1   show you.   It's another Excel spreadsheet with production

17:11:20   2   number BAT 0209.    If we could put that in the chat, that

17:11:27   3   would be great.

17:11:27   4                  And are you familiar with this document?

17:11:31   5   A.     I am.

17:11:32   6   Q.     And what does it show?

17:11:34   7

17:11:39   8

17:11:47   9

17:11:5110


17:11:5111

17:11:5212     Q.     And focusing in on what the DOJ calls the southeast,

17:12:0013     how would you describe the competitive environment for

17:12:0314     refined sugar in that region?

17:12:0515     A.     How would I describe the competitive environment?

17:12:0916     Q.     Is it very competitive?     Is it not competitive?      You

17:12:1417     know, however you want to describe it.

17:12:1718     A.     I would describe it as not very competitive.

17:12:1919     Q.     Why do you say that?

17:12:2020     A.     You have -- you have one refiner that is not

17:12:2421     vertically integrated, which is the Savannah refinery, so

17:12:3122     they cannot compete in the market month in and month out.

17:12:3623                    You have two refiners in Florida.     One is more

17:12:4124     focused on retail than they are on the formats that we need

17:12:5125     for our products.
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 329 of 360 PageID #: 6257
                                                                            329


17:12:53   1                 And the freight lanes going from the Gulf to the

17:12:58   2   east are not necessarily competitive.      They're generally not

17:13:02   3   freight lanes that carries -- carriers aspire to transport

17:13:10   4   product in.

17:13:11   5

17:13:17   6

17:13:21   7

17:13:21   8

17:13:25   9

17:13:2910


17:13:3011

17:13:3412


17:13:3613


17:13:4214


17:13:4815

17:13:5016


17:13:5617

17:14:0218

17:14:0319


17:14:0720


17:14:1221


17:14:1622

17:14:2123


17:14:2624


17:14:2925
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 330 of 360 PageID #: 6258
                                                                            330


17:14:33   1

17:14:34   2

17:14:43   3

17:14:53   4

17:14:56   5

17:15:00   6

17:15:02   7

17:15:04   8

17:15:08   9

17:15:1210


17:15:1511

17:15:1812


17:15:2113


17:15:2614


17:15:3115

17:15:3616


17:15:4017

17:15:4118

17:15:4619


17:15:4820


17:15:5621


17:15:5922

17:16:0323


17:16:0524


17:16:1225
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                                                                            331


17:16:15   1

17:16:20   2

17:16:25   3

17:16:30   4

17:16:36   5

17:16:40   6

17:16:45   7

17:16:46   8

17:16:50   9

17:16:5510


17:17:0111

17:17:0412


17:17:0713


17:17:1314


17:17:1615

17:17:2016


17:17:2517

17:17:2918

17:17:3419


17:17:3820


17:17:4521


17:17:5122

17:17:5223


17:17:5924


17:18:0525
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                                                                            332


17:18:10   1

17:18:12   2

17:18:17   3

17:18:22   4

17:18:28   5

17:18:34   6

17:18:39   7

17:18:44   8

17:18:50   9

17:18:5510


17:18:5811

17:19:0312


17:19:0713


17:19:1014


17:19:1015

17:19:1416


17:19:2017

17:19:2018

17:19:2419


17:19:2920


17:19:3321


17:19:4122

17:19:4523


17:19:5024


17:19:5425
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 333 of 360 PageID #: 6261
                                                                            333


17:19:55   1

17:20:04   2

17:20:04   3

17:20:04   4

17:20:06   5

17:20:07   6

17:20:17   7

17:20:20   8

17:20:20   9

17:20:2310


17:20:2511

17:20:2812


17:20:3613


17:20:4014


17:20:4515

17:20:4916


17:20:5417

17:20:5918

17:21:0419


17:21:1020


17:21:1321


17:21:1922

17:21:2623


17:21:3224


17:21:3625
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 334 of 360 PageID #: 6262
                                                                            334


17:21:41   1

17:21:52   2

17:21:56   3

17:22:01   4

17:22:07   5

17:22:09   6

17:22:14   7

17:22:22   8

17:22:22   9

17:22:2810


17:22:3211

17:22:3712


17:22:4213


17:22:4814


17:22:5215

17:22:5816


17:23:0317

17:23:0518

17:23:1019


17:23:1420


17:23:2121


17:23:2922

17:23:3123


17:23:3824


17:23:4225
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 335 of 360 PageID #: 6263
                                                                            335


17:23:43   1

17:23:44   2

17:23:44   3   Q.     Is there a reason why Batory's purchases from United

17:23:50   4   have declined?

17:23:51   5   A.     Yes.     They -- they have chosen to de-emphasize their

17:23:57   6   sales to distributors.

17:24:01   7   Q.     And what do you mean by they've chosen to

17:24:05   8   de-emphasize sales to distributors?

17:24:07   9   A.     They would prefer that distributors focus solely on

17:24:1110     LTL business, and they do not want to supply distributors

17:24:1711     who supply full truckloads to customers.

17:24:2112     Q.     When did you first become aware that United was

17:24:2713     adopting this new strategy?

17:24:3014     A.     Approximately at the time I joined Batory, they were

17:24:3415     transitioning into a new mindset about working with

17:24:4116     distributors.

17:24:4217                   At one time, United supplied Batory with close

17:24:4618     to 80, 85 percent of all of its sugar.

17:24:5019     Q.     And when did that change?

17:24:5120     A.     I -- we started to see the change in 2017.        There

17:24:5921     were moves beginning to become apparent to us.        They decided

17:25:0822     to supply us with less.    And, you know, they made a decision

17:25:1223     to build a -- a pretty significant facility in Chicago to

17:25:1924     compete with us.    So in that 2017 time range line was when

17:25:2525     we saw this -- this strategy change begin.
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                                                                            336


17:25:36   1   Q.     And what facility did they build in Chicago?

17:25:44   2   A.     They built a sugar distribution facility in

17:25:48   3   Montgomery, Illinois.

17:25:50   4   Q.     And how did -- sorry, go ahead.

17:25:52   5   A.     And it's a significant capital investment, and it --

17:25:56   6   it gives them a platform to focus on business segments that

17:26:00   7   historically were not in their portfolio.

17:26:04   8   Q.     And what are those business segments?

17:26:08   9   A.     It's the local truckload Chicago market for vans --

17:26:1310     package vans, as well as bulk sugar delivery.        Prior to

17:26:2011     that, we were providing those handling services for them in

17:26:2512     Chicago.

17:26:2713     Q.     And how did United new strategy impact Batory?

17:26:3814     A.     Well, it caused us to find other suppliers that could

17:26:4215     be our supply partners in the markets we play or we

17:26:4616     participate in.

17:26:4817

17:26:5318

17:26:5419


17:26:5920


17:27:0121


17:27:0922

17:27:1423


17:27:1424


17:27:1925
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                                                                            337


17:27:19   1

17:27:25   2

17:27:33   3

17:27:37   4

17:27:44   5

17:27:46   6

17:27:47   7

17:27:48   8

17:27:52   9

17:27:5610


17:28:0411

17:28:0712


17:28:0813


17:28:1314


17:28:1415     Q.       I want to go back to the discussion about United's

17:28:1816     new facility in Chicago.

17:28:2217                   Where did they build that facility?

17:28:2518     A.       It's in Montgomery, Illinois, which is about

17:28:3019     thirty-five miles west of Chicago.

17:28:3120     Q.       And how would you describe the facility that they

17:28:3521     built?

17:28:3522     A.       It's a significant capital investment.      They've --

17:28:4423     they built it initially as a storage facility for sugar

17:28:4924     coming from their member partners.      They do a lot of bulk

17:28:5725     sugar through there in truckload quantities.       They are
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                                                                            338


17:29:01   1   moving in the direction of expanding the offerings from that

17:29:05   2   site.   The date is still a TBD.

17:29:12   3

17:29:17   4

17:29:22   5

17:29:23   6

17:29:25   7

17:29:32   8

17:29:36   9

17:29:4010


17:29:4311

17:29:4512     Q.      I want to go back to liquid sugar for a second.

17:29:4913                  What is the radius -- the typical radius for

17:29:5214     shipping liquid sugar?

17:29:5515     A.      It's -- the -- the effective radius is 200 miles or

17:30:0016     less.

17:30:0117                  And the reason why, in a trailer of liquid

17:30:0518     sugar, two-thirds of it is sugar, one-third of it is water.

17:30:1119     So the cost to ship that percentage of water is very -- you

17:30:1520     know, there's a cost-effective scenario that comes into

17:30:2321     play.

17:30:2522

17:30:2823


17:30:3224


17:30:3625
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                                                                            339


17:30:37   1

17:30:39   2

17:30:41   3

17:30:45   4

17:30:48   5

17:30:54   6

17:30:59   7

17:31:02   8

17:31:03   9

17:31:0810


17:31:1811

17:31:2212


17:31:2613


17:31:3214


17:31:3215

17:31:3416


17:31:3717

17:31:3818

17:31:4219


17:31:4820


17:31:5021


17:31:5622

17:32:0223


17:32:0724


17:32:1125
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                                                                            340


17:32:12   1                  (End of videotape.)

17:32:15   2                  MR. HANNA:   Your Honor, at this time United

17:32:18   3   States moves into evidence, JTX 046 that was identified in

17:32:23   4   the deposition as BAT 0209.

17:32:32   5                  MS. DWYER:   Your Honor, we have no objection.

17:32:33   6   I'm Hannah Dwyer on behalf of Imperial Sugar and LDC.         The

17:32:35   7   defendants would also like to move into evidence JTX 047

17:32:39   8   which was exhibit 1 in the video, or BAT 0210, as well as

17:32:46   9   JTX 045, which was Exhibit 2 in the video or BAT 0208.         And

17:32:5510     plaintiff already moved in the JTX046.

17:32:5711                    THE COURT:   Any objection?

17:32:5912                    MR. HANNA:   No objections, Your Honor.

17:33:0013                    THE COURT:   All of those will be admitted.

17:33:0014                    (The above listed exhibits were admitted into

17:33:0015     evidence.)

17:33:0216                    THE COURT:   What's next?

17:33:0317                    MR. HANNA:   Your Honor, the United States calls

17:33:0518     Chris Simons, the CEO and president of National Sugar

17:33:1019     Marketing, by video.    NSM markets sugar on behalf of two

17:33:1620     companies.

17:33:1721                    (Videotape deposition of Chris Simons:)

17:33:2822     Q.     Okay.    If you could just to begin with, tell me where

17:33:3123     you're currently employed?

17:33:3224     A.     I'm employed at National Sugar Marketing based in

17:33:3525     Atlanta, Georgia.
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                                                                            341


17:33:36   1   Q.     And was your position there?

17:33:38   2   A.     CEO and president.

17:33:40   3   Q.     What is National Sugar Marketing Cooperative?

17:33:44   4   A.     So we are a marketing company.      We have two members,

17:33:48   5   Amalgamated Sugar Company and Southern Minn Sugar Company.

17:33:56   6   And we also have a marketing agreement with a company called

17:34:00   7   Sucden based out of Paris, France and located here in the

17:34:04   8   United States in Miami, Florida.     So the five individuals

17:34:10   9   that I have talked about that are functional leads we

17:34:1410     provide those services for those two members and one

17:34:1611     marketing company.

17:34:1812     Q.     All right.    And Southern Minnesota, is that --

17:34:2113     Southern Minnesota Beet and Sugar Cooperative?

17:34:2414     A.     Beet sugar, yes.

17:34:2515     Q.     We will call them Southern Minn.

17:34:2916     A.     Yes.

17:34:3017     Q.     And Amalgamated Sugar Company was the other member?

17:34:3518     A.     Yes, ma'am.

17:34:3619     Q.     And they are a farming cooperative?

17:34:3820     A.     Yes, ma'am.

17:34:4121     Q.     Looking first at Southern Minn where it's kind of the

17:34:5022     same question, but where are they located?

17:34:5223     A.     It actually is a more difficult question than you

17:34:5524     probably think.   They have a facility in Renville,

17:35:0025     Minnesota, but they also own a facility in Brawley,
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                                                                            342


17:35:04   1   California.

17:35:06   2

17:35:10   3

17:35:12   4

17:35:13   5   Q.      Do any of the facilities operated by Southern Minn

17:35:19   6   produce cane sugar?

17:35:23   7   A.      No.

17:35:24   8   Q.      How about any of the facilities operated by

17:35:28   9   Amalgamated, do they produce cane sugar?

17:35:3010     A.      No.

17:35:3111     Q.      Does NSM market all of the refined sugar produced by

17:35:3612     its members?

17:35:3613     A.      Yes.

17:35:3714     Q.      Is NSM the exclusive marketer of products for -- or

17:35:4215     excuse me, refined sugar products for its members?

17:35:4516     A.      Yes.

17:35:4617     Q.      Does NSM have any responsibility in setting or

17:35:5018     directing the members in how much refined sugar they will

17:35:5619     produce?

17:35:5820     A.      I said no.

17:36:0021     Q.      Did the members have responsibility or any input into

17:36:0422     determining the actual price that NSM enters into with

17:36:0823     respect to a particular customer?

17:36:1324     A.      Not that I've seen in the two years I've been here,

17:36:1725     no.   Not down to that level.
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                                                                            343


17:36:23   1   Q.        Does Southern -- NSM have a marketing relationship

17:36:27   2   with Sucden?

17:36:30   3   A.        Yes.

17:36:30   4   Q.        Do you set up a marketing plan with Sucden annually

17:36:36   5   similar to what you do with the other two members?

17:36:40   6   A.        No.    We have no idea when or where they are going to

17:36:45   7   bring product in.      I mean, they're a trader.

17:36:49   8   Q.        And what sorts of sugar do you market on their

17:36:53   9   behalf?

17:36:5310     A.        Right now, the last year or two, it's been

17:36:5711     100 percent cane sugar.

17:36:5812     Q.        They import the sugar?

17:37:0013     A.        Nearly all of it would be imported.

17:37:0414     Q.        What are some of the quality issues that come up with

17:37:0915     sourcing sugar from a foreign refinery?

17:37:1516     A.        Documentation is probably the biggest.     Audits.

17:37:1817     Granulation size.      Product coming into the United States

17:37:2318     hard and lumpy.      So, you have a bag of sugar in your house

17:37:3319     for four or five years, it becomes hard and lumpy, and that

17:37:3820     often can be what comes into the United States.        Color can

17:37:4121     be an issue.

17:37:4222     Q.        What are the granulation concerns that you have with

17:37:4723     the imported product?

17:37:5024     A.        It can vary.   If you are trying to granulate sugar

17:37:5725     faster, often the granulation size will become bigger, which
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 344 of 360 PageID #: 6272
                                                                            344


17:38:01   1   is -- can be a challenge to certain customers.        They want

17:38:11   2   certain, what they call screen size, you know, the ability

17:38:17   3   to get sugar in a certain granulation size versus a

17:38:21   4   different size.

17:38:22   5   Q.        What are the color issues that are -- you might

17:38:26   6   confront with an imported product?

17:38:29   7   A.        Some customers have color -- are very specific on

17:38:33   8   color.    You can have somebody that's putting sugar into

17:38:40   9   chocolate may not care.      Somebody that's putting sugar into

17:38:4410     something that's clear or white will care on color.         So

17:38:4911     that's -- it just depends on what that product is used for.

17:38:5712


17:39:0013


17:39:0314


17:39:0715

17:39:1116


17:39:1517

17:39:1918

17:39:2619


17:39:2820     Q.        Can you give me some examples of who falls under the

17:39:3621     distribution business in your mind?

17:39:3822     A.        Sweetener Products.   Sweeteners Plus.   Sweetener

17:39:4323     Supply.    Indiana Sugars.   Batory.   Evergreen Sweeteners.

17:39:5024     Those would be some of the bigger ones.

17:39:5625     Q.        And how are distributors different at all from
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 345 of 360 PageID #: 6273
                                                                            345


17:40:01   1   customers that NSM would be selling to?

17:40:04   2   A.     Most distributors do something different with the

17:40:10   3   product and we would ship it in bulk rail to a distributor

17:40:19   4   and they would liquify it.    They would put it in a

17:40:29   5   customer's bag for them.    They will maybe provide only a

17:40:33   6   pallet's worth of product, versus we are looking to be

17:40:38   7   Tons-R-Us, you know, we want things mostly moving in bulk.

17:40:41   8   So they provide different types of products and packaging

17:40:44   9   that we wouldn't provide.

17:40:4610


17:40:4911

17:40:5412


17:40:5713


17:41:0514


17:41:0515

17:41:0916


17:41:1017

17:41:1518

17:41:2319


17:41:2320


17:41:2721


17:41:3022

17:41:3623


17:41:4024


17:41:5025
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                                                                            346


17:41:54   1

17:42:00   2

17:42:01   3   Q.     And that would be because --

17:42:03   4   A.     Crop gets frozen.    Crop melts.

17:42:08   5   Q.     Has that happened during your tenure?

17:42:11   6   A.     Yes.

17:42:12   7

17:42:14   8

17:42:18   9

17:42:2410     Q.     And most of your customers -- would you say most of

17:42:2711     your customers typically have annual contracts of one form

17:42:3112     or another?

17:42:3213     A.     Almost all of them, yes.

17:42:3414     Q.     Over 90 percent?

17:42:3515     A.     Easily by volume.    Easily.

17:42:3716     Q.     How does the -- how does the storage capacity affect

17:42:4217     your pricing decisions?

17:42:4418     A.     Could dramatically.

17:42:5419     Q.     And in what way, how does that manifest?

17:42:5720     A.     So a silo, again, can either be too low or too high.

17:43:0221     If you have it too low it causes operational challenges, you

17:43:0822     can't get the sugar out of the silo, so you have to manage

17:43:1123     that silo to a certain level, high and low, and you may have

17:43:1524     to take different pricing decisions to try to move product

17:43:1925     to keep those silos within that range.
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                                                                            347


17:43:24   1   Q.     NSM's headquarters are in Atlanta?

17:43:28   2   A.     Correct.

17:43:28   3   Q.     And do -- does the company have any warehousing

17:43:32   4   capability or terminal capability of its own in Atlanta?

17:43:38   5   A.     No.

17:43:38   6

17:43:43   7

17:43:47   8

17:43:50   9

17:43:5610


17:43:5611

17:44:0312


17:44:0413


17:44:0714     Q.     And you said most of your customers are getting a

17:44:1615     delivered price not an FOB?

17:44:1816     A.     At least ninety percent, yes.

17:44:2017

17:44:2418

17:44:2519


17:44:3020


17:44:3021     Q.     How is -- why is the customer location an important

17:44:3422     element of the plan?

17:44:3523     A.     Just from a freight standpoint of where we expect to

17:44:3924     be competitive.

17:44:3925     Q.     Is there a particular geographic area where you would
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                                                                            348


17:44:44   1   -- where you expect NSM will be competitive?

17:44:48   2   A.       It can depend on a rail line that a customer's

17:44:56   3   location is on and our facility's location -- rail line.         So

17:45:04   4   you have a direct -- like, you are on the BN and you ship to

17:45:08   5   a BN customer.   There can be some reduced freight costs

17:45:14   6   because of that.   But for the most part, we are looking at

17:45:17   7   two-thirds of the United States.     We have shipped

17:45:21   8   everywhere, but yes.

17:45:29   9   Q.       If you are shipping the product by truck, does that

17:45:3310     narrow the geographic area where you are likely to be

17:45:3711     competitive for a customer?

17:45:4112     A.       We believe about 250 miles outside of either a

17:45:4613     facility or a warehouse or a terminal is more than likely

17:45:5214     going to limit, due to governmental regulations, on driver

17:45:5615     hours.

17:46:0016     Q.       In terms of -- we talked about, you know, freight

17:46:0317     being a, you know, a significant factor that you consider.

17:46:0718     What role does freight play in determining, you know, which

17:46:1119     geographic areas you might be interested in marketing to?

17:46:1620     A.       Most part, freight rates are linear.     Further mile --

17:46:3021     more miles you go, the more cost there is, whether it be

17:46:3222     truck or rail.   Another key component is the facility's

17:46:3723     ability to turn our railcars, and the amount of time a

17:46:4124     railcar is away from our facility.      Just simple math, if my

17:46:4625     railcar leaves Renville, Minnesota, and it takes forty days
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                                                                            349


17:46:51   1   to come back, versus my ability to ship a customer and I get

17:46:55   2   it back in twenty, I can turn it twice to the same railcar

17:47:00   3   that would be for one railcar going forty days.        That's a

17:47:05   4   major decision point for us when we are looking at freight.

17:47:10   5   Q.     I don't know if you've had a chance, or wanted to or

17:47:14   6   had any desire too, but if you had a chance to look at the

17:47:19   7   complaint that we filed in this matter.       Are you familiar

17:47:22   8   with the states that we -- the geographic market that's

17:47:27   9   covered by our complaint?

17:47:2810     A.     Yes.   We had to provide information around this --

17:47:3511     this CID around that, those states, yes.

17:47:4012     Q.     And, at least for purposes of our complaint, we have

17:47:4313     defined that area as, you know, the southeast.        Do you have

17:47:4714     a particular area in -- you know, internally at NSM that you

17:47:5215     think of as the southeast?

17:47:5416     A.     No.

17:47:5517

17:47:5918

17:48:0419


17:48:0820


17:48:1221     Q.     Why don't you make a greater percentage of sales in

17:48:1522     the twelve state area plus DC that we have alleged?

17:48:2023     A.     Typically it's freight costs and railcar turn.

17:48:3224     Q.     With respect to, again, the southeast region, can you

17:48:3725     tell me who some of your larger customers are in the
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                                                                            350


17:48:43   1   southeast, again, our -- United States Department of

17:48:48   2   Justice's southeast?

17:48:50   3   A.     Defined as southeast.     Again, you know, we sell 1

17:48:53   4   million of our 30 and change million into that region.         Most

17:48:58   5   -- nearly all of those customers are national customers that

17:49:01   6   we do business with elsewhere in the United States.

17:49:06   7

17:49:09   8

17:49:12   9

17:49:1710


17:49:1811

17:49:2112


17:49:2613


17:49:3114


17:49:3715

17:49:3916     Q.     Do you know if you are the sole provider for those

17:49:4417     facilities?

17:49:4418     A.     No.    The answer is we are not the sole supplier of

17:49:4819     that facility.

17:49:4920


17:49:5221


17:49:5422

17:50:0023


17:50:0424


17:50:0425
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                                                                            351


17:50:05   1

17:50:11   2

17:50:11   3

17:50:12   4

17:50:18   5

17:50:19   6

17:50:24   7

17:50:27   8

17:50:30   9

17:50:3010     Q.     Do you know where that sugar is being sourced from?

17:50:3311     A.     No.    It's either Renville, Minnesota, or Idaho

17:50:3912     facilities.

17:50:4013


17:50:4314


17:50:5015

17:50:5016


17:50:5417

17:50:5818

17:51:0019     Q.     What does it mean to be a strategic customer?

17:51:0320     A.     We service them at multiple facilities and they have

17:51:0721     facilities that they would view us as strategic and we would

17:51:1122     view them as strategic.    And that's typically defined by

17:51:1523     close vicinity to our facility -- our slicing facilities.

17:51:2124


17:51:2625
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                                                                            352


17:51:30   1

17:51:31   2

17:51:36   3

17:51:43   4

17:51:44   5

17:51:49   6

17:51:52   7

17:51:53   8

17:51:57   9

17:52:0010


17:52:0611

17:52:0912


17:52:1613


17:52:2014


17:52:2415

17:52:3016


17:52:3217

17:52:3618

17:52:3919


17:52:4320


17:52:4721


17:52:4722

17:52:4923


17:52:5324


17:52:5625
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                                                                            353


17:53:01   1

17:53:08   2

17:53:13   3

17:53:16   4

17:53:19   5

17:53:28   6

17:53:28   7

17:53:32   8

17:53:32   9

17:53:3910


17:53:4511

17:53:4812


17:53:5513


17:54:0014


17:54:0315

17:54:0916


17:54:1517

17:54:1918

17:54:2519     Q.     And how -- you said that the Idaho facilities, the

17:54:2920     amalgamated facilities are operating at a higher right of

17:54:3321     utilization, correct?

17:54:3422     A.     Correct.

17:54:3423


17:54:3724


17:54:4225
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                                                                            354


17:54:44   1

17:54:48   2

17:54:51   3   Q.     During the break, we marked as Exhibit 1 to this

17:54:54   4   deposition an Excel spreadsheet that is entitled, "NSM

17:54:58   5   response to DOJ-US Sugar subpoenas.XLSX.       Do you have

17:55:06   6   Exhibit 1 in front of you?

17:55:06   7   A.     I do.

17:55:07   8   Q.     And are you familiar with this spreadsheet?

17:55:09   9   A.     I am.

17:55:1010     Q.     And does this spreadsheet reflect NSM's sales data

17:55:1511     that was produced in response to a subpoena by the

17:55:1812     Department of Justice and the defendants in this litigation,

17:55:2113     as far as you know?

17:55:2214     A.     Yes.     Yes.

17:55:2315     Q.     Does this Exhibit 1 summarize actual sales data that

17:55:2716     NSM maintains in the ordinary course of its business?

17:55:3117     A.     Yes.

17:55:3118     Q.     Do you have in front of you also what we have marked

17:55:3619     as Exhibit 2.    For the record, it is a spreadsheet that is

17:55:3920     entitled "DOJ-US Sugar data glossary-highly confidential."

17:55:4821     A.     Yes.

17:55:5122     Q.     Okay.    And this is a list of the customers that NSM

17:55:5523     sells to in DOJ's 13 states; is that right?

17:56:0024     A.     Correct.

17:56:0225
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                                                                            355


17:56:07   1

17:56:13   2

17:56:18   3

17:56:18   4

17:56:20   5

17:56:25   6

17:56:27   7

17:56:34   8

17:56:34   9   Q.     Okay.   And some of the sugar you sold into those

17:56:3810     states was beet sugar; right?

17:56:3911     A.     Yes.

17:56:4012     Q.     So, therefore, that sugar would have come from either

17:56:4413     Idaho or Minnesota; is that right?

17:56:4714     A.     And I know of a certain circumstance where it came

17:56:5215     from, I believe, Brawley, California, as well.

17:56:5516


17:56:5917

17:57:0118

17:57:0219     Q.     And that's beet sugar that is coming either out of

17:57:0620     Idaho or Minnesota?

17:57:0821     A.     Correct.

17:57:0822

17:57:1323


17:57:1424


17:57:1425
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                                                                            356


17:57:20   1

17:57:23   2

17:57:24   3   Q.     And again, that is beet sugar that is originating

17:57:28   4   either out of Idaho or Minnesota, correct?

17:57:31   5   A.     Correct.

17:57:32   6

17:57:36   7

17:57:37   8

17:57:38   9

17:57:4510


17:57:4911

17:57:5012


17:57:5313


17:57:5514


17:57:5815

17:58:0116


17:58:0217

17:58:0718

17:58:1119


17:58:1420


17:58:1421


17:58:1822

17:58:2223


17:58:2324


17:58:3025
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                                                                            357


17:58:32   1

17:58:34   2

17:58:38   3

17:58:43   4

17:58:44   5

17:58:44   6   Q.      The imported cane sugar that NSM sells from Sucden

17:58:49   7   meets NSM's quality requirements, correct?

17:58:51   8   A.      The assumption is yes.

17:58:53   9   Q.      You testified earlier that NSM is looking for

17:58:5610     opportunities anywhere in the U.S. that makes business sense

17:58:5911     to sell its sugar; is that right?

17:59:0112     A.      Correct.

17:59:0113     Q.      And that would, of course, include DOJ's 13 states,

17:59:0614     true?

17:59:0615     A.      Correct.

17:59:1116


17:59:1617

17:59:1718

17:59:1819


17:59:2120


17:59:2121


17:59:2422

17:59:3023


17:59:3324


17:59:3325     Q.      And are you -- that sugar was beet sugar out of
  Case 1:21-cv-01644-MN Document 226 Filed 05/24/22 Page 358 of 360 PageID #: 6286
                                                                            358


17:59:45   1   Idaho, correct?

17:59:46   2   A.      It was beet sugar.    I'm not certain where it came

17:59:49   3   from.

17:59:49   4   Q.      So Idaho or Minnesota?

17:59:51   5   A.      Yes.

17:59:52   6

17:59:56   7

17:59:59   8

18:00:03   9

18:00:0310


18:00:0911

18:00:1212


18:00:1713


18:00:2014


18:00:2115

18:00:2116     Q.      Have there been occasions where you have lowered your

18:00:3117     price in response to customer feedback?

18:00:3318     A.      Yes.

18:00:3619                    (End of videotape. )

18:00:4520                    THE COURT:   Okay.   Any exhibits you want to put

18:00:4721     in?

18:00:4722                    MR. HANNA:   The government didn't have any

18:00:4923     exhibits.

18:00:4924                    MS. DWYER:   The defendants have two exhibits,

18:00:5225     Joint Trial Exhibit 049, which was Exhibit 1 in the video
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                                                                            359


18:00:55   1   and JTX 042, which was Exhibit 2.

18:01:01   2                  THE COURT:   Any objection?

18:01:01   3                  MR. HANNA:   No, Your Honor.

18:01:02   4                  THE COURT:   Those are admitted.

18:01:02   5                  (JTX Exhibit Nos. 042 and 049 were admitted into

18:01:02   6   evidence.)

18:01:03   7                  THE COURT:   Okay.    So let's take our break for

18:01:07   8   the evening.    Let me ask on the streaming, who is watching

18:01:12   9   the streaming?    Do we have to cut that off is my question

18:01:1710     when we seal the courtroom?

18:01:1911                    MR. HANNA:   I don't believe, Your Honor, we do.

18:01:2212     We have spoken with the counsel that dialed in and made him

18:01:2713     aware of corporate representatives are not -- they said they

18:01:3214     wouldn't do that.

18:01:3315                    THE COURT:   Those that leave.

18:01:3616                    MR. HANNA:   Those that leave will not be

18:01:3817     watching.

18:01:3918                    THE COURT:   And you guys agreed with that?

18:01:4019                    MR. BUTERMAN:    Yes, Your Honor.

18:01:4120                    THE COURT:   So if we do that, then we don't have

18:01:4321     to cut it off when we seal the courtroom because it's not

18:01:4722     open to the public.    Right?

18:01:4823                    MR. HANNA:   Right.

18:01:4924                    THE COURT:   Anything that we need to discuss

18:01:5125     before we leave for the day?
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                                                                            360


18:01:54   1               MR. HANNA:    Not from the government, Your Honor.

18:01:56   2               MR. BUTERMAN:    Nothing for the defendants, Your

18:01:57   3   Honor.

18:01:57   4               THE COURT:    Thanks everyone.     See you tomorrow

18:01:59   5   morning.

           6               (Court adjourned at 6:01 p.m.)

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           8                I hereby certify the foregoing is a true and
               accurate transcript from my stenographic notes in the proceeding.
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       10                                           /s/ Dale C. Hawkins
                                                  Official Court Reporter
       11                                             U.S. District Court

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